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                EXHIBIT 1
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                                                               Page 1
               UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF FLORIDA
                    GAINESVILLE DIVISION

                    CASE NO.:     12-10462-KKS
                    ADV. NO.:     13-01007-KKS
IN RE:

MATTHEW BRUCE HINTZE and LARINA K. HINTZE,

       Debtors.
__________________________________________/


JOHN SPENCE, SHEILA SPENCE, INTERMED
BIOMEDICAL SERVICES, INC., a Florida
corporation, DAVID WHITNEY, and FLH
HOLDINGS OF FLORIDA, LLC, a Florida
limited liability company,

         Plaintiffs/Counterclaim-Defendants,

vs.

MATTHEW BRUCE HINTZE and LARINA K. HINTZE,

         Defendants/Counterclaim-Plaintiffs/
         Third-Party Plaintiffs,

vs.

ETHAN FIELDMAN and STEVEN FIELDMAN,

       Third-Party Defendants.
__________________________________________/


          BEFORE:                HONORABLE KAREN K. SPECIE

          DATE:                  Thursday, December 4, 2014

          TIME:                  1:30 p.m. - 2:35 p.m.

          PLACE:                 U.S. Federal Courthouse
                                 401 Southeast First Avenue
                                 Gainesville, Florida

          REPORTED BY:           Rhonda D. Mashburn
                                 Court Reporter/Notary Public
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                                                                    Page 2
1    APPEARANCES:

2        WILCOX LAW FIRM
         BY: ROBERT D. WILCOX, ESQUIRE (via CourtCall)
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         Ponte Vedra Beach, Florida 32082
4        Attorney for Plaintiffs/Counterclaim-Defendants

5        CHILDERSLAW
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         Gainesville, Florida 32605
7        Attorney for Defendants/Counterclaim Plaintiffs

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                                                                     Page 3
 1           THE COURT:    We are here in the adversary case of

 2      Spence vs. Hintze, Case No. 13-01007.              Before the

 3      court are two motions for protective order, both

 4      filed by the defendants, one on which the court has

 5      entered an interim order, and then also we are here

 6      to conduct a status hearing.

 7           We'll take appearances live in the courtroom and

 8      then via CourtCall, please.

 9           MR. CHILDERS:     Good afternoon, Your Honor.            Jeff

10      Childers for the Defendants.

11           THE COURT:    Mr. Childers.       CourtCall, please, Mr.

12      Wilcox.

13           MR. WILCOX:    Good afternoon, Your Honor.              Robert

14      Wilcox for the plaintiffs.

15           THE COURT:    All right.      Gentlemen, let's try

16      starting with the motion for protective order at

17      Docket No. 249, on which the court entered an interim

18      order dated November 18, 2014.              Mr. Childers.

19           MR. CHILDERS:     Yes.    Your Honor, I don't think

20      the dates are quite run yet, but we have made

21      progress and I can give an interim report to the

22      court.    There were two issues, as the court may

23      recall, an issue about e-mail attachments and an

24      issue related to carbon copy or blind carbon copy

25      recipient names.
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                                                                     Page 4
 1           So we have since the entry of the order reviewed

 2      the entire production top to bottom and have

 3      determined that all the attachments we believe that

 4      are material were provided.          However, they may not

 5      have been in as clear a way as possible.              The

 6      attachments were saved in a separate place than the

 7      e-mails that they were related to.            They did share a

 8      file name, but it may not have been immediately

 9      obvious which one went with which.

10           So we're reproducing the e-mails that have

11      attachments with the attachments attached directly

12      to those original e-mails.         And I believe I saw an

13      e-mail from Mr. Wilcox just now asking for the

14      documents in their original format as well.                 And so

15      we'll copy those into another disc and send that off

16      to him so he'll have it in each of the three ways and

17      it should make it very clear.

18           We'll also be pointing out to Mr. Wilcox there

19      are some e-mails where at the top it says that there

20      are attachments, but if you look into the body of

21      the e-mail, you'll see that there's a file name in

22      brackets under certain people's e-mail signature.

23      In particular, Mr. Spence has a graphic logo.                So

24      every time one of his signatures appears there, it

25      counts as an attachment.
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                                                                     Page 5
 1           It should be clearly obvious that it's just his

 2      logo, and we're going to point that out and make sure

 3      that satisfies his concerns about that.               So I believe

 4      that between those several actions, we'll have

 5      resolved the issue to his satisfaction, or at least I

 6      hope so, in relation to the e-mail attachments.

 7           We also looked into the issue of the

 8      identification of names that had been carbon copied

 9      or blind carbon copied on e-mails, and what we

10      discovered is that the e-mail system that they use

11      only prints those categories when there is a name in

12      those categories.       So we have found examples of each

13      of those.

14           We found examples where there is neither a carbon

15      copy or blind carbon copy and you'll see that neither

16      one of those appears.        We found examples from Mr.

17      Wilcox where just carbon copy names are included and

18      you'll see it then pops up.           And we found blind

19      carbon copy examples in there as well.              So we'll be

20      providing those to Mr. Wilcox and hopefully that will

21      resolve that issue.

22           The third component of the interim order was for

23      us to confer on a resource that could assist us with

24      reviewing electronically stored information, if

25      necessary.       Mr. Wilcox and I have not done that yet,
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                                                                    Page 6
 1      in the hope or anticipation that we can resolve the

 2      issues without needing to go to that final step.              If

 3      we need to do so, we still have time in the order,

 4      and if we need more time, the order indicates that we

 5      can file a joint motion to extend it.

 6           THE COURT:    Thank you, Mr. Childers.           Anything

 7      further on that, Mr. Wilcox?

 8           MR. WILCOX:    No, Your Honor.         I look forward to

 9      receiving the attachments in their native format.

10      With regard to what Mr. Childers was saying about the

11      blind carbon copy, we just want to make sure that we

12      can see -- for instance, there were e-mails sent out

13      to friends and family or unidentified parties and to

14      potential investors or friends, and we just want to

15      know who those are.

16           So we think it's crucial that all those names

17      and e-mail addresses are listed.            I couldn't exactly

18      understand from Mr. Childers' answer whether that's

19      going to be the case or not.          If that's the case --

20      and, of course, we haven't received the documents,

21      but the deadline is, I believe, next Tuesday.               So,

22      you know, we will reserve judgment as to whether Mr.

23      Childers has, you know, done what the court asked,

24      and we appreciate the representations that he's made.

25           But I just want to make sure that we're all on
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                                                                    Page 7
 1      the same page regarding what we're asking for with

 2      regards to these Bcc parties.

 3           THE COURT:    Anything further on that, Mr.

 4      Childers?

 5           MR. CHILDERS:     No, Your Honor.

 6           THE COURT:    All right.      Very well.      Then we

 7      will simply continue the hearing on this motion for

 8      protective order again as in essence a status hearing

 9      to the court's next docket on January the 8th.

10           Moving now to the motion for protective order at

11      Docket No. 266, I have reviewed that motion and the

12      response objection to the motion.            Mr. Childers, it's

13      your motion.

14           MR. CHILDERS:     Thank you, Your Honor.          And to

15      make it clear -- it may not be clear from the

16      pleadings -- we have produced a large volume of

17      relevant e-mails.      The areas of dispute are very

18      narrow.

19           Even within the request numbers -- and we're

20      seeking protection only for request numbers one, two,

21      11, 12, 13 and 16, and even within those, we're only

22      seeking partial protection.          So, for example, Mr.

23      Wilcox defined the investor group with a large number

24      of names, and we're only asserting the joint defense

25      exception as to Bruce Hintze, Chris James, and the
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                                                                     Page 8
1       debtors.    So as to all the other names in that group

2       we have produced.

3            As the court is aware from reviewing the

4       pleadings, the first of what I believe are two issues

5       is that joint defense privilege issue, and I guess a

6       subset would be, you know, whether the joint defense

7       issue applies in this case; and then second, from

8       what date should we be permitted to claim a joint

9       defense privilege, and we assert a joint defense

10      privilege from May 1st of 2012.

11           The plaintiffs' response has questioned that

12      date, but has not set forth any other date that they

13      believe would be the appropriate date.             So I'm not

14      sure that issue is ripe to be decided today.

15           THE COURT:    The issue of whether there's a joint

16      defense agreement at all or the issue from when it

17      would begin?

18           MR. CHILDERS:     Right.     So the first issue is

19      whether there's a privilege at all.            The second issue,

20      if there is a privilege, from what date would the

21      privilege extend.

22           So I believe that we have pure -- maybe not a

23      pure issue of law, but we have a fairly medium legal

24      issue as to the privilege itself.            I don't know that

25      anybody has questioned the factual basis for the
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                                                                      Page 9
 1       privilege, but certainly it's the plaintiffs' right

 2       to do so.   The second issue is the date, and I don't

 3       know that we can address that today.

 4           The other issue that is involved in the motion

 5       for protective order is in relation to confidential

 6       commercial information.        In particular, the

 7       plaintiffs are seeking communications between the

 8       debtors and other potential investors that the

 9       plaintiffs are not aware of and that did not invest

10       in TutoringZone.

11           The defendants' objection to producing that

12       information is two-fold.        One, these are resources

13       that it took a lot of networking and investment to

14       build the actual relationships with these potential

15       investing parties; and two, a concern for how the

16       information -- the identity of these folks would be

17       used, that may negatively impact the debtor's

18       ability to utilize those resources in the future.

19            So it's not that the content of the

20       communications is the concern.             It's the identity

21       and nature of the folks and given that this is a very

22       attenuated area of discovery.          These are not folks

23       who invested.     They didn't participate -- they didn't

24       go forward even from a very preliminary stage.                For

25       example, they didn't receive the same financial
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                                                                     Page 10
 1       disclosures that the plaintiff group did.

 2             These guys were all out of the picture long

 3       before we got to that stage, so it's not clear what

 4       the usefulness or relevance of that information would

 5       be.   So given the commercially sensitive nature and

 6       the low value of that information to this case, we

 7       would ask for protection.

 8             In the event that the court was inclined to give

 9       the plaintiffs, you know, some access to that, then

10       we would ask for the ability to perhaps redact those

11       communications to obscure the identity of the folks

12       while disclosing perhaps the content of the

13       communications so that the plaintiffs can satisfy

14       themselves that it wasn't useful.

15             But, again, because these folks are so attenuated

16       from any of the claims in the case, I think it would

17       be appropriate at this time, unless they discover

18       some other information suggesting otherwise, that we

19       have full protection on those communications.

20             THE COURT:    All right.     Thank you.      Mr. Wilcox.

21             MR. WILCOX:   Thank you, Your Honor.          First of

22       all, we certainly question the factual basis of the

23       assertion of the privilege.         The motion has the

24       interesting language that counsel for the defendants

25       began representing Christopher James and related
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                                                                     Page 11
 1       entities on or around May 1, 2012, and the defendants

 2       essentially sometime after.

 3           We don't think it's our burden to identify the

 4       dates.   You know, we don't know what that date is.

 5       It doesn't say in the schedules that the debtors

 6       filed what that date was.        Until that occurs, there

 7       clearly can be no joint privilege, and it's not our

 8       burden to identify dates in the applicable privilege.

 9       Let's be clear about what we're talking about here.

10           Christopher James was a creditor of the Hintzes.

11       We're talking about the assertion of a joint defense

12       privilege between a creditor and a debtor when the

13       debtor subsequently transferred assets to the benefit

14       of the creditor, and this defendant is now asserting

15       that -- we are asserting -- excuse me -- we are

16       asserting and the Trustee is asserting that that was

17       a fraudulent transfer.

18           That transfer took valuable assets and put them

19       out of the reach of creditors and allowed these

20       debtor defendants to get a personal credit in

21       connection with the transfer to TutoringZone 2.               They

22       transferred corporate assets through an alterego

23       company for their personal benefit.            The idea that

24       somehow Mr. Childers represented both the creditor

25       and the debtor, both the transferee and the
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                                                                     Page 12
 1       transferor, is quite frankly very troubling, and it's

 2       always been troubling.

 3           But before we even get there, we need to know

 4       what the dates of the representation are and the

 5       court needs to know what the dates of representation

 6       are.    This issue has been out there for a while and

 7       it seems to me they just haven't given the court

 8       enough to show that there's any privilege in that

 9       regard.

10           Secondly, what is the joint -- what were they

11       defending against prior to the filing of this

12       bankruptcy?     There was no litigation that I'm aware

13       of, certainly not from my clients, pending at that

14       time.   So, you know, to my understanding, to assert

15       this privilege, we need to understand the dates, the

16       nature, the scope of the alleged joint defense, and

17       what they were proposing to be defending against.

18       None of that is in the motion and the court should

19       deny the motion on that basis alone.

20           And, Your Honor, also as we asserted in our

21       papers, nothing in this is new except the assertion

22       now that they are asserting the privilege from May 1,

23       2012, which is, according to the motion that's on

24       file, prior to the date that Mr. Childers was

25       actually contacted by the Hintzes.            We'd also reserve
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                                                                     Page 13
1       the right to assert a fraud defense, but we just

2       don't have enough information to do that at this time.

3            I'm glad to hear Mr. Childers say that he's only

4       seeking partial protection with regard to the

5       individual requests, because the motion as stated

6       seeks complete protection as to various requests.

7       With regard to the confidential information, I'm just

8       not aware of any confidential information privilege

9       here.

10           My clients have three basic causes of action

11      here:   Objection to the dischargeability of these

12      debts, and then also two objections to the discharge.

13      With regard to the dischargeability issue, obviously

14      it related to loans and what we believe was the

15      fraudulent information we received in connection with

16      making those loans.

17           What we're asking for is who else was contacted,

18      what information did they receive, and maybe they

19      received additional information and then decided not

20      to make these loans.       That's very useful information.

21      Secondly, with regard to confidential business

22      information, these are debtors who chose to file a

23      bankruptcy case.     When they did that, they took on an

24      obligation to open up their books.

25           Also, these loans are personal loans.             These were
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                                                                     Page 14
1       not loans to TutoringZone.         These were loans to the

2       debtors themselves.        And we all agree that Tutoring-

3       Zone 1, as a result of the transfers of which we and

4       the Trustee complain, is no longer an operating

5       entity.   So TutoringZone can have no confidential

6       information either.

7            Again, these are points laid out in our response

8       to it, but, you know, we need to see that information.

9       We're not asking for anything unusual.             What we

10      have are e-mails from Matt Hintze going out to

11      unidentified parties saying this is what's going on,

12      I'm about to get control of this company and every-

13      thing is going to be hunky-dory, and I need money.

14           And what we ask in connection with the e-mails

15      is that all the recipients of those e-mails be

16      identified, and it's taken a long time to do it.               And

17      this request goes right along with that.             It says

18      what were the communications with those people?                What

19      were those people promised?         Why did those people

20      decide to make loans or not make loans?             Did they

21      realize early on that there were no non-competes?

22           Those kind of things are very relevant to this

23      action, Your Honor.        Thank you.

24           THE COURT:    Thank you, Mr. Wilcox.          Mr. Childers.

25           MR. CHILDERS:     Thanks, Your Honor.         I'll go in
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                                                                     Page 15
1       reverse order.     Mr. Wilcox has yet to explain, while

2       it may be interesting to know why other folks decided

3       not to invest, how that would be relevant in any way

4       to any claims that his clients have made in this case.

5       Suppose the prior parties decided it was a terrible

6       investment.      How would that be relevant to any of the

7       claims that his clients have made that my parties

8       submitted financials to them that were fraudulent?

9            Suppose that my client submitted fraudulent

10      financials to these other parties who are not parties

11      to this litigation.        How would that be relevant to

12      any information that my clients gave to his clients?

13      Suppose that my clients told them and they were fully

14      aware that there were no non-competes with the tutors.

15      How is that relevant to what my clients told the

16      plaintiffs?      That evidence would be inadmissible.

17           So it's not clear from Mr. Wilcox' presentation

18      just how that information would be useful.              So again

19      I would ask that we have complete protection on those

20      until there is a reasonable explanation from the

21      plaintiffs about how any of that highly sensitive

22      information could be useful to them or lead to any

23      admissible evidence in this case.

24           As to the joint defense privilege, you know, this

25      is not a complicated case.         The facts by now are well
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                                                                      Page 16
 1       known to all of us.       In October of 2011, at least

 2       two of the advisory board members were threatening

 3       litigation against TutoringZone.            David Whitney in

 4       particular had e-mailed the group multiple times

 5       making noise about an involuntary bankruptcy filing.

 6           Kevin Ogilby was not one of the plaintiffs, but

 7       was one of the three advisory board members, had

 8       circulated an article about the process of invoking

 9       involuntary bankruptcy.         And when Mr. James was asked

10       in May of 2012 to invest more money into Tutoring-

11       Zone, he wanted assurance that his investment would

12       be secured, notwithstanding all this noise coming

13       from the advisory board about things that they were

14       threatening to do.        It was at that time that a joint

15       defense arose.

16           THE COURT:     But, Mr. Childers, how can I know

17       that?   I can't accept just representations.                 We don't

18       have any evidence.

19           MR. CHILDERS:     Perhaps we need an evidentiary

20       hearing.

21           THE COURT:     I think we probably do.           I'm going

22       to go ahead and cut to the chase on some of this and

23       I will welcome both of your comments when I finish.

24           I have reviewed a significant amount of material

25       since reviewing this motion for the first time and
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                                                                     Page 17
 1       the response, including one of the cases that was

 2       cited, I believe, by Mr. and Mrs. Hintze, and that

 3       was the Pensacola Firefighters' Relief Pension Fund

 4       vs. Merrill Lynch, at 2011 Westlaw 3512180.                 That is

 5       a district case out of the Northern District of

 6       Florida.

 7           And in that case the court ultimately determined

 8       that there was a joint defense doctrine that would

 9       apply, but prior to doing so the court had a complete

10       itemized privilege log from the party asserting the

11       privilege and also had affidavits from at least five,

12       if not more, attorneys attesting to the basis for the

13       communications.     I don't have any of that here, and

14       that's one of the things that the plaintiffs have

15       raised in their objection, is that in order to assert

16       a defense under the common interest doctrine or the

17       joint defense doctrine, you have to have a specific

18       privilege log.

19           Going even farther back, though, it seems to me

20       after reviewing the applicable cases, in particular

21       the U.S. Supreme Court case of Fisher vs. The United

22       States, it appears to me that the attorney-client

23       privilege has to be there before any communications

24       can be protected under any common interest doctrine

25       or common defense doctrine.         I'm not going to go as
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                                                                     Page 18
 1       far as to call it a privilege because it really isn't

 2       a privilege.    It's a doctrine that kind of piggybacks

 3       on top of the attorney-client privilege.

 4           Well, what's the attorney-client privilege?

 5       Well, it applies when a party communicates with his

 6       or her attorney for the purpose of obtaining legal

 7       advice or getting legal assistance with a pending

 8       matter.   That has to occur first before anyone can

 9       even have a protection against a communication being

10       discovered into under any common defense doctrine.

11           So without a log to see what exactly it is that

12       is being -- that the defendants are requesting should

13       be protected, we can't even tell whether the bottom

14       line exists, and that is whether it was even an

15       attorney-client privilege communication to begin

16       with.

17           If, for example, Mr. Hintze at one point spoke

18       to Mr. James at one point, regardless of whether the

19       two of them were represented at the same time or at

20       different times by Mr. Childers, if Mr. Childers

21       and/or Mr. James's attorney, when he obtained another

22       one, weren't involved in those communications, then

23       I would have to see case law showing me why those

24       communications could possibly be protected, even

25       under a common interest doctrine or a common defense
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                                                                     Page 19
 1       doctrine claim of privilege, because those were not

 2       communications between counsel for the parties.                They

 3       were communications between the parties.

 4           Further, it appears to me from reading this case

 5       law that if a communication, even if it was with an

 6       attorney, involved something other than legal

 7       advice -- I'm going to use a very simple example.

 8       If a person were to call his or her attorney and say,

 9       "I just found out that X piece of property is for

10       sale for $50,000.     Do you think that's a good deal?"

11       That to me doesn't sound like legal advice.                 That

12       sounds like business advice.         That may or may not end

13       up being a privileged communication.

14           On the other hand, if the person called the

15       attorney and said, "I just found out this piece of

16       property is for sale for $50,000, but I've been told

17       there might be a title issue.          What do you think I

18       ought to do?"     That might be a whole different

19       category, because at that point it appears that the

20       lawyer's legal skills are coming into play.                 And so,

21       again, without a privilege log, number one, I don't

22       see how we can possibly determine what communications

23       might or might not be covered here.

24           Secondly, with respect to whether or not the

25       parties are entitled to assert even if communications
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                                                                     Page 20
 1       were privileged, if they're claiming that there was

 2       some sort of common interest doctrine in play or

 3       common defense doctrine, the motion for protective

 4       order alleges that Mr. James hired Mr. Childers --

 5       let me see what paragraph it is -- May 1 of 2012, and

 6       that Mr. Childers had began representing James and --

 7       quote, unquote -- "related entities," and those are

 8       set forth in a footnote.        And then as Mr. Wilcox

 9       points out, it says sometime after that Mr. Childers

10       began representing the defendants.

11           Then in paragraph nine of the motion for

12       protective order, it asks for protection of all

13       correspondence between the defendants, Mr. and Mrs.

14       Hintze and James, after May 1, 2012, and it says

15       that that correspondence was exchanged under the --

16       quote -- "protections of a common interest doctrine."

17       But once again, the common interest doctrine can only

18       come into play if two things occur.

19           Number one, if the communications we're talking

20       about were privileged to begin with under the

21       attorney-client privilege, which if they were

22       strictly communications between Mr. James and Mr.

23       and Mrs. Hintze may not be; and number two, if the

24       parties can show, regardless of whether it was in

25       writing, that there was some sort of common interest
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                                                                     Page 21
 1       at the time.

 2           And I agree with Mr. Wilcox from the standpoint

 3       that, at least as far as we know, a debtor's interest

 4       and a creditor's interest are not necessarily

 5       synonymous.     They're usually not synonymous at all.

 6       Whether there was some other -- quote, unquote --

 7       "common interest" that would be protected remains to

 8       be seen.

 9            Paragraph 10 of the motion says that Bruce

10       Hintze, parent of the defendants, consulted with

11       counsel for the plaintiff -- that must mean Mr.

12       Childers -- on or around June 3, 2012.             It does not

13       tell us whether that was consulting for business,

14       whether it was consulting for the purpose of

15       protecting Mr. and Mrs. Hintze, or whether it was

16       consulting for the purpose of attempting to retain

17       counsel.   We don't know.

18           And then it just categorically says, "All

19       correspondence shared between the defendants and

20       Bruce Hintze was made confidentially."             Well, maybe

21       between them they agreed that it was confidential,

22       but that doesn't necessarily mean it's binding on

23       anyone else.    And it certainly doesn't connect the

24       dots and show how, in any way, shape or form, that

25       could possibly be attorney-client privilege and
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                                                                      Page 22
1       therefore part of a common interest doctrine.

2            As a matter of fact, that's not even alleged in

3       paragraph 10 as to communications between Bruce

4       Hintze and Mr. and Mrs. Hintze.             And then it says,

5       "Neither defendants nor Bruce Hintze have waived that

6       privilege."      There's no privilege in that paragraph

7       asserted, and so I can't tell what they supposedly

8       had to either waive or not waive.

9            Paragraph 11 alleges that Christopher James,

10      Bruce Hintze, Cynthia Frenchman and the defendants

11      have a joint defense agreement in regards to claims

12      being brought by the Trustee in related Adversary

13      Case No. 14-01005, and all potential claims by the

14      plaintiffs in regards to TutoringZone.              We have to

15      have proof on that.        We have zero proof at this point.

16           The opinions that I've read on this issue at

17      minimum take testimony or affidavits from the parties

18      attempting to assert the privilege so that the court

19      can determine what facts it's making a determination

20      based on.    Then it goes on to say in paragraph 11

21      that communications were exchanged between the

22      parties for the limited purpose of assisting in their

23      common cause.

24           Well, by then, as pointed out by Mr. Wilcox, what

25      common cause was there between Christopher James and
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                                                                      Page 23
1       Bruce Hintze?     What common cause was there between

2       Bruce Hintze and the defendants?            What common cause

3       was there between Cynthia Frenchman, whom I recognize

4       later the motion says was an agent of Mr. James's

5       entities?

6            What common cause do we have here and how could

7       conversations that took place in May and June of 2012

8       have been part of a joint defense agreement against

9       an adversary that was filed in 2014?             So all of those

10      questions remain unanswered here.             I could go on and

11      on with the different paragraphs of this motion, but

12      I think the two of you can see where I am.

13           We need a specific itemized log of any

14      communications and/or documents that have been

15      requested, to which the defendants are objecting, and

16      we need evidence that any such communications were,

17      in fact, privileged communications under the attorney-

18      client privilege to begin with.             And then we would

19      need further evidence to determine if any kind of

20      joint defense agreement existed and, if it did, when

21      it occurred, whether there is any common interest

22      doctrine that could possibly come into play here.

23           With respect to the claims of the commercially

24      sensitive information, the defendants allege that the

25      plaintiff owns the only competitor to TutoringZone,
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                                                                     Page 24
 1       which is Study Edge.       The defendants claim that the

 2       plaintiffs are fishing for commercial litigation

 3       strategy information and that they had confidential

 4       relationships with potential investors.

 5           Mr. Childers, I see that you cited one Florida

 6       case in your pleadings, which is the Inrecon vs.

 7       Village Homes at Country Walk, at 644 So.2d 103, but

 8       because, number one, this was a loan to the debtors

 9       individually and, number two, TutoringZone 1 was

10       defunct at the time this bankruptcy was filed, I'm

11       not sure the facts of the Inrecon case have a bearing

12       on what we're dealing with here.

13           So I need further briefing on what privilege

14       could possibly apply to this so-called commercially

15       sensitive information, number one, if there is one;

16       and number two, why the court cannot order this

17       information to be disclosed under an order requiring

18       the information to be kept confidential by the

19       plaintiffs and to be used for only one purpose and

20       that is in prosecution of this particular case,

21       because I'm simply unaware of any rule of evidence

22       under which this information under these facts could

23       be properly kept away from the plaintiffs.

24           Mr. Childers, I'll give you the first opportunity

25       to respond to the court's comments.
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                                                                     Page 25
 1           MR. CHILDERS:     Well, Your Honor, I would be happy

 2       to specifically brief the issue of commercially

 3       sensitive information.       I believe that there is a lot

 4       of case law on that area.        You see it quite commonly

 5       when creditors who have not yet obtained a judgment

 6       are asking for post-judgment information that's

 7       confidential, bank account statements, tax returns,

 8       things like that.

 9           THE COURT:     But isn't that current information,

10       not past information?

11           MR. CHILDERS:     Well, three years of previous tax

12       returns would be past information I would say, unless

13       I'm misunderstanding the point.            Two years of bank

14       statements, you know, are all confidential

15       information.    It's no less confidential because it

16       happened two years ago.

17           But in the context of commercial, I think there's

18       similar case law on this issue.            I think it's a

19       pretty common litigation tactic to probe your

20       adversary for things that you know are going to be

21       harmful if they have to disclose.

22           THE COURT:     Well, that may be true and I'm not

23       trying to prejudge this.        But the question here and

24       as set forth in your motion, it says that the

25       complaint alleges among other things that -- just a
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                                                                       Page 26
 1       moment.

 2           MR. CHILDERS:      While you're looking that up, Your

 3       Honor --

 4           THE COURT:      No, just give me a moment.            In

 5       subparagraph (f) on Page 2 of the motion, you recite

 6       that one of the allegations against your clients is

 7       that the debtors were never in a position to obtain a

 8       refinancing of $935,000 in debt in order to repay the

 9       loan from the Spences.

10           MR. CHILDERS:      Right.

11           THE COURT:      So why wouldn't the information

12       about who the Hintzes tried to get financing from be

13       relevant here?

14           MR. CHILDERS:      I think that there's a timeline

15       confusion.      The communications that Mr. Wilcox are

16       seeking happened prior to the breakup with the

17       Fieldmans, not at the time of, you know, a year

18       following the breakup when the refinancing was

19       supposed to occur.         If there were communications

20       after that time, after the breakup, I would agree

21       with the court those would probably be relevant.

22           We're talking about before the breakup even

23       happened.    So it's not just old history, it's ancient

24       history.    It predates the original loans by the

25       Spences to the Hintzes that were supposed to have
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                                                                      Page 27
 1       been -- you know, they had a balloon in a year.                So

 2       I guess the idea was that they would be somehow

 3       refinanced out or, you know, some debt exchange or

 4       something.      So it's those ancient communications with

 5       commercially sensitive persons that are at issue.

 6           I would be happy to provide the more recent

 7       stuff.   I think it would be relevant.             The plaintiffs

 8       have objected to probably -- I don't want to over-

 9       estimate here -- but 70 or 80 percent of our requests

10       that they have deemed are not relevant, not relevant.

11       Not only are these communications not relevant, but

12       they're also potentially very harmful to our clients.

13           THE COURT:      All right.      Then go ahead and brief

14       it, but I'll need some kind of facts to show

15       relevance, I suppose.

16           MR. CHILDERS:      I think the burden is on the

17       plaintiffs to show that this information would be

18       relevant to the case.

19           THE COURT:      Mr. Wilcox.

20           MR. WILCOX:      Your Honor, I'm looking for the --

21       to see the exact request we're talking about, and I'm

22       trying to understand what Mr. Childers' position is

23       today that somehow -- you know, it seems to me that

24       there are a number of relevant periods here.                 I'm

25       going to see if I can lay them out.
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                                                                     Page 28
 1           One is that period of the breakup of the

 2       ownership of TutoringZone 1 and the loans that my --

 3       you know, the period leading up to my clients making

 4       the loans in May and June of 2011.            Okay?    We believe

 5       we got incorrect financial information.             This

 6       information we're requesting is essentially the same

 7       as our requesting information that these defendants

 8       gave to banks, information to which there has been no

 9       objection.

10           Essentially we want to check to see if the

11       financial information that we got is the same as what

12       other people got.     Certainly as to the relevance of

13       that information, it certainly is possible that the

14       defendants made representations -- made accurate

15       representations -- and let's not forget that these

16       defendants were under a specific time when they had

17       to have that money available.

18           It is certainly possible that the defendants gave

19       accurate information to a number of people, could not

20       get the funds anywhere else, and then gave slightly

21       more favorable information to my client.

22           THE COURT:     All right.      Let me stop you right

23       there and we'll just kind of piece this apart.                Mr.

24       Childers earlier suggested what if we give the

25       information, but we redact the names.             That would at
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                                                                      Page 29
 1       least get you to where we are now, which is a

 2       determination as to whether different information may

 3       have been given out to third parties than was given

 4       out to your clients; correct?

 5           MR. WILCOX:     That would, Your Honor, but that

 6       presupposes that somehow the business contacts are

 7       something out of the ordinary.             But I understand --

 8       you know, again, if there's a basis to think that

 9       the investors' identities were somehow confidential,

10       we're talking about a transaction that has now

11       occurred three and a half years ago.

12           Is the identity of the -- or are the identities

13       of the individuals that they contacted somehow

14       incredible value at this point that outweighs the

15       general right that my clients have to ask for these

16       communications?     I just don't think so.

17           THE COURT:     Well, and you may be right, but I'm

18       trying to decide how far we can get today.               And at

19       least on that point it seems to me that if I order

20       the defendants to provide copies of communications to

21       these other people or entities during this point in

22       time which was leading up to the loans by your

23       clients that took place in May and June of 2011 ,

24       without the names of the parties to whom that

25       information was given -- if in fact that information
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 1       is synonymous with what your clients got, then

 2       presumably that should be the end of the inquiry.

 3           If it isn't synonymous, then, yes, you may be

 4       absolutely correct that the next step would be for

 5       them to divulge the identities of the parties that

 6       were the recipients of that information.

 7           MR. WILCOX:     Your Honor, if I may give an example

 8       based on information we learned in the case.                We've

 9       determined that there was an individual who made a

10       short-term loan to Mr. Hintze of approximately

11       $150,000, then was repaid within two days of when my

12       clients put in additional information.             I have

13       interviewed that individual.

14           The type of information that person will receive

15       in getting that short-term -- you know, that that

16       individual received seems to me to be very relevant.

17       If the court is not inclined to give us the names of

18       the individuals without our determining -- you know,

19       I leave that to the court's discretion.

20           However, I would bet the vast majority of this

21       information was transmitted by e-mail anyway, that

22       we're supposed to get the e-mails from all the Bcc

23       parties, it seems like that's not much -- you know,

24       that's really kind of a spurious argument to argue

25       that the identities of these people should not be
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                                                                      Page 31
 1       disclosed.

 2           THE COURT:     Mr. Childers.

 3           MR. CHILDERS:     Just as an example of how far

 4       down the rabbit hole we are here, the financial

 5       information that Mr. Wilcox keeps saying our clients

 6       provided to his clients was provided to his clients

 7       by his clients.     It was assembled and sent to the

 8       group by David Whitney.

 9           MR. WILCOX:     Your Honor, that's just not right.

10           MR. CHILDERS:     And the documentary evidence fully

11       supports that.

12           THE COURT:     I don't think that that's relevant

13       to what I'm trying to do today.             We are here on a

14       request for production of documents and a motion for

15       protective order, and the question is what documents

16       the defendants should have to produce.

17           And in this particular category, at least for

18       today, the plaintiffs want to see whether different

19       financial information was sent to third parties than

20       was sent to them at a specific point in time.                 I

21       believe that that is an entirely reasonable request.

22       The defendants are saying, "Well, we don't think that

23       we should have to disclose the people to whom we gave

24       that information."        Am I right, Mr. Childers?

25           MR. CHILDERS:     What I'm saying to you is that in
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                                                                     Page 32
 1       every case where a trading partner of my clients has

 2       become publicly known, that person or entity has

 3       been the subject of an anonymous campaign of letter

 4       writing to destroy the relationship between my

 5       clients and those folks and put on notice for that.

 6           THE COURT:     Mr. Childers, then file a lawsuit.

 7       We're not here to -- Mr. Childers, I have no evidence

 8       here.   I have one party asking for information and

 9       the other party saying, "We don't want to give it."

10       My role is to try to determine what should be done.

11           So on the issue of the so-called sensitive

12       commercial information, I'm going to grant the

13       request and overrule the motion for protective order

14       and order the defendants to provide that information

15       with the names of the recipients redacted.              That is

16       without prejudice to the plaintiffs' right to request

17       the names of the recipients if it can prove that the

18       information that was produced to these other parties

19       was different than was produced to them at the time,

20       or some other material fact to this case.              You may

21       brief the issue of whether or not the defendant

22       should have to produce the names of the recipients at

23       all, if you would like to.

24           Specifically what request for production are we

25       talking about here, Mr. Childers or Mr. Wilcox?               I
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                                                                     Page 33
 1       know at the very beginning of this hearing Mr.

 2       Childers indicated that we're only here on requests

 3       one, two, 11, 12 and 16.        I would like the record to

 4       be entirely clear as to specifically which of those

 5       we are on at this moment.

 6           MR. CHILDERS:     Your Honor, I think 13 is included

 7       in that list as well.       So the complete list is one,

 8       two, 11, 12, 13 and 16.        So I believe that all of the

 9       requests except for two are related to the joint

10       defense issue.     Request number two is related to the

11       commercially sensitive relationship issue.

12           THE COURT:     And that is -- request number two

13       reads, "All documents reflecting any communication

14       during the period from January 1, 2011, through the

15       petition date between any of the prospective

16       investors and you or your agents."            Is that correct?

17           MR. CHILDERS:     That's correct, Your Honor.

18           THE COURT:     All right.      That is my ruling at

19       this moment and without prejudice as to the request

20       for production number two.         With respect to the

21       request for production number one, 11, 12, 13 and

22       16, the defendants have 15 days within which to

23       produce an itemized privilege log of all of the

24       communications.

25           How much time do the parties need to brief the
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1       issue of -- well, I need to know also, I guess by

2       affidavit at minimum, what facts the defendants claim

3       give rise to their claims of joint defense or joint --

4       I shouldn't say joint -- of common interest doctrine.

5            MR. CHILDERS:     Your Honor, on this one, I'm not

6       sure affidavits are going to be the case.              I think

7       we might need to have a hearing so that we can ask

8       questions and cross examine and redirect as necessary.

9            THE COURT:    Well, we may need a hearing as to

10      some.   We may not need a hearing as to others.               Once

11      again, we need some sort of threshold to establish

12      whether or not each such communication contained or

13      was attorney-client privilege at all.

14           MR. CHILDERS:     Well, presumably the privilege

15      log, included with the information that's supposed to

16      be on it, would indicate at least the threshold basis

17      for the privilege.

18           THE COURT:    Mr. Wilcox.

19           MR. WILCOX:    Your Honor, the claims of privilege,

20      you know, are so broad here that -- you know, the

21      other thing is this process -- and I understand -- I

22      appreciate the court wants to do it very -- be very

23      careful here, but this is really delaying the

24      litigation at this point.         You know, this request was

25      sent out in August.        It's a pretty basic request.
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 1           But as far as the timing, the sooner the better

 2       on that.   But I think we need affidavits to establish

 3       that there's anything to even talk about.

 4           THE COURT:     That's my problem.         I'm not sure,

 5       Mr. Childers, in the affidavits I know that there's

 6       anything even out here to have a hearing on.

 7           Under Fisher vs. United States, the Supreme Court

 8       listed the elements of attorney-client privilege

 9       as, number one, "A party is or sought to become a

10       client."   Number two, "The party that they consulted

11       with was a lawyer and was acting as a lawyer at the

12       time of the communication."

13           Number three, "The communication was, in fact,

14       that the client communicated to the lawyer without

15       the presence of strangers to secure a legal opinion,

16       legal services, or assistance in a legal proceeding."

17       And then finally, "That the party asserting the

18       privilege hasn't waived it."

19           The Firefighters case that I referred to earlier

20       in talking about whether a joint defense agreement

21       or common interest doctrine exists says that there's

22       got to be an agreement to cooperate through a common

23       enterprise towards -- and I quote -- "an identical

24       legal strategy."     Number two, that the communications

25       were given in confidence and that the client
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 1       reasonably understood this and it requires the

 2       communication to be shared among counsel.

 3           I think that last prong, at minimum, seems to

 4       be missing in the allegations in the motion for

 5       protective order.

 6           MR. CHILDERS:     Your Honor, I think I understand

 7       what the court needs.        We'll get to work on that.

 8       And this is not -- this is an investment of time for

 9       the case, because the plaintiffs have raised the

10       exact same privilege and we'll be right back here

11       switching roles --

12           THE COURT:     Okay.

13           MR. CHILDERS:     (Continuing) -- and making the

14       same arguments going back the other way.              So at least

15       now we have a framework and the plaintiffs can get

16       prepared for their turn when we have the same

17       argument.

18           THE COURT:     All right.       Then 15 days for the

19       defendants to provide a written privilege log and 20

20       days for the parties to brief -- well, I shouldn't

21       say that -- privilege log and affidavits setting

22       forth at least the minimal facts on which they assert

23       the various privileges or doctrines that are being

24       asserted, who was represented by whom, who

25       communicated with whom, so that we can determine
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                                                                     Page 37
 1       whether there's any foundation at all for some of

 2       these communications to be claimed under any

 3       privilege, not to mention a common interest or common

 4       defense doctrine.

 5           I'm not going to schedule an evidentiary hearing

 6       at this time, but I'm going to continue the hearing

 7       on this motion to the court's docket on January the

 8       8th.   It may be that we will set this the afternoon

 9       before that, January the 7th, because we've already

10       scheduled a two-hour evidentiary hearing for the

11       afternoon of the 8th.

12           So we'll either be back here on the afternoon of

13       January the 7th, at approximately 1:30, or sometime

14       on January the 8th.       I'm going to set aside two hours

15       for this hearing for additional argument and I want

16       us to be prepared and counsel to be prepared to

17       address the claims on the log one item at a time or

18       have dealt with them already by the time the hearing

19       begins.

20           If we cannot resolve the issues on the affidavits

21       and the privilege log, then we will look at the

22       calendar and set as soon as I can a full-blown

23       evidentiary hearing on whether there is any attorney-

24       client privilege and, if so, what it may apply to and

25       to whom.
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1            Any questions, Mr. Childers?

2            MR. WILCOX:     Your Honor --

3            THE COURT:     Just a moment, Mr. Wilcox.

4            MR. CHILDERS:      No, Your Honor.

5            THE COURT:     Mr. Wilcox.

6            MR. WILCOX:     Thank you, Your Honor.          If we could,

7       can we take a look at the request we're talking

8       about?   Because my understanding is that number 10

9       is not an issue.      There is no objection to request

10      number 10.       Request 11, "All documents reflecting any

11      communications during the period of June 1 -- June 4,

12      2011, through the petition date with Mr. James."

13           My understanding from Mr. Childers' argument is

14      that there was no privilege until May 1, 2012.                 Based

15      on that, they should have to produce documents prior

16      to May 1, 2012 immediately.

17           THE COURT:     Mr. Childers.

18           MR. WILCOX:     They've acknowledged that there's

19      still privilege during that period.

20           MR. CHILDERS:      Your Honor, there's no motion to

21      compel set for hearing today, number one.               Number two,

22      I can represent to the court and to Mr. Wilcox that I

23      don't have any communication with Mr. James preceding

24      my engagement with him.         And number three, I don't

25      have the request and our response in front of me to
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1       see if we raised any other objections to that request

2       that aren't subject to the motion for protective

3       order.   So I'm not prepared to argue that point today.

4            MR. WILCOX:    May I, Your Honor?

5            THE COURT:    Just a moment.        I'm reading from the

6       motion for protective order.           At paragraph eight it

7       says, "While defendants have provided the plaintiffs

8       with copies of all responsive documents dated prior

9       to May 1, 2012, they seek protection for all

10      correspondence with Christopher James and his agent,

11      Cynthia Frenchman, after May 1, 2012."              Mr. Wilcox.

12           MR. WILCOX:    That's fine, as long as they're

13      actually produced.         But the order should reflect that

14      the privilege issues only allegedly begin on May 1,

15      2012, with regard to requests 11, 12 and 13.                  There

16      may be a different twist to number 16.

17           And I would point out, Your Honor, that we're

18      asking for information that was exchanged during the

19      period from June 4, 2011, and it's during that period

20      of June 4, 2011, to sometime in May or June of 2012,

21      TZ is the operating entity, TZ 1.             TZ 1 is no longer

22      in existence , so I don't understand the confidential

23      business information aspect of it.

24           We are willing in order to get this -- you know,

25      all this information is now at least two years old,
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 1       so I would ask the court to keep that in mind.                With

 2       regard to number 16, I think that is much more akin

 3       to number two than it is to 11, 12 and 13.              I haven't

 4       heard any allegation that there's a privilege --

 5       attorney-client or joint defense privilege with

 6       regard to request number 16.

 7           Number two requests communication between the

 8       prospective investors and the debtors, and number 16

 9       requests communication between any of the prospective

10       investors and TZ 1.       So those seem to me to be akin.

11       There may be a confidentiality issue that the court

12       has already addressed, but there's no privilege issue

13       there.

14           MR. CHILDERS:     I think that that's correct, 16

15       should be grouped with number two.            So to that

16       extent, the court's orders relating to two should

17       also extend to number 16.

18           THE COURT:     So ordered.      Mr. Childers, do you --

19       can you agree, based on what I just read from the

20       motion, that the assertion of joint defense doctrine,

21       attorney-client privilege, common interest doctrine

22       relates to communications on and after May 1, 2012?

23           MR. CHILDERS:     I may live to regret this , but I

24       think we're willing to put the flag on May 1st of

25       2012.
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 1           THE COURT:     Then in paragraph eight, the motion

 2       itself sets forth that all documents prior to that

 3       date have already been delivered.            Is that correct?

 4           MR. CHILDERS:     That's what the motion says.

 5           THE COURT:     If you take issue with that, Mr.

 6       Wilcox, it sounds like it's time for a motion to

 7       compel, because right now of record the defendants

 8       claim that they have produced everything that they

 9       do not claim as privileged that occurred on or after

10       May 1, 2012.

11           MR. WILCOX:     We've been trying to avoid getting

12       into this kind of situation.         It appears we'll need

13       to have a motion to compel.

14           THE COURT:     All right.      And then once again, Mr.

15       Childers and Mr. Wilcox, just to make sure that we

16       are all on the same page, at this moment my

17       understanding of the defendants' position is that

18       they are claiming that certain communications between

19       certain parties, as set forth in the motion that's on

20       for hearing today, Docket 266, are privileged or are

21       covered under the common interest doctrine as being

22       privileged or work product.

23           And my understanding is that in order for any of

24       those communications to in any way be privileged,

25       there has to have been an attorney-client privilege
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 1       at the very beginning or at the foundation of the

 2       communication.     Otherwise, where I sit now, unless

 3       you can convince me otherwise, they're not going to

 4       be protected.     Any questions?

 5           Thank you very much.        This hearing is concluded.

 6       Let's go ahead and prepare an interim order on this

 7       so that everything I've ruled today will be as clear

 8       as it can be.     We'll be back here on January 7 or 8.

 9       I was trying to see whether there's any way to

10       schedule a telephonic hearing before then, but I just

11       don't believe that our calendar will permit that.

12           You have your briefing and scheduled to submit

13       the privilege log and the affidavits, Mr. Childers,

14       and we'll be back here in January.            Thank you very

15       much.   This hearing is concluded.

16           THE BAILIFF:     All rise.

17           (Thereupon, the proceedings were concluded at

18           2:35 p.m.)

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                                                                     Page 43
 1                       REPORTER'S CERTIFICATE

 2

 3   STATE OF FLORIDA:

 4   COUNTY OF ALACHUA:

 5           I, Rhonda D. Mashburn, Court Reporter and Notary

 6   Public, certify that I was authorized to and did

 7   stenographically report the foregoing proceedings in the

 8   case of John and Sheila Spence, et al., vs. Matthew and

 9   Larina Hintze, et al., and that the transcript is a true

10   and complete record of my stenographic notes.

11           I further certify that I am not a relative,

12   employee, attorney, or counsel of any of the parties,

13   nor am I a relative or employee of any of the parties'

14   attorney or counsel connected with the action, nor am I

15   financially interested in the action.

16                 DATED this 8th day of December, 2014.

17

18

19                                    ____________________________

20                                    Rhonda D. Mashburn

21                                    Court Reporter/Notary Public

22

23

24

25
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                EXHIBIT 2
                                      Case 13-01007-KKS               Doc 452           Filed 10/02/15            Page 48 of 423




Date	  of	      Parties	  to	  correspondence	                   Nature	  of	                  Privilege	  Asserted	  
Communication	                                                       document	  
	                	                       	                         	                              	  
5-­‐29-­‐2012	   Larina	  Hintze	                                  Email	  concerning	           Sensitive	  Business	  information	  of	  TZ2	  
                  Chris	  James	  and	  Matt	  Hintze	           Sensitive	  
                                                                      Business	  
                                                                      information	  
                                                                      including	  tutor	  
                                                                      payroll	  and	  
                                                                      equity	  incentives.	  
5-­‐29-­‐2012	         Larina	  Hintze	  	                        Email	  concerning	           Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	  and	  Matt	  Hintze	     Sensitive	  
                                                                      Business	  
                                                                      information	  
                                                                      including	  tutor	  
                                                                      payroll	  and	  
                                                                      equity	  incentives.	  	  
6-­‐5-­‐2012	          Matt	  Hintze	                              Email	  seeking	              Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                              permission	  to	  
                                                                      implement	  a	  TZ2	  
                                                                      business	  decision	  	  
7-­‐17-­‐2012	         Larina	  Hintze	                            Email	  concerning	           Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                              Sensitive	  
                                                                      Business	  
                                                                      information	  
                                                                      including	  tutor	  
                                                                      payroll	  and	  
                                                                      equity	  incentives.	  
                                      Case 13-01007-KKS               Doc 452          Filed 10/02/15            Page 49 of 423




Date	  of	       Parties	  to	  correspondence	                  Nature	  of	                 Privilege	  Asserted	  
Communication	                                                       document	  
07-­‐13-­‐2012	   Jeffrey	  Childers	                              Email	  direction	  to	     Sensitive	  Business	  information	  and	  attorney	  client	  
                   Larina	  Hintze	  and	  Matt	  Hintze;	       employees	  of	  TZ2	       privileged.	  
                   Chris	  James	                                   as	  attorney	  for	  
                                                                      TZ2.	  
07-­‐26-­‐2012	        Matt	  Hintze	                              Email	  regarding	           Sensitive	  Business	  information	  of	  TZ2	  
                        Larina	  Hintze,	  Chris	  James,	        business	  plan	  of	  
                        Cynthia	  Frenchman,	  Chris	              TZ	  
                        James	  personal	  assistant,	  Paul	  
                        Hintze	  
10-­‐19-­‐2012	        Matt	  Hintze	                              Email	  thread	            Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                              regarding	  TZ2	  
                                                                      financials	  and	  use	  
                                                                      of	  TZ2	  protocols.	  
10-­‐26-­‐2012	        Matt	  Hintze	                              Email	  thread	            Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                              regarding	  weekly	  
                                                                      financials	  
8-­‐22-­‐2012	         Matt	  Hintze	                              Email	  thread	  with	   Sensitive	  Business	  information	  of	  TZ2	  
                        Cynthia	  Frenchman,	  Paul	               TZ2	  Federal	  ID	  
                        Hintze	  Misty	  Barnett	  from	          number	  for	  TZ2	  
                        SunTrust	  
8-­‐3-­‐2012	          Matt	  Hintze	                              Email	  regarding	           Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                              and	  attaching	  the	  
                                                                      TZ2	  Business	  
                                                                      Plan	  
                                     Case 13-01007-KKS               Doc 452            Filed 10/02/15            Page 50 of 423




Date	  of	      Parties	  to	  correspondence	                  Nature	  of	                   Privilege	  Asserted	  
Communication	                                                      document	  
8-­‐10-­‐2012	   Matt	  Hintze	  and	  Christopher	             Email	  thread	                Sensitive	  Business	  information	  of	  TZ2	  
                  James	                                            about	  TZ2	  
                                                                     personnel	  and	  
                                                                     business	  plan	  and	  
                                                                     meeting	  
                                                                     regarding	  
                                                                     business	  plan,	  
                                                                     financial	  
                                                                     projections.	  
8-­‐22-­‐2012	        Cynthia	  Frenchman	  ,Matt	               Email	  thread	                Sensitive	  Business	  information	  of	  TZ2	  
                       Hintze,	  Christopher	  James	             discussing	  
                                                                     operational	  
                                                                     decisions	  such	  as	  
                                                                     banking,	  copier	  
                                                                     and	  car	  lease	  for	  
                                                                     TZ2	  
8-­‐3-­‐2012	         Matt	  Hintze	  and	  Chris	  James	     Email	  regarding	             Sensitive	  Business	  information	  of	  TZ2	  
                                                                     marketing	  TZ2	  
8-­‐2-­‐2012	         Chris	  James	  and	  Matt	  Hintze	     Email	  thread	                Sensitive	  Business	  information	  of	  TZ2	  
                                                                     regarding	  
                                                                     marketing	  TZ2,	  
                                                                     van	  lease	  and	  
                                                                     copier	  lease	  	  
                                     Case 13-01007-KKS                  Doc 452         Filed 10/02/15             Page 51 of 423




Date	  of	      Parties	  to	  correspondence	                    Nature	  of	                Privilege	  Asserted	  
Communication	                                                        document	  
7-­‐30-­‐2012	   Larina	  Hintze	  and	  Matt	  Hintze,	         Email	  thread	             Sensitive	  business	  information	  of	  TZ2	  
                  Chris	  James	  and	  assistant,	  and	         regarding	  draft	  
                  Cnthia	  Frenchman	                                employment	  
                                                                       contracts	  and	  TZ2	  
                                                                       financials	  
8-­‐28-­‐2012	         Matt	  Hintze,	  Christopher	               Email	  regarding	          Sensitive	  business	  information	  of	  TZ2	  
                        James,	  Cynthia	  Frenchman	               capital	  
                                                                       expenditures	  by	  
                                                                       TZ2	  
9-­‐4-­‐2012	          Matt	  Hintze,	  Christopher	               Email	  regarding	          Sensitive	  business	  information	  of	  TZ2	  
                        James,	  Cynthia	  Frenchman	               TZ2	  financials	  
9-­‐4-­‐2012	          Matt	  Hintze	  and	  Chris	  James	      Email	  thread	             Sensitive	  business	  information	  of	  TZ2	  
                                                                       regarding	  TZ2	  
                                                                       financials	  
9-­‐17-­‐2012	         Matt	  Hintze,	  Larina	  Hintze	  and	   Email	  regarding	          Work	  product	  of	  TZ2,	  Sensitive	  business	  information	  
                        Chris	  James	                               marketing	  TZ2;	  
                                                                       public	  
                                                                       announcements;	  
                                                                       platform/delivery	  
                                                                       systems	  
9-­‐8-­‐2012	          Christopher	  James	  and	                  Email	  regarding	          Work	  Product	  of	  TZ2,	  	  
                        Matthew	  Hintze	                            potential	  legal	  
                                                                       action	  by	  TZ2.	  
7-­‐13-­‐2012	         Matt	  Hintze,	  Larina	  Hintze,	         Email	  thread	             Work	  product	  of	  TZ2,	  Sensitive	  business	  information	  
                        Chris	  James	                               discussing	  TZ2	  
                                                                       legal	  remedies	  	  
                                    Case 13-01007-KKS                Doc 452        Filed 10/02/15          Page 52 of 423




Date	  of	      Parties	  to	  correspondence	                  Nature	  of	             Privilege	  Asserted	  
Communication	                                                      document	  
7-­‐6-­‐2014	    Norman	  Beldsoe,	  Jeff	  Childers,	          Email	  thread	          Work	  product,	  common	  interest,	  attorney	  client	  
                  Scott	  Walker,	  Christopher	                  discussing	  Hintze	     privilege	  
                  James,	  Matthew	  Hintze,	  Bruce	            and	  TZ2	  legal	  
                  Hintze	                                           remedies	  
7-­‐18-­‐2014	   Norman	  Beldsoe,	  	  Scott	                  Email	  thread	          Work	  product,	  common	  interest,	  attorney	  client	  
                  Walker,	  Christopher	  James,	                 discussing	  Hintze	     privilege	  
                  Matthew	  Hintze,	  	                           and	  TZ2	  legal	  
                                                                     remedies	  
7-­‐27-­‐2014	        Norman	  Beldsoe,	  Jeff	  Childers,	     Email	  thread	          Work	  product,	  common	  interest,	  attorney	  client	  
                       Scott	  Walker,	  Christopher	             discussing	  Hintze	     privilege	  
                       James,	  Matthew	  Hintze,	  Bruce	       and	  TZ2	  legal	  
                       Hintze	                                      remedies	  
8-­‐2-­‐2012	         Larina	  Hintze,	  Matt	  Hintze,	        Email	  thread	          Work	  product,	  common	  interest,	  attorney	  client	  
                       Jeffrey	  Childers,	  Chris	  James,	     discussing	               privilege	  
                       James	  personal	  assistant,	             eviction	  and	  
                       Cynthia	  Frenchman	                        operations.	  
7-­‐5-­‐2012	         Chris	  James	  and	  Matthew	            Email	  thread	          Work	  product,	  common	  interest	  
                       Hintze	                                      discussing	  
                                                                     litigation	  
	  
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Case 13-01007-KKS   Doc 452   Filed 10/02/15   Page 54 of 423




                EXHIBIT 3
                                     Case 13-01007-KKS                  Doc 452          Filed 10/02/15           Page 55 of 423




Date	  of	      Parties	  to	  correspondence	                    Nature	  of	                 Privilege	  Asserted	  
Communication	                                                        document	  
	                	                       	                          	                             	  
5-­‐29-­‐2012	   Larina	  Hintze	                                   Email	  concerning	          Sensitive	  Business	  information	  of	  TZ2	  
                  Chris	  James	  and	  Matt	  Hintze	            Sensitive	  
                                                                       Business	  
                                                                       information	  
                                                                       including	  tutor	  
                                                                       payroll	  and	  
                                                                       equity	  incentives.	  
6-­‐5-­‐2012	          Matt	  Hintze	                               Email	  seeking	             Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                               permission	  to	  
                                                                       implement	  a	  TZ2	  
                                                                       business	  decision	  	  
7-­‐17-­‐2012	         Larina	  Hintze	                             Email	  concerning	          Sensitive	  Business	  information	  of	  TZ2	  
                        Chris	  James	                               Sensitive	  
                                                                       Business	  
                                                                       information	  
                                                                       including	  tutor	  
                                                                       payroll	  and	  
                                                                       equity	  incentives.	  
07-­‐13-­‐2012	        Jeff	  Childers	                             Email	  direction	  to	     Sensitive	  Business	  information	  and	  attorney	  client	  
                        Larina	  Hintze	  and	  Matt	  Hintze;	   employees	  of	  TZ2	       privileged.	  
                        Chris	  James	                               as	  attorney	  for	  
                                                                       TZ2.	  
07-­‐26-­‐2012	        Matt	  Hintze	                               Email	  regarding	           Sensitive	  Business	  information	  of	  TZ2	  
                        Larina	  Hintze,	  Chris	  James,	         business	  plan	  of	  
                        Cynthia	  Frenchman,	  Chris	               TZ	  
                        James	  personal	  assistant,	  Paul	  
                        Hintze	  
                                   Case 13-01007-KKS            Doc 452          Filed 10/02/15            Page 56 of 423




Date	  of	       Parties	  to	  correspondence	            Nature	  of	                 Privilege	  Asserted	  
Communication	                                                 document	  
10-­‐19-­‐2012	   Matt	  Hintze	                             Email	  thread	              Sensitive	  Business	  information	  of	  TZ2	  
                   Chris	  James	                             regarding	  TZ2	  
                                                                financials	  and	  use	  
                                                                of	  TZ2	  protocols.	  
10-­‐26-­‐2012	     Matt	  Hintze	                           Email	  thread	              Sensitive	  Business	  information	  of	  TZ2	  
                     Chris	  James	                           regarding	  weekly	  
                                                                financials	  
8-­‐22-­‐2012	      Matt	  Hintze	                           Email	  thread	  with	      Sensitive	  Business	  information	  of	  TZ2	  
                     Cynthia	  Frenchman,	  Paul	            TZ2	  Federal	  ID	  
                     Hintze	  Misty	  Barnett	  from	       number	  for	  TZ2	  
                     SunTrust	  
8-­‐3-­‐2012	       Matt	  Hintze	                           Email	  regarding	        Sensitive	  Business	  information	  of	  TZ2	  
                     Chris	  James	                           and	  attaching	  the	  
                                                                TZ2	  Business	  
                                                                Plan	  
8-­‐10-­‐2012	      Matt	  Hintze	  and	  Christopher	     Email	  thread	           Sensitive	  Business	  information	  of	  TZ2	  
                     James	                                    about	  TZ2	  
                                                                personnel	  and	  
                                                                business	  plan	  and	  
                                                                meeting	  
                                                                regarding	  
                                                                business	  plan,	  
                                                                financial	  
                                                                projections.	  
8-­‐22-­‐2012	      Cynthia	  Frenchman	  ,Matt	            Email	  thread	           Sensitive	  Business	  information	  of	  TZ2	  
                     Hintze,	  Christopher	  James	          discussing	  
                                                                operational	  
                                                                decisions	  such	  as	  
                                   Case 13-01007-KKS                   Doc 452         Filed 10/02/15            Page 57 of 423




Date	  of	      Parties	  to	  correspondence	                 Nature	  of	                   Privilege	  Asserted	  
Communication	                                                     document	  
                                                                    banking,	  copier	  
                                                                    and	  car	  lease	  for	  
                                                                    TZ2	  
8-­‐3-­‐2012	       Matt	  Hintze	  and	  Chris	  James	      Email	  regarding	             Sensitive	  Business	  information	  of	  TZ2	  
                                                                    marketing	  TZ2	  
8-­‐2-­‐2012	       Chris	  James	  and	  Matt	  Hintze	      Email	  thread	                Sensitive	  Business	  information	  of	  TZ2	  
                                                                    regarding	  
                                                                    marketing	  TZ2,	  
                                                                    van	  lease	  and	  
                                                                    copier	  lease	  	  
7-­‐30-­‐2012	      Larina	  Hintze	  and	  Matt	  Hintze,	   Email	  thread	                Sensitive	  business	  information	  of	  TZ2	  
                     Chris	  James	  and	  assistant,	  and	   regarding	  draft	  
                     Cynthia	  Frenchman	                         employment	  
                                                                    contracts	  and	  TZ2	  
                                                                    financials	  
8-­‐28-­‐2012	      Matt	  Hintze,	  Christopher	               Email	  regarding	             Sensitive	  business	  information	  of	  TZ2	  
                     James,	  Cynthia	  Frenchman	               capital	  
                                                                    expenditures	  by	  
                                                                    TZ2	  
9-­‐4-­‐2012	       Matt	  Hintze,	  Christopher	               Email	  regarding	             Sensitive	  business	  information	  of	  TZ2	  
                     James,	  Cynthia	  Frenchman	               TZ2	  financials	  
9-­‐4-­‐2012	       Matt	  Hintze	  and	  Chris	  James	      Email	  thread	                Sensitive	  business	  information	  of	  TZ2	  
                                                                    regarding	  TZ2	  
                                                                    financials	  
9-­‐17-­‐2012	      Matt	  Hintze,	  Larina	  Hintze	  and	   Email	  regarding	             Work	  product	  of	  TZ2,	  Sensitive	  business	  information	  
                     Chris	  James	                               marketing	  TZ2;	  
                                                                    public	  
                                                                    announcements;	  
                                   Case 13-01007-KKS                Doc 452        Filed 10/02/15             Page 58 of 423




Date	  of	      Parties	  to	  correspondence	                 Nature	  of	              Privilege	  Asserted	  
Communication	                                                     document	  
                                                                    platform/delivery	  
                                                                    systems	  
9-­‐28-­‐2012	      Matt	  Hintze,	  Chris	  James	  and	     Email	  discussing	       Sensitive	  business	  information	  
                     all	  Employees	  of	  TZ2	                TZ2	  financials	  
9-­‐8-­‐2012	       Christopher	  James	  and	                  Email	  regarding	        Work	  Product	  of	  TZ2,	  	  
                     Matthew	  Hintze	                            potential	  legal	  
                                                                    action	  by	  TZ2.	  
7-­‐13-­‐2012	      Matt	  Hintze,	  Larina	  Hintze,	         Email	  thread	           Work	  product	  of	  TZ2,	  Sensitive	  business	  information	  
                     Chris	  James	                               discussing	  TZ2	  
                                                                    legal	  remedies	  	  
6-­‐27-­‐2014	      Jeff	  Childers,	  Christopher	             Email	  thread	           Work	  product,	  attorney	  client	  privilege	  
                     James,	  Matthew	  Hintze,	  	             discussing	  Hintze	  
                                                                    and	  TZ2	  legal	  
                                                                    remedies	  
8-­‐2-­‐2012	       Larina	  Hintze,	  Matt	  Hintze,	         Email	  thread	           Work	  product,	  attorney	  client	  privilege	  
                     Jeffrey	  Childers,	  Chris	  James,	      discussing	  
                     James	  personal	  assistant,	              eviction	  and	  
                     Cynthia	  Frenchman	                         operations.	  
7-­‐5-­‐2012	       Chris	  James	  and	  Matthew	             Email	  thread	           Work	  product	  
                     Hintze	                                       discussing	  
                                                                    litigation	  
	  
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                EXHIBIT 5
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Elizabeth R Bowen

From:                           Elizabeth R Bowen
Sent:                           Saturday, August 29, 2015 7:18 PM
To:                             'Matt Hintze'; 'Larina Hintze'
Cc:                             Robert D Wilcox
Subject:                        Hintze-Confer Communication Prior to Motion to Compel

Importance:                     High

Tracking:
Tracking                        Recipient                                    Delivery

                                'Matt Hintze'

                                'Larina Hintze'

                                Robert D Wilcox                              Delivered: 8/29/2015 7:18 PM




Dear Mr. and Mrs. Hintze,

I am still going through the production provided late July, as there was a great deal of duplication and
production of documents not specifically requested in our correspondence. In addition, as discussed with Mr.
Hintze on at least two occasions, production of the emails in PDF format prevents the attachments from being
viewed, and all emails were to be produced in “native format,” and thus the entire production will need to be
reproduced in native format so that the attachments can be accessed. We discussed this on at least 2 occasions,
and I also sent you instructions on how to produce the emails in native format, as well as offered technical
assistance. I will be setting forth in detail the issues with the production prior to filing a Motion to Compel.

There is one area of communication not produced that I will move to compel immediately if not
produced. Pursuant to John Spence’s Requests 11, 12, and 13, I am requesting again all
communications/correspondence between you and Mr. James and Ms. Frenchman, and your Agents, including
Jeff Childers and his respective agents. In the interest of limiting the scope of this inquiry, I am requesting
every email from March 1, 2012 to the petition date (and you may provide a privilege log for emails relating to
legitimate attorney client privilege advice offered by Mr. Childers with respect to your pending bankruptcy
petition), with the exception of any emails relating to TZ1/ TZ2/ Mr. James/Ms. Frenchman which must all be
produced immediately. As discussed previously, in is our position that Mr. Childers’ role in orchestrating the
transfer of the assets from TZ1 to TZ2, and his representation of all parties to the transaction defeats any
privilege you may have been able to assert relating to those emails. In addition, you should understand that you
hold the privilege, not Mr. Childers. Please let me know by Tuesday, September 1, 2015, whether you will be
providing those emails and by what date.

If you fail to produce the emails, we plan to move to compel and request costs and sanctions for continuing
failure to comply. I urge you to review Judge Specie’s order relating to Motions to Compel.

I have also asked on at least two occasions for deposition dates that you and Mrs. Hintze would be available,
trying to accommodate what might be a slower summer season. As I have received no response, I will add that
to the list of issues in the Motion to Compel unless I receive a response from you. Please provide 4 dates in
September on which you and Mrs. Hintze would be available.

As always, understanding that these are technical and difficult issues, especially with respect to privilege, I
would suggest you consult an attorney.

                                                            1
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Regards,

Elizabeth R.P. Bowen, Esq.
Wilcox Law Firm
814 A1A North, Suite 202
Ponte Vedra Beach, FL 32082
(904) 497-0193 (direct)

CONFIDENTIALITY NOTICE: The information and all attachments contained in this electronic communication are legally
privileged and confidential information, subject to the attorney-client privilege and intended only for the use of intended recipients. If
the reader of this message is not an intended recipient, you are hereby notified that any review, use, dissemination, distribution or
copying of this communication is strictly prohibited. If you have received this communication in error, please notify us immediately of
the error by return email and please permanently remove any copies of this message from your system and do not retain any copies,
whether in electronic or physical form or otherwise.
Thank you.




                                                                    2
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                EXHIBIT 7
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                EXHIBIT 7
12/16/2014                  Case 13-01007-KKS                 Doc Gmail
                                                                  452 - RE:Filed
                                                                            Semester Wrap Up
                                                                                  10/02/15               Page 81 of 423


                                                                                                 Larina  Hintze  <larinahintze@gmail.com>



  RE:  Semester  Wrap  Up
  James,Christopher  <christopher.james@warrington.ufl.edu>                                                        Tue,  May  1,  2012  at  4:02  AM
  To:  Larina  Hintze  <larinahintze@gmail.com>


    Keep the faith. You understand that the repayment of the advance is going right back in once we have the other
    funding set up. I think its important to let Kevin and the others know what the results are and that I insisted on
    repayment of the advance (the idea being is if they think there is any $ in TZ they will go after it). With that
    thought in mind, when structuring the buyout, pay off everyone prorate and then we’ll but it back in. Otherwise
    I worry that the other investors will say why don’t we split the payout among ourselves. What do you think?



    From:  Larina  Hintze  [mailto:larinahintze@gmail.com]  
    Sent:  Monday,  April  30,  2012  6:01  PM
    To:  James,Christopher;;  Greer,Creed  C,III;;  Bphintze@bellsouth.net
    Subject:  Semester  Wrap  Up

      


    As  expected  once  we  refund  the  CMJ  payroll  advance  and  then  meet  our  own  5/1  payroll  we  have  wiped  out  final
    revenues  -­  we  will  have  to  defer  some  of  our  operating  expenses.

    We  will  hold  the  rent  check  specifically  as  we  have  about  a  $6k  shortfall.    We  have  some  straggling  revenue  like
    an  invoice  out  to  Bill's  Bookstore.

    We  will  have  to  have  everything  worked  out  and  funds  in  our  account  by  5/13/12  in  order  to  make  the  next
    payroll.    So  that  is  our  drop  dead  deadline.

    Until  then  we  just  defer  some  bills  and  we  will  be  fine  -­  relatively  speaking  :-­)

    Reports  are  forthcoming.

    L




Exhibit 7.page 1

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   1/1
12/16/2014                  Case 13-01007-KKS                      Gmail - RE:
                                                              Doc 452          Touching
                                                                           Filed        Base
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                                                                                                 Larina  Hintze  <larinahintze@gmail.com>



  RE:  Touching  Base
  James,Christopher  <christopher.james@warrington.ufl.edu>                                                       Wed,  May  2,  2012  at  2:57  AM
  To:  Larina  Hintze  <larinahintze@gmail.com>


    So I reviewed the email trail…. Things will come together although it’s going to be a nail biter (no surprises
    there). I wrote to Kevin to let him no my positions (read below…note that I am posturing)……



    Kevin,

    Thanks for working on this..... I understand how frustrating it can be. As you know I have asked them to put
    together a term sheet for the investors (on both sides of the transaction) to review and react to. Both the Ethan
    deal and the TZ deal (if there is one) are risky. I am not sure why Ethan can't put more cash up front. My
    concern is that he will try and wiggle out of the later payments leaving us with close to .10 on the dollar. Again,
    as you have pointed out, it is difficult to evaluate these proposals without concrete terms.

    Here is where I stand. Without the new investors providing the money to buy out the existing investors, I will
    not provide any additional funding for summer operations. I have told Larina and Matt that I would provide
    working capital (up to 100K) if they can clean up the balance sheet with new money. In exchange, I would be
    willing to take either equity or a new note in the restructured company. However, this funding is contingent on
    (1) having the payroll advance repaid and (2) new investment sufficient to match Ethan's offer for the notes and
    additional working capital to get through the summer. My logic for continuing is that Matt and Larina are
    longtime friends and I made a commitment to them. In addition, from my perspective, providing them with
    some working capital amounts to just leaving some of what I have already invested in TZ. Finally, I am
    skeptical that Ethan will deliver on the contingent payments.



    Let me know if I can help in anyway

    From:  Larina  Hintze  [mailto:larinahintze@gmail.com]  
    Sent:  Tuesday,  May  01,  2012  9:39  PM
    To:  Kevin  Ogilby
    Subject:  Re:  Touching  Base

      

    Agreed  it's  a  tough  sell  across  the  board.    We  have  our  work  cut  out  for  us.    Let's  let  everyone  marinate  on  this
    and  start  at  it  again  tomorrow.

    Night.

    On  Tue,  May  1,  2012  at  8:33  PM,  Kevin  Ogilby  <kgogilby@gmail.com>  wrote:

   Are  they  talking  about  your  commercial  creditors  as  well  or  just  the  noteholders?    My  thought  is  that  they  should
   be  able  to  pay  off  the  existing  holders  more  quickly  than  18  months.    What  happens  if  they  (the  new  investors)
   decide  not  to  pay?    We  have  nothing  over  them  except  an  expensive  lawsuit  and  a  judgment  which  will  be  difficult
   to  enforce  as  it  will  probably  only  carry  a  corporate  guarantee.    At  least  we  have  the  non-­compete  against  Ethan.  
   We  could  always  stipulate  that  his  default  forfeits  the  money  and  the  non-­compete.    
Exhibit 7.page 2

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   1/5
12/16/2014                  Case 13-01007-KKS                      Gmail - RE:
                                                              Doc 452          Touching
                                                                           Filed        Base
                                                                                   10/02/15            Page 83 of 423
    The  other  concern  is  that  the  payoff  is  getting  to  the  insignificant  point  for  people  that  may  take  their  chances  with
    a  liquidation  of  assets  and  future  judgments.    This  would  certainly  inhibit  the  investor's  chances  of  doing  anything
    with  Matt  in  the  near  term.    Folks  need  to  know  they  are  getting  something  or  why  not  just  take  write  off  and  not
    get  raked  over  the  coals  twice.    We  are  being  offered  22  cents  on  the  dollar  on  an  investment  we  have  held  for
    less  than  11  months.    It  is  a  tough  sell  across  the  board  at  that  level  and  on  those  terms.    People  feel  duped  and
    that  is  hard  to  reconcile  with  the  existing  offer.    Not  to  say  Study  Edge's  offer  is  that  much  better  but  we  still  have
    a  lot  of  negotiating  to  do  with  Ethan  on  the  overall  terms,  which  will  most  likely  shorten  the  payout  and  eliminate  a
    lot  of  the  terms.    The  issues  around  bankruptcy  preferences  are  fine.    It  is  better  to  have  the  money  and  force
    everyone  else  to  fight  it  out  than  vice  versa.    

      

    On  Tue,  May  1,  2012  at  8:01  PM,  Larina  Hintze  <larinahintze@gmail.com>  wrote:

    Kevin,

    Thank  you  for  continuing  to  work  so  very  hard  to  reach  a  conclusion.    This  is  obviously  a  very  complex  deal,  and
    with  the  added  urgency  it  seems  that  every  conversation  results  in  more  questions  than  answers.

    Given  our  continued  strong  belief  in  TutoringZone  we  see  your  proposal  as  a  win-­win.    We  have  an  opportunity  to
    clean  up  the  balance  sheet,  if  just  a  bit,  and  you  have  an  opportunity  to  bring  closure  to  an  investment  that  you
    wish  to  liquidate.  

    Obviously  any  buyout  and  commitment  of  working  capital  is  going  to  be  provided  by  new  investors.    As  we  have
    had  conversations  about  if  and  how  potential  new  investors  are  willing  to  invest,  a  number  of  obstacles  have
    come  up.

    First,  they  are  insisting  that  all  debt,  not  just  Spence,  Staab,  Scott,  Ogilby  and  Whitney,  agree  to  the  buyout.    We
    are  attempting  to  communicate  with  Chris  while  he  is  working  in  Turkey  to  see  if  he  is  amenable  to  this  and  have
    a  call  into  Creed.

    Second,  you  can  imagine  that  we  are  getting  beaten  up  on  terms.    How  would  you  approach  this  deal?    They
    have  considered  our  interpretation  of  the  Study  Edge  offer  and  have  raised  a  number  of  issues.    Obviously  these
    are  important  considerations  in  terms  of  the  amount  and  structure  of  the  payments  to  existing  creditors.  

    If  we  do  agree  to  a  non-­compete  at  UF  then  (with  certainty)  the  company  will  be  forced  to  declare  bankruptcy.  
    Without  UF  revenues  for  Summer  and  Fall,  there  is  no  way  for  us  to  continue  to  pay  rent,  the  solar  loan,  bank
    lines  of  credit,  nor  any  staff  for  that  matter.    If  this  is  the  case  then  counsel  has  advised  us  that  we  will  be  exposed
    to  litigation  for  preferentially  settling  certain  obligations  ahead  of  others.    Their  opinion  is  that  diverting  SE’s
    payment  directly  to  noteholders  and  only  noteholders  will  result  in  lengthy  and  expensive  litigation  for  all.    Do  you
    disagree?  

    Based  on  this  analysis,  they  presented  the  $.22  figure  that  I  e-­mailed  earlier,  and  suggested  a  similar  structure  in
    terms  of  payments  over  the  next  18  months.    At  face  value,  the  feeling  is  that  their  offer  would  be  cleaner  and  less
    likely  to  be  held  up  by  the  various  due-­diligence  and  performance  clauses  that  SE’s  offer  contains.

    Once  again,  please  know  that  we  appreciate  all  of  your  efforts  on  behalf  of  the  creditors  and  the  company.    We
    are  working  extremely  hard  to  bring  everyone  together  and  resolve  the  numerous  complications.  

      

    On  Tue,  May  1,  2012  at  7:16  PM,  Kevin  Ogilby  <kgogilby@gmail.com>  wrote:

    Larina,

    Can  you  give  me  an  update  on  what  pieces  you  are  waiting  for  to  fall  into  place?    I  need  to  update  everyone  and
    to  make  a  determination  on  our  course  forward.    Thank  you.

      

    On  Tue,  May  1,  2012  at  1:54  PM,  Larina  Hintze  <larinahintze@gmail.com>  wrote:
Exhibit 7.page 3
    Kevin  maybe  you  can  help  sort  this  out.    I"m  really  not  sure  how  to  put  a  deal  together  whereby  everyone  is  in
https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   2/5
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    agreement.

    A  sale  of  TZ  to  SE  would  require  a  pro  rata  share  disbursement  to  all  creditors  and  it  would  be  in  direct  violation  of
    agreements  in  place  and  would  set  up  -­  those  that  agreed  to  terms  as  well  as  those  that  took  terms  -­  for  future
    suits  and  litigation  if  we  selectively  pay  creditors  and  sell  TZ  assets.  


         $75,000.00solar  loan


       $100,000.00compass  loan


         $50,000.00capital  city  loan


       $100,000.00attorney's


         $45,000.00Ryan  Dix


         $10,000.00Dex


         $10,000.00Gotcha


         $20,000.00Amex


                        Promissory
     $1,210,000.00
                        notes


     $1,620,000.00


       $350,000.00Buy  Out


                $0.22



    On  the  other  hand  if  TZ  buys  out  existing  promissory  note  holders  and  there  is  unanimous  agreement  with
    releases  then  you  still  have  a  pro  rata  buy  out  but  since  you  are  not  selling  TZ  it's  limited  to  just  note  holders.


                        Promissory
     $1,255,000.00
                        includes  Dix


       $350,000.00Buy  Out


                $0.28



    If  TZ  can  raise  working  capital  fine  and  if  not  at  least  with  all  the  notes  purchased  no  one  will  come  back  filing  suit
    and  it  creates  a  more  workable  solution  in  moving  forward  without  limitations.

   It's  all  very  complex  and  Matt  and  Larina  really  have  no  say  at  this  point.    It's  contingent  upon  the  agreements
Exhibit  7.page 4
    within  each  group.    We  can't  force  anyone  to  settle  and  we  can't  force  anyone  to  buy  out.    
https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   3/5
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                                                                           Filed        Base
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    Thoughts?




    On  Tuesday,  May  1,  2012,  Kevin  Ogilby  wrote:

    I  have  spoken  to  Rick  Staab,  Randy  Scott,  John  and  Sheila  Spence,  David  Whitney,  and  my  family.    All  would
    take  a  buyout  from  TZ  at  this  point,  assuming  the  payout  is  in  the  40  cent  range.    So  i  don't  feel  that  we  will  get
    hung  up  if  the  bid  is  strong  enough.  

    On  Tue,  May  1,  2012  at  10:21  AM,  Larina  Hintze  <larinahintze@gmail.com>  wrote:

    Kevin:

    Everyone  is  'marinating'  on  this.    Our  family's  fate  is  tied  to  all  this  so  the  stakes  have  never  been  higher  and  we
    wish  more  than  anyone  for  an  expeditious  resolution.

    When  we  introduce  someone  new  to  this  process  they  have  to  catch  up  to  everyone's  position  and  with  all  that's
    swirling  around  it's  a  lot  to  digest.

    The  buy  out  must  be  unanimous  and  all  8  creditors  must  agree  to  the  same  terms.    Where  does  for  instance
    Randy  Scott  stand.    I  have  not  contacted  him  as  you  seemed  to  indicate  you  have  that  firmed  up.

    So  my  question  is  if  we  have  a  check  split  among  all  8  creditors  pro  rata  waiting  at  Scott  Walker's  office  with  a
    reciprocal  release  of  liability  are  you  confident  everyone  will  sign?

    Thank  you,
    Larina

      

    On  Tue,  May  1,  2012  at  9:38  AM,  Kevin  Ogilby  <kgogilby@gmail.com>  wrote:

    Any  word  this  morning?

    Kevin  G.  Ogilby

    352-­226-­6040

    Kevin.Ogilby@duncanwilliams.com


    On  Apr  30,  2012,  at  3:56  PM,  Larina  Hintze  <larinahintze@gmail.com>  wrote:

             Kevin:

               

             Thank  you  -­  agree  contingencies  are  just  a  lay  up  to  justify  non-­payment  of  future  installments.

               

             We  are  familiar  with  this  style  and  format  -­

               

             I'll  touch  base  tomorrow  
Exhibit 7.page 5

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   4/5
12/16/2014                  Case 13-01007-KKS                      Gmail - RE:
                                                              Doc 452          Touching
                                                                           Filed        Base
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             On  Monday,  April  30,  2012,  Kevin  Ogilby  wrote:

             Attached  is  the  term  sheet  Ethan  proposed.    I  have  discussed  with  him  that  several  of  the  provisions
             are  not  needed  with  respect  to  due  diligence  of  the  Company,  etc.    The  agreement  would  be  a
             straightforward  non-­compete  at  UF.    He  has  agreed  that  much  of  the  legalese  is  not  needed.    

               

             I  have  made  no  formal  counter  to  his  offer  yet.    I  am  going  to  email  him  today  to  let  him  know  we  are
             processing  the  term  sheet  with  our  investors,  etc.    I  do  want  to  have  something  to  move  on  by  close
             of  business  tomorrow  though.    

               

             Look  forward  to  hearing  your  alternative.

               

             On  Mon,  Apr  30,  2012  at  2:07  PM,  Larina  Hintze  <larinahintze@gmail.com>  wrote:

             Hi  Kevin  as  we  discussed  last  week  we  would  touch  base  today.    We  have  a  conference  call  set  up
             for  late  this  evening  and  I  should  have  more  information  or  at  the  very  least  an  update  for  you
             tomorrow.

             May  we  see  a  copy  of  the  contract  that  Ethan  sent  that  we  are  being  asked  to  consider.    What  is  the
             update  with  the  offer,  counter  offer  on  that  front?

             I  realize  timing  is  critical  and  we  are  moving  things  forward  expeditiously  around  everyone's
             schedule.

             Thank  you,
             Larina

               

      

      

      

      

      

      




Exhibit 7.page 6

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   5/5
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                                                             Doc 452          Touching
                                                                          Filed        Base
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                                                                                        Matthew  Hintze  <matthewhintze@gmail.com>



  Re:  Touching  Base
  Matthew  Hintze  <matthewhintze@gmail.com>                                                                    Wed,  May  2,  2012  at  4:02  PM
  To:  Larina  Hintze  <larinahintze@gmail.com>,  christopher.james@warrington.ufl.edu

    Hey  Chris,

    First  off,  thank  you  for  allowing  us  to  interrupt  your  vacation  on  a  daily  basis.    Interesting  times...

    The  proposal  was  meant  to  do  a  couple  of  things.

    First,  I  want  to  consider  the  'home  run'  swing  -­  a  clean  balance  sheet  would  put  us  in  the  best  position  to  attract
    outside  investment.    We  have  to  deal  with  the  EBITDA  and  competitive  landscape,  but  at  least  without  the  debt
    overhang  we  can  narrow  the  objections.    Of  course,  not  to  suggest  we  do  anything  disingenuous,  but  I  want  to
    present  a  cap  table  with  a  nice  equity  majority  for  Larina  and  I  that  may  or  may  not  represent  any  'side  deal'  you
    and  I  have.    I  worry  that  a  cap  table  with  much  less  founders  equity  might  turn  off  professional  money.    For  all
    intents  and  purposes  we  may  have  a  convertible  instrument  that  we  present  to  professional  money  as  a  strictly
    equity  stake.    

    Second,  I  want  to  position    a  $3M  valuation.    The  15.8%  was  based  on  the  $475  current  investment  and  a  $3M
    valuation.    There  is  another  line  at  the  bottom  labeled  'Working  Capital  and  Debt  Buyout'  that  is  13.2%  for  the
    $400,000  in  working  capital  and  debt  buyout,  based  on  roughly  $.30  on  the  dollar  to  Spence,  Staab,  Scott,
    Whitney  and  Ogilby.    Your  additional  investment  would  fall  into  this  category.    Jason  had  indicated  that  he  felt  a
    $3M  pre-­money  valuation  (pre  second  round,  that  is,  but  post  summer  and  debt  buyout)  would  be  reasonable,  as
    you  and  I  had  discussed  a  few  months  back.

    I  agree  wholeheartedly  with  clawback,  advisory  board  and  employment  contract.    Critical  issues  going  forward
    and  items  that  you  and  I  must  address  to  your  satisfaction  before  doing  a  thing.

    My  goal  is  to  clean  up  the  yard  and  apply  fresh  paint  and  do  everything  we  can  to  attract  valuable  outside  money
    without  getting  fleeced.    As  I  drafted  that  e-­mail  it  occurred  to  me  that  the  debt  buyout,  though  tricky,  offers  just
    such  an  opportunity.    So  now  we  are  working  multiple  sides  of  the  equation  to  attract  new  money  without  seeming
    desperate,  selling  the  vision,  and  simultaneously  keeping  Kevin  at  the  table  though  we  have  no  fucking  idea  if  we
    will  be  able  to  complete  the  proposed  buyout.  

    I  could  type  forever,  but  I  imagine  you  are  reading  this  on  the  phone  and  sipping  a  nice  red.    Thank  you  again.

    -­Matt



    On  Wed,  May  2,  2012  at  1:29  PM,  Larina  Hintze  <larinahintze@gmail.com>  wrote:
     Chris:

       We  will  get  you  what  you  need  in  the  format  you  need  it  in.    This  is  out  of  my  realm  but  I  understand  the
       concepts.

       Matt  -­  Tag  you  are  it  ~

       On  Wed,  May  2,  2012  at  1:24  PM,  James,Christopher  <christopher.james@warrington.ufl.edu>  wrote:

                 There are a couple of issues with the proposal. First, my equity stake is way too low at 15.8%.
         Unless you’re considering some side deal, that’s an implied valuation post money of about $4 million for
Exhibit 7.page 7
         the enterprise (based on my investment including working capital of 575 K). Given the precarious nature
         of things right now and no EBITDA, the company is simply not worth $4 million. Thus I am going to
https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…   1/4
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                                                                       Filed        Base
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             need a greater stake, with possible claw backs. Second, I know the problems with an advisory board are
             fresh in your mind, but as Matt knows, any early stage investment requires some control rights for the
             initial investors. I trust you guys but as we just learned, the best laid plans…. You should also consider
             providing an employment agreement … The problem is that as sweat equity, purchase offers look different
             to you than for me. Consider for example the following scenario (not say you would but consider). We
             sign the deal and the next week you sell your equity stake at an implied enterprise value of 3 million and
             use the proceeds to pay off the deb leaving say $2.7 million to be divided among the shareholders. You
             walk away with over $1.5 million and I would receive $426K for an investment of $575K.

                           I am sure Matt understands the issues with this structure.




             From:  Larina  Hintze  [mailto:larinahintze@gmail.com]  
             Sent:  Wednesday,  May  02,  2012  9:52  AM


             To:  James,Christopher
             Subject:  Fwd:  Touching  Base

               



             Chris  -­  for  consideration  -­

               


             -­-­-­-­-­-­-­-­-­-­  Forwarded  message  -­-­-­-­-­-­-­-­-­-­
             From:  Matt  Hintze  
             Date:  Wednesday,  May  2,  2012
             Subject:  Touching  Base
             To:  Larina  Hintze  <larinahintze@gmail.com>




             Sent  from  my  iPhone


             Begin  forwarded  message:

                      From:  Matthew  Hintze  <matthewhintze@gmail.com>
                      Date:  May  1,  2012  1:54:02  PM  EDT
                      To:  Larina  Hintze  <larinahintze@gmail.com>,  David  Laiderman  <david@
                      collegeadvertisingsolutions.com>,  jason  <jason@hannix.com>
                      Subject:  Re:  Touching  Base

                      Hey  guys  –

                        

                      Thank  you  very  much  for  your  insight  and  suggestions  this  morning.    Apparently  I  wasn’t  the
                      only  one  staring  at  the  ceiling  last  night.

                        
Exhibit 7.page 8
                      I  think  your  points  are  critical  insofar  as  bringing  leverage  to  the  negotiations.    Obviously  the
https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…   2/4
12/16/2014                         Case 13-01007-KKS                                                      Gmail - Re:
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                  fewer  lawyers  involved  and  the  cleaner  the  break  the  better,  but  it’s  always  helpful  to
                  understand  everyone’s  standing.

                    

                  For  me,  since  my  mind  tends  to  err  on  the  side  of  optimism,  I  am  focused  on  'solving'  the  gun
                  pointed  at  our  head  but  I  can't  help  but  smile  when  thinking  about  the  tremendous  gift  that  this
                  turn  of  events  provides  -­  I  am  blown  away  by  the  opportunity  to  clean  up  a  ton  of  wreckage  in
                  one  fell  swoop.    We  absolutely  will  get  the  debt  buyout  and  summer  working  capital  done.  
                  Period.    This  will  be  an  absolute  blessing  in  terms  of  reducing  our  debt  and  cleaning  up  our
                  balance  sheet.    Further,  we  consolidate  persons  involved  to  people  that  are  extreme
                  TutoringZone  advocates.  

                    

                  As  you  both  observed,  the  most  realistic  candidates  for  the  additional  funding  required  right
                  now  are  Chris,  Creed  and  my  parents.    Once  secured,  this  gives  us  a  window  of  10  –  12
                  months  to  enhance  existing  operations  and  plan  for  success.  

                    

                  So  that  boils  the  items  for  consideration  to  the  ‘big  picture’  as  we  discussed  last  night.

                    

                  1.    TutoringZone  would  have  a  cap  table  as  follows:

                    

                  Equity:

                    

                  Matt  and  Larina  Hintze                                                                        58.5%

                  Employees                                                                                                                        10%

                  Chris  James                                                                                                                        15.8%

                  Bruce  and  Patricia  Hintze                                                                        2.2%

                  Working  Capital  and  Debt  Buyout                                                13.5%

                    

                  Notes:    Chris  (who  brings  a  ton  of  contacts  and  connections  as  an  Eminent  Scholar  in  Finance
                  at  UF  and  founding  partner  of  Cornerstone  Research)  and  Bruce  and  Patricia  Hintze  as  only
                  ‘outside  investors’.

                    

                  Debt:

                    

                  $295,000  in  bank  and  trade  credit.  

                    

                  Notes:    Creed  Greer  entirely  off  the  books  as  a  ‘Real  Estate  Investor’  in  Hintze  Management.  

                    
Exhibit 7.page 9
                  I  feel  like  the  vision  is  robust  and  this  capital  structure  would  allow  us  to  create  a  compelling

https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…                                3/4
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                  story  for  investors.  

                  So  then  the  question  for  consideration  is  whether  the  opportunity  is  attractive  for  you  both.    I  am
                  an  intuitive  decision  maker;;  as  such,  I  can  clearly  see  the  value  that  each  of  us  would  bring  to
                  the  entity  and  allow  for  the  greatest  likelihood  for  success.  

                    

                            -­                        Dave,  your  marketing  expertise  and  experience  building  a  network  of  campus
                            reps  is  essential  to  executing  a  national  rollout.      

                            -­                        Jason,  your  wealth  of  experience  and  passion  for  education  would  clearly  help
                            us  position  TZ  as  a  leader  in  online  supplemental  learning  of  all  sorts.

                              

                            -­                        My  expertise  in  hiring  and  training  instructors  and  innovation  in  online  delivery
                            would  assure  that  we  always  have  a  high  quality  and  affordable  product  that  is  at  the
                            forefront  of  technology  and  compelling  for  students.

                              

                  So  for  me  it  boils  down  to  a  strong  desire  to  bring  our  complementary  skills  together  with  this
                  strong  and  proven  concept  that  has  a  12-­year  track  record.    Of  course,  you’ve  both  heard  the
                  ‘how  did  Matt  and  Larina  meet’  story,  right?    Obviously  I  move  quite  quickly.    The  track  record  is
                  unbelievably  solid,  but  the  variance  (i.e.  Ethan!)  has  caused  some  angina.  

               




    -­-­  
    Matthew  Hintze
    MatthewHintze@gmail.com
    (352)  219-­1618  (mobile)




Exhibit 7.page 10

https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…      4/4
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              ---------- Forwarded message ----------
              From: James,Christopher <christopher.james@warrington.ufl.edu>
              Date: Thu, May 3, 2012 at 12:56 PM
              Subject: RE: Disclosure of New Investor Prospect
              To: Larina Hintze <larinahintze@gmail.com>


              Call	  me	  on	  the	  phone	  you	  texted	  me	  on.	  352-­‐284	  0019
              	  
              From: Larina Hintze [mailto:larinahintze@gmail.com]
              Sent: Thursday, May 03, 2012 12:45 PM
              To: Kevin Ogilby
              Cc: David Whitney; Rick Staab; Randy Scott; James,Christopher; John Spence; Sheila Spence;
              sally scott; Greer,Creed C,III; Bphintze@bellsouth.net; James,Christopher
              Subject: Re: Disclosure of New Investor Prospect

              agreed. I have a call into them.
              On Thu, May 3, 2012 at 12:43 PM, Kevin Ogilby <kgogilby@gmail.com> wrote:
              I feel like we should be able to know who these prospective investors are and we should get a call set up
              with them Immediately. They should want to speak with us sooner rather than later if they are serious
              about getting a deal done.

              Kevin G. Ogilby
              352-226-6040
              Kevin.Ogilby@duncanwilliams.com

              On May 3, 2012, at 12:36 PM, Larina Hintze <larinahintze@gmail.com> wrote:
              Hello Group:

              This is an extremely frustrating process for all. As much as our time line is now, the new group has no
              incentive to act quickly. I understand from Kevin that if we do not accept the StudyEdge offer today then
              some of you will be filing judgments against us. My response is that I understand but would be sad as I
              think that puts a nail in the coffin and extinguishes any chance of a bail out.

              I expressed to Kevin that I can not speak for the group and my impression of many group members is they
              would not sell a non-compete to SE as the contract is riddled with outs for Ethan that at best MAY yield .10
              cents on the dollar.

              Kevin indicated he spoke with Chris and Chris would take this deal and felt only Creed and matt's parents
              were the 'hold outs'. We agreed it would be best to poll everyone so everyone knows directly where each
              person stands.

              It was also expressed that Matt and Larina could make this deal happen and we did not need all the
              creditors to agree.

              However, we spoke with legal about 'preferential treatment' to creditors, signing a deal without the
              creditors consent and that is fraud and we would be tied up in litigation for years.

              TZ is out of funds, Matt and Larina are out of funds and we are at the mercy of existing creditors as well as
              new potential creditors.



Exhibit 7.page 11

                                                                                                                           SpenceReq001122
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              Here are some questions and thoughts based on my conversation with Kevin for everyone to consider:

              Is it possible for you all to wait and at least see if this group or internal creditors will come through with a
              buy out? Everyone knows that no matter what 5/13 is a drop dead deadline as TZ will not be able to make
              payroll without funding.

              Kevin stated the concern is that we would file bankruptcy and extinguish all chances of a sale to SE. I
              asked Kevin is there a creative way to draft a document that we will not file bankruptcy during this 'waiting
              time' or further that we promise to pay x cents on the dollar no matter what even if we file bankruptcy. He
              indicated no.

              Do we have any creative solutions that are not as finite and litigious is my question? Something that makes
              everyone feel comfortable with waiting?

              Is it possible Kevin to ask Ethan to put the upfront cash in escrow of $350k. Also can you keep a dialogue
              going with him so that we have time to get all offers in?

              Maybe tell him we have an offer to purchase TZ and we are working that deal so he may want to bring his
              best foot forward as they come with a war chest. If Ethan was wise he would have offered a MINIMUM
              of $835k now with a willingness to go up to $1.6 (a pay back of the $835k he was paid and a pay out of
              same but with a NON-COMPETE which we all realize now is extremely valuable).

              OR OFFER TO REVERSE THE OFFER. We take over his lease, we buy him out under the same
              terms and he gives us a non-compete. With 10 years financials and an overnight profit of $600k
              annualized with a non-compete we could definitely raise the capital.

              His creditors are not happy with him either because he had an unlimited marketing budget, gave everything
              away for free, paid huge signing bonuses, slashed prices to 50% of ours, has a location right across from
              campus and only got 50% of the market for exam reviews and 25% for weekly reviews.

              He told his creditors we would be closed shortly after the buy out and he would lock down all our tutors.
              We all know the summer is dry and so for him to be willing to buy TZ means he is worried. If he was so
              confident we were done then why even bother to make an offer right before summer. Why not just wait for
              the ship to sink?

              We know why because his revenues are less than ours:

              Exam reviews are $25 per month x 2850 = 71,250 x Jan-April = $285,000
              SE gets 50% of this market as represented by $285k

              Weekly reviews are $50 per month x 274 = 13,700 x Jan-April = $54,800
              SE gets only 25% of this market as represented by $54,800

              Total is $339,800. Our revenues were $479k year to date.

              We also have about 30% less in expenses back of the envelope. So his burn rate is staggering. His
              expenses based on staff and payroll are at least $150k per month - that's $600,000 jan - april.

              So he's loosing conservatively $65k per month. This does not take into account ALL HIS DISCOUNTS
              AND FREE MEMBERSHIPS but DOES take into account ours as our numbers are actual.

              We know these are the numbers and the market split because we have 10 years of semester over semester
              data and last year we got x and this year we got x and it's easy math.

              Let's assume he started with $1.6 million (our pay out plus the funds pledged if we won bid)
              $250k in taxes (marc calculated if we had lost the bid and got the $800k)

Exhibit 7.page 12

                                                                                                                            SpenceReq001123
                        Case 13-01007-KKS               Doc 452        Filed 10/02/15         Page 93 of 423



              $250k in build out
              150k startup (chairs, tables, computers, tshirts, pens, copiers etc)
              $50k summer advertising
              $200k loss over summer 6/15 - 8/15 with zero revenue and all the starting staff payroll and signing bonuses
              $200k fall loss at burn rate
              $260k spring loss at burn rate
              ______________
              1,360,000

              So that leaves only $310k which is interesting since his Term Sheet gives him until 2013 to raise the
              balance.

              Paying $835k means he got TMS for free, GIN for Free, and TZ for FREE with a non-compete. He made
              such a complex and absurd term sheet which made it that much harder to bring folks together.

              The possible new investor group was prepared to fly down Tuesday which I put calls out to all the creditors
              to see if they were interested in that. Randy also followed up with an email to chat and it seemed at that
              time everyone was focused on working a deal with Ethan and did not want to meet.

              Now their schedules are full. I have a call into them but it's a brand new relationship and if we start asking
              them if they want to make a baby after just a few dates.... It's a delicate balance and pushing them would
              only make them want to pay less not more. We have to patiently negotiate the best deal possible and giving
              them a deadline of today would not accomplish that - do you agree?

              On Thu, May 3, 2012 at 10:10 AM, Kevin Ogilby <kgogilby@gmail.com> wrote:
              All:

              I have asked Larina to disclose the new investor prospects that they are dealing with. I feel in order for us
              to make any reasonable decision on whether to wait on their investment decision we must have a thorough
              understanding of who they are and their capabilities.

              Larina said she would contact them to see if they would disclose their identity. I will leave it there for
              now. I think it would productive for other folks to chime in on this as I am getting to the point of utter
              frustration with this process.



              	  




Exhibit 7.page 13

                                                                                                                           SpenceReq001124
                      Case 13-01007-KKS           Doc 452      Filed 10/02/15      Page 94 of 423


                                                                               Larina Hintze <larinahintze@gmail.com>



  Re: Spence Meeting
  1 message

  Larina Hintze <larinahintze@gmail.com>                                                    Mon, May 7, 2012 at 3:57 PM
  To: "James,Christopher" <christopher.james@warrington.ufl.edu>

    Chris:

    Thinks seemed to have peaked in escalation and are settling back down ­ very interested in Jeff's input.

    Thank you,
    Larina

    On Monday, May 7, 2012, James,Christopher wrote:

      Sorry I was travelling over the weekend and did not have cell service. I am speaking with Jeff today to get a
      sense of the legal issues in restructuring. I will call you later and fill you in.

       
      From: Larina Hintze [mailto:larinahintze@gmail.com] 
      Sent: Sunday, May 06, 2012 2:20 PM
      To: James,Christopher
      Subject: Spence Meeting

       

      Sheila asked me to lunch.

      She said Kevin told the creditor group they did not know about the GIN take down or the non­compete.  I was
      personally in the Duncan Williams meeting where with all the DW staff Matt outlined all this in front of Kevin
      and Whit.

      They are probably embarrassed and looking to cover their tracks. That is the nexus of everyone's distrust.

      I have a call into Scott Walker and Rus Hintze as I'm fairly confident they both had pre­closing talks with Kevin
      and if they did then I will authorize Walker to talk with the Spence's.  

      Sheila said they think things have spiraled out of control with Whit's and Kevin's 'toxicity' and they want to try
      to 'fix' things.  She proceeded to ask questions about how much we need for 5/13 payroll and soft suggestions
      they may want to at least keep us going for this payroll.

      She also said they wanted to get all creditors in the same room "even if Whit and Kevin" are not there.  I told
      her to let me know and we could call a meeting and be there.

      I expected her to tell me hey heads up we are filing suit so I did not expect this meeting.

      I reaffirmed that we wanted to make everyone whole and pay everyone back but that would take time.

      i also said the potential investor group was anxious to meet everyone based on subordination and when they
      saw that creditors were negotiating with Ethan and looking for a pay out they thought the situation was insane
      and I think that ship may have sold.

ExhibitSo I left things open ended....  Thought you should have this update.
        7.page 14
                      Case 13-01007-KKS           Doc 452        Filed 10/02/15   Page 95 of 423
      Also did you want us in on the call with the attorney?  

      Thank you for everything.... 




Exhibit 7.page 15
                      Case 13-01007-KKS           Doc 452      Filed 10/02/15      Page 96 of 423


                                                                               Larina Hintze <larinahintze@gmail.com>



  Re: Spence Meeting
  1 message

  Larina Hintze <larinahintze@gmail.com>                                                    Mon, May 7, 2012 at 3:57 PM
  To: "James,Christopher" <christopher.james@warrington.ufl.edu>

    Chris:

    Thinks seemed to have peaked in escalation and are settling back down ­ very interested in Jeff's input.

    Thank you,
    Larina

    On Monday, May 7, 2012, James,Christopher wrote:

      Sorry I was travelling over the weekend and did not have cell service. I am speaking with Jeff today to get a
      sense of the legal issues in restructuring. I will call you later and fill you in.

       
      From: Larina Hintze [mailto:larinahintze@gmail.com] 
      Sent: Sunday, May 06, 2012 2:20 PM
      To: James,Christopher
      Subject: Spence Meeting

       

      Sheila asked me to lunch.

      She said Kevin told the creditor group they did not know about the GIN take down or the non­compete.  I was
      personally in the Duncan Williams meeting where with all the DW staff Matt outlined all this in front of Kevin
      and Whit.

      They are probably embarrassed and looking to cover their tracks. That is the nexus of everyone's distrust.

      I have a call into Scott Walker and Rus Hintze as I'm fairly confident they both had pre­closing talks with Kevin
      and if they did then I will authorize Walker to talk with the Spence's.  

      Sheila said they think things have spiraled out of control with Whit's and Kevin's 'toxicity' and they want to try
      to 'fix' things.  She proceeded to ask questions about how much we need for 5/13 payroll and soft suggestions
      they may want to at least keep us going for this payroll.

      She also said they wanted to get all creditors in the same room "even if Whit and Kevin" are not there.  I told
      her to let me know and we could call a meeting and be there.

      I expected her to tell me hey heads up we are filing suit so I did not expect this meeting.

      I reaffirmed that we wanted to make everyone whole and pay everyone back but that would take time.

      i also said the potential investor group was anxious to meet everyone based on subordination and when they
      saw that creditors were negotiating with Ethan and looking for a pay out they thought the situation was insane
      and I think that ship may have sold.

ExhibitSo I left things open ended....  Thought you should have this update.
        7.page 16
                      Case 13-01007-KKS           Doc 452        Filed 10/02/15   Page 97 of 423
      Also did you want us in on the call with the attorney?  

      Thank you for everything.... 




Exhibit 7.page 17
                             Case 13-01007-KKS                             Doc 452               Filed 10/02/15                    Page 98 of 423




              ---------- Forwarded message ----------
              From: James,Christopher <christopher.james@warrington.ufl.edu>
              Date: Tue, May 8, 2012 at 1:45 AM
              Subject: RE: Spence emailed tutors
              To: Larina Hintze <larinahintze@gmail.com>


              I	  spoke	  with	  Jeff	  yesterday	  and	  I	  am	  planning	  another	  call	  with	  him	  today.	  As	  I	  indicated	  last	  
              week	  the	  problem	  that	  we	  have	  is	  that	  we	  do	  not	  have	  the	  350K	  to	  put	  a	  down	  payment	  on	  
              creditors	  buyout	  and	  get	  you	  through	  the	  summer.	  If	  Matt’s	  parents	  put	  in	  say	  100K	  and	  I	  put	  in	  
              125k	  we	  are	  still	  125K	  short.	  I	  don’t	  see	  any	  way	  around	  the	  fact	  that	  to	  stay	  open	  you	  need	  to	  
              raise	  another	  125K.	  Jeff	  suggested	  one	  avenue	  that	  would	  be	  less	  expensive	  is	  to	  file	  for	  
              bankruptcy	  and	  then	  arrange	  the	  sale	  of	  the	  TZ	  name	  to	  an	  LLC	  that	  I	  set	  up	  and	  then	  I	  hire	  Matt	  
              and	  the	  tutors	  and	  we	  find	  a	  small	  space	  to	  rent.	  The	  other	  creditors	  will	  obviously	  not	  be	  
              happy.
              Jeff	  did	  indicate	  that,	  except	  for	  Matt,	  non	  competes	  are	  largely	  unenforceable	  which	  is	  why	  
              Ethan’s	  offer	  is	  contingent.
              Let	  me	  know	  what	  a	  good	  time	  to	  talk	  is.
              	  
              From: Larina Hintze [mailto:larinahintze@gmail.com]
              Sent: Monday, May 07, 2012 8:57 PM
              To: James,Christopher
              Subject: Spence emailed tutors

              The positive is that he asked for feedback on how everyone is doing - which I sense means he's reinvesting
              and considering coming back in.

              The negative is the tutors called and Jon a who was further in the email thread indicated spence said we
              have a big decision to make as next week do you know tz would be out of funds.

              I asked Matt to call spence - which he left word to rein this line of discussion in - if that is really want
              spence is telling tutors - obviously we didn't tell them and presumed everyone would understand that is not
              how to handle this. If this comes from creditors while Matt's veneer reassuring everyone - it once again
              undermines Matt.

              We were caught off guard that after 4 months of no involvement with our team - spence took it upon
              himself to do this without our consent.

              However we don't want to thwart spence - if this is what he needs to feel comfortable moving forward.

              Another delicate balance - but I keep encouraging Matt to keep in close contact with creditors -

              Kevin also left me a message and seemed calmer and Sheila said she thought even Kevin could be
              salvaged. Matt has a call into Kevin as well - taking your advice that matt should start to reach out more to
              everyone.

              Wish you were here - when are you coming back?

              	  

Exhibit 7.page 18

                                                                                                                                                                            SpenceReq001722
                        Case 13-01007-KKS        Doc 452      Filed 10/02/15      Page 99 of 423


                                                                       Matthew Hintze <matthewhintze@gmail.com>



 Thank You ­ Payroll ­ Future
 1 message

 Larina Hintze <larinahintze@gmail.com>                                           Wed, May 9, 2012 at 9:06 PM
 To: Christopher James <christopher.james@cba.ufl.edu>, Matthew Hintze <matthewhintze@gmail.com>

   Chris and Matt (my thoughts after digesting all this):

   First thank you.  

   I know this has eaten up a great deal of time and resources and I'm very sorry ­ WE WILL MAKE YOU PROUD :­
   )

   We are both humbly thankful for all that you've done.  We had a lot to digest and we are right back to it getting
   everything ready.  Jeff is meeting with us at 9:00 a.m.

   One thought that keeps rattling around is that I think we should all think about how to keep our key tutors that are
   expecting to get paid 5/14/12.  We earn about $40k a month in revenue and if we only have payroll it's about
   $50k for our key team.  

   That significantly narrows the shortfall to $10k.  Further, if you and only you (and NO wacky creditor) addresses
   the tutors we may even keep them and get them to agree to a different pay model. 

   If we did a variable pay that made sense they may buy into that if we emphasize that expansion means more
   revenues and if it goes well = pay raises.  If they agree to less now we all would be wise to agree to give them
   more later (equity, profit share, etc).

   If we keep going over the summer and don't loose the key members then as we re­organize we don't loose all
   that revenue and all those customers.

   Matt's parents are already on board for 2­1/2 months of this shortfall $25k.  We need more now until revenues
   come in so Matt's parents or whomever is willing would once again be granting Payroll Advances ­ first paid back
   out of revenues.

   Kevin had a very good call with Matt and he seemed to be on board FINALLY with the reality of where we are at.

   He encouraged Matt to call a creditor meeting when you are back on Monday.  He also indicated that Staab and
   maybe even himself would invest in TZ if we default on all the non­personal debt and present a profitable plan
   moving forward.  He was talking about a 5 year repayment.  Listen we are down with paying everyone back every
   cent as long as everyone is rational!  This drama is just to much and I'm sure you are just as tired of it as we
   are.

   I think just Whit and NOW Spence(s) are the only really upset members and unstable ­ My sense is that Sheila
   misinterpreted our meeting ­ rattled John ­ now he's pissed about things I'm sure I didn't say!  Thank you for
   sparing me reading the email she circulated ~

   Randy, Rick, Creed, you, parents and now Kevin seem pretty square on things ­ do you have same impression?

   I have the civil suit document (100 pages complete with exhibits, proof, dates, time etc) ­ a copy is attached.  I
   feel very strongly that we can get him!  Especially now that he's jerked around UGA employees and maybe they
   will jump on board with a suit and be witnesses as they saw a lot of what happened.

   I think that keeping ALL THE PRIVATE MONEY happy keeps us from nasty litigation etc.  We just need IRON
   CLAD docs for them to sign:
Exhibit 7.page 19
   They will not contact any TZ employee
                     Case 13-01007-KKS         Doc 452      Filed 10/02/15     Page 100 of 423
    They will agree to monthly reports and have one POC at TZ or from the new governing board.
    We have a stable governing board.

    Re­Organization seems like the best course to stay all the claims?  In that process we can work out settlements
    with all the non personal creditors.




        TZ vs SE GPD.doc
        6370K




Exhibit 7.page 20
                      Case 13-01007-KKS          Doc 452      Filed 10/02/15      Page 101 of 423


                                                                             Larina Hintze <larinahintze@gmail.com>



  RE: Disclosure of New Investor Prospect
  1 message

  James,Christopher <christopher.james@warrington.ufl.edu>                                 Thu, May 3, 2012 at 12:56 PM
  To: Larina Hintze <larinahintze@gmail.com>


    Call me on the phone you texted me on. 352‐284 0019

     
    From: Larina Hintze [mailto:larinahintze@gmail.com] 
    Sent: Thursday, May 03, 2012 12:45 PM
    To: Kevin Ogilby
    Cc: David Whitney; Rick Staab; Randy Scott; James,Christopher; John Spence; Sheila Spence; sally scott;
    Greer,Creed C,III; Bphintze@bellsouth.net; James,Christopher
    Subject: Re: Disclosure of New Investor Prospect

     

    agreed.  I have a call into them.

    On Thu, May 3, 2012 at 12:43 PM, Kevin Ogilby <kgogilby@gmail.com> wrote:

    I feel like we should be able to know who these prospective investors are and we should get a call set up with
    them Immediately.  They should want to speak with us sooner rather than later if they are serious about getting a
    deal done.

    Kevin G. Ogilby

    352­226­6040

    Kevin.Ogilby@duncanwilliams.com


    On May 3, 2012, at 12:36 PM, Larina Hintze <larinahintze@gmail.com> wrote:

           Hello Group:

           This is an extremely frustrating process for all.  As much as our time line is now, the new group
           has no incentive to act quickly.  I understand from Kevin that if we do not accept the StudyEdge
           offer today then some of you will be filing judgments against us.  My response is that I understand
           but would be sad as I think that puts a nail in the coffin and extinguishes any chance of a bail out.

           I expressed to Kevin that I can not speak for the group and my impression of many group members
           is they would not sell a non­compete to SE as the contract is riddled with outs for Ethan that at
           best MAY yield .10 cents on the dollar.

           Kevin indicated he spoke with Chris and Chris would take this deal and felt only Creed and matt's
           parents were the 'hold outs'.  We agreed it would be best to poll everyone so everyone knows
           directly where each person stands.

           It was also expressed that Matt and Larina could make this deal happen and we did not need all the
           creditors to agree.
Exhibit 7.page 21
                    Case 13-01007-KKS           Doc 452      Filed 10/02/15       Page 102 of 423
         However, we spoke with legal about 'preferential treatment' to creditors, signing a deal without the
         creditors consent and that is fraud and we would be tied up in litigation for years.  

         TZ is out of funds, Matt and Larina are out of funds and we are at the mercy of existing creditors as
         well as new potential creditors.

         Here are some questions and thoughts based on my conversation with Kevin for everyone to
         consider:

         Is it possible for you all to wait and at least see if this group or internal creditors will come through
         with a buy out?  Everyone knows that no matter what 5/13 is a drop dead deadline as TZ will not be
         able to make payroll without funding.  

         Kevin stated the concern is that we would file bankruptcy and extinguish all chances of a sale to
         SE.  I asked Kevin is there a creative way to draft a document that we will not file bankruptcy
         during this 'waiting time' or further that we promise to pay x cents on the dollar no matter what even
         if we file bankruptcy.  He indicated no.

         Do we have any creative solutions that are not as finite and litigious is my question?  Something
         that makes everyone feel comfortable with waiting?

         Is it possible Kevin to ask Ethan to put the upfront cash in escrow of $350k.  Also can you keep a
         dialogue going with him so that we have time to get all offers in? 

         Maybe tell him we have an offer to purchase TZ and we are working that deal so he may want to
         bring his best foot forward as they come with a war chest.  If Ethan was wise he would have
         offered a MINIMUM of $835k now with a willingness to go up to $1.6 (a pay back of the $835k he
         was paid and a pay out of same but with a NON­COMPETE which we all realize now is extremely
         valuable).  

         OR OFFER TO REVERSE THE OFFER.  We take over his lease, we buy him out under the
         same terms and he gives us a non­compete.  With 10 years financials and an overnight profit
         of $600k annualized with a non­compete we could definitely raise the capital.

         His creditors are not happy with him either because he had an unlimited marketing budget, gave
         everything away for free, paid huge signing bonuses, slashed prices to 50% of ours, has a location
         right across from campus and only got 50% of the market for exam reviews and 25% for weekly
         reviews.  

         He told his creditors we would be closed shortly after the buy out and he would lock down all our
         tutors.  We all know the summer is dry and so for him to be willing to buy TZ means he is worried. 
         If he was so confident we were done then why even bother to make an offer right before summer. 
         Why not just wait for the ship to sink?  

         We know why because his revenues are less than ours:

         Exam reviews are $25 per month x 2850 = 71,250 x Jan­April = $285,000
         SE gets 50% of this market as represented by $285k

         Weekly reviews are $50 per month x 274 = 13,700 x Jan­April = $54,800
         SE gets only 25% of this market as represented by $54,800

         Total is $339,800.  Our revenues were $479k year to date.  

         We also have about 30% less in expenses back of the envelope.  So his burn rate is staggering. 
         His expenses based on staff and payroll are at least $150k per month ­ that's $600,000 jan ­ april.

           So he's loosing conservatively $65k per month.  This does not take into account ALL HIS
           DISCOUNTS AND FREE MEMBERSHIPS but DOES take into account ours as our numbers are
Exhibit 7.page 22
           actual.
                      Case 13-01007-KKS           Doc 452       Filed 10/02/15      Page 103 of 423
           We know these are the numbers and the market split because we have 10 years of semester over
           semester data and last year we got x and this year we got x and it's easy math.

           Let's assume he started with $1.6 million (our pay out plus the funds pledged if we won bid)
           $250k in taxes (marc calculated if we had lost the bid and got the $800k)
           $250k in build out
           150k startup (chairs, tables, computers, tshirts, pens, copiers etc)
           $50k summer advertising
           $200k loss over summer 6/15 ­ 8/15 with zero revenue and all the starting staff payroll and signing
           bonuses
           $200k fall loss at burn rate
           $260k spring loss at burn rate
           ______________
           1,360,000

           So that leaves only $310k which is interesting since his Term Sheet gives him until 2013 to raise
           the balance.

           Paying $835k means he got TMS for free, GIN for Free, and TZ for FREE with a non­compete. 
           He made such a complex and absurd term sheet which made it that much harder to bring folks
           together.

           The possible new investor group was prepared to fly down Tuesday which I put calls out to all the
           creditors to see if they were interested in that.  Randy also followed up with an email to chat and it
           seemed at that time everyone was focused on working a deal with Ethan and did not want to meet.

           Now their schedules are full.  I have a call into them but it's a brand new relationship and if we start
           asking them if they want to make a baby after just a few dates....  It's a delicate balance and
           pushing them would only make them want to pay less not more.  We have to patiently negotiate the
           best deal possible and giving them a deadline of today would not accomplish that ­ do you agree?


           On Thu, May 3, 2012 at 10:10 AM, Kevin Ogilby <kgogilby@gmail.com> wrote:

           All:

           I have asked Larina to disclose the new investor prospects that they are dealing with.  I feel in
           order for us to make any reasonable decision on whether to wait on their investment decision we
           must have a thorough understanding of who they are and their capabilities.  

           Larina said she would contact them to see if they would disclose their identity.  I will leave it there
           for now.  I think it would productive for other folks to chime in on this as I am getting to the point of
           utter frustration with this process. 

            

     




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                                                                         Matthew Hintze <matthewhintze@gmail.com>



  Re: Handout for Meeting tonight
  1 message

  James,Christopher <christopher.james@warrington.ufl.edu>                                  Wed, May 16, 2012 at 9:08 AM
  To: Matthew Hintze <matthewhintze@gmail.com>
  Cc: Larina Hintze <larinahintze@gmail.com>

    Let's meet first thing Thursday Am. Please bring with you the past business plan, financials for this year and
    outline of the structure that you are going to go with in the restructuring. I am going to meet with Jeff following are
    meeting to get some idea of my exposure under the plan as well as having him work on the documentation for
    the transaction. I am still on European time so we can meet as early as you would like. Have you looked into
    what documentation that is needed to get a release from the other creditors? My understanding is that some of
    the notes have restrictions on asset sales. Do you have copies of the other notes. If so bring those with you as
    well as any other docs you think are helpful to understand the position I will have going forward. Thanks 

    Sent from my iPad

    On May 15, 2012, at 15:03, "Matthew Hintze" <matthewhintze@gmail.com> wrote:


           Thanks Chris.  Let me know what time works for you and I will plan on coming by campus.

           ­Matt



           On Tue, May 15, 2012 at 6:05 AM, James,Christopher <christopher.james@warrington.ufl.edu>
           wrote:
             That was my takeaway as well. Back in Gainesville on Wednesday and will touch base with you
             then.

              Sent from my iPad

              On May 14, 2012, at 21:08, "Matthew Hintze" <matthewhintze@gmail.com> wrote:


                    My understanding of what just happened is 

                    A.  People have written off their money, just wanted our word that when successful
                    we will pay them back based on moral obligation.
                    B.  Not too interested in equity in new company.  Just want our word in exchange
                    for not contesting and making a hard time.
                    C.  Kevin pitched that it would be smart for each of them to invest a few dollars
                    ('get your retainer back and give to TZ') for the DIP financing.  More on that asap.
                    D.  They would like an e­mail from Larina to confirm that I relayed A and B very
                    clearly to you.  Simply note that we have the inner moral intention of paying them
                    all back eventually, whether it takes a lifetime or not, when we are wildly
                    successful.



                    On Mon, May 14, 2012 at 7:09 PM, Larina Hintze <larinahintze@gmail.com>
                    wrote:
Exhibit 7.page 24     Matt:
                    Case 13-01007-KKS           Doc 452       Filed 10/02/15          Page 105 of 423
                    This guaranty is confusing to me ­ it seems to survive Chapter 7 but I'm not sure
                    when both personal and business since?

                    I do not see where it's listed in the lease that is 'secured'. 

                    I would want a legal opinion ­ this is a complex lease.




                    On Mon, May 14, 2012 at 5:44 PM, Matthew Hintze
                    <matthewhintze@gmail.com> wrote:
                     Based on that, what do you think of the outlined recommendation?



                      On Mon, May 14, 2012 at 5:36 PM, James,Christopher
                      <christopher.james@warrington.ufl.edu> wrote:
                        Good. 

                         Sent from my iPad

                         On May 14, 2012, at 17:34, "Matthew Hintze" <matthewhintze@gmail.com>
                         wrote:


                                Both bank lines are unsecured (I checked out note with
                                them).  Solar loan is secured ONLY by solar panels.



                                On Mon, May 14, 2012 at 5:31 PM, James,Christopher
                                <christopher.james@warrington.ufl.edu> wrote:
                                  Not sure I really follow this. Doesn't the bank have a
                                  secured position so won't you need them to approve before
                                  you can give a secured interest in the intellectual property of
                                  tutoring zone? 

                                   Sent from my iPad

                                   On May 14, 2012, at 17:16, "Matthew Hintze"
                                   <matthewhintze@gmail.com> wrote:


                                          Chris ­ 

                                          Welcome back.  Thanks for working so
                                          patiently through the past few weeks.

                                          I would like to hand out the attached doc at
                                          our meeting tonight.  Based on conversation
                                          with Lisa today, I think the 'recommendation'
                                          on the first page is superior to the pump and
                                          dump.  Any comments?

                                          I have not entered the equity percentages for
                                          existing creditors, new working capital, etc.  I
                                          think they will be looking for suggestions but I
                                          did not want to do to much on this front before
Exhibit 7.page 25                         speaking to you.
                     Case 13-01007-KKS         Doc 452   Filed 10/02/15      Page 106 of 423
                                       Randy, John, Whit, Kevin and Rick total
                                       $518,000.  I think that chunk deserves 15% ­
                                       20% at best.  I mean, the only reason for
                                       them to get anything is as an olive branch.

                                       Do we assign a valuation and assign equity to
                                       you, Creed and my parents, as well as
                                       employees, based on that?  Rationally, I
                                       guess we have to treat ALL existing notes
                                       equally.  We can build clawbacks into this
                                       framework, of course.

                                       Newco should be an LLC so we can have
                                       multiple classes of stock, correct?  If so, then
                                       new capital can be preferred with 5% dividend
                                       and conversion at valuation of $x.  Existing
                                       indebtedness is granted common.  

                                       ­Matt



                                       ­­ 
                                       Matthew Hintze
                                       MatthewHintze@gmail.com
                                       (352) 219­1618 (mobile)


                                       <5.14.docx>




                               ­­ 
                               Matthew Hintze
                               MatthewHintze@gmail.com
                               (352) 219­1618 (mobile)




                       ­­ 
                       Matthew Hintze
                       MatthewHintze@gmail.com
                       (352) 219­1618 (mobile)




                    ­­ 
                    Matthew Hintze
                    MatthewHintze@gmail.com
                    (352) 219­1618 (mobile)




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           ­­ 
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           Matthew Hintze
           MatthewHintze@gmail.com
           (352) 219­1618 (mobile)




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                            Case 13-01007-KKS                   Doc 452          Filed 10/02/15            Page 108 of 423
  TutoringZone	  Resolution	  
  	  
  Each	  option	  involves	  Matt	  and	  Larina	  Hintze	  filing	  personal	  bankruptcy.	  
  	  
  	  
  Option	  1	  
  	  
  Sell	  Assets	  to	  New	  Company	  
  	  
  Mechanics	  
  	  
  BK	  Hintze,	  Wind	  Down	  TZ	  
  Equity	  to	  New	  Capital	  
            -­‐           Consideration	  for	  existing	  Noteholders	  
            -­‐           Clawback	  
  One	  Opinion:	  	  Opens	  equity	  in	  NEWCO	  to	  fraud	  
  Second	  Opinion:	  	  Liabilities	  go	  with	  assets.	  
  	  
  Option	  2	  
  	  
  Reorganization	  
  	  
  Option	  3	  
  	  
  Chapter	  7,	  open	  new	  company	  
  	  
  	  
  Recommendation:	  
  	  
  1.	      TZ	  Grant	  secured	  interest	  in	  intangible	  property,	  remaining	  physical	  assets	  of	  TZ.	  	  Use	  this	  money	  
            to	  fund	  bills	  over	  summer.	  
  2.	      Begin	  the	  bankruptcy	  process.	  
  3.	      Negotiate	  with	  other	  creditors	  to	  extend	  winding	  down	  process	  
  	        -­‐	         Can	  we	  stay	  at	  TZ	  while	  they	  look	  for	  new	  tenant	  if	  we	  pay	  CAM’s?	  
  	        -­‐	         How	  long	  before	  Zeno	  comes	  to	  get	  copy	  machines?	  
  4.	      By	  fall	  –	  obtain	  business	  valuation,	  sell	  TZ	  assets	  through	  receiver.	  	  	  
            -­‐           If	  Auction	  Value	  <	  Lien	  for	  New	  Capital,	  all	  assets	  go	  to	  Lienholder(s)	  
            -­‐           If	  Value	  >	  Lien,	  then	  additional	  funds	  distributed	  pro-­‐rata	  
  	  
  	  
  	  
  	  




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                           Case 13-01007-KKS     Doc 452      Filed 10/02/15   Page 109 of 423
  	  
         Debt
         AMEX                                    $18,386.27
         Compass - Line of Credit               $100,000.00
         Capital City - Line of Credit           $50,000.00
         Capital City - Solar Loan               $72,167.72
         Ryan Dix                                   $40,000
         Dex                                      $6,875.26
         Gotcha                                   $6,000.00
         Chris James                               $475,000
         Creed Greer                               $150,000
         Rick Staab                                $150,000
         Kevin Ogilby and Family                   $143,000
         David Whitney                             $125,000
         John and Sheila Spence                     $75,000
         Bruce and Patricia Hintze                  $67,000
         Randy and Sally Scott                      $25,000
                                              $1,503,429.25

         Contracts / Bank Loans          Contract Start - End Dates
         RMC Lease                       7/1/10 - 6/30/16        $9,569.18           $478,189.00
         Capital City Solar              7/12/10 - 11/1/18          $718.33           $72,167.72
         Capital City Line of Credit     7/19/10 - 7/19/14       $1,534.92            $41,439.24
         Compass Bank Line of Credit     6/21/10 - 6/21/12          $455.52           $99,999.10
         U.S. Bankcorp Equip Finance     8/11/10 - 7/30/15       $3,706.69           $185,334.50
                                                                                    $877,129.56
  	  
  	  
  	  
  	  
  	  




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  Current	  Position	  
   Bank Balance                   $10,000

   Payroll - Tuesday                                       Payroll - Mail/Hold
   Alek Hartzog                 $1,491.67                  Matt Hintze             $5,000.00
   Jake Rosenzweig              $1,300.00                  Jon Aleman              $5,000.00
   Kyle Hannabass                 $581.30                  Lauren Figler           $2,153.33
   Jon Samuelson                  $528.00                  Aaron Figler              $575.50
   Lan Hoang Minh                 $210.00                  Michael Underwood       $2,083.33
   Rob Bailey                     $516.00                  John Kavekos            $2,991.67
   Katie Murphy                   $437.50                  Zayda Lima                $103.50
   Jackie Grill                    $48.20                  Anna Hartzog              $134.70
   TJ O'Toole                      $36.98                  Siobhan Waldron            $31.30
   Veronica Veitia                $168.93                  Charlie Turner            $550.00
   Mariel Rector                   $76.50                  Jens Engelmann            $350.00
   Paul Hintze                  $2,741.67                  Erin Heim               $1,000.00
   Estimated Payroll taxes      $1,900.00                  Total                  $19,973.33
   Total                       $10,036.75

   Bills - Pay ASAP
   BCBS                           $184.25
   352 Media                       $44.00
   Gainesville Paper Co           $109.82
   Zeno                           $220.60
   Smokin Notes                $11,214.94
   Refunds                        $180.00
   HOSA (donation)                 $30.00
   5% back for an A                $73.88
   Total                       $12,057.49

   Bills - Depends, Default, Renegotiate?
   Sexton & Schnoll                            $2,773.75   Negotiate
   TCC                                         $7,202.50   Negotiate
   Gainesville SC Co                           $9,591.74   Stay in building?
   GRU-internet                                $1,080.00   Stay in building?
   GRU-Util                                    $2,461.14   Stay in building?
   Waste Pro                                     $426.65   Stay in building?
   Scarborough Insurance                       $2,006.00   Stay in building?
   Retail 1st                                    $232.44   Stay in building?
   Capital City Bank                             $718.33   Default
   US Bank Equip Finance                       $4,039.54   Default
   Gator Shop                                  $1,355.69   Default
   Compass                                       $440.83   Default
   Amex                                        $3,350.00   Default
   Capital City Bank                           $1,534.92   Default
   Total                                      $37,213.53

   Negotiate                                   $9,976.25
   Depends                                    $15,797.97
   Default                                    $11,439.31

   Deficit (Balance - ALL Payroll and
   ASAP)                                        -$32,068
  	  
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                             Case 13-01007-KKS                  Doc 452          Filed 10/02/15            Page 111 of 423
  Summer	  Pro	  Forma	  
  	  
  Projected	  Revenues	  for	  the	  May	  –	  August	  Period	  are	  $140,000.	  	  Monthly	  Expenses	  are	  outlined	  below	  
  (highlighted	  items	  are	  no	  longer	  paid	  in	  the	  event	  of	  bankruptcy):	  
  	  
        During breaks - Monthly Expenses - UF and FSU
       Payroll (UF + FSU, including taxes)                            $65,000.00
       CC Fees                                                          $1,000.00
       Video Streaming and Hosting                                        $300.00
       Healthcare                                                         $653.61
       Refunds                                                            $200.00
       Workers Comp Insurance                                             $450.00
       Sexton & Schnoll                                                   $385.00
       Healthcare                                                         $225.00
       Bank Fees                                                          $100.00 $68,313.61
       Rent (UF and FSU)                                              $10,600.00
       Copier Lease                                                     $3,895.37
       American Express                                                 $3,350.00
       Utilities                                                        $1,700.00
       Capital City Line of Credit                                      $1,534.92
       Dex Imaging                                                      $1,500.00
       GOTCHA                                                           $1,000.00
       Internet                                                           $809.00
       Capital City Solar                                                 $718.33
       Telephone/Fax for TZ                                               $700.00
       352 Media/Server                                                   $668.00
       Baker Hostetler                                                    $500.00
       Folds and Walker                                                   $500.00
       Paper                                                              $500.00
       Compass Line of Credit                                             $486.36
       Trash                                                              $408.26
       Copier Supplies                                                    $200.00
       Cleaning Supplies                                                  $150.00
       Pest Control                                                         $53.50
       Alarm                                                                $47.81 $29,321.55
                                                                      $97,635.16
  	  
  There	  will	  be	  additional	  expenses	  for	  rent	  (live	  reviews)	  and	  copies	  (relatively	  small	  in	  the	  summer).	  
  	  
  	  
  	  
  	  
  	  
  	  
  	  
  	  
  	  
  	  
  	  
  	  
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  Fall	  	  
  	  
  UF	  and	  FSU	  appear	  as	  follows:	  
  	  
                                  May                 June        July       August         September         October         November         December
   Revenues - UF                  $40,458             $40,458    $40,458      $13,486          $80,849         $80,849         $121,273         $121,273
   Revenues - FSU                  $5,497              $5,497      $5,497      $1,832          $28,995         $28,995          $43,492          $43,492
   Expenses                       $75,000             $75,000    $75,000      $85,000          $90,000         $90,000          $90,000          $90,000
   Monthly Profit                -$29,044            -$29,044   -$29,044     -$69,681          $19,844         $19,844          $74,766          $74,766

   Cumulative                    -$29,044            -$58,088   -$87,133    -$156,814         -$136,970       -$117,125          -$42,359          $32,406
  	  
  Our	  strategy	  would	  be:	  
  	  
  1.	  	  	   Position	  the	  new	  company	  much	  like	  Udacity,	  Knewton,	  Coursera.	  	  Focus	  on	  ILO’s,	  Adaptive	  
                 Technology.	  	  Position	  the	  current	  offering’s	  as	  Newco’s	  TutoringZone.	  
  	  
  2.	  	  	   Work	  with	  new	  partners	  to	  raise	  capital	  and	  execute	  expansion	  strategy.	  
  	  
  3.	           Newco	  enter	  into	  Employment	  Contracts	  with	  all	  current	  employees.	  	  Move	  to	  Variable	  
                 Compensation	  model	  with	  tutors	  earning	  a	  graduated	  percentage	  of	  revenues	  between	  25%	  and	  
                 38%	  of	  revenue	  for	  all	  classes.	  
  	  
  	  




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                                                                         Matthew Hintze <matthewhintze@gmail.com>



  Re: Handout for Meeting tonight
  1 message

  James,Christopher <christopher.james@warrington.ufl.edu>                                  Wed, May 16, 2012 at 9:08 AM
  To: Matthew Hintze <matthewhintze@gmail.com>
  Cc: Larina Hintze <larinahintze@gmail.com>

    Let's meet first thing Thursday Am. Please bring with you the past business plan, financials for this year and
    outline of the structure that you are going to go with in the restructuring. I am going to meet with Jeff following are
    meeting to get some idea of my exposure under the plan as well as having him work on the documentation for
    the transaction. I am still on European time so we can meet as early as you would like. Have you looked into
    what documentation that is needed to get a release from the other creditors? My understanding is that some of
    the notes have restrictions on asset sales. Do you have copies of the other notes. If so bring those with you as
    well as any other docs you think are helpful to understand the position I will have going forward. Thanks 

    Sent from my iPad

    On May 15, 2012, at 15:03, "Matthew Hintze" <matthewhintze@gmail.com> wrote:


           Thanks Chris.  Let me know what time works for you and I will plan on coming by campus.

           ­Matt



           On Tue, May 15, 2012 at 6:05 AM, James,Christopher <christopher.james@warrington.ufl.edu>
           wrote:
             That was my takeaway as well. Back in Gainesville on Wednesday and will touch base with you
             then.

              Sent from my iPad

              On May 14, 2012, at 21:08, "Matthew Hintze" <matthewhintze@gmail.com> wrote:


                    My understanding of what just happened is 

                    A.  People have written off their money, just wanted our word that when successful
                    we will pay them back based on moral obligation.
                    B.  Not too interested in equity in new company.  Just want our word in exchange
                    for not contesting and making a hard time.
                    C.  Kevin pitched that it would be smart for each of them to invest a few dollars
                    ('get your retainer back and give to TZ') for the DIP financing.  More on that asap.
                    D.  They would like an e­mail from Larina to confirm that I relayed A and B very
                    clearly to you.  Simply note that we have the inner moral intention of paying them
                    all back eventually, whether it takes a lifetime or not, when we are wildly
                    successful.



                    On Mon, May 14, 2012 at 7:09 PM, Larina Hintze <larinahintze@gmail.com>
                    wrote:
Exhibit 7.page 33     Matt:
                    Case 13-01007-KKS           Doc 452       Filed 10/02/15          Page 114 of 423
                    This guaranty is confusing to me ­ it seems to survive Chapter 7 but I'm not sure
                    when both personal and business since?

                    I do not see where it's listed in the lease that is 'secured'. 

                    I would want a legal opinion ­ this is a complex lease.




                    On Mon, May 14, 2012 at 5:44 PM, Matthew Hintze
                    <matthewhintze@gmail.com> wrote:
                     Based on that, what do you think of the outlined recommendation?



                      On Mon, May 14, 2012 at 5:36 PM, James,Christopher
                      <christopher.james@warrington.ufl.edu> wrote:
                        Good. 

                         Sent from my iPad

                         On May 14, 2012, at 17:34, "Matthew Hintze" <matthewhintze@gmail.com>
                         wrote:


                                Both bank lines are unsecured (I checked out note with
                                them).  Solar loan is secured ONLY by solar panels.



                                On Mon, May 14, 2012 at 5:31 PM, James,Christopher
                                <christopher.james@warrington.ufl.edu> wrote:
                                  Not sure I really follow this. Doesn't the bank have a
                                  secured position so won't you need them to approve before
                                  you can give a secured interest in the intellectual property of
                                  tutoring zone? 

                                   Sent from my iPad

                                   On May 14, 2012, at 17:16, "Matthew Hintze"
                                   <matthewhintze@gmail.com> wrote:


                                          Chris ­ 

                                          Welcome back.  Thanks for working so
                                          patiently through the past few weeks.

                                          I would like to hand out the attached doc at
                                          our meeting tonight.  Based on conversation
                                          with Lisa today, I think the 'recommendation'
                                          on the first page is superior to the pump and
                                          dump.  Any comments?

                                          I have not entered the equity percentages for
                                          existing creditors, new working capital, etc.  I
                                          think they will be looking for suggestions but I
                                          did not want to do to much on this front before
Exhibit 7.page 34                         speaking to you.
                     Case 13-01007-KKS         Doc 452   Filed 10/02/15      Page 115 of 423
                                       Randy, John, Whit, Kevin and Rick total
                                       $518,000.  I think that chunk deserves 15% ­
                                       20% at best.  I mean, the only reason for
                                       them to get anything is as an olive branch.

                                       Do we assign a valuation and assign equity to
                                       you, Creed and my parents, as well as
                                       employees, based on that?  Rationally, I
                                       guess we have to treat ALL existing notes
                                       equally.  We can build clawbacks into this
                                       framework, of course.

                                       Newco should be an LLC so we can have
                                       multiple classes of stock, correct?  If so, then
                                       new capital can be preferred with 5% dividend
                                       and conversion at valuation of $x.  Existing
                                       indebtedness is granted common.  

                                       ­Matt



                                       ­­ 
                                       Matthew Hintze
                                       MatthewHintze@gmail.com
                                       (352) 219­1618 (mobile)


                                       <5.14.docx>




                               ­­ 
                               Matthew Hintze
                               MatthewHintze@gmail.com
                               (352) 219­1618 (mobile)




                       ­­ 
                       Matthew Hintze
                       MatthewHintze@gmail.com
                       (352) 219­1618 (mobile)




                    ­­ 
                    Matthew Hintze
                    MatthewHintze@gmail.com
                    (352) 219­1618 (mobile)




Exhibit 7.page 35
           ­­ 
                    Case 13-01007-KKS   Doc 452   Filed 10/02/15   Page 116 of 423
           Matthew Hintze
           MatthewHintze@gmail.com
           (352) 219­1618 (mobile)




Exhibit 7.page 36
12/16/2014                Case 13-01007-KKS               Gmail
                                                           Doc- Fwd:
                                                                452LLC Filed
                                                                       Operating10/02/15
                                                                                 Agreement, IP Lease
                                                                                                Page      117 of 423


                                                                                       Matthew  Hintze  <matthewhintze@gmail.com>



  Fwd:  LLC  Operating  Agreement,  IP  Lease
  James,Christopher  <christopher.james@warrington.ufl.edu>                                                 Wed,  May  23,  2012  at  6:09  PM
  To:  Matthew  Hintze  <matthewhintze@gmail.com>

    Comments?  

    Sent  from  my  iPad

    Begin  forwarded  message:


             From:  "Frenchman,Cynthia  L"  <cynthia.frenchman@warrington.ufl.edu>
             Date:  May  23,  2012  15:10:20  EDT
             To:  "James,Christopher"  <christopher.james@warrington.ufl.edu>
             Subject:  FW:  LLC  Operating  Agreement,  IP  Lease


             FYI



             Cynthia Frenchman

             Assistant to Professor Christopher James

             University of Florida

             Warrington College of Business

             Department of Finance

             (352) 392-8041-Office

             (352) 213-2858-Cell




             From:  Jeffery  Childers  [mailto:jchilders@smartbizlaw.com]  
             Sent:  Wednesday,  May  23,  2012  12:08  PM
             To:  Frenchman,Cynthia  L
             Cc:  larina@tutoringzone.com
             Subject:  LLC  Operating  Agreement,  IP  Lease

               

             Cynthia  et  al,

               

             Attached  please  find  my  first  draft  of  the  LLC  Operating  Agreement  for  Tutoring  Zone  II,  LLC,  and
             the  Intellectual  Property  Lease.    Note  that  I  have  Chris  and  Cynthia  leasing  the  IP  directly,  and  then
             assigning  the  lease  to  TZII  as  consideration  for  the  initial  membership  units  (i.e.  capital  contribution).
Exhibit 7.page 37
               

https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=from%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20befor…   1/3
12/16/2014                         Case 13-01007-KKS                      Gmail
                                                                           Doc- Fwd:
                                                                                452LLC Filed
                                                                                       Operating10/02/15
                                                                                                 Agreement, IP Lease
                                                                                                                Page   118 of 423
               Please  review  these  drafts  carefully  and  return  comments  or  concerns.    If  you  would  like  to  edit
               directly  in  the  document,  please  use  Word's  revision  tracking  feature  so  that  I  can  easily  see  what
               changes  have  been  made.

                 

               Once  you  approve  the  Operating  Agreement  then  I  will  set  up  the  LLC  with  the  State  of  Florida  and
               get  and  FEIN.  Note  though  that  the  Operating  agreement  ratifies  the  actions  of  the  Organizer,  so
               that  Chris  can  begin  doing  things  on  behalf  of  TZII  in  advance  of  incorporation.  Also,  because  the
               Lease  is  between  TZ  and  the  individuals,  the  Lease  can  be  executed  immediately  and  the  Lease
               Payment  made  as  soon  as  necessary.

                 

               I  look  forward  to  receiving  your  feedback.

                 

               Thanks,

                 

               Jeff

                 

                 



               NOTICE: OUR ADDRESS HAS CHANGED:

               Contact  Information    |          




                                                     Seldon  Jeff  Childers
                    T  866.996.6104                  jchilders@smartbizlaw.com
                          352-­335-­0400          
                    F  407.209.3870                  Childers*Law,  LLC
                                                     2135  NW  40th  Terrace,  Suite  B
                    www.smartbizlaw.com              Gainesville,  FL  32605



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      4  attachments
             Lease  for  Intellectual  Property  of  Tutoring  Zone.docx
             100K
             ATT00001.htm
         1K 38
Exhibit 7.page
             Tutoring  Zone  II  Operating  Agreement.doc
https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=from%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20befor…   2/3
12/16/2014                Case 13-01007-KKS               Gmail
                                                           Doc- Fwd:
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                                                                                 Agreement, IP Lease
                                                                                                Page      119 of 423
             90K

             ATT00002.htm
             1K




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https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=from%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20befor…   3/3
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                                            INTELLECTUAL PROPERTY LEASE

                                                              between

                                                    TUTORING ZONE, LLC

                                                                and

                                      CHRIS JAMES AND CYNTHIA FRENCHMAN

                        THIS AGREEMENT (the “Lease” or “Agreement”) is made and entered into as of

               May 22, 2012, between Tutoring Zone, LLC (“Lessor”) and Chris James and Cynthia

               Frenchman (“Lessees”).


                                                             RECITALS

                         A.     Lessor owns the intellectual property rights to certain course materials,

               videos, instructional materials, workbooks, computer software, electronic documents,

               training materials, forms, coursework, web materials (the “Intellectual Property”).

                         B.     Lessor owns the right to use the “Tutoring Zone” brand name, which is a

               common-law trademark of Lessor (the “Mark”).

                         C.     Lessee desires to lease from Lessor the complete and non-exclusive right

               to use the Intellectual Property and to use the Mark.

                         D.     Lessor desires to lease the rights to use the Intellectual Property and the

               Mark to Lessees.


                        NOW, THEREFORE, in consideration of the mutual agreements contained in

               this Agreement and other good and valuable consideration, the receipt and sufficiency

               of which are hereby acknowledged, the parties hereto hereby agree as follows:




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               Page 1 of 6
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                                                             AGREEMENT

                        1.      The Recitals set forth above are incorporated herein as though fully set

               forth in this paragraph, and the Parties agree that the Recitals constitute a true and

               correct statement of fact.

                        2.      Upon execution of this Lease by both Parties, Lessees shall pay to Lessor a

               one-time lump-sum payment of seventy-five thousand dollars ($75,000.00) (the “Lease

               Payment”) as consideration for this Lease.

                        3.      Upon receipt of the Lease Payment, Lessors will deliver the Intellectual

               Property to Lessees, including electronic source documents and all source materials.

                        4.      Lessor shall grant to Lessees an unrestricted lease for use of the

               Intellectual Property for a term of ten (10) years (the “Initial Term”). Lessees may at their

               option renew the lease for an infinite number of successive ten (10) year terms

               (“Successive Period”) for ten thousand dollars ($10,000.00) per ten-year lease period (the

               “Successive Period Payment”). The Successive Period Payments shall be paid monthly

               during each such Successive Period, such that the Lessees will pay $80 per monthly

               period for 119 periods, and a final payment in the 120th month of $320.00.

                        5.      Unrestricted use by Lessees includes: copying, modifying, improving,

               publishing, distributing, reproducing, selling, leasing, and making any other use of the

               Intellectual Property that might reasonably be required to market, sell, and deliver

               tutoring services.

                        6.      Lessees may assign the Lease and/or the rights pursuant to the Lease to

               any third party without notice to Lessor. Such assignment may be complete or partial,

               and may be exclusive or non-exclusive.



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               Page 2 of 6
                        Case 13-01007-KKS             Doc 452   Filed 10/02/15   Page 122 of 423



                        7.      Any and all modifications or improvements of the Intellectual Property

               shall become the sole property of Lessees.

                        8.      Lessees are specifically and non-exclusively entitled to use the Mark as

               follows:

                   a) Lessees may display the Mark on any of the Intellectual Property, with or

                        without attribution.

                   b) Lessees may publish the Mark in any marketing materials, online, or on the

                        building where Lessees provide services to customers.

                   c) Lessees may incorporate the Mark into the name of an entity formed to provide

                        services using the Intellectual Property. However, such name shall not be

                        identical to the Mark. Specifically, but without restriction, Lessees are permitted

                        to use the name “Tutoring Zone II, LLC.” The Lessees’ right to use the Mark as

                        described in this section shall survive the expiration or termination of the Lease.

                   d) Lessees may not explicitly hold themselves out to be Lessor or to be affiliated

                        with Lessor.

                        9.      Termination. Lessees may terminate the Lease by written notice to

               Lessor. Lessor may not terminate the Lease. If Lessees terminate the Lease prior to the

               expiration of the Initial Period, then Lessor shall pay to Lessees the pro-rata un-used

               portion of the Lease Payment.

                        10.     Expiration. The Lease shall expire at the end of the Initial Period

               provided that Lessees do not elect to continue for one or more Successive Periods. The

               Lease shall expire at the end of a Successive Period if and when the Lessees do not elect

               to continue for the next Successive Period. In order to renew the lease period, Lessees




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               Page 3 of 6
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               must give notice to Lessor on or before the thirtieth (30th) day following the expiration

               of such period.

                        11.     Discontinuation of Use upon Termination or Expiration.                Upon

               Termination or Expiration of the Lease, Lessees shall discontinue use of the Intellectual

               Property, and shall destroy the copies of the Intellectual Property that Lessees hold at

               that time. Lessees shall be allowed a commercially reasonable time to comply with this

               provision, including time required to find a replacement or substitute for the Intellectual

               Property. A commercially reasonable amount of time shall be interpreted in such a

               manner that Termination or Expiration shall not cause any interruption of Lessees’

               business.

                        12.     Lessor covenants and guarantees that the Intellectual Property is not

               subject to any other parties’ copyright, trademark, or patent. Lessor covenants and

               guarantees that the Intellectual Property is unencumbered by any lien or restriction of

               Lessor’s ability to convey the rights in the Lease.

                        13.     Entire Agreement. This Agreement supersedes any prior agreements and

               understandings among the Parties with respect to the subject matter hereof.

                        14.     Modification. No change or modification of this Agreement shall be of

               any force unless the change or modification is in writing and signed by the Parties.

                        15.     Waiver. No waiver of any breach of any of the terms of this Agreement

               shall be effective unless in writing and signed by the Party against whom the waiver is

               claimed. No waiver of any breach shall be deemed to be a waiver of any other or

               subsequent breach.




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               Page 4 of 6
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                        16.     Severability. If any provision of this Agreement shall be held to be

               invalid, illegal or unenforceable, the validity, legality and enforceability of the remaining

               provisions shall not in any way be affected or impaired thereby.

                        17.     Governing Law. This Agreement shall be governed by and be construed

               in accordance with the laws of the State of Florida, without giving effect to its conflict of

               laws provisions. Any controversy or claim arising out of or relating to this Agreement or

               any provision thereof shall be resolved in Alachua County, Florida. The costs of any

               litigation arising from this Agreement shall be borne by the non-prevailing party,

               provided that each party shall pay for and bear the cost of his, her or its own experts,

               evidence and legal counsel unless otherwise agreed in writing.

                        18.     Counterparts. This Agreement may be executed in any number of

               counterparts, each of which shall be deemed an original, but all of which shall constitute

               one and the same instrument; and any counterpart may be delivered by facsimile

               transmission.

                        19.     Successors and Assigns. This Agreement shall be binding upon and

               inure to the benefit of the Parties and their respective successors, legal representatives

               and permitted assigns except where otherwise indicated herein.

                        20.     All Parties agree that they have had adequate time to consider this

               Agreement and the have had the opportunity to consult their own independent legal

               counsel. The Parties enter into this Agreement with complete understanding of their

               respective rights and duties and consent to the rights, duties, and requirements set forth

               herein. This Agreement shall not be construed more strictly against any party.




                                               SIGNATURE PAGE FOLLOWS

Exhibit 7.page Lease
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                                                       SIGNATURE PAGE



                        IN WITNESS WHEREOF, Tutoring Zone, LLC and Chris James and Cynthia

               Frenchman have duly executed this Agreement as of the earliest Execution Date written

               below.


               TUTORING ZONE, LLC                            CHRIS JAMES AND CYNTHIA FRENCHMAN
               By:

               ____________________________                     _____________________________
               Matthew Hintze, President                        Chris James
               and Managing Member

               ____________________________                     _____________________________
               Execution Date                                   Cynthia Frenchman




Exhibit 7.page Lease
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               Page 6 of 6
12/16/2014                Case Gmail - Re: FW: Introduction:Doc
                               13-01007-KKS                  John Spence
                                                                  452 andFiled
                                                                         Stephanie Travis; The Original
                                                                                10/02/15           Page E-mail
                                                                                                            126on Stephanie
                                                                                                                    of 423Travis


                                                                                        Matthew  Hintze  <matthewhintze@gmail.com>



  Re:  FW:  Introduction:  John  Spence  and  Stephanie  Travis;;  The  Original  E-­mail
  on  Stephanie  Travis
  Larina  Hintze  <larinahintze@gmail.com>                                               Mon,  May  28,  2012  at  5:48  PM
  To:  "James,Christopher"  <christopher.james@warrington.ufl.edu>,  Matthew  Hintze  <matthewhintze@gmail.com>

    Matt  since  I  was  not  at  the  meeting  I  feel  this  should  come  from  you  and  maybe  just  respond  to  John  privately  as
    to  not  stir  up  everyone  else.

    John:

    In  our  last  creditor  meeting  we  discussed  tz  needing  to  go  out  of  busines  as  it  could  not  service  its  debts  and
    creditors  did  not  feel  comfortable  investing  more  funds.    So  we  are  allowing  tz  to  go  out  of  business.

    The  creditors  understood  based  on  not  being  able  to  service  its  debts  that  Larina  and  I  would  personally  be  forced
    into  bankruptcy.

    You  are  right  john  about  our  moral  obligation  and  As  such  we  reaffirmed  our  'moral  obligation'  to  pay  everyone
    back  and  creditors  therefore  stated  they  would  not  contest  the  bankruptcy  but  did  expect  us  to  repay  them  which
    we  again  affirmed  we  would.

    We  are  working  hard  to  move  forward  and  revive  the  business  in  a  different  way  with  the  goal  to  pay  everyone
    back.    We  offered  all  creditors  the  chance  to  invest  in  a  new  company  which  they  were  understandably  not
    interested  in  doing.

    Thank  you  for  your  continued  support.    Let  me  know  if  this  brings  is  up  to  speed.

    Thank  you,
    Matt


    On  Monday,  May  28,  2012,  James,Christopher  wrote:

       I would respond with 1) a summary of the prior meeting outcome (filing for bankruptcy, restructuring etc), 2)
       update on restructuring. Remind Spence and everyone that you are working hard to find ways to repay them
       and that you continue to have, despite bankruptcy, a moral obligation to repay them. Also remind them that
       restructuring is the only path to follow given the fact that investors were unwilling (justifiably) to put in
       additional money under the old structure.




       From:  John  Spence  [mailto:john@johnspence.com]  
       Sent:  Sunday,  May  27,  2012  5:30  PM
       To:  'Larina  Hintze';;  'Sheila  Spence';;  'Randy  Scott';;  'Sally  Scott';;  Greer,Creed  C,III;;  James,Christopher;;
       bphintze@bellsouth.net;;  'Rick  Staab';;  kgogilby@gmail.com;;  'David  Whitney'
       Subject:  RE:  FW:  Introduction:  John  Spence  and  Stephanie  Travis;;  The  Original  E-­mail  on  Stephanie  Travis
       Importance:  High

         

       Matt and Larina – I have received NO correspondence from either of you since the last emergency creditors
Exhibit 7.page 46
       meeting on May, 14th. Considering the very precarious situation at TZ I am surprised and disappointed that

https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…   1/2
12/16/2014            Case Gmail - Re: FW: Introduction:Doc
                             13-01007-KKS                John Spence
                                                              452 andFiled
                                                                     Stephanie Travis; The Original
                                                                            10/02/15           Page E-mail
                                                                                                        127on Stephanie
                                                                                                                of 423Travis
       there has been zero communication since you asked all of us for more money.



       Please update us all on ALL pertinent information immediately. As creditors who have a significant
       investment in your company we have the right and obligation to demand robust communication on all
       relevant developments. It is alarming to me that you have not communicated any information on the financial
       standing of TZ, how you are making payroll, what the status of the tutors is, other investors, activity on other
       campuses… we have received weekly reports for the last year, why have you discontinued them? Your
       obligation to ALL of the investors has not been terminated nor diminished. You have a legal and moral
       responsibly to keep all of us fully informed of any significant developments that might potentially impact the
       future of the business. Please respond with a full and detailed report by end of business on Tuesday May 29th
       and reinstate the weekly status reports.



         

         

       Named  one  of  the  Top  100  Business  Thought  Leaders  in  America

         




         

       P: (352) 316-4026 • PO Box 357606, Gainesville, FL 32635



                           Website:   www.johnspence.com

                           Read   my blog: http://blog.johnspence.com




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https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…   2/2
Gmail - Re: TZ Update
                          Case 13-01007-KKS            Doc 452       Filedhttps://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=p...
                                                                             10/02/15 Page 128 of 423



                                                                                    Larina Hintze <larinahintze@gmail.com>



         Re: TZ Update
         Matthew Hintze <matthewhintze@gmail.com>                                          Tue, May 29, 2012 at 11:14 AM
         To: Matthew Hintze <matthewhintze@gmail.com>
         Cc: John Spence <john@johnspence.com>, Sheila Spence <sheila@johnspence.com>, Randy Scott
         <randyscott14@gmail.com>, Sally Scott <sallycscott@gmail.com>, Cgreer@ufl.edu, Christopher James
         <christopher.james@warrington.ufl.edu>, bphintze@bellsouth.net, Rick Staab <rstaab@intermed1.com>, Larina
         Hintze <larinahintze@gmail.com>, kgogilby@gmail.com, David Whitney <whit5470@gmail.com>

           John:

           In our last creditor meeting we discussed tz needing to go out of busines as it could not service its debts and
           creditors did not feel comfortable investing more funds. So we are allowing tz to go out of business.

           The creditors understood based on not being able to service its debts that Larina and I would personally be
           forced into bankruptcy.

           You are right John about our moral obligation and as such we reaffirmed our moral obligation to pay everyone
           back and creditors therefore stated they would not contest the bankruptcy but did expect us to repay them which
           we again affirmed we would.

           We are working hard to move forward and revive the business in a different way with the goal to pay everyone
           back. We offered all creditors the chance to invest in a new company which they were understandably not
           interested in doing.

           Thank you for your continued support. Let me know if this brings everyone up to speed.

           Thank you,
           Matt




           --
           Matthew Hintze
           MatthewHintze@gmail.com
           (352) 219-1618 (mobile)




   Exhibit 7.page 48


1 of 1                                                                                                               SpenceReq000540
                                                                                                                         12/5/12 5:42 PM
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  Elizabeth R Bowen

  From:                            Matthew Hintze <matthewhintze@gmail.com>
  Sent:                            Monday, July 13, 2015 12:28 PM
  To:                              Elizabeth R Bowen
  Subject:                         Fwd: TZ Employment Contracts
  Attachments:                     TZ Employment Contract.docx



  5.29.12 e-mail - #1 on privilege log




  ---------- Forwarded message ----------
  From: Matthew Hintze <matthewhintze@gmail.com>
  Date: Tue, May 29, 2012 at 7:42 PM
  Subject: TZ Employment Contracts
  To: jchilders@smartbizlaw.com
  Cc: Larina Hintze <larinahintze@gmail.com>, Christopher James <christopher.james@warrington.ufl.edu>


  Jeff,

  Attached is a current copy of the employment contract with TZ instructors.

  Going forward, nearly all tutors will be entering the 'Year 2' stage. This is extremely beneficial in terms of
  outlining compensation structure.

  Two issues that have been raised at various times this semester:

  1. We need to deliver the employee equity pledged in the agreements.

  2. Intellectual property - can TZ use videos (with the instructors face) after the instructor is fired or leaves?

  Thanks!

  -Matt



  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




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                                                            1
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  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




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                                            EMPLOYMENT AGREEMENT

                 THIS EMPLOYMENT AGREEMENT (this “Agreement”) is made effective as of
          ___________, 2011, between TutoringZone, LLC, a Florida limited liability company, and its
          present and future divisions, affiliates and subsidiaries (collectively, the “Company”), and
          __________, individually (“Employee”).

                    The Company and Employee, intending to be legally bound, agree as follows:

                  1.     Representations and Warranties. Employee represents and warrants to the
          Company that (a) he is not bound by any restrictive covenants and has no prior or other
          obligations or commitments of any kind (written, oral or otherwise) that would in any way
          prevent, restrict, hinder or interfere with Employee’s acceptance of employment with the
          Company or the performance of all duties and services hereunder to the fullest extent of
          Employee’s ability and knowledge; and (b) he has full power and capacity to execute and
          deliver, and to perform all of his obligations under, this Agreement. Employee agrees to
          indemnify and hold the Company harmless for any liability the Company may incur as the result
          of the existence of any such covenants, obligations or commitments.

                    2.      Employment Term.

                        2.1.   Term.    Employee’s employment pursuant to this Agreement will
          commence on the date hereof and will be extended thereafter, for a period not less than three (3)
          years, until terminated in accordance with this Agreement (the period of Employee’s
          employment by the Company under this Agreement will be referred to as the “Term”).

                        2.2.   Period of Certain Provisions. Except as provided herein, all compensation
          and benefits paid by the Company to Employee pursuant to this Agreement will cease upon
          Employee’s last day of employment under this Agreement with the exception of accrued, but
          unpaid, Base Salary.

               3.      Compensation. In exchange for services rendered by Employee hereunder, the
          Company shall provide Employee with the following compensation and benefits:

                    (a)     Base Salary.

                    Year 1:        Employee will receive the HIGHER of the following three (3) calculations
                    of Base Salary:

                            (i)     $120,000;

                            (ii)    TwentyPercent (25%) of Total Revenues for all classes for which the
                                    employee is the primary instructor, as designated by the Company’s
                                    managing member;

                            (iii)   $50,000 plus 5% of TutoringZone Gross Profit for the twelve-month
                                    period representing the employee’s first year of employment. Gross Profit


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                                 will be calculated by subtracting all costs, excluding compensation paid to
                                 tutors, from total revenues.

                    Years 2 - 3:          Employee will receive the HIGHER of the following two (2)
                    calculations of Base Salary:

                           (i)   Twenty-Five Percent (25%) of Total Revenues for all classes where
                                 employee is the primary instructor;

                          (ii)   $50,000 plus 5% of TutoringZone Gross Profit for the twelve-month
                                 period representing the employee’s first year of employment. Gross Profit
                                 will be calculated by subtracting all costs, excluding compensation paid to
                                 tutors, from total revenues.



          All Base Salary payments shall be paid in the same manner and at the same time as salary
          payments are made to other senior employees of the Company. Employee’s Base Salary and
          other compensation paid to him from the Company shall be subject to such withholding as may
          be required by law. Employee will be eligible for annual merit-based salary increases following
          Employee’s annual performance review, subject to the sole discretion of the Company’s
          managing member (or other governing body, the “Board”).

                        (b)    Benefits. Employee will be offered the opportunity to participate in such
          medical and other employee benefit plans for which he is eligible as may be established from
          time to time by the Board for other Company employees. The Company will provide fifty
          percent (50%) of the health insurance premium for the Employee as an individual (and, for the
          avoidance of doubt, not for any of his dependents or otherwise), in accordance with the
          Company’s policies, which policies may be changed by the Company in the future.

                          (c)    Provided employee complies with the conditions above and has received a
          rating of ‘satisfactory’ or better upon the most recent employee review, employee may, at his
          sole discretion, determine the manner in which all work is completed. Specifically, the
          employee may determine his or her policy with regard to holidays, vacations, days to work, times
          to work and location to perform work.



                         (d)     Expense Reimbursement. While Employee is employed by the Company
          hereunder, the Company will reimburse Employee for all reasonable and necessary out-of-pocket
          business, travel and entertainment expenses incurred by Employee in the performance of the
          duties and responsibilities hereunder, subject to written policies and procedures for expense
          verification and documentation that the Company may adopt from time to time. Employee must
          provide advance notice to the Company’s President of any business trips in which Employee
          reasonably anticipates incurring more than $500 in business, travel and entertainment expenses.

                        (e)  Phantom Stock. Employee will be issued $50,000 of Phantom Stock in
          TutoringZone, LLC pursuant to the terms and conditions of that certain Subscription and Equity

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          Restriction Agreement delivered to the employee no later than 90 days after the effective date of
          this contract.

                   4.      Duties. Employee will be employed by the Company and hold the office of
          _______________. Employee will have such duties and responsibilities as are commensurate
          with his title, and as may be assigned, from time to time, by and subject to the direction and
          supervision of the Company’s managing member and the Board. Employee shall perform all
          duties necessary to deliver tutoring services to any and all classes which the Company may
          designate, regardless of whether the Employee has been designated as primary instructor thereof,
          including not limited to developing study materials, delivering primary instruction (via both
          “live,” in-person instruction and remotely, via video), delivering support services to customers
          (including but not limited to answering e-mails, facebook posts, and the like), participating in
          professional development with fellow Company employees, and training new tutors. In addition,
          employee shall attend all mandatory company meetings, retreats, or other strategic gatherings.
          During the Term, excluding any periods of vacation or personal leave to which Employee is
          entitled, (i) Employee will render his services on an exclusive basis to the Company, (ii)
          Employee will apply on a full-time basis all of his skills and experience to the performance of his
          duties, and (iii) Employee may have no other employment and, without the prior written consent
          of the Company, no outside business activities (provided that the management of Employee’s
          personal assets and affairs will not be deemed outside activities). Employee may, upon approval
          by the Board, engage in certain limited non-competitive activities and charitable and civic
          activities in support of the Company. Employee will perform his duties under this Agreement
          with fidelity and loyalty, to the best of his ability, experience and talent and in a manner
          consistent with his duties and responsibilities and in accord with best practices within the
          Company’s industry.

                 5.      Termination. Employee and the Company acknowledge that Employee’s
          employment with the Company is at-will, which may be terminated by the Company or
          Employee at any time for any reason or no reason. The provisions of Section 5.1 through and
          including Section 5.3 govern the amount of compensation, if any, to be provided to Employee
          upon termination of employment and do not alter this at-will status. In the event of any
          termination, whether by the Company or Employee, and whether with or without Cause,
          Employee will not be entitled to any severance or other compensation not specifically set forth in
          this Agreement.

                           5.1    Termination for Cause.

                              (a)  The Company shall have the right to terminate Employee’s
          employment with the Company at any time for “Cause,” which shall include, but is not limited
          to, the following:

                                             (i)    Employee commits any felony or any crime or offense
                    (whether or not involving the Company or any of its affiliates) either (A) causing
                    substantial harm to the Company (whether or not for personal gain), (B) constituting a
                    crime of moral turpitude that is punishable by imprisonment in a state or federal
                    correction facility, or (C) involving acts of theft, fraud or embezzlement;



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                                            (ii)    Employee’s misconduct that causes harm to the Company
                    or its business reputation, or commission of an act of dishonesty involving the Company;

                                           (iii) a material breach by Employee of his obligations under this
                    Agreement or any other agreement with the Company, which Employee fails to cure
                    within 10 days after receipt of notice of such breach (if it is of the type that can be cured;
                    provided, that the Company will not be required to deliver Employee more than one such
                    notice and opportunity to cure in any 12-month period);

                                          (iv)   breach of the Company’s policies or procedures which
                    causes, or could reasonably be expected to cause, material harm to the Company or its
                    affiliates;

                                           (v)     any material misrepresentation at any time by Employee to
                    the Company; or

                                        (vi)   Employee’s willful failure or refusal to comply with the
                    Company’s reasonable and lawful instruction(s).

                                (b)    If the Company terminates Employee’s employment for Cause at
          any time, then: (i) Employee will not be entitled to pay in lieu of notice or any other such
          compensation, and all compensation and benefits payable to Employee under this Agreement
          terminate on Employee’s date of termination, (ii) the Company agrees to pay Employee the Base
          Salary and benefits under Section 3(a) that have accrued as of the date of such termination, and
          (iii) Employee will remain subject to Section 6 through and including Section 9 below.

                           5.2     Termination Without Cause or Voluntary Termination.

                                 (a)     The employee may not be terminated by the Employer without
          cause. Employee’s employment hereunder may be terminated by the Employee, in which event
          Employee will be entitled to receive his Base Salary for each day following notice of such
          termination that Employee reports and is available for work until the termination date. As a
          professional courtesy, the Company requests that Employee provide it with ninety (90) days’
          written notice of his intent to terminate employment pursuant to this Section 5.2(a). During any
          such notice period, Employee agrees to supply any such transition services as the Board or its
          authorized agents may direct. The Board or its authorized agents, at their sole discretion, may
          direct Employee to not report to his office and/or to not perform any services for the Company
          during such 90-day period.

                           5.3     Death or Disability.

                                 (a)     This Agreement will terminate immediately upon Employee’s
          death, and the Company will not have any further liability or obligation to Employee,
          Employee’s executors, heirs, assigns or any other person claiming under or through Employee’s
          estate, except that Employee’s estate will receive any accrued but unpaid Base Salary and
          benefits through the date of death.



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                                 (b)    The Company will have the right to terminate this Agreement if
          Employee becomes disabled. The term “disabled” means any disability that qualifies as a
          disability under any long-term disability plan of the Company then in effect or, absent such a
          plan, Employee’s inability, due to physical or mental ill health, to perform substantially all of the
          duties prescribed to him in the context of Employee’s employment, on a full time basis and in a
          professional, competent and consistent manner, for thirty (30) days during any one hundred
          eighty (180) day period irrespective of whether or not such days are consecutive.

                  6.      Non-Disclosure of Confidential Information. Employee acknowledges and agrees
          that, during the Term, he may have access to and become familiar with various trade secrets and
          other confidential or proprietary information of the Company including, but not limited to, the
          Company’s existing and contemplated services and products, documentation, technical data,
          contracts, business and financial methods, practices and plans, costs and pricing, lists of the
          Company’s customers, prospective customers and contacts, suppliers, vendors, consultants and
          employees, methods of obtaining customers, suppliers, vendors, consultants and employees,
          financial and operational data of the Company’s present and prospective customers, suppliers,
          vendors, consultants and employees and the particular business requirements of the Company’s
          present and prospective customers, suppliers, vendors, consultants and employees, marketing and
          sales literature, records, software, diagrams, source code, object code, product development,
          trade secrets; and the Company’s techniques of doing business, business strategies and standards
          (including all non-public information of the Company, collectively, the “Confidential
          Information”). Employee expressly agrees not to disclose any Confidential Information,
          directly or indirectly, nor use Confidential Information in any way, either during the Term or at
          any time thereafter, except as required in the course of his employment with the Company.
          Specifically, during the Term or engagement of Employee by the Company and thereafter,
          Employee (i) shall maintain the Confidential Information in strict confidence; (ii) shall not
          disclose any Confidential Information to any person or other entity; (iii) shall not use any
          Confidential Information to the detriment of the Company and for the benefit of Employee or
          any other person or entity; (iv) shall not authorize or permit such use or disclosure; and (v) shall
          comply with the policies and procedures of the Company regarding use and disclosure of
          Confidential Information. All files, papers, records, documents, drawings, specifications,
          equipment and similar items relating to the business of the Company and Confidential
          Information, whether prepared by Employee or otherwise coming into his possession, shall at all
          times remain the exclusive property of the Company and such items and all copies thereof shall
          be returned to the Company at the Company’s request or upon the expiration or termination of
          Employee’s employment.           In connection with his termination of employment with the
          Company, Employee will cooperate with the Company in completing and signing a termination
          statement or affidavit in the form proscribed by the Company, which will contain Employee’s
          certification that he has no tangible Confidential Information in his possession.

                  7.      Ownership of Intellectual Property. To the extent that Employee, alone or with
          others, develops, makes, conceives, contributes to or reduces to practice any intellectual property
          related to the duties of Employee hereunder or which results in any way from Employee using
          the resources of the Company, during the period of Employee’s employment with the Company,
          whether or not during working hours, such intellectual property is and shall be the sole and
          exclusive property of the Company.


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                           To the extent any such intellectual property can be protected by copyright, and is
          deemed in any way to fall within the definition of “work made for hire” as such term is defined
          in 17 U.S.C. §101, such intellectual property shall be considered to have been produced under
          contract for the Company as a work made for hire. In any event, and regardless of whether such
          intellectual property is deemed to be a “work made for hire,” Employee shall disclose any and all
          such intellectual property to the Company and does hereby assign to the Company any and all
          right, title and interest which Employee may have in and to such intellectual property. Upon the
          Company’s request at any time, including any time after termination of Employee’s employment,
          Employee shall execute and deliver to the Company such other documents as the Company
          deems necessary to vest in the Company the sole ownership of and exclusive worldwide rights in
          and to all of such intellectual property.

                  8.      Restrictive Covenants. The parties hereto recognize that Employee’s knowledge
          and skill are a material factor in inducing the Company to enter into this Agreement. Further, in
          the course of the employment of Employee hereunder, and because of the nature of Employee’s
          responsibilities, Employee will acquire valuable and confidential information and trade secrets
          with regard to the Company’s business operations, including, but not limited to, the Company’s
          Confidential Information. In addition, Employee may develop or continue on behalf of the
          Company, a personal acquaintance with some of the Company’s customers and prospective
          customers, suppliers, vendors, consultants and employees. As a consequence, Employee will
          occupy a position of trust and confidence with respect to the Company’s affairs and its services.
          In view of the foregoing, and in consideration of the remuneration paid and to be paid to
          Employee (under this Agreement), Employee agrees that it is reasonable and necessary for the
          protection of the goodwill and business of the Company that Employee make the restrictive
          covenants contained in this Agreement regarding the conduct of Employee during and after the
          employment relationship with the Company, and that the Company will suffer irreparable injury
          if Employee engages in conduct prohibited thereby.

                         (a)     Non-Competition. In consideration of his employment hereunder, and
          other good and valuable consideration, the receipt of which is hereby acknowledged, Employee
          agrees that during his employment with the Company and for an additional period of one (1) year
          immediately following the termination of Employee’s employment with the Company for any
          reason (the “Restricted Period”), he will not, either on his own behalf in competition with the
          Company or on behalf of any third party (except the Company) offering products or services
          competitive with those offered by the Company (a “Competitor”), in the markets in the United
          States in which the Company is doing business, or where Employee knows that the Company
          plans to do business, as of such termination date, perform the same or similar services as he
          performs for the Company during the Term (the “Territory”); provided, however, that Employee
          is not prevented from being a stockholder in any publicly-traded corporation in which Employee
          does not own more than five percent (5%) of any class of stock. Notwithstanding the foregoing,
          upon the mutual agreement of Employee and the Company, whose agreement will not be
          unreasonably withheld, the parties may amend this Section 8(a) to permit Employee’s
          employment with a Competitor in a capacity where he would not damage the Company.

                        (b)    Non-Solicitation. In consideration of his employment hereunder, and
          other good and valuable consideration, the receipt of which is hereby acknowledged, Employee


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          agrees that during the Restricted Period, he shall not, either on his own behalf or on behalf of any
          third party, except on behalf of the Company, directly or indirectly:

                                    (i)    hire, solicit or encourage to leave the employment or service of
                    the Company, any officer or employee of, or any consultant to, the Company, or hire or
                    participate (with another third party) in the process of hiring any person or entity who is
                    then, or who within the preceding twelve (12) months was an employee or consultant of
                    the Company, or provide names or other information about the Company’s employees or
                    consultants to any person or entity under circumstances which could lead to the use of
                    that information for purposes of recruiting or hiring; or

                                   (ii)    otherwise interfere with, disrupt, or attempt to interfere with or
                    disrupt, the relationship between the Company and any of its Clients/Customers,
                    suppliers, consultants or employees.

                          (c)    Non-Disparagement. During the Restricted Period, Employee shall not
          engage in any conduct that involves the making or publishing of written or oral statements or
          remarks (including, without limitation, the repetition or distribution of derogatory rumors,
          allegations, negative reports or comments) which are disparaging, deleterious or damaging to the
          integrity, reputation or goodwill of the Company or its management, employees, independent
          contractors or consultants.

                          (d)    Acknowledgment. Employee acknowledges and agrees that: (a) the
          services to be performed by him under this Agreement are of a special, unique, unusual,
          extraordinary, and intellectual character; (b) Company’s business is national in scope and its
          products are marketed throughout the Territory; (c) Company competes with other businesses
          that are or could be located in any part of the Territory; (d) the relevant public policy aspects of
          restrictive covenants, covenants not to compete, and non-solicitation provisions have been
          discussed, and that every effort has been made to limit the restrictions placed upon Employee to
          those that are reasonable and necessary to protect the Company’s legitimate interests; (e) based
          upon the advice of legal counsel and his own education, experience and training, these provisions
          will not prevent him from earning a livelihood and supporting himself and his family during the
          Restricted Period; (f) the restrictions contained in this Agreement are reasonable and necessary
          for the protection of the business and goodwill of the Company, and are fair and reasonable in
          type of prohibited activity, geographic area covered, scope and duration; (g) the consideration
          provided by the Company under this Agreement is not illusory; and (h) such provisions do not
          impose a greater restraint than is necessary to protect the goodwill or other business interests of
          the Company. In consideration of the foregoing, and in light of Employee’s education, skills,
          and abilities, Employee agrees that he will not assert that, and it should not be considered that,
          any provisions of Section 8, Section 8(a), Section 8(b) or Section 8(c) are otherwise void,
          voidable, or unenforceable or should be voided or held unenforceable.

                        (e)     Additional Time. Employee agrees that the period during which the
          covenants contained in this Section 8 will be effective will be computed by excluding from such
          computation any time during which Employee is in violation of any provision of this Section 8.




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                          (f)     Independent Agreement. The covenants on the part of Employee in this
          Agreement will be construed as an agreement independent of any other agreement and
          independent of any other provision of this Agreement, and the existence of any claim or cause of
          action by Employee against the Company, whether predicated upon this Agreement or otherwise,
          will not constitute a defense to the enforcement by the Company of such covenants. Each of the
          covenants of this Agreement are given by Employee as part of the consideration for this
          Agreement and as an inducement to the Company to enter into this Agreement.

                          (g)     Subsequent Employment. Employee agrees that the Company may notify
          any person or entity employing Employee or evidencing an intention of employing Employee of
          the existence and provisions of this Agreement. Employee hereby covenants and agrees to notify
          the Company of any employment or consulting arrangement that Employee undertakes on behalf
          of persons or entities other than the Company at any time during the Restricted Period, including
          the identity, address and telephone number of such person or entity.

                         (h)     No “Moonlighting.” Employee hereby covenants and agrees that, during
          Employee’s employment with the Company, Employee will not be employed by, or perform
          consulting or other services for, any other business entity without the express written consent of
          the Board.

                  9.     Reformation. In furtherance and not in limitation of the foregoing, should any
          duration, scope or geographical restriction on business activities covered under any provision of
          this Agreement be found by any court of competent jurisdiction to be less than fully enforceable
          due to its breadth of restrictiveness or otherwise, Employee and the Company intend that such
          court will enforce this Agreement to the full extent the court may find permissible by construing
          such provisions to cover only that duration, extent or activity which may be enforceable.
          Employee shall, at the Company’s request, join the Company in requesting that such court take
          such action. Employee and the Company acknowledge the uncertainty of the law in this respect
          and intend that this Agreement will be given the construction that renders its provisions valid and
          enforceable to the maximum extent permitted by law.

                  10.    Conflicts of Interests. Without the prior written approval of the Company,
          Employee shall not engage in any activity which is in conflict with the Company’s interests. In
          furtherance of this covenant, Employee agrees during the Term, as follows:

                         (a)     Employee will not engage in any other employment or business activity
          during working hours or at Employee’s work location; provided however that Employee may,
          during working hours, engage in reasonable time managing his personal investments to the
          extent that such investments and time do not conflict with the Company’s interests;

                         (b)    Employee will not engage in any outside employment or activity which
          would conflict with or compete with Company’s business;

                         (c)    Employee will notify the Company of any conflicts of interest or
          excessive gifts or offers of gifts or remuneration from clients, suppliers or others doing or
          seeking to do business with the Company;



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                       (d)    Employee will not receive remuneration from any party doing business
          with or competing with the Company unless the prior written consent of the Company is first
          obtained;

                         (e)    Employee will promptly inform the Company of any business
          opportunities that come to the attention of Employee that relate to the existing or prospective
          business of the Company and will not participate in any such opportunities;

                         (f)     Employee agrees to comply with all rules and policies of the Company,
          including those relating to conflicts of interest; and

                         (g)     Employee will promptly notify the Board in writing of any transaction of
          which Employee is aware involving the Company in which the other party is related in any way
          to Employee. Employee will not cause or permit the Company to participate in any such
          transaction without the advance written consent of a director or manager of the Company.

                    11.     Remedies.

                          (a)    Unique Nature of Agreement. Employee and the Company recognize that
          the services to be rendered by Employee are of a special and unique nature involving a high
          degree of skill and having a peculiar value, the loss of which will cause the Company immediate
          and irreparable harm, which cannot be adequately compensated in damages. In the event of a
          breach or threatened breach by Employee of this Agreement, Employee consents that the
          Company shall be entitled to injunctive relief, both preliminary and permanent, without bond or
          proof of specific damages, and Employee will not raise the defense that the Company has an
          adequate remedy at law. In addition, the Company shall be entitled to any other legal or
          equitable remedies as may be available under law.

                          (b)    Costs and Attorneys’ Fees. In the event of any action or suit involving a
          breach or threatened breach of this Agreement, then in addition to other remedies available to the
          prevailing party, the prevailing party in such action or suit will be entitled to recover reasonable
          attorneys’ fees and costs incurred.

                         (c)    Cumulative Remedies. All remedies expressly provided for herein are
          cumulative of any and all other remedies now existing at law or in equity. Each party shall, in
          addition to the remedies herein provided, be entitled to avail itself of all such other remedies as
          may now or hereafter exist at law or in equity for compensation, and for the specific enforcement
          of the covenants contained herein. Resort to any remedy provided for hereunder or provided by
          law will not prevent the concurrent or subsequent employment of any other appropriate remedy
          or remedies, or preclude the recovery by such party of monetary damages.

                    12.     Miscellaneous.

                        (a)     Notices. All notices under this Agreement shall be sent and deemed duly
          given when posted in the United States first-class mail, postage prepaid to the addresses set forth
          below such party’s signature on the signature page of this Agreement. These addresses may be
          changed from time to time by written notice to the appropriate party.


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                           (b)    Assignment. This Agreement is binding upon the Company and
          Employee and their respective heirs, personal representatives, successors and assigns; provided
          that, the services to be rendered by Employee to the Company under this Agreement are personal
          in nature and, therefore, Employee may not assign or delegate Employee’s rights, duties or
          obligations under this Agreement, and any attempt to do so shall be null and void. The Company
          may assign its rights under this Agreement or delegate its duties and obligations under this
          Agreement to any affiliate or subsidiary of the Company or to any entity acquiring all or substan-
          tially all of the assets of the Company or to any other entity into which the Company may be
          liquidated, merged or consolidated. In furtherance of such right of assignment, Employee agrees
          to acknowledge such assignment in writing or, subject to comparable terms and conditions,
          terminate this Agreement and execute a new employment agreement or a consulting agreement
          with such successor to the business of the Company, including without limitation reasonable
          non-competition and non-solicitation provisions.

                        (c)     No Waiver. The failure of either the Company or Employee to object to
          any conduct or violation of any of the covenants made by the other under this Agreement will
          not be deemed a waiver of any rights or remedies. No waiver of any right or remedy arising
          under this Agreement will be valid unless set forth in an appropriate writing signed by both the
          Company and Employee.

                         (d)    Entire Agreement. This Agreement constitutes the entire understanding
          between the Company and Employee with respect to employment of Employee, and supersedes
          all prior oral or written communications, proposals, representations, warranties, covenants,
          understandings or agreements between the Company and Employee relating to the subject matter
          of this Agreement. By entering into this Agreement, Employee certifies and acknowledges that
          Employee has carefully read all of the provisions of this Agreement, and that Employee
          voluntarily and knowingly enters into said Agreement.

                         (e)      Disputes or Controversies. Employee recognizes that should a dispute or
          controversy arising from or relating to this Agreement be submitted for adjudication to any court,
          arbitration panel, or other third party, the preservation of the secrecy of Confidential Information
          may be jeopardized. All pleadings, documents, testimony, and records relating to any such
          adjudication will be maintained in secrecy and will be available for inspection by the Company,
          Employee and their respective attorneys, experts and other agents, who will agree, in advance
          and in writing, to receive and maintain all such information in secrecy, except as may be limited
          by them in writing.

                          (f)    No Oral Modifications. No alterations, amendments, changes or additions
          to this Agreement will be binding upon either the Company or Employee unless reduced to
          writing and signed by both the Company (by an officer of the Company other than Employee
          specifically assigned by the Board with such authority) and Employee.

                          (g)    Severability. The covenants, provisions and sections of this Agreement
          are severable, and if any portion of this Agreement is held to be unlawful or unenforceable, the
          same will not affect any other portion of this Agreement, and the remaining terms and conditions
          or portions thereof will remain in full force and effect. This Agreement will be construed in such



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          case as if such unlawful or unenforceable portion had never been contained in this Agreement, in
          order to effectuate the intentions of the Company and Employee in executing this Agreement.

                          (h)    Survival. Provisions of this Agreement which by their nature are intended
          to survive termination of Employee’s employment with the Company or expiration of this
          Agreement will survive any such termination or expiration of this Agreement, including but not
          limited to Sections 1, 5.1(b)(iii), 5.2(b)(ii), 6 through and including 9, 11 and 12.

                         (i)     Governing Law. This Agreement will be governed by and construed in
          accordance with the internal laws of the State of Florida without giving effect to the choice of
          laws principles thereof.

                           (j)     Jurisdiction; Venue. Each of the parties hereto by its execution hereof:

                                   (i)     irrevocably submits to the jurisdiction of any state court located in
                    the State of Florida, Alachua County and to the jurisdiction of the United States District
                    Court for the Northern District of Florida, Gainesville Division, or any successor thereto,
                    for the purpose of any suit, action or other proceeding arising out of or based on this
                    Agreement or the subject matter hereof; and

                                    (ii)   waives to the extent not prohibited by applicable law, and agrees
                    not to assert, by way of motion, as a defense or otherwise, in any such proceeding
                    brought in any of the above-named courts, any claim that it is not subject personally to
                    the jurisdiction of such courts, that its property is exempt or immune from attachment or
                    execution, that any such proceeding is brought in an inconvenient forum, that the venue
                    of such proceeding is improper, or that this Agreement, or the subject matter hereof, may
                    not be enforced in or by such court.

                           The parties hereto hereby consent to service of process in any such proceeding in
                    any manner permitted by the laws of the State of Florida, and agree that service of
                    process by registered or certified mail, return receipt requested, at its address specified in
                    or pursuant to this Agreement is reasonably calculated to give actual notice.

                        (k)    Headings. The section headings of this Agreement are for convenience of
          reference only and shall not affect the construction or interpretation of any of the provisions
          hereof.

                     (l)  NO JURY TRIAL.     THE PARTIES HEREBY KNOWINGLY,
          VOLUNTARILY AND INTENTIONALLY WAIVE THE RIGHT ANY OF THEM MAY
          HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION BASED HEREON OR
          ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS AGREEMENT. THIS
          PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES’ ACCEPTANCE OF
          THIS AGREEMENT.

                         (m)    Advice of Counsel and Construction. The parties acknowledge that all
          parties to this Agreement have been represented by counsel or had the opportunity to be
          represented by counsel of their choice. Accordingly, the rule of construction of contract
          language against the drafting party is hereby waived by all parties.

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                         (n)     Counterparts; Electronic Signature. This Agreement may be executed in
          one or more counterparts, each of which will be deemed an original, but all of which together
          will constitute one and the same instrument. Further, this Agreement may be executed by
          transfer of an originally signed document by facsimile, e-mail or other electronic means, any of
          which will be as fully binding as an original document.

                          (o)    Section 409A. Each payment under this Agreement, including each
          payment in a series of installment payments, is intended to be a separate payment for purposes of
          Treas. Reg. §1.409A-2(b), and is intended to be: (i) exempt from Section 409A of the Code, the
          regulations and other binding guidance promulgated thereunder (“Section 409A”), including, but
          not limited to, by compliance with the short-term deferral exemption as specified in Treas. Reg.
          § 1.409A-1(b)(4) and the involuntary separation pay exception within the meaning of Treas. Reg.
          §1.409A-1(b)(9)(iii), or (ii) in compliance with Section 409A, including, but not limited to, being
          paid pursuant to a fixed schedule or specified date pursuant to Treas. Reg. § 1.409A-3(a) and the
          provisions of this Agreement will be administered, interpreted and construed accordingly. If,
          nonetheless, this Agreement either fails to satisfy the requirements of Section 409A or is not
          exempt from the application of Section 409A, then the parties hereby agree to amend or to
          clarify this Agreement in a timely manner so that this Agreement either satisfies the requirements
          of Section 409A or is exempt from the application of Section 409A.

                                           (Signatures on following page.)




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          EMPLOYEE ACKNOWLEDGES THAT EMPLOYEE HAS CAREFULLY READ THIS
          AGREEMENT, HAS HAD THE OPPORTUNITY TO CONSULT WITH AN
          ATTORNEY OF HIS CHOOSING TO THE EXTENT EMPLOYEE DESIRES LEGAL
          ADVICE REGARDING THIS AGREEMENT, AND UNDERSTANDS AND AGREES TO
          ALL OF THE PROVISIONS IN THE AGREEMENT.


                IN WITNESS WHEREOF, the parties hereto have each executed this Employment
          Agreement effective as of the date first above written.

                                                        COMPANY:

                                                        TutoringZone, LLC, a Florida limited liability
                                                        company


                                                        By:
                                                                Matthew B. Hintze,
                                                                Managing Member

                                                        Address:       1010 North Main Street
                                                                       Gainesville, Florida 32601

                                                                With a copy to:

                                                                       Folds & Walker, LLC
                                                                       527 East University Avenue
                                                                       Gainesville, Florida 32602
                                                                       Attention: S. Scott Walker, Esq.


                                                        EMPLOYEE:




                                                        _________________, Individually
                                                        Social Security #:

                                                        Address:       _____________________

                                                                       _____________________




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          Signature Page to Employment Agreement
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                                                                                                                         Matthew  Hintze  <matthewhintze@gmail.com>



  Re:  FW:  TZ
  1  message

  Larina  Hintze  <larinahintze@gmail.com>                                                 Wed,  Jun  6,  2012  at  7:37  PM
  To:  Norman  Bledsoe  <norm@foldsandwalker.com>
  Cc:  Jeffery  Childers  <jchilders@smartbizlaw.com>,  Scott  Walker  <scott@foldsandwalker.com>,  Christopher  James
  <christopher.james@cba.ufl.edu>,  Matthew  Hintze  <matthewhintze@gmail.com>,  "Bphintze@bellsouth.net"
  <Bphintze@bellsouth.net>

      Norm:

      If  you  think  that  fieldman's  strategy  is  to


      "My	  guess	  is	  that	  McCarty	  desires	  to	  sue	  to	  enforce	  the	  note	  and	  then	  subsequently	  levy	  on	  Matt’s
      ownership	  interest	  in	  TZ."

      Then	  our	  strategy	  could	  be	  to	  make	  it	  seem	  like	  this	  is	  the	  worst	  thing	  in	  the	  world	  for	  us	  and	  to	  make	  every
      effort	  to	  attempt	  to	  negotiate	  a	  way	  to	  avoid	  this	  so	  they	  keep	  their	  eye	  on	  that	  ball	  and	  keep	  them	  focused
      on	  that	  strategy.

      That	  may	  be	  the	  best	  way	  to	  move	  us	  forward.

      Thanks	  for	  the	  detailed	  response.

      Larina


      On  Wednesday,  June  6,  2012,  Norman  Bledsoe      A  counterclaim  for  tortious  interference  against  Steve  Fieldman
      could  be  tough  to  win.    To  wit:

         	  

         1)             No	  cause	  of	  action	  for	  TI	  exists	  where	  one	  does	  an	  act	  which	  is	  legal	  in	  itself.	  	  Malice	  or	  bad	  motive	  is	  of
         no	  import	  in	  this	  instance.	  	  Ethyl	  Corporation	  v.	  Balter,	  386	  So.2d	  1220	  ( Fla.	  3d	  DCA	  1980),	  rev.	  denied,
         392	  So.2d	  1371	  ( Fla.	  1981),	  cert.	  denied,	  101	  S.Ct.	  3099	  ( 1981).	  	  Accordingly,	  Steve’s	  malicious	  act	  of
         acquiring	  and	  enforcing	  Randy	  Scott’s	  note	  is	  not	  actionable.

         2)             McCarty	  will	  argue	  that	  Steve	  is	  not	  interfering	  with	  any	  relationship—he	  has	  merely	  purchased	  a	  note
         and	  is	  enforcing	  it.	  	  He	  is	  not	  interfering	  with	  the	  payments	  under	  the	  note,	  etc.

         3)             A	  claim	  against	  Steve	  falls	  outside	  the	  typical	  fact-­‐pattern	  seen	  in	  TI	  claims.	  	  Ordinarily,	  the	  facts	  involve
         an	  outsider	  inducing	  ( perhaps	  via	  bribes	  to	  employees)	  a	  business	  to	  breach	  a	  contract	  with	  a	  vendor,	  e.g.,
         one	  alcohol	  distributor	  inducing	  a	  restaurant	  to	  cease	  ordering	  from	  its	  contractually-­‐exclusive	  provider	  of
         liquor.	  	  This	  is	  very	  different	  from	  purchasing	  a	  note	  which	  has	  fallen	  into	  default.

      4)             Steve	  may	  not	  be	  tied	  closely	  enough	  to	  StudyEdge	  to	  maintain	  an	  action	  for	  tortious	  interference.	  	  We
      would	  have	  to	  bring	  Ethan	  Fieldman	  into	  the	  litigation	  under	  a	  conspiracy	  theory	  to	  really	  get	  somewhere.	  
      It	  is	  my	  belief	  that	  Mac	  McCarty	  probably	  structured	  the	  purchase	  of	  the	  Randy	  Scott	  note	  with	  a	  view	  to
Exhibit 7.page 64
      avoiding	  a	  counterclaim	  for	  tortious	  interference.	  	  Mac	  is	  too	  smart	  to	  let	  Ethan	  purchase	  the	  note	  on	  his
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      own.	  	  Mac	  told	  me	  via	  phone	  that	  “a	  trustee”	  owns	  “a	  note.”

      	  

      Based	  on	  what	  I	  know	  now,	  I	  would	  not	  advise	  a	  TI	  counterclaim.	  	  My	  opinion	  may	  change	  if	  I	  learn	  new
      facts.

      	  

      My	  guess	  is	  that	  McCarty	  desires	  to	  sue	  to	  enforce	  the	  note	  and	  then	  subsequently	  levy	  on	  Matt’s
      ownership	  interest	  in	  TZ.

      	  

      Norm

      	  


      From:  Larina  Hintze  [mailto:larinahintze@gmail.com]  
      Sent:  Wednesday,  June  06,  2012  3:08  PM
      To:  Jeffery  Childers;;  Scott  Walker;;  Norman  Bledsoe
      Subject:  Fwd:  FW:  TZ

        

      Thoughts?

      -­-­-­-­-­-­-­-­-­-­  Forwarded  message  -­-­-­-­-­-­-­-­-­-­
      From:  James,Christopher  <christopher.james@warrington.ufl.edu>
      Date:  Wed,  Jun  6,  2012  at  2:12  PM
      Subject:  RE:  FW:  TZ
      To:  Larina  Hintze  <larinahintze@gmail.com>


      You	  would	  should	  have	  a	  very	  good	  claim	  against	  Ethan	  for	  interference	  in	  the	  business	  if	  his	  father	  files
      suit.	  Ask	  your	  Attorney	  what	  he/she	  recommends	  in	  terms	  of	  a	  response.

      	  


      From:  Larina  Hintze  [mailto:larinahintze@gmail.com]  
      Sent:  Wednesday,  June  06,  2012  6:59  AM
      To:  Jeffery  Childers;;  James,Christopher
      Subject:  Fwd:  FW:  TZ

        

        

      -­-­-­-­-­-­-­-­-­-­  Forwarded  message  -­-­-­-­-­-­-­-­-­-­
      From:  Norman  Bledsoe  <norm@foldsandwalker.com>
      Date:  Wed,  Jun  6,  2012  at  9:36  AM
      Subject:  FW:  TZ
      To:  Matthew  Hintze  <matthewhintze@gmail.com>,  Larina  Hintze  <larinahintze@gmail.com>
      Cc:  Scott  Walker  <scott@foldsandwalker.com>

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         Please	  see	  below.	  	  Per	  my	  e-­‐mail	  and	  telephone	  calls	  of	  last	  week	  and	  Monday,	  I	  need	  direction	  on	  whether
         I	  should	  negotiate	  with	  McCarty.

         	  

         Thanks,

         	  

         Norm

         	  


         From:  Mac  McCarty  [mailto:mmccarty@lawgators.com]  
         Sent:  Tuesday,  June  05,  2012  10:00  PM
         To:  Scott  Walker;;  Norman  Bledsoe
         Subject:  TZ

           

         Scott  and  Norm,

           

      

         Since  I  haven’t  heard  anything  from  you  following  my  earlier  conversations  with  each  of  you,  I  need  to  go
         ahead  and  begin  collection  procee




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                                                                           Larina Hintze <larinahintze@gmail.com>



  Re: TZ Update
  1 message

  Larina Hintze <larinahintze@gmail.com>                                                  Mon, Jul 2, 2012 at 11:22 AM
  To: "James,Christopher" <christopher.james@warrington.ufl.edu>

    Chris:

    Yes sir boss :­)

    Larina

    On Sun, Jul 1, 2012 at 9:09 PM, James,Christopher <christopher.james@warrington.ufl.edu> wrote:

      I would not send anything to the investors until we speak with Jeff. My view is that we tell investors that TZ
      is closing and that you and matt as well as a “number of Tutors” have been hired as employees of CMJ that
      will begin in the fall offering tutoring services under using the name TZ2. Tell them that you and Matt will try
      very hard to repay investors if and when funds become available. Next Matt discusses all this with the
      Alligator and we move forward. This is the new and improved, well capitalized and economical tutoring
      service.

       

       

      From: Larina Hintze [mailto:larinahintze@gmail.com] 
      Sent: Sunday, July 01, 2012 8:52 PM
      To: Matthew Hintze; James,Christopher; Jeffery Childers; Bphintze@bellsouth.net
      Subject: Re: TZ Update

       

      Matt and Chris conferenced and Matt is meeting with Kevin at noon to get a feel for where this is coming from
      (isolated) or spurred on by group as well as having a follow up call with Jeff.

       

      My thoughts are this:

       

      Would it be wise to send the following response to ALL (removing Randy and Sally Scott from the thread).

       

      John et all:

       

      When Scott sold his promissory note to Fieldman we were advised that ANY and ALL information we share
      would have to be shared with all creditors and as such we should stop all communication.

       
Exhibit 7.page 67
      The quandry we are in is tenious and for our protection as well as EVERYONE, we must not treat any creditors
                      Case 13-01007-KKS          Doc 452      Filed 10/02/15       Page 148 of 423
      differenlty as we can only imagine that any information Fieldman should have gotten but did not would put us
      ALL at risk.

       

      Scott Walker is going to call you John direclty to expalin the exposure as an advisory board member (or as
      acting CEO and leave out advisory board so he does not rebel rouse Whit and Ogilby) you have so that you
      can discuss this with your counsel and why we must follow a strict course of action.

       

      Strategy:

       

      Is it possible to have Scott Walker call John and say listen as acting CEO you have exposure and liablity in
      that you were privy to all information before, during and after regarding TZ and as such we must weigh our
      need for communication against our exposure and liability as Fieldman could pursue a suit against Matt and
      Larina but also individually against you as the CEO and/or possibly the advisory board.

       

      This is an aggressive action which I'm never a fan of.  However, if there is a way to nip this is in the bud that
      is to our advantage and sometimes fear based people respond best to fear.

       

      I'm wondering if this is classic miscommunication in that Sheila attended the last meeting and did not
      understand what was discussed so only John is out of the loop?

       

      Or he's just working himself into a resentment to alieve his guilt over wanting to file suit becuase despite his
      claims he didn't care about the money and planned to write it off that he in fact is very pissed as time goes by
      and wants to bear pain in hopes to get paid back.

       

      Larina

       

       

      On Sun, Jul 1, 2012 at 2:35 PM, John Spence <john@johnspence.com> wrote:

      Matt:

       

      I have grown tired of your constant excuses. You have a fiduciary responsibility to the entire investor /
      creditor group to keep us fully informed of ALL pertinent and substantive financial and strategic
      developments. For months we received weekly financial and corporate updates from you ‐‐ which have
      now halted since early May. You have NOT been relieved of this obligation. I have asked repeatedly for
      detailed and accurate updates on the financials, other potential investors, the staff/tutor situation, the Dix
      lawsuit, developments with Fintcher, FSU, UCF…  ANY and ALL key issues… and have received nothing from
      you. I do not want this update over the phone or in a personal meeting – I want it in writing to ALL the
      investors. Period. No more games.

       
Exhibit 7.page 68
                       Case 13-01007-KKS Doc 452 Filed 10/02/15 Page 149 of 423
      I am no longer requesting this information – I am demanding it. If I do not receive a FULL, ACCURATE and
      COMPREHENSIVE report from you by end of business on Thursday July 5th I will contact my attorney and
      pursue all legal means to recoup my investment immediately. If you have enough money to pay your staff
      and take a salary – you have enough money to begin payments to me immediately.

       

      Matt, the investor/creditor group has been more than lenient with you, and you have made repeated
      promises that you would keep us informed and would make every effort to pay us all back. Unfortunately,
      to this point your actions have not matched your words. If I do not receive all of the information I have
      requested I will be relentless in my efforts to obtain the funds and interest you owe me and will file suit
      immediately.

       

      John Spence

       

       

       

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      P: (352) 316‐4026 • PO Box 357606, Gainesville, FL 32635 

       

                       Website:  www.johnspence.com

                       Read my blog: http://blog.johnspence.com

                       Social Media platforms: http://about.me/johnspence

       

      From: Matthew Hintze [mailto:matthewhintze@gmail.com] 
      Sent: Tuesday, May 29, 2012 11:14 AM
      To: Matthew Hintze
      Cc: John Spence; Sheila Spence; Randy Scott; Sally Scott; Cgreer@ufl.edu; Christopher James;
      bphintze@bellsouth.net; Rick Staab; Larina Hintze; kgogilby@gmail.com; David Whitney
      Subject: Re: TZ Update

       

      John:

Exhibit  7.page 69
      In our last creditor meeting we discussed tz needing to go out of busines as it could not service its debts and
                     Case 13-01007-KKS           Doc 452     Filed 10/02/15      Page 150 of 423
      creditors did not feel comfortable investing more funds.  So we are allowing tz to go out of business.

       

      The creditors understood based on not being able to service its debts that Larina and I would personally be
      forced into bankruptcy.

       

      You are right John about our moral obligation and as such we reaffirmed our moral obligation to pay everyone
      back and creditors therefore stated they would not contest the bankruptcy but did expect us to repay them
      which we again affirmed we would.

       

      We are working hard to move forward and revive the business in a different way with the goal to pay everyone
      back.  We offered all creditors the chance to invest in a new company which they were understandably not
      interested in doing.

       

      Thank you for your continued support.  Let me know if this brings everyone up to speed.

       

      Thank you,

      Matt

       



      ­­ 
      Matthew Hintze
      MatthewHintze@gmail.com
      (352) 219­1618 (mobile)

       




Exhibit 7.page 70
12/16/2014                 Case 13-01007-KKS                 Doc 452GmailFiled
                                                                          - RE: TZ10/02/15
                                                                                   Update             Page 151 of 423


                                                                                                 Larina  Hintze  <larinahintze@gmail.com>



  RE:  TZ  Update
  James,Christopher  <christopher.james@warrington.ufl.edu>                                                          Sun,  Jul  1,  2012  at  9:11  PM
  To:  Larina  Hintze  <larinahintze@gmail.com>


    Also, I would not worry about Spence. While I understand he is pissed at losing his money, I think he is trying
    to convince himself that he is still the best turnaround artist and that TZ went under because you and Matt
    deceived him in some way. Let it be.



    From:  Larina  Hintze  [mailto:larinahintze@gmail.com]  
    Sent:  Sunday,  July  01,  2012  8:52  PM
    To:  Matthew  Hintze;;  James,Christopher;;  Jeffery  Childers;;  Bphintze@bellsouth.net
    Subject:  Re:  TZ  Update

      

    Matt  and  Chris  conferenced  and  Matt  is  meeting  with  Kevin  at  noon  to  get  a  feel  for  where  this  is  coming  from
    (isolated)  or  spurred  on  by  group  as  well  as  having  a  follow  up  call  with  Jeff.

      

    My  thoughts  are  this:

      

    Would  it  be  wise  to  send  the  following  response  to  ALL  (removing  Randy  and  Sally  Scott  from  the  thread).

      

    John  et  all:

      

    When  Scott  sold  his  promissory  note  to  Fieldman  we  were  advised  that  ANY  and  ALL  information  we  share  would
    have  to  be  shared  with  all  creditors  and  as  such  we  should  stop  all  communication.

      

    The  quandry  we  are  in  is  tenious  and  for  our  protection  as  well  as  EVERYONE,  we  must  not  treat  any  creditors
    differenlty  as  we  can  only  imagine  that  any  information  Fieldman  should  have  gotten  but  did  not  would  put  us  ALL
    at  risk.

      

    Scott  Walker  is  going  to  call  you  John  direclty  to  expalin  the  exposure  as  an  advisory  board  member  (or  as  acting
    CEO  and  leave  out  advisory  board  so  he  does  not  rebel  rouse  Whit  and  Ogilby)  you  have  so  that  you  can  discuss
    this  with  your  counsel  and  why  we  must  follow  a  strict  course  of  action.

      

    Strategy:
Exhibit
      7.page 71

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   1/4
12/16/2014                 Case 13-01007-KKS                  Doc 452GmailFiled
                                                                           - RE: TZ10/02/15
                                                                                    Update             Page 152 of 423
    Is  it  possible  to  have  Scott  Walker  call  John  and  say  listen  as  acting  CEO  you  have  exposure  and  liablity  in  that
    you  were  privy  to  all  information  before,  during  and  after  regarding  TZ  and  as  such  we  must  weigh  our  need  for
    communication  against  our  exposure  and  liability  as  Fieldman  could  pursue  a  suit  against  Matt  and  Larina  but
    also  individually  against  you  as  the  CEO  and/or  possibly  the  advisory  board.

      

    This  is  an  aggressive  action  which  I'm  never  a  fan  of.    However,  if  there  is  a  way  to  nip  this  is  in  the  bud  that  is  to
    our  advantage  and  sometimes  fear  based  people  respond  best  to  fear.

      

    I'm  wondering  if  this  is  classic  miscommunication  in  that  Sheila  attended  the  last  meeting  and  did  not  understand
    what  was  discussed  so  only  John  is  out  of  the  loop?

      

    Or  he's  just  working  himself  into  a  resentment  to  alieve  his  guilt  over  wanting  to  file  suit  becuase  despite  his
    claims  he  didn't  care  about  the  money  and  planned  to  write  it  off  that  he  in  fact  is  very  pissed  as  time  goes  by  and
    wants  to  bear  pain  in  hopes  to  get  paid  back.

      

    Larina

      

      

    On  Sun,  Jul  1,  2012  at  2:35  PM,  John  Spence  <john@johnspence.com>  wrote:

    Matt:



    I have grown tired of your constant excuses. You have a fiduciary responsibility to the entire investor / creditor
    group to keep us fully informed of ALL pertinent and substantive financial and strategic developments. For
    months we received weekly financial and corporate updates from you -- which have now halted since early
    May. You have NOT been relieved of this obligation. I have asked repeatedly for detailed and accurate updates
    on the financials, other potential investors, the staff/tutor situation, the Dix lawsuit, developments with
    Fintcher, FSU, UCF… ANY and ALL key issues… and have received nothing from you. I do not want this
    update over the phone or in a personal meeting – I want it in writing to ALL the investors. Period. No more
    games.



    I am no longer requesting this information – I am demanding it. If I do not receive a FULL, ACCURATE and
    COMPREHENSIVE report from you by end of business on Thursday July 5th I will contact my attorney and
    pursue all legal means to recoup my investment immediately. If you have enough money to pay your staff and
    take a salary – you have enough money to begin payments to me immediately.



    Matt, the investor/creditor group has been more than lenient with you, and you have made repeated promises
    that you would keep us informed and would make every effort to pay us all back. Unfortunately, to this point
    your actions have not matched your words. If I do not receive all of the information I have requested I will be
    relentless in my efforts to obtain the funds and interest you owe me and will file suit immediately.

Exhibit 7.page 72

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…    2/4
12/16/2014                         Case 13-01007-KKS         Doc 452GmailFiled
                                                                          - RE: TZ10/02/15
                                                                                   Update             Page 153 of 423
    John Spence



      

      

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                         Website:    www.johnspence.com

                         Read   my blog: http://blog.johnspence.com

                         Social   Media platforms: http://about.me/johnspence



    From:  Matthew  Hintze  [mailto:matthewhintze@gmail.com]  
    Sent:  Tuesday,  May  29,  2012  11:14  AM
    To:  Matthew  Hintze
    Cc:  John  Spence;;  Sheila  Spence;;  Randy  Scott;;  Sally  Scott;;  Cgreer@ufl.edu;;  Christopher  James;;
    bphintze@bellsouth.net;;  Rick  Staab;;  Larina  Hintze;;  kgogilby@gmail.com;;  David  Whitney
    Subject:  Re:  TZ  Update

      

    John:

      

    In  our  last  creditor  meeting  we  discussed  tz  needing  to  go  out  of  busines  as  it  could  not  service  its  debts  and
    creditors  did  not  feel  comfortable  investing  more  funds.    So  we  are  allowing  tz  to  go  out  of  business.

      

    The  creditors  understood  based  on  not  being  able  to  service  its  debts  that  Larina  and  I  would  personally  be  forced
    into  bankruptcy.

      

    You  are  right  John  about  our  moral  obligation  and  as  such  we  reaffirmed  our  moral  obligation  to  pay  everyone
    back  and  creditors  therefore  stated  they  would  not  contest  the  bankruptcy  but  did  expect  us  to  repay  them  which
    we  again  affirmed  we  would.

      

    We  are  working  hard  to  move  forward  and  revive  the  business  in  a  different  way  with  the  goal  to  pay  everyone
Exhibit 7.page 73
   back.    We  offered  all  creditors  the  chance  to  invest  in  a  new  company  which  they  were  understandably  not
    interested  in  doing.
https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   3/4
12/16/2014                 Case 13-01007-KKS                 Doc 452GmailFiled
                                                                          - RE: TZ10/02/15
                                                                                   Update             Page 154 of 423
      

    Thank  you  for  your  continued  support.    Let  me  know  if  this  brings  everyone  up  to  speed.

      

    Thank  you,

    Matt

      



    -­-­  
    Matthew  Hintze
    MatthewHintze@gmail.com
    (352)  219-­1618  (mobile)

      




Exhibit 7.page 74

https://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=pt&as_from=christopher.james%40warrington.ufl.edu&as_sizeoperator=s_sl&as_sizeunit=s_smb&a…   4/4
                       Case 13-01007-KKS        Doc 452      Filed 10/02/15     Page 155 of 423


                                                                           Larina Hintze <larinahintze@gmail.com>



  Re: TZ Update
  1 message

  Larina Hintze <larinahintze@gmail.com>                                                  Mon, Jul 2, 2012 at 11:22 AM
  To: "James,Christopher" <christopher.james@warrington.ufl.edu>

    Chris:

    Yes sir boss :­)

    Larina

    On Sun, Jul 1, 2012 at 9:09 PM, James,Christopher <christopher.james@warrington.ufl.edu> wrote:

      I would not send anything to the investors until we speak with Jeff. My view is that we tell investors that TZ
      is closing and that you and matt as well as a “number of Tutors” have been hired as employees of CMJ that
      will begin in the fall offering tutoring services under using the name TZ2. Tell them that you and Matt will try
      very hard to repay investors if and when funds become available. Next Matt discusses all this with the
      Alligator and we move forward. This is the new and improved, well capitalized and economical tutoring
      service.

       

       

      From: Larina Hintze [mailto:larinahintze@gmail.com] 
      Sent: Sunday, July 01, 2012 8:52 PM
      To: Matthew Hintze; James,Christopher; Jeffery Childers; Bphintze@bellsouth.net
      Subject: Re: TZ Update

       

      Matt and Chris conferenced and Matt is meeting with Kevin at noon to get a feel for where this is coming from
      (isolated) or spurred on by group as well as having a follow up call with Jeff.

       

      My thoughts are this:

       

      Would it be wise to send the following response to ALL (removing Randy and Sally Scott from the thread).

       

      John et all:

       

      When Scott sold his promissory note to Fieldman we were advised that ANY and ALL information we share
      would have to be shared with all creditors and as such we should stop all communication.

       
Exhibit 7.page 75
      The quandry we are in is tenious and for our protection as well as EVERYONE, we must not treat any creditors
                      Case 13-01007-KKS          Doc 452      Filed 10/02/15       Page 156 of 423
      differenlty as we can only imagine that any information Fieldman should have gotten but did not would put us
      ALL at risk.

       

      Scott Walker is going to call you John direclty to expalin the exposure as an advisory board member (or as
      acting CEO and leave out advisory board so he does not rebel rouse Whit and Ogilby) you have so that you
      can discuss this with your counsel and why we must follow a strict course of action.

       

      Strategy:

       

      Is it possible to have Scott Walker call John and say listen as acting CEO you have exposure and liablity in
      that you were privy to all information before, during and after regarding TZ and as such we must weigh our
      need for communication against our exposure and liability as Fieldman could pursue a suit against Matt and
      Larina but also individually against you as the CEO and/or possibly the advisory board.

       

      This is an aggressive action which I'm never a fan of.  However, if there is a way to nip this is in the bud that
      is to our advantage and sometimes fear based people respond best to fear.

       

      I'm wondering if this is classic miscommunication in that Sheila attended the last meeting and did not
      understand what was discussed so only John is out of the loop?

       

      Or he's just working himself into a resentment to alieve his guilt over wanting to file suit becuase despite his
      claims he didn't care about the money and planned to write it off that he in fact is very pissed as time goes by
      and wants to bear pain in hopes to get paid back.

       

      Larina

       

       

      On Sun, Jul 1, 2012 at 2:35 PM, John Spence <john@johnspence.com> wrote:

      Matt:

       

      I have grown tired of your constant excuses. You have a fiduciary responsibility to the entire investor /
      creditor group to keep us fully informed of ALL pertinent and substantive financial and strategic
      developments. For months we received weekly financial and corporate updates from you ‐‐ which have
      now halted since early May. You have NOT been relieved of this obligation. I have asked repeatedly for
      detailed and accurate updates on the financials, other potential investors, the staff/tutor situation, the Dix
      lawsuit, developments with Fintcher, FSU, UCF…  ANY and ALL key issues… and have received nothing from
      you. I do not want this update over the phone or in a personal meeting – I want it in writing to ALL the
      investors. Period. No more games.

       
Exhibit 7.page 76
                       Case 13-01007-KKS Doc 452 Filed 10/02/15 Page 157 of 423
      I am no longer requesting this information – I am demanding it. If I do not receive a FULL, ACCURATE and
      COMPREHENSIVE report from you by end of business on Thursday July 5th I will contact my attorney and
      pursue all legal means to recoup my investment immediately. If you have enough money to pay your staff
      and take a salary – you have enough money to begin payments to me immediately.

       

      Matt, the investor/creditor group has been more than lenient with you, and you have made repeated
      promises that you would keep us informed and would make every effort to pay us all back. Unfortunately,
      to this point your actions have not matched your words. If I do not receive all of the information I have
      requested I will be relentless in my efforts to obtain the funds and interest you owe me and will file suit
      immediately.

       

      John Spence

       

       

       

      Named one of the Top 100 Business Thought Leaders in America

       




       

      P: (352) 316‐4026 • PO Box 357606, Gainesville, FL 32635 

       

                       Website:  www.johnspence.com

                       Read my blog: http://blog.johnspence.com

                       Social Media platforms: http://about.me/johnspence

       

      From: Matthew Hintze [mailto:matthewhintze@gmail.com] 
      Sent: Tuesday, May 29, 2012 11:14 AM
      To: Matthew Hintze
      Cc: John Spence; Sheila Spence; Randy Scott; Sally Scott; Cgreer@ufl.edu; Christopher James;
      bphintze@bellsouth.net; Rick Staab; Larina Hintze; kgogilby@gmail.com; David Whitney
      Subject: Re: TZ Update

       

      John:

Exhibit  7.page 77
      In our last creditor meeting we discussed tz needing to go out of busines as it could not service its debts and
                     Case 13-01007-KKS           Doc 452     Filed 10/02/15      Page 158 of 423
      creditors did not feel comfortable investing more funds.  So we are allowing tz to go out of business.

       

      The creditors understood based on not being able to service its debts that Larina and I would personally be
      forced into bankruptcy.

       

      You are right John about our moral obligation and as such we reaffirmed our moral obligation to pay everyone
      back and creditors therefore stated they would not contest the bankruptcy but did expect us to repay them
      which we again affirmed we would.

       

      We are working hard to move forward and revive the business in a different way with the goal to pay everyone
      back.  We offered all creditors the chance to invest in a new company which they were understandably not
      interested in doing.

       

      Thank you for your continued support.  Let me know if this brings everyone up to speed.

       

      Thank you,

      Matt

       



      ­­ 
      Matthew Hintze
      MatthewHintze@gmail.com
      (352) 219­1618 (mobile)

       




Exhibit 7.page 78
Gmail - Re: TZ Update
                                 Case 13-01007-KKS                          Doc 452             Filedhttps://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=p...
                                                                                                        10/02/15 Page 159 of 423



                                                                                                                      Larina Hintze <larinahintze@gmail.com>



         Re: TZ Update
         John Spence <john@johnspence.com>                                                    Sun, Jul 1, 2012 at 2:35 PM
         To: Matthew Hintze <matthewhintze@gmail.com>
         Cc: Sheila Spence <sheila@johnspence.com>, Randy Scott <randyscott14@gmail.com>, Sally Scott
         <sallycscott@gmail.com>, Cgreer@ufl.edu, Christopher James <christopher.james@warrington.ufl.edu>,
         bphintze@bellsouth.net, Rick Staab <rstaab@intermed1.com>, Larina Hintze <larinahintze@gmail.com>,
         kgogilby@gmail.com, David Whitney <whit5470@gmail.com>, John Spence <john@johnspence.com>


           Ma#:

           	  

           I	  have	  grown	  /red	  of	  your	  constant	  excuses.	  You	  have	  a	  ﬁduciary	  responsibility	  to	  the	  en/re	  investor	  /
           creditor	  group	  to	  keep	  us	  fully	  informed	  of	  ALL	  per/nent	  and	  substan/ve	  ﬁnancial	  and	  strategic
           developments.	  For	  months	  we	  received	  weekly	  ﬁnancial	  and	  corporate	  updates	  from	  you	  -­‐-­‐	  which	  have	  now
           halted	  since	  early	  May.	  You	  have	  NOT	  been	  relieved	  of	  this	  obliga/on.	  I	  have	  asked	  repeatedly	  for	  detailed
           and	  accurate	  updates	  on	  the	  ﬁnancials,	  other	  poten/al	  investors,	  the	  staﬀ/tutor	  situa/on,	  the	  Dix	  lawsuit,
           developments	  with	  Fintcher,	  FSU,	  UCF…	  	  ANY	  and	  ALL	  key	  issues…	  and	  have	  received	  nothing	  from	  you.	  I	  do
           not	  want	  this	  update	  over	  the	  phone	  or	  in	  a	  personal	  mee/ng	  –	  I	  want	  it	  in	  wri/ng	  to	  ALL	  the	  investors.
           Period.	  No	  more	  games.

           	  

           I	  am	  no	  longer	  reques/ng	  this	  informa/on	  –	  I	  am	  demanding	  it.	  If	  I	  do	  not	  receive	  a	  FULL,	  ACCURATE	  and
           COMPREHENSIVE	  report	  from	  you	  by	  end	  of	  business	  on	  Thursday	  July	  5th	  I	  will	  contact	  my	  a#orney	  and
           pursue	  all	  legal	  means	  to	  recoup	  my	  investment	  immediately.	  If	  you	  have	  enough	  money	  to	  pay	  your	  staﬀ
           and	  take	  a	  salary	  –	  you	  have	  enough	  money	  to	  begin	  payments	  to	  me	  immediately.

           	  

           Ma#,	  the	  investor/creditor	  group	  has	  been	  more	  than	  lenient	  with	  you,	  and	  you	  have	  made	  repeated
           promises	  that	  you	  would	  keep	  us	  informed	  and	  would	  make	  every	  eﬀort	  to	  pay	  us	  all	  back.	  Unfortunately,	  to
           this	  point	  your	  ac/ons	  have	  not	  matched	  your	  words.	  If	  I	  do	  not	  receive	  all	  of	  the	  informa/on	  I	  have
           requested	  I	  will	  be	  relentless	  in	  my	  eﬀorts	  to	  obtain	  the	  funds	  and	  interest	  you	  owe	  me	  and	  will	  ﬁle	  suit
           immediately.

           	  

           John	  Spence

           	  




           Named one of the Top 100 Business Thought Leaders in America
   Exhibit 7.page 79


1 of 2                                                                                                                                                                SpenceReq002195
                                                                                                                                                                          12/5/12 5:43 PM
Gmail - Re: TZ Update
                                 Case 13-01007-KKS                         Doc 452             Filedhttps://mail.google.com/mail/u/0/?ui=2&ik=ed0b666038&view=p...
                                                                                                       10/02/15 Page 160 of 423




           P:	  (352)	  316-­‐4026	  •	  PO	  Box	  357606,	  Gainesville,	  FL	  32635	  

           	  

                       Website:	  	  www.johnspence.com

                       Read	  my	  blog:	  h#p://blog.johnspence.com

                       Social	  Media	  pla5orms:	  h#p://about.me/johnspence

           	  

           From: Matthew Hintze [mailto:matthewhintze@gmail.com]
           Sent: Tuesday, May 29, 2012 11:14 AM
           To: Matthew Hintze
           Cc: John Spence; Sheila Spence; Randy Scott; Sally Scott; Cgreer@ufl.edu; Christopher James;
           bphintze@bellsouth.net; Rick Staab; Larina Hintze; kgogilby@gmail.com; David Whitney
           Subject: Re: TZ Update

           [Quoted text hidden]




   Exhibit 7.page 80


2 of 2                                                                                                                                      SpenceReq002196
                                                                                                                                                12/5/12 5:43 PM
                     Case 13-01007-KKS         Doc 452      Filed 10/02/15     Page 161 of 423


  Elizabeth R Bowen

  From:                           Matthew Hintze <matthewhintze@gmail.com>
  Sent:                           Monday, July 13, 2015 1:33 PM
  To:                             Elizabeth R Bowen
  Subject:                        Fwd: DRAFT RESPONSE FOR SPENCE



  #24 - 7/5/2012


  ---------- Forwarded message ----------
  From: James,Christopher <christopher.james@warrington.ufl.edu>
  Date: Thu, Jul 5, 2012 at 3:57 PM
  Subject: Re: DRAFT RESPONSE FOR SPENCE
  To: Matthew Hintze <matthewhintze@gmail.com>


  I would as that "in time I may have the opportunity to earn an equity position but at this time that opportunity is
  not available to me. If and when that occurs ...."

  Sent from my iPhone

  On Jul 5, 2012, at 12:05, "Matthew Hintze" <matthewhintze@gmail.com> wrote:

          Please provide comments as you see fit. My understanding is that without some type of response
          he will seek to file suit - hence this reply. Thanks.

          John,

          TutoringZone is in the process of going out of business. As highlighted in May, since we were
          unable to secure the $250,000 needed to continue operations through the summer, we are
          following the Florida unwinding statutes and closing the business. We have left the building and
          we are working with a bankruptcy attorney who will be notifying all creditors throughout the
          process. The attorney representing TZ in the process is Jeff Childers. He has been carbon-
          copied on this e-mail should you wish to speak to him directly.

          Larina and I have completed all paperwork necessary to file for personal bankruptcy. We will be
          filing some time in the next few weeks.

          The tutors and I have taken jobs with TutoringZone 2, a Florida LLC with membership interest
          owned by Christopher James. As an employee (but not owner) of that firm, I am not at liberty to
          disclose details regarding funding, business strategy, etc. Given your existing relationship with
          Dr. James, PLEASE feel free to e-mail him if you would like to discuss matters. My belief is
          that he would be open to receiving capital contributions from any of the individuals who invested
          in TutoringZone.

          My goal, as always, is to work very very hard to make this business successful. In so doing, it is
          my understanding that I will have the opportunity to earn an equity position in the new
          company. With this position I will seek to immediately commence repaying you and all of the
Exhibit 7.page 81
                                                           1
                       Case 13-01007-KKS       Doc 452     Filed 10/02/15     Page 162 of 423
          other creditors who invested in TutoringZone and Matt Hintze.

          On a last note, I continue to be open to meeting with you and Sheila at any time to discuss
          matters further.

          Thank you.

          -Matt


          --
          Matthew Hintze
          MatthewHintze@gmail.com
          (352) 219-1618 (mobile)




  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




Exhibit 7.page 82
                                                          2
12/16/2014                Case 13-01007-KKS                      GmailFiled
                                                           Doc 452    - Fwd: TZ Update
                                                                              10/02/15             Page 163 of 423


                                                                                       Matthew  Hintze  <matthewhintze@gmail.com>



  Fwd:  TZ  Update
  Matthew  Hintze  <matthewhintze@gmail.com>                                                Fri,  Jul  6,  2012  at  10:01  AM
  To:  Christopher  James  <christopher.james@warrington.ufl.edu>,  Cynthia  L  Frenchman
  <cynthia.frenchman@warrington.ufl.edu>,  Jeffery  Childers  <jchilders@smartbizlaw.com>,  Larina  Hintze
  <larinahintze@gmail.com>



    -­-­-­-­-­-­-­-­-­-­  Forwarded  message  -­-­-­-­-­-­-­-­-­-­
    From:  Matthew  Hintze  <matthewhintze@gmail.com>
    Date:  Fri,  Jul  6,  2012  at  10:01  AM
    Subject:  TZ  Update
    To:  John  Spence  <john@johnspence.com>,  Sheila  Spence  <sheila@johnspence.com>


    John:

    We  have  continued  to  be  committed  and  focused  on  the  plan  in  the  last  creditor  meeting  where  a  vote  and
    unanimous  decision  was  made  about  how  to  move  forward  and  everyone  was  in  agreement.    

    Since  Kevin  and  Chris  were  sort  of  spearheading  how  to  move  us  forward  both  have  stated  they  are  available  to
    discuss  this  further  as  they  would  like  us  all  to  stay  on  our  current  course.      It  is  totally  understandable  that  you
    want  updates,  but  since  Scott  sold  his  note  to  Fieldman  he  would  have  access  to  any  emails  or  could  request
    them  or  could  claim  foul  play  for  being  excluded  so  we  have  simply  been  instructed  to  shut  down  communication
    on  that  front.    Does  this  resonate  for  you?

    This  is  asking  a  great  deal  of  you  as  you've  already  spent  so  much  time  and  effort  supporting  us,  being  a  strong
    advocate  for  the  unethical  and  shady  behavior  that  you  found  unacceptable  SE  was  engaging  in  going  as  far  as
    pulling  a  favor  with  Avery  and  Smith  to  get  a  civil  suit  going  against  SE,  the  documents  you  provided  to  our  legal
    team  at  Folds  and  Walker,    and  all  the  emails  to  get  criminal  charges  filed  with  the  GPD  and  we  really,  really
    appreciate  all  that  you  have  done  to  support  TZ.

    On  a  side  note  Fieldman  had  UGA  managers  sign  a  lease  in  their  personal  name  to  violate  the  settlement
    agreement.    He  then  decided  to  close  UGA  so  he  told  the  managers  up  there  either  lose  the  $50k  in  equity  you've
    put  into  SE  and  SE  will  take  over  the  lease  OR  get  back  your  $50k  in  equity  and  take  over  the  lease.    They  of
    course  were  crushed,  but  it  seems  that  everyone  who  had  a  part  in  engaging  in  highly  unethical  behavior  is  now
    getting  turnabout.    

    I  may  look  like  the  loser  on  paper  but  frankly  I  am  just  not  willing  to  harm  others  in  order  to  succeed.    Despite  my
    imperfections  I  have  a  big  heart  for  people  and  I  would  not  and  could  not  support  anyone  that  prides  themselves
    in  hurting  others.      I  know  you  have  a  similar  desire  to  help  others  and  I  always  felt  that  common  bond  with  you.    A
    desire  to  do  no  harm.    Larina  and  I  enjoyed  very  much  the  master  mind  meetings  and  your  generosity  and
    hospitality.    Please  let  me  know  if  there  is  every  anything  that  I  can  do  for  you  and  reciprocate.

    I  sincerely  appreciate  all  you  have  done  and  continue  to  do  for  TZ  and  our  community.    Please  let  me  reaffirm  my
    desire  both  stated  in  our  last  meeting  and  continually  throughout  this  process  to  get  everyone  paid  back.  
    Everyone  in  the  meeting  understood  this  was  a  long  term  plan.

    Thank  you,
    Matt


   -­-­   7.page 83
Exhibit
    Matthew  Hintze
https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…     1/2
12/16/2014                Case 13-01007-KKS                      GmailFiled
                                                           Doc 452    - Fwd: TZ Update
                                                                              10/02/15            Page 164 of 423
    MatthewHintze@gmail.com
    (352)  219-­1618  (mobile)




    -­-­  
    Matthew  Hintze
    MatthewHintze@gmail.com
    (352)  219-­1618  (mobile)




Exhibit 7.page 84

https://mail.google.com/mail/u/0/?ui=2&ik=2f5798351a&view=pt&q=to%3A(christopher.james%40warrington.ufl.edu)%20after%3A2011%2F11%2F1%20before%…   2/2
                      Case 13-01007-KKS              Doc 452   Filed 10/02/15     Page 165 of 423


                                                                        Matthew Hintze <matthewhintze@gmail.com>



  Fwd: TZ Update
  1 message

  Larina Hintze <larinahintze@gmail.com>                                            Tue, Jul 10, 2012 at 6:30 AM
  To: Christopher James <christopher.james@cba.ufl.edu>, Matthew Hintze <matthewhintze@gmail.com>,
  Bphintze@bellsouth.net, Jeffery Childers <jchilders@smartbizlaw.com>

    Sent this to John only without ccing everyone.....

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­­
    From: Larina Hintze <larinahintze@gmail.com>
    Date: Tue, Jul 10, 2012 at 6:26 AM
    Subject: Re: TZ Update
    To: John Spence <john@johnspence.com>


    John:

    I noticed Rick was left off this email thread.  I am assuming his phone call asking about a rental property is what
    initiated this?

    We have two rentals for sale that were publicly listed in the MLS.  424 and 502 in order to pay the IRS (who is
    first no matter what).

    424 has active termites and needs several repairs so the buyer cancelled the contract.  

    As far as the rest of the email why the need to do this over email and to specifically cc Matt's parents and
    myself or anyone else for that matter other than to cause pain?  You have made your decision about Matt and
    have repeatedly shared it in unkind ways.

    I saw your facebook post yesterday and took your advise and read it many many times.  Please sit down with
    Matt he wants to meet, wants to pay you back, wants to move forward despite perceived disappointments.  If
    you are not willing to do that then please don't include me on these hurtful emails anymore.  

    Live the Light, Be the Light, Share the Light,
    Larina




Exhibit 7.page 85
                      Case 13-01007-KKS            Doc 452      Filed 10/02/15       Page 166 of 423




    On Mon, Jul 9, 2012 at 2:04 PM, John Spence <john@johnspence.com> wrote:

      It sucks being lied to, but what is even worse is knowing that you are not worth the truth.

       
Exhibit 7.page 86
                    Case 13-01007-KKS Doc 452 Filed 10/02/15 Page 167 of 423
      You have not answered any of my questions or repeated requests for accurate and complete
      information/updates.

       

      You have taken advantage of several key people in our community and I am at a loss as to how you expect
      to continue to do business here when you have hurt and lied to so many people.

       

      You have lied to your wife about finances, cashing out your IRA, signing contracts without her knowledge…
      and you have run your family into bankruptcy.

       

      You have lied to your investors, staff and vendors… and you have run your company into bankruptcy.

       

      You are currently liquidating assets to invest in a new business so that there is no collateral for your
      creditors to pursue.

       
      Your actions speak volumes about your true intentions.

       

      You can blame and misdirect and complain all day long (as in the note below) – but at the end of the day
      when you want to face the truth of why all of these terribly bad things are happening – simply look in the
      mirror.

       

       

       

      Named one of the Top 100 Business Thought Leaders in America

       




       

      P: (352) 316‐4026 • PO Box 357606, Gainesville, FL 32635 

       

                 Website:  www.johnspence.com
                  


                 Read my blog: http://blog.johnspence.com
                  


                 Social Media platforms: http://about.me/johnspence
                  
Exhibit 7.page 87
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      From: Matthew Hintze [mailto:matthewhintze@gmail.com] 
      Sent: Friday, July 06, 2012 10:01 AM
      To: John Spence; Sheila Spence
      Subject: TZ Update

       

      John:

      We have continued to be committed and focused on the plan in the last creditor meeting where a vote and
      unanimous decision was made about how to move forward and everyone was in agreement.  

      Since Kevin and Chris were sort of spearheading how to move us forward both have stated they are available
      to discuss this further as they would like us all to stay on our current course.   It is totally understandable that
      you want updates, but since Scott sold his note to Fieldman he would have access to any emails or could
      request them or could claim foul play for being excluded so we have simply been instructed to shut down
      communication on that front.  Does this resonate for you?

      This is asking a great deal of you as you've already spent so much time and effort supporting us, being a
      strong advocate for the unethical and shady behavior that you found unacceptable SE was engaging in going
      as far as pulling a favor with Avery and Smith to get a civil suit going against SE, the documents you provided
      to our legal team at Folds and Walker,  and all the emails to get criminal charges filed with the GPD and we
      really, really appreciate all that you have done to support TZ.

      On a side note Fieldman had UGA managers sign a lease in their personal name to violate the settlement
      agreement.  He then decided to close UGA so he told the managers up there either lose the $50k in equity
      you've put into SE and SE will take over the lease OR get back your $50k in equity and take over the lease. 
      They of course were crushed, but it seems that everyone who had a part in engaging in highly unethical
      behavior is now getting turnabout.  

      I may look like the loser on paper but frankly I am just not willing to harm others in order to succeed.  Despite
      my imperfections I have a big heart for people and I would not and could not support anyone that prides
      themselves in hurting others.   I know you have a similar desire to help others and I always felt that common
      bond with you.  A desire to do no harm.  Larina and I enjoyed very much the master mind meetings and your
      generosity and hospitality.  Please let me know if there is every anything that I can do for you and reciprocate.

      I sincerely appreciate all you have done and continue to do for TZ and our community.  Please let me reaffirm
      my desire both stated in our last meeting and continually throughout this process to get everyone paid back. 
      Everyone in the meeting understood this was a long term plan.

      Thank you,
      Matt


      ­­ 
      Matthew Hintze
      MatthewHintze@gmail.com
      (352) 219­1618 (mobile)




Exhibit 7.page 88
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                                                                      Matthew Hintze <matthewhintze@gmail.com>



 RE: Mid­July Payroll
 1 message

 Frenchman,Cynthia L <cynthia.frenchman@warrington.ufl.edu>                                 Fri, Jul 13, 2012 at 1:20 PM
 To: Matthew Hintze <matthewhintze@gmail.com>


   Oh great I thought she gave it to you already. I told her to take care of it this morning. Let me get right back to
   you.

    

   Cynthia Frenchman

   Assistant to Professor Christopher James

   University of Florida

   Warrington College of Business

   Department of Finance

   (352) 392-8041-Office

   (352) 213-2858-Cell



    

    

   From: Matthew Hintze [mailto:matthewhintze@gmail.com] 
   Sent: Friday, July 13, 2012 10:08 AM
   To: Frenchman,Cynthia L
   Subject: Re: Mid­July Payroll

    

   Madam Frenchman ­ Can I call Ariel and ask her to cut check?  Would that be easiest?

   Gracias.

   ­Matt



   On Thu, Jul 12, 2012 at 2:18 PM, James,Christopher <christopher.james@warrington.ufl.edu> wrote:

   Ok 

   Sent from my iPhone

Exhibit 7.page 89
   On Jul 12, 2012, at 11:17, "Matthew Hintze" <matthewhintze@gmail.com> wrote:
                     Case 13-01007-KKS          Doc 452      Filed 10/02/15     Page 170 of 423
           Hey everyone,

           We will be writing checks for payroll over the next few days ­ payday is Sunday the 15th.

           We have total expenses of approximately $30,000 and cash on hand of approximately $10,000.  To
           keep things simple and consistent, would you agree to a payment from CMJ in the amount of
           $25,000?  This will be the third draw, for a total of $75,000, which conveniently finishes up the
           consideration in the TZ lease agreement with CMJ ­ which will certainly make Jeff happy!

           Thank you!

           ­Matt



           ­­ 
           Matthew Hintze
           MatthewHintze@gmail.com
           (352) 219­1618 (mobile)




    ­­ 
    Matthew Hintze
    MatthewHintze@gmail.com
    (352) 219­1618 (mobile)




Exhibit 7.page 90
                      Case 13-01007-KKS            Doc 452      Filed 10/02/15      Page 171 of 423


  Elizabeth R Bowen

  From:                              Matthew Hintze <matthewhintze@gmail.com>
  Sent:                              Monday, July 13, 2015 2:04 PM
  To:                                Elizabeth R Bowen
  Subject:                           Fwd: TZ2 Employment Agreements



  #4 - 7/13/2012


  ---------- Forwarded message ----------
  From: Larina Hintze <larinahintze@gmail.com>
  Date: Fri, Jul 13, 2012 at 3:24 PM
  Subject: Re: TZ2 Employment Agreements
  To: "James,Christopher" <christopher.james@warrington.ufl.edu>, Matthew Hintze
  <matthewhintze@gmail.com>


  Understand

  employment agreements, business plan, draw schedules and quick book reports on the agenda.

  ASAP means - will next Friday work - is that doable?

  I think if we deliver a careful message - we may be able to accomplish both goals.

  a we do it in person
  b we avoid prying type questions and Matt can honestly say for legal reasons all I can say is we have financial
  backing and your checks are coming from that new source - sound strategy

  Should we cc Childers on any draft announcements? Do we even need a release? Studens don't care -
  employees just need to know checks will clear and agreements for their protection are backed by cmj due to
  legal matters tz is winding up.



  On Friday, July 13, 2012, James,Christopher wrote:

   While the 90 day clock does not end until September, I think that for strategic reasons we should let the Tutors know
   what’s going to happen in the fall. We do not need to go into the details of the transactions or the implications for the
   creditors of TZ just that they are going to be working for me and all is well. We can’t wait to inform them since I need
   employment agreements from the ASAP.




   From: Larina Hintze [mailto:larinahintze@gmail.com]
   Sent: Friday, July 13, 2012 11:13 AM
   To: Jeffery Childers
   Cc: Matthew Hintze; James,Christopher
   Subject:
Exhibit 7.pageRe:
               91 TZ2 Employment Agreements
                                                               1
                                    Case 13-01007-KKS                                Doc 452                Filed 10/02/15                     Page 172 of 423



   Jeff:

   Thank you. What is the Start Date of the 90 day clock?



   On Fri, Jul 13, 2012 at 2:04 PM, Jeffery Childers <jchilders@smartbizlaw.com> wrote:

   Matt and Larina,



   TZ2 is now a formally constituted corporate entity. Reminder that the employees need to execute the new
   employment agreements, which you already should have drafts of.



   The publicly visible portions of the logistics can be scheduled as you see fit depending on extrinsic needs.
   However, as I have stated, TZ2 desires that at least 90 days pass from the asset sale before a public
   announcement is made if at all possible.



   Let me know if you have any questions.



   Regards,



   Jeff



   Contact Information |

                                  Seldon Jeff Childers
    T 866.996.6104                jchilders@smartbizlaw.com
      352-335-0400
    F 407.209.3870
                                  Childers*Law, LLC
    www.smartbizlaw.com 2135 NW 40th Terrace,
                                  Suite B
                                  Gainesville, FL 32605



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Exhibit 7.page 92
                                                                                                          2
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  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




Exhibit 7.page 93
                                                  3
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  Elizabeth R Bowen

  From:                            Matthew Hintze <matthewhintze@gmail.com>
  Sent:                            Monday, July 13, 2015 1:29 PM
  To:                              Elizabeth R Bowen
  Subject:                         Fwd: Yo



  #21 - 7/13/2012



  ---------- Forwarded message ----------
  From: Matthew Hintze <matthewhintze@gmail.com>
  Date: Fri, Jul 13, 2012 at 1:27 PM
  Subject: Fwd: Yo
  To: Jeffery Childers <jchilders@smartbizlaw.com>, Larina Hintze <larinahintze@gmail.com>, Christopher
  James <christopher.james@warrington.ufl.edu>


  Not sure if I forwarded this to you as yet.

  Rich receives his paychecks as an independent contractor to Study Edge - he has an LLC called RDM
  Tutoring. He also has He offered Jon a job contract with RDM Tutoring for roughly $100,000 with 3 months
  vacation, contingent (written as such in the contract) on him leaving TZ. Does this rise to the level of tortious
  interference?

  Thanks.

  -Matt



  ---------- Forwarded message ----------
  From: Jonathan Aleman <jonaleman0923@gmail.com>
  Date: Sun, Jul 8, 2012 at 9:25 AM
  Subject: Fwd: Yo
  To: Matthew Hintze <matthewhintze@gmail.com>


  FYI - I guess not answering the last time prompted another Ethan-driven email.

  Jon Aleman
  Head of Mathematics and Statistics Instruction
  (352) 275-6496 (Cell)
  www.TutoringZone.com

  Thank you for choosing TutoringZone. It is our pleasure having served you. If you loved
Exhibit 7.page 94
                                                           1
                    Case 13-01007-KKS          Doc 452      Filed 10/02/15      Page 175 of 423

 our services, please tell your friends.



 Begin forwarded message:



        From: Richard Melgarejo <richarddmelgarejo@gmail.com>
        Date: July 7, 2012 6:03:38 PM EDT
        To: Jonathan Aleman <jonaleman0923@gmail.com>
        Subject: Yo

        Yo dude,
        What is going on with Matt/TZ? Is this what you are talking about when you said you might go
        another direction? I mean the eviction notice, lawsuits from Randy Scott and Ryan Dix. Is Matt
        alright? I saw all of the cabinets coming down from the building. Also, the Alligator comes out and
        Matt denies all of it? I'm just curious, what’s going on over there. If you don’t mind letting me
        know.

        Are you still working with TZ or do you have another job lined up? I know we spoke about a little
        about a future plan but if you are still interested in doing online tutoring we might be able to find a
        way for you to do some off-site tutoring for us. You know we think you are a great tutor and not
        many people do what we do so let me know your thoughts man. Hope all is well with you and Kelly
        in Orlando. If you ever make it back up to the Ville, let's grab a beer.

        Love,
        The Nigga, Rich


        "You NEED it; You GOT it!"
        -Rich
        www.facebook.com/RDMCHEMTutor




 --
 Matthew Hintze
 MatthewHintze@gmail.com
 (352) 219-1618 (mobile)




  -- 7.page 95
Exhibit
                                                           2
                    Case 13-01007-KKS   Doc 452   Filed 10/02/15   Page 176 of 423
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




Exhibit 7.page 96
                                                  3
                      Case 13-01007-KKS       Doc 452     Filed 10/02/15    Page 177 of 423


  Elizabeth R Bowen

  From:                            Matthew Hintze <matt@tutoringzone.com>
  Sent:                            Friday, July 17, 2015 11:15 AM
  To:                              Elizabeth R Bowen
  Subject:                         Fwd: TZ2 Employment Agreements



  July 17 e-mail

  Begin forwarded message:


          From: Matthew Hintze <Matt@tutoringzone.com>
          Subject: Re: TZ2 Employment Agreements
          Date: July 17, 2012 at 2:27:50 PM EDT
          To: "James,Christopher" <christopher.james@warrington.ufl.edu>

          Employee            Stock Grant
          Paul Hintze                1.67%
          Jon Aleman                 1.67%
          John Kavekos               0.83%
          Michael
                                    0.83%
          Underwood
          Lauren Figler             0.83%
          Alek Hartzog              0.83%
          Katie Murphy              0.33%
          Rob Bailey                0.33%
                                    7.33%
          MATTHEW HINTZE
          (352) 219-1618 (Mobile)
          1010 NORTH MAIN STREET
          GAINESVILLE, FL 32601
          WWW.TUTORINGZONE.COM




          THANK YOU FOR CHOOSING TUTORINGZONE. WE'RE PROUD TO SERVE YOU. IF YOU LOVE OUR
          SERVICES, PLEASE TELL YOUR FRIENDS.




          On Jul 17, 2012, at 1:59 PM, James,Christopher wrote:


Exhibit 7.page 97
                                                         1
                        Case 13-01007-KKS          Doc 452      Filed 10/02/15      Page 178 of 423

                    Who is covered by the 8%? Does that include any Hintze. The simplest way to do this is a
                    side agreement. Given that the equity value is currently worth zero in TZ I suggest that
                    we identify a revenue target for 2012 and 2013. If the revenue target is met then the
                    tutors will be awarded shares equity. That way we do not get into a situation where for
                    every dollar I put into the business I get back $92. I do not remember what the business
                    plan target revenue is,,,

                    From: Matthew Hintze [mailto:Matt@tutoringzone.com]
                    Sent: Tuesday, July 17, 2012 9:56 AM
                    To: Jeffery Childers
                    Cc: Larina Hintze; James,Christopher; James,Christopher
                    Subject: Re: TZ2 Employment Agreements

                    Question on the employment agreements - what do we need to prepare in order to
                    allocate shares to the employees as provided for in the contracts? I am not sure if
                    there is membership paperwork, etc. that needs to be in place. Is there a standard
                    ESOP (membership interest) contract with provisions for vesting, exit, etc.? In
                    total, contracts call for approximately 8% ownership by current team.

                    Thanks!

                    -Matt




                    MATTHEW HINTZE
                    (352) 219-1618 (MOBILE)
                    1010 NORTH MAIN STREET
                    GAINESVILLE, FL 32601
                    WWW.TUTORINGZONE.COM


                    <image001.jpg>




                    THANK YOU FOR CHOOSING TUTORINGZONE. WE'RE PROUD TO SERVE YOU. IF
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Exhibit 7.page 98
                                                               2
                           Case 13-01007-KKS                  Doc 452           Filed 10/02/15             Page 179 of 423
                    On Jul 13, 2012, at 2:34 PM, Jeffery Childers wrote:



                    Larina,

                    The 90-day period began to run on June 4, 2012, the date of the execution of the
                    Intellectual Property Transfer Agreement. The 90th day will be Tuesday,
                    September 4, 2012 (it cannot end on a Sunday or holiday).

                    Regards,

                    Jeff

                    Contact Information |

                                              Seldon Jeff Childers
                      T 866.996.6104          jchilders@smartbizlaw.com
                        352-335-0400
                      F 407.209.3870
                                              Childers*Law, LLC
                      www.smartbizlaw.com     2135 NW 40th Terrace, Suite B
                                              Gainesville, FL 32605


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                    communication in error, please notify us immediately by telephone or email and delete the original message.
                    Thank you.


                    On Jul 13, 2012, at 2:13 PM, Larina Hintze wrote:



                    Jeff:

                    Thank you. What is the Start Date of the 90 day clock?

                    On Fri, Jul 13, 2012 at 2:04 PM, Jeffery Childers <jchilders@smartbizlaw.com>
                    wrote:
                    Matt and Larina,

                    TZ2 is now a formally constituted corporate entity. Reminder that the employees
                    need to execute the new employment agreements, which you already should have
                    drafts of.

                    The publicly visible portions of the logistics can be scheduled as you see fit
                    depending on extrinsic needs. However, as I have stated, TZ2 desires that at least
                    90 days pass from the asset sale before a public announcement is made if at all
                    possible.

                    Let me know if you have any questions.

Exhibit 7.page 99
                                                                               3
                          Case 13-01007-KKS                Doc 452           Filed 10/02/15             Page 180 of 423
                 Regards,

                 Jeff

                     Contact Information |

                                             Seldon Jeff Childers
                       T 866.996.6104        jchilders@smartbizlaw.com
                         352-335-0400
                       F 407.209.3870
                                             Childers*Law, LLC
                       www.smartbizlaw.com   2135 NW 40th Terrace, Suite B
                                             Gainesville, FL 32605


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                 Thank you.




Exhibit 7.page 100
                                                                            4
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  Elizabeth R Bowen

  From:                            Matthew Hintze <matt@tutoringzone.com>
  Sent:                            Friday, July 17, 2015 11:15 AM
  To:                              Elizabeth R Bowen
  Subject:                         Fwd: TZ2 Employment Agreements



  July 17 e-mail

  Begin forwarded message:


          From: Matthew Hintze <Matt@tutoringzone.com>
          Subject: Re: TZ2 Employment Agreements
          Date: July 17, 2012 at 2:27:50 PM EDT
          To: "James,Christopher" <christopher.james@warrington.ufl.edu>

          Employee            Stock Grant
          Paul Hintze                1.67%
          Jon Aleman                 1.67%
          John Kavekos               0.83%
          Michael
                                    0.83%
          Underwood
          Lauren Figler             0.83%
          Alek Hartzog              0.83%
          Katie Murphy              0.33%
          Rob Bailey                0.33%
                                    7.33%
          MATTHEW HINTZE
          (352) 219-1618 (Mobile)
          1010 NORTH MAIN STREET
          GAINESVILLE, FL 32601
          WWW.TUTORINGZONE.COM




          THANK YOU FOR CHOOSING TUTORINGZONE. WE'RE PROUD TO SERVE YOU. IF YOU LOVE OUR
          SERVICES, PLEASE TELL YOUR FRIENDS.




          On Jul 17, 2012, at 1:59 PM, James,Christopher wrote:


Exhibit 7.page 101
                                                         1
                     Case 13-01007-KKS          Doc 452      Filed 10/02/15      Page 182 of 423

                 Who is covered by the 8%? Does that include any Hintze. The simplest way to do this is a
                 side agreement. Given that the equity value is currently worth zero in TZ I suggest that
                 we identify a revenue target for 2012 and 2013. If the revenue target is met then the
                 tutors will be awarded shares equity. That way we do not get into a situation where for
                 every dollar I put into the business I get back $92. I do not remember what the business
                 plan target revenue is,,,

                 From: Matthew Hintze [mailto:Matt@tutoringzone.com]
                 Sent: Tuesday, July 17, 2012 9:56 AM
                 To: Jeffery Childers
                 Cc: Larina Hintze; James,Christopher; James,Christopher
                 Subject: Re: TZ2 Employment Agreements

                 Question on the employment agreements - what do we need to prepare in order to
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                 there is membership paperwork, etc. that needs to be in place. Is there a standard
                 ESOP (membership interest) contract with provisions for vesting, exit, etc.? In
                 total, contracts call for approximately 8% ownership by current team.

                 Thanks!

                 -Matt




                 MATTHEW HINTZE
                 (352) 219-1618 (MOBILE)
                 1010 NORTH MAIN STREET
                 GAINESVILLE, FL 32601
                 WWW.TUTORINGZONE.COM


                 <image001.jpg>




                 THANK YOU FOR CHOOSING TUTORINGZONE. WE'RE PROUD TO SERVE YOU. IF
                 YOU LOVE OUR SERVICES, PLEASE TELL YOUR FRIENDS.




Exhibit 7.page 102
                                                            2
                          Case 13-01007-KKS                Doc 452           Filed 10/02/15             Page 183 of 423
                 On Jul 13, 2012, at 2:34 PM, Jeffery Childers wrote:



                 Larina,

                 The 90-day period began to run on June 4, 2012, the date of the execution of the
                 Intellectual Property Transfer Agreement. The 90th day will be Tuesday,
                 September 4, 2012 (it cannot end on a Sunday or holiday).

                 Regards,

                 Jeff

                     Contact Information |

                                             Seldon Jeff Childers
                       T 866.996.6104        jchilders@smartbizlaw.com
                         352-335-0400
                       F 407.209.3870
                                             Childers*Law, LLC
                       www.smartbizlaw.com   2135 NW 40th Terrace, Suite B
                                             Gainesville, FL 32605


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                 Thank you.


                 On Jul 13, 2012, at 2:13 PM, Larina Hintze wrote:



                 Jeff:

                 Thank you. What is the Start Date of the 90 day clock?

                 On Fri, Jul 13, 2012 at 2:04 PM, Jeffery Childers <jchilders@smartbizlaw.com>
                 wrote:
                 Matt and Larina,

                 TZ2 is now a formally constituted corporate entity. Reminder that the employees
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                 The publicly visible portions of the logistics can be scheduled as you see fit
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                 90 days pass from the asset sale before a public announcement is made if at all
                 possible.

                 Let me know if you have any questions.

Exhibit 7.page 103
                                                                            3
                          Case 13-01007-KKS                Doc 452           Filed 10/02/15             Page 184 of 423
                 Regards,

                 Jeff

                     Contact Information |

                                             Seldon Jeff Childers
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  Elizabeth R Bowen

  From:                                 Matthew Hintze <matthewhintze@gmail.com>
  Sent:                                 Monday, July 13, 2015 12:36 PM
  To:                                   Elizabeth R Bowen
  Subject:                              Fwd: Agenda Items, Updates and Deadlines



  #5 - 7/26/2012


  ---------- Forwarded message ----------
  From: Matthew Hintze <matthewhintze@gmail.com>
  Date: Thu, Jul 26, 2012 at 5:52 PM
  Subject: Agenda Items, Updates and Deadlines
  To: Larina Hintze <larinahintze@gmail.com>, langariel@gmail.com, Christopher James
  <christopher.james@warrington.ufl.edu>, Cynthia L Frenchman <cynthia.frenchman@warrington.ufl.edu>,
  Paul Hintze <hintzepaul7@gmail.com>


  Hello Everyone,

  Below is an outline of agenda items, updates and deadlines. Please let me know if you have
  thoughts/comments/concerns about these timelines.

  Thank you, and sorry for the delay.

  -Matt

  1. Employment Contracts and Salary Adjustments




  Present Draft Contracts to Chris by Tuesday 7/31 and identify items for consideration

  Present contracts to tutors by 8/3 and request completion by 8/8




  2. Management and Financial Recap




  Management recap and summary by 7/31

  Present detailed P & L for Summer semester by 7/31

  Outline precise cash needs (above and beyond final draw from CMJ) by 7/31


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  3. Business Plan




  Present Business Plan for Fall 2012/Spring 2013 by 8/3




  4. QuickBooks Budget




  Enter Budgets from Business Plan into Quickbooks by 8/8

  Draft to Larina for adjustments and approval by 8/10




  5. Meet and Greet with Chris 8/11




  Confirmed?

  Time and Location?




  6. Finalize details of winding down




  Press Release and PR campaign

  Any loose ends?




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  --
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                                           Executive Summary

  Financial Performance:

  We were extremely cost-conscious, with actual expenses that were approximately $16,000 below
  budget. Unfortunately, actual revenues were $15,000 short of budget leading to profit that exceeded
  budget by just .7% ($973.63). A complete description is contained below.

  Looking ahead to the 8/15 pay period and reconciling for additional items, you will see total cash
  used for summer of $127,000, as compared to the projected summer shortfall of $156,000 as outlined
  on May 14 to all creditors.

  Management Summary

  The management summary is extremely detailed and lengthy, as this has been a time of great change!
  The sections in the summary include:

  1.      Team - assessment of current morale and focus of team.

  2.      Summer Attendance Results – Tutor-by-Tutor analysis with assessment for Fall.

  3.      New Website and Platform – Fascinating progress with little to no development costs! New
          website, integration of ‘live online’ platform, development of custom PayPal shopping cart
          and significant layout enhancements.

  4.      Expansion – Quick synopsis, with details to follow in the business plan.

  5.      Locations

          Retail Distribution: Update on Swamp, other UF options, as well as Kaplan presence at
          various campuses.

          Live Review Locations – FREE rent for our weekly reviews, attractive options for our exam
          reviews.

          New Horizons – Settling into our new home, expanding our technical capabilities and building
          a strong partnership.

  6.      Marketing – Katie is doing a phenomenal job…lots of opportunities ahead! A conversation for
          later – PR once we switch over to TZ2. I need to be clear on exactly what I can and cannot say.

  7.      Other – Always good things happening!

  8.      Brief outline of Topics for discussion

  Financial Performance
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  Items that need immediate attention:
  Cash on Hand                                    $14,000
  8/1 Expenses                                    $32,000

  Below you will find:
  1.    Profit and Loss for the period 5/14 (beginning of summer classes) through 8/1.
  2.    Description of certain items that warrant explanation.
  3.    Forecast and Reconciliation – projections for the 8/15 and 8/31 pay periods as well as
        reconciliation of cash burn for summer period.
  4.    Explanation of ‘Other Expenses’

  Profit and Loss

                                                 Budget             Actual                   Variance
         Revenues                             $140,000.00           $125,000.00            -$15,000.00

         Expenses
         Labor                                        $195,000      $186,613.14             $8,386.86
         Insurance Expense                              $3,986        $1,362.02             $2,623.81
         Credit Card Fees                               $3,000        $3,492.87              -$492.87
         Accounting                                     $1,155           $75.00             $1,080.00
         Refunds                                          $600        $1,115.00              -$515.00
         Bank Service Charges                             $300          $466.85              -$166.85
         Streaming and Hosting                            $900        $1,423.87              -$523.87
         Other (Below)                                 $21,000       $15,418.45             $5,581.55
                                                   $225,940.83      $209,967.20            $15,973.63

         Net Profit (Loss)                         -$85,940.83         -$84,967.20            $973.63

  Description:
     - A negative variance indicates worse than forecast, positive indicates better than forecast.
     - Actual Revenues are $16,851.90 for FSU and $99,374.06 for UF. In addition we forecast
        additional revenues of $1,000 for FSU and $6,000 for UF for the period through final exams.
     - Interest Expense is for the LOC at Compass Bank – since it is on auto-withdrawal and we did
        not want to change banks until the new LLC was established we continued to pay this
        expense.
     - ‘Office Expenses’ includes expenses for U-Haul rental, storage facility rental and labor for
        moving out of the building.
     - Utilities represent the minimum necessary to keep the power on at TZ. Given our
        unanticipated ability to offer reviews there, we essentially paid utilities instead of paying for
        hotels and such for Summer B.
     - Insurance was substantially below budget because we allowed most insurance on TZ to expire
        without renewal. The property insurance on our building, for example, was due to be
        renewed 5/15 and was due in full – no partial refunds were available. So we determined that
        it was best to allow the insurance to expire.
     - Technology was associated with purchasing 6 iPads and accessories. These are necessary for
        maintaining mobile POS at Swamp, Hotels where live reviews are offered, etc.
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  Forecast and Reconciliation

  8/15:
  Expenses $35,000                    (Forecast $42,500. Includes $5,000 in Marketing Expenses)

  8/31
  $30,000 in bills…SHOULD have that from Fall revenues.

  Bills we have postponed but MUST pay eventually
  TCC (Negotiate)                                                   $7,901.25

  Bills we have postponed but SHOULD pay eventually
  GOTCHA Group                                                      $3,000

  Cash Burn - Summer

  Projected Shortfall (Business Plan) 5/15 – 8/1             ($86,000)
  Revenue Variance                                           ($15,000)
  Expense Variance                                             $16,000
  Smokin’ Notes Bill Held Over from Spring                   ($11,000)
  Revenues 8/15                                                 $6,000
  Expenses 8/15                                              ($35,000)
  Cash Deficit                                                $127,000

  Explanation of ‘Other Expenses’

  Other                                       Budget               Actual               Variance
  POS                                                                 $200.00
  Professional Development                                             $77.65
  Advertising and Promotion                                         $1,365.94
  Copier and Paper                                                  $2,752.66
  Interest Expense                                                    $440.83
  Meals and Entertainment                                             $171.18
  Office Supplies                                                   $1,386.67
  Smokin Notes                                                      $1,426.22
  Distance Mailing                                                    $165.04
  Review Session Supplies                                             $165.61
  Review Snacks                                                       $224.70
  Taxes - Other                                                       $765.64
  Telephone and Internet Expense                                    $1,155.21
  Travel Expense                                                      $359.79
  Utilities                                                         $1,991.80
  Technology                                                        $2,769.51
                                                   $21,000         $15,418.45           $5,581.55

  Checks Held

  At this
Exhibit    time,
        7.page 110we have held checks (i.e. NOT paid bills) as follows:
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   5/1/12 Held
   checks                                         7/1/12 Held checks
   RMC                           $9,591.74        The Gotcha Group            $1,000.00
   TCC                           $2,956.25        Dex Imaging                 $1,145.88
   Capital City                    $718.33        Baker Hostetler               $500.00
   Waste Pro                       $426.65        Folds & Walker                $500.00
   Sexton & Schnoll                $138.75        Gainesville SC Co           $9,591.74
   Sexton & Schnoll              $1,560.00        Capital City Bank             $718.33
   GRU                             $590.00        Waste Pro                     $432.67
   Retail 1st                      $116.22        GRU                           $855.75

                                                  7/15/12 Held
   5/15/12 Held checks                            checks
   US Bank Corp                  $4,039.54        Capital City Bank              $1,535
   Sexton & Sch                  $1,075.00        GRU                              $590
   Retail 1st                      $116.22
   GRU                             $590.00        8/1/12 Held checks
   TCC                           $4,246.25        The Gotcha Group            $1,000.00
   Auto Owners                   $2,006.00        Dex Imaging                 $1,145.88
   Capital City                  $1,534.92        Baker Hostetler               $500.00
                                                  Folds & Walker                $500.00
   6/1/12 Held
   checks                                         Gainesville SC Co           $9,591.74
   Dex Imaging                   $1,145.88        Capital City Bank             $718.33
   Baker Hostetler                 $500.00        What's Happening Prod       $4,680.46
   Folds Walker                    $500.00
   Gainesville SC Co             $9,591.74
   Capital City                    $718.33
   The Gotcha Group              $1,000.00

   6/15/12 Held checks
   Waste Pro                       $424.75
   GRU                             $590.00
   US Bank                       $3,902.86
   TCC                             $698.75
   Sexton & Schnoll                $385.00
   Retail 1st                      $708.80
   Capital City                  $1,534.92


  Included this for informational purposes when we declare bankruptcy.

  Management Summary

  Items that need immediate attention:

  New Printers –
  UF - We will be using Xerographic Copy Centers, located on 13th Street and 10th Ave

  FSU – needs on onsite printer. Rob and Alek are working on price options
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  The strategy would be to lease the printer immediately (while TZ’s credit is acceptable) and then
  reaffirm the lease after the company unwinds.
  With your permission, I would ask Jeff Childers about the wisdom of this strategy and, with
  consideration of the pricing, discuss our options with you.

  Summary of Operational and Strategic Progress and Opportunities

  1.      Team
          My focus on robust and transparent communication with the team has created a stronger bond
          through all this adversity and change

          As a result the teams Morale and tremendous work ethic over the summer has been humbling.

          Paul – Aside from the fact that he is my brother…he has done an amazing job. EVERY one of
          his classes is kicking ass, he is doing a great job keeping me informed with regard to finances,
          and he comes to work every day full of energy and enthusiasm. He brings tremendous levity
          and glue to the team.

          Alek, Rob and Katie – These guys are amazing. They have really become leaders – they handle
          things as they come up, let me know when they need direction, and explore opportunities to
          add value. They have worked 6 or 7 days a week every single week this summer and have
          worked on numerous projects (moving, website, etc.) in their personal time.

          Jon – SE’s continued courtship has finally pissed him off. He is 100% committed and is
          aggressively looking for ways to grow his classes, make our product better, etc.

          The move to Orlando settled personal conflicts and created new energy.

          He also learned a lot from his friend Kellie, my former UGA manager who worked for (and
          was summarily screwed over by) Study Edge.

          Jon asked for permission to e-mail all TZ tutors and staff and share his experience and
          perspective when SE was e-mailing everyone at TZ a few weeks back.

          Once again, these underhanded tactics from SE have really served to strengthen our resolve
          and unity.

          John – He continues to run things smoothly up in Tallahassee. He maintains a constant watch
          for indications that SE will be aggressively expanding at FSU; he has not, as yet, seen any
          uptick in marketing/promotion there.

          Lauren – the bond is strong again, but it was strained with (a) her husband (not) working at
          TZ, and (b) the stress of all the changes during the past 12 months.

          The move to Virginia and robust transparent communication have created a win/win.


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           Michael – Michael has had a very tough summer. As you can see below, he is absolutely
           getting pummeled in his courses. He is an exceptional instructor, but he is nowhere near as
           charismatic as Zach, whom he competes with at SE.

           Nevertheless, his revenues justify his salary,

           We’ve had a couple of coaching sessions, and encourage him toward some therapy/coaching.

           The issue is his tendency towards depression and negativity.

           We see a strong future for him as Director of Tutor Training. Teaching is not natural for him –
           he is introverted and NOT a ‘showman’; he has learned how to teach in an exceptional fashion
           by being curious and working hard.

           Matt and Larina – Larina continues to work behind the scenes, without adulation, keeping me
           accountable to deadlines and to the team. I am energized and enthusiastic – I have worked
           very hard with mentors and it’s had a deep impact.

           I am humbled by your faith and support in me for allowing this all to happen. I am
           honored for this opportunity and have laser focus to continue to push forward. Thank you!

  2.       Summer Attendance Results – The overall revenue performance for Summer masks
           tremendous variation on a class-by-class basis. Results for Summer thus far are below (along
           with an indication if additional revenues from a remaining session can be anticipated):



         Revenue                                     Remaining
                           Budget         Actual                       Variance           Tutor
       Forecast - UF                                  Session?

        ACG2021          $3,821.92      $7,715.00            Y         $3,893.08            Matt
        ACG2071          $2,114.52      $3,200.00            N         $1,085.48            Paul
        BCH4024          $4,800.00      $7,180.00            N         $2,380.00         Lan/Kyle
        CHM1025           $342.86        $160.00             Y          -$182.86            Alex
        CHM2045           $514.29       $1,755.00            Y         $1,240.71         Erin/Mike
        CHM2046          $1,173.23       $380.00             N          -$793.23      Jake (Resigned)
        CHM2210          $13,486.57     $10,512.00           Y         -$2,974.57    Lauren/Kyle/Chad
        CHM2211          $27,000.00     $14,423.50           N        -$12,576.50         Lauren
        ECO2013           $600.00       $1,666.31            Y         $1,066.31            Matt
        ECO2023          $1,515.07      $2,613.75            Y         $1,098.68            Matt
        FIN3403          $24,000.00     $33,077.50           N         $9,077.50            Paul
        GEB3373            $0.00          $0.00              N             $0.00            Paul
        MAC1140            $0.00          $90.00             N            $90.00            Jon
        MAC1147            $0.00          $0.00              N             $0.00            Jon
        MAC2233            $0.00         $100.00             Y           $100.00            Jon
        MAC2311          $5,926.53       $535.00             Y         -$5,391.53           Jon
        MAN4504          $5,120.80      $2,610.00            Y         -$2,510.80           Jon
        PHY2048           $768.96        $755.00             Y           -$13.96          Michael
        PHY2049           $743.02       $1,175.00            Y           $431.98          Michael
        PHY2053          $12,773.20     $2,050.00            Y        -$10,723.20         Michael
        PHY2054          $11,685.71     $5,933.50            Y         -$5,752.21         Michael
Exhibit QMB3250
        7.page 113       $2,112.24        $0.00              N         -$2,112.24           Jon
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       STA2023          $1,648.75     $1,137.50         Y           -$511.25            Jon
       STA3024          $1,735.42     $2,305.00         Y            $569.58            Jon
                       $121,883.08    $99,374.06                  -$22,509.02

      Revenue
   Forecast - FSU
                                                     Budget          Actual
   Total Revenue (100% Market Share)               $18,325.00
   Total Revenue (70% Market Share)                $12,827.50     $18,000.00
   Total Revenue (50% Market Share)                $9,162.50

  The business classes continue to be an area of strength for us. The results in ACG 2021, ACG 2071,
  ECO 2013 and ECO 2023 this summer alleviate some of my concern over freshman penetration. The
  students are showing remarkable fluidity – they talk to their friends and utilize the tutoring service
  that their friends utilize for each particular class…

  As far as the science classes, there are a number of things going on.

  First, many of the science classes were ‘Summer A’ or ‘Summer B’ courses – as such, the $25 monthly
  membership meant that our reviews were 3X or 4X as expensive. This was an especially strong
  concern for students in CHM 2210 and CHM 2211.

  Second, their dominance of the General Chemistry classes (CHM 1025, 2045 and 2046) appears to be
  having a strong impact on our Organic Chemistry (CHM 2210 and 2211) and Physics (PHY 2048,
  2049, 2053 and 2054) results.

  The bottom line is this – we need to address the fact that Rich at SE absolutely dominated the General
  Chemistry classes.

  Our tutor, Jake, has resigned for a variety of reasons – his mother passed away, he is responsible for a
  brother with special needs, he cannot survive on a variable compensation wage, etc.

  So, our solution is to bring back our original chemistry tutor, Shai Hermon (working on perecentage
  of revenue basis). Shai started Gen Chem at TZ back in 2002 and trained Rich (the SE tutor) when he
  left in 2007. He continued to tutor General Chemistry at Penn State (he lived in NYC with his wife,
  which is why he moved in 2007). They moved to London in 2011 and he flies to Penn State monthly
  to give reviews. I am confident that he is one of the best chemistry instructors on the planet. With
  our online platform, he will be tutoring our UF General Chemistry classes from home in Britain. He
  is an amazing tutor, he is attractive, and he has a British accent.

  With your permission we would like to aggressively target this class until we make progress. It is
  critical for a number of reasons – especially since Kellie (former SE manager) told us that Rich is
  scheduled to move to Miami in December (he has strong pressure from his fiancé and has a clause in
  his contract allowing him to move).

  My goal is to penetrate the math classes this year. This has been an area of weakness when Zach
  unexpectedly switched sides last June - Jon volunteered to take over math. It takes several semesters
  to become a master at teaching a new subject and build a following. This will take time.
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  The most encouraging fact, is our team is strong from top to bottom. Looking forward, all our classes
  are led by our instructors - the absolute best at what they do.

  Our team assessment is that aside from Rich and Zach at SE all their new tutors are subpar. Patiently
  and with laser focus we are earning back our customers.

  3.     New Website and Platform – As Katie showed you, some insiders hold our platform in high
         regard! We continue to make significant progress while spending close to zero dollars on
         development. Developments over the summer include:

         a.     New website – the website, which will be ready for fall, can be seen here:

                dev.tutoringzone.com

                In addition to being simpler to navigate and more aesthetically pleasing than our old
                site, the new website has the same layout as our Learning Management System (LMS).

                The mandate to Alek, Rob and Jordan was to make the front end and the back end
                seamless. They have done a stellar job! It’s worth noting that Rob and Alek work on
                this project exclusively in their ‘free time’.

         b.     Integration of ‘Live Online’ Platform – This is an exciting innovation for TZ2. Students
                will have three consumption options –
                Attend Live
                Watch Live Online
                Watch On Demand at their convenience.

                The ‘Live Online’ option is new and was introduced selectively this summer. For the
                classes where we introduced this option, live attendance dropped from an average of
                10% of enrolled students to 5% of enrolled students, whereas Live Online immediately
                jumped to 10% of enrolled students.

                For example, for FIN 3403 we have 190 students enrolled. For Exam 1 (no Live Online
                option available) we had 10 – 12 students attend live each week – the remainder
                watched at home On Demand.

                Currently, the Live Attendance has dropped to 5 or 6 people each session, and the Live
                Online has regular attendance of 12 – 15 per session.

                Feedback from these students is excellent – they love the combination of convenience
                and interactivity. The additional upside is that this creates a superior ‘On Demand’
                product as well – high video quality AND true interaction with fellow students. It
                ‘feels’ more natural than a recording in front of a green screen.

                  The upshot of ‘Live Online’ is that it changes the nature of the instructor’s job – they get
                  the interaction so many of them need (unlike recording On Demand in a studio), while
                  simultaneously allowing them to live anywhere. This opens many opportunities (such
Exhibit 7.page 115as our new Gen Chem tutor Shai).
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           c.    Development of Custom PayPal Shopping Cart – this will allow us to take payments
                 online while honoring discounts (coupons, group discounts for student organizations,
                 BOGO, etc.).

           d.    Layout – One of the weaknesses of an open-source platform such as Moodle is that
                 often there is little attention given to aesthetics; which definitely matters to students!
                 As such, we have crafted improvements to the video player (variable-bit streaming,
                 mobile compatible, tabbed presentation for file organization), file folders, custom sliders
                 (as noted on Moodle blog post).

  4.       Expansion – More details in the business plan, of course. The bottom line is this:

       -   We will pursue thoughtful organic growth at Indiana University this Fall, focusing on product
           quality and the addition of several new classes (Accounting, Chemistry, Mathematics).

       -   We will introduce tutoring for a few pilot classes at UCF this Fall (Accounting, Organic
           Chemistry). We will keep each group small and focus on getting feedback from students so
           we can improve our product and make sure that we have a superior product ready for wide
           release as quickly as possible.

  5.       Locations

           a.    Retail Distribution of Packets

                 UF – All packets are available online for students to print on their own. We have seen a
                 strong move in this direction so far. This is wonderful since it dramatically lowers our
                 printing expenses. But many students do not have a printer, so it is essential to have a
                 retail distribution location.

                 Our current distribution at the Swamp is a terrific solution. This location allows for
                 promotion along University Ave. and exposure to countless patrons. We are extremely
                 cognizant of the lengths that you and Ron have gone to to make this happen. Out of
                 respect for this and because it makes good business sense, we have developed a
                 partnership strategy that really focuses on what TZ can do for Swamp. We will be
                 presenting an outline to Ron this week (along with a bottle of his favorite liquor) for his
                 consideration:

                 -       Free review vouchers so Swamp employees get free reviews.
                 -       Set up a regular day where guests that buy a meal get half off TZ exam review.
                 -       Swamp promotional insert for TZ packets.
                 -       Promote Swamp deal/event once per week on TZ facebook.

                 We feel like we need an additional location for students to come pick up packets – one
                 with ample parking that is not a bar. We are disappointed that Target Copy didn’t
                 work out and have yet to resolve the UF Kaplan situation.

Exhibit 7.page 116Eddie Daniel runs the Reitz Union. We have not been able to get a return phone call or
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                 e-mail from him. Aggression will not work either. We to figure out his concern
                 (Kaplan WANTS US, after all) and see if we can address that concern. Kaplan is an
                 absolute home run for us, especially with the freshmen. It is imperative that we
                 overcome UF’s objections and restore this partnership. Any thoughts you have on a
                 strategy are appreciated.

                 Current plan:
                 Add Xerographic Copy Center as our additional retail location. They will be able to
                 maintain a just-in-time inventory (printing when the customer comes to pick up a
                 packet) and have a reasonable location and hours. They are willing to do this for a
                 commission of $1 per packet (exam reviews only).

                 FSU – We will continue to have packets available at Bill’s Bookstore (two great
                 locations, including immediately next to sorority row) and TCC (where we have our
                 office). In addition, we have received permission from FSU to distribute packets at the
                 Kaplan office in Oglesby Union on campus.

                 IU – Currently our packets are available online only – students must print the packet
                 themselves. We are discussing the pros and cons of making packets available at the
                 Kaplan office there. We have met the manager and he is 100% behind it. Our
                 consternation is (1) printing and staffing costs, and (2) the fact that the Kaplan at IU is
                 somewhat removed from campus. They are in the process of applying to locate in the
                 student union – for this and other reasons it probably makes sense for us to begin
                 staffing the Kaplan office and distributing packets there.

                 UCF – We are in the process of submitting an application (to the UCF administration) to
                 distribute packets at the Kaplan office, which is located in the UCF student union. We
                 will most likely not make packets available until Spring when we make reviews
                 available on a large scale.

          b.     Live Review Locations – the plan for fall is definitely dynamic, to say the least. All
                 classes will be available on demand on our video app. Some (but not all) classes will be
                 offered live (in person). Others will be available live online (specifically classes where
                 the tutor lives elsewhere). For those classes that will be offered live in person, the menu
                 of locations is as follows:

                 The Continuum – Graduate Student Housing located between campus and downtown
                 on University Avenue. This is the new construction across from the Seagle Building.
                 The Continuum is owned by a large publicly traded housing company but is technically
                 a part of UF Housing. The Director, Lisa Smith, is an old friend of ours. In exchange for
                 promotion to students through TZ, she has offered use of her Rec Room on site. There
                 is ample parking (in the attached parking garage) and the location is much closer than
                 the old TZ. We will have access to this room every Monday and other days when it is
                 not scheduled to have activities. We can use this room for free; it has a projector and
                 storage for our chairs, etc. We plan on holding our weekly reviews for ACG, BCH and
                 FIN here.

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                Going forward, we will be exploring the possibility of trading advertising for a free
                retail space at the Continuum. They are completely vacant and, given the fact that we
                need little to no build out, they will consider a trade out that would allow us to
                maintain a store on University Avenue to distribute our packets and host our weekly
                reviews.

                The Hilton – We will host Exam Reviews for Upper Level courses (such as FIN or QMB)
                here. Rental rates are $400 - $500 per session (or lower, depending on attendance).

                Emerson Alumni Hall OR Holiday Inn – for freshman classes we must have a location
                within walking distance of campus. Emerson Alumni Hall gave us a preliminary OK
                but have yet to confirm. They attribute it to new management and their work on a new
                strategic plan. The Holiday Inn is our backup in case Emerson falls through.

           c.   New Horizons –
                The team has access to amazing technology, technical knowledge and a very lively
                culture.
                Tim is excited that we bring excitement, energy and enthusiasm to the workplace.

                We have collaborated on a number of ideas and have future opportunities to work
                together.

                Tim was contacted by Spence when we first moved in – who aggressively demanded
                that Tim kick us out for as a personal vendetta against me.

                Tim is fully aware of our position and has lost faith in Spence as a result of his actions.

                We have not heard anything from Spence since Larina’s last thoughtful reply to him

  6.       Marketing

  Katie has been doing an amazing job managing our social media presence, handling guerrilla
  marketing activities (posting flyers on campus, handing out flyers outside of classrooms, etc.).

  Under Katie’s direction, we have a number of exciting marketing events lined up over the remainder
  of summer and fall:

       -   Freshman Welcome Reception and BEAT Event – Rachel Johnson at the Alumni Association
           honored our long relationship and turned back the usual aggressive approach by SE to allow
           us exclusive attendance at the Welcome Reception hosted by UFAA at Emerson Alumni Hall
           on the first day of Fall classes (attendance approximately 1,500 - 2,000 freshmen). In addition,
           we will once again be passing out donuts and coffee to students that camp out before a home
           football game for a free BEAT t-shirt. Great PR.
      - AMSA – THE most influential student organization in the Science courses. The ability to
           attend their FIRST general assembly meeting is a huge opportunity. Last year SE attended the
           first session while we were relegated to meeting #2. The first meeting has the largest
           attendance (700 pre-med students) and is immediately before Exam 1 reviews. Many
Exhibit 7.page  118 first hear about tutoring at this meeting. Last year, the ‘decision-maker’ was one of
           freshmen
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           Zach’s pet students. This year, the decision maker is a big-time friend-of-Lauren. This is how
           these things go…
       -   Cicerones – We have been invited to attend their recruitment event in the Plaza of the
           Americas this week. The Cicerones are the campus ambassadors and play a huge role in
           giving campus tours, preview, etc.
       -   Panhellenic Leadership Seminar – Nelson Logan and I will be delivering a seminar on
           leadership, service and authenticity to the 800+ new members of panhellenic on 8/21 (in other
           words 800+ freshmen sorority pledges).
       -   IRHA – We hosted a very successful tie-dye event during the Summer B ‘Weeks of Welcome’
           and will be hosting similar events in Fall. The coordinator for IRHA, Elliott, is one of my
           accounting students and has provided preferential opportunities for TZ thus far. We will be
           stuffing the freshman welcome bags with 8,000 TZ ‘Beat Everyone’ buttons next week (SE has
           an insert as well – funny story there…
       -   Tabling with Kaplan – We will be sharing a table with Kaplan at the Reitz Union handing out
           promotional materials during the first week of school.

  Once Fall starts, we will continue to go to meetings for various organizations to be a featured
  speaker, hand out TZ swag, etc.

  A conversation for later – PR once we switch over to TZ2. Clarify on exactly what we can and cannot say.

  7.       Other

       -   My position on the Governor’s Task Force for creation of a virtual university continues to
           draw attention and hopefully will open doors along the way!

  http://www2.tbo.com/news/education-news/2012/jul/29/namaino1-online-u-waits-in-wings-ar-445316/

  8. Topics for discussion
  - Financial discussions
  - Leasing printer at FSU – Childers take and thoughts
  - Strategies on getting back into Kaplan U.F.
  - PR releases for TZ2 what and how to deliver message




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  Elizabeth R Bowen

  From:                         Matthew Hintze <matthewhintze@gmail.com>
  Sent:                         Monday, July 13, 2015 1:07 PM
  To:                           Elizabeth R Bowen
  Subject:                      Fwd: Summer P&L and Recap of Summer
  Attachments:                  7.31 Update.docx



  #14 - 7/30/12



  ---------- Forwarded message ----------
  From: Larina Hintze <larinahintze@gmail.com>
  Date: Mon, Jul 30, 2012 at 11:01 PM
  Subject: Summer P&L and Recap of Summer
  To: Christopher James <christopher.james@cba.ufl.edu>, "Frenchman,Cynthia L"
  <cynthia.frenchman@warrington.ufl.edu>, langariel@gmail.com
  Cc: Matthew Hintze <matthewhintze@gmail.com>


  Here's a robust update. Draft employment contracts to follow tomorrow.

  Happy ready :-)

  Larina




  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




Exhibit 7.page 120
                                                       1
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  Elizabeth R Bowen

  From:                           Matthew Hintze <matthewhintze@gmail.com>
  Sent:                           Monday, July 13, 2015 1:32 PM
  To:                             Elizabeth R Bowen
  Subject:                        Fwd: RMC



  #23 - 8/2/2012


  ---------- Forwarded message ----------
  From: Larina Hintze <larinahintze@gmail.com>
  Date: Thu, Aug 2, 2012 at 4:38 PM
  Subject: RMC
  To: Jeffery Childers <jchilders@smartbizlaw.com>, Christopher James <christopher.james@cba.ufl.edu>, Ariel
  Lang <langariel@gmail.com>, "Frenchman,Cynthia L" <cynthia.frenchman@warrington.ufl.edu>
  Cc: Matthew Hintze <matthewhintze@gmail.com>


  We were served a 5 day summons which we can not respond to as the Sheriff came to our house and my 18 year
  old brother signed for it and can't remember where he put it. They mailed a copy of it to my old address which
  my tenant eventually brought over and I can't find that copy either.

  At any rate we continued to stay in the building rather than pay for hotels and August 4th is officially our last
  day there. We have not been served with a 24 hour notice so we will email them on 8/4 that we have vacated.

  I assume since we did not respond to the 5 day (or will not within the 20 day period) they will file a
  judgment. Is there anything we need to do?

  Also do you have any suggestions/concerns with me calling them to see if they will let us hold reviews there as
  needed for a flat fee while they attempt to re-rent the premises?


  Chris / Matt thoughts???

  I'm just thinking that it makes sense for them to get some revenue vs none and for us to pay them vs higher
  priced hotels.




  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)


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                                                           1
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  Elizabeth R Bowen

  From:                             Matthew Hintze <matthewhintze@gmail.com>
  Sent:                             Monday, July 13, 2015 1:02 PM
  To:                               Elizabeth R Bowen
  Subject:                          Fwd: Operations Questions



  #11 - 8/22/2012


  ---------- Forwarded message ----------
  From: Frenchman,Cynthia L <cynthia.frenchman@warrington.ufl.edu>
  Date: Wed, Aug 22, 2012 at 4:16 PM
  Subject: RE: Operations Questions
  To: Matthew Hintze <matthewhintze@gmail.com>


  See his answers below on the last two questions you had for him. Ill get the fed id number to you soon. We are actually
  going to open up a new TZ2 account and forget the CMJ2.



  Cynthia Frenchman

  Assistant to Professor Christopher James

  University of Florida

  Warrington College of Business

  Department of Finance

  (352) 392-8041-Office

  (352) 213-2858-Cell




  From: Matthew Hintze [mailto:matthewhintze@gmail.com]
  Sent: Wednesday, August 22, 2012 12:42 PM
  To: Frenchman,Cynthia L
  Subject: Re: Operations Questions




  You rock girl! Thanks!
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                                                             1
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  First day of school here so I haven't had a moment to call you back. I suck...



  On Wed, Aug 22, 2012 at 3:26 PM, Frenchman,Cynthia L <cynthia.frenchman@warrington.ufl.edu> wrote:

  Hey Matt,

  I'm in the process of addibg dba TZ2 to CMJ2 account and adding John to be a signer. I'll let you know when
  this is done.

  Sent from my iPhone


  Begin forwarded message:

          From: "James,Christopher" <christopher.james@warrington.ufl.edu>
          Date: August 21, 2012 2:58:41 PM PDT
          To: "Frenchman,Cynthia L" <cynthia.frenchman@warrington.ufl.edu>
          Subject: Fwd: Operations Questions



          Sent from my iPad


          Begin forwarded message:

                 From: Matthew Hintze <matthewhintze@gmail.com>
                 Date: August 21, 2012 16:28:36 EDT
                 To: Christopher James <christopher.james@warrington.ufl.edu>
                 Subject: Operations Questions

                 Hey Chris -

                 A couple of ops/admin questions:

                 1. Banking - Paul needs to order checks. The new bank account is set up as
                 CMJ2, not TZ2. Should we add a DBA, or do you want checks to say CMJ2?
                 2. Also with regard to banking, we have typically had John Kavekos write checks
                 related to FSU out of our account. If you are OK with him continuing in this
                 fashion then we need to add him as a signer.
                 3. Copier lease - We are ordering the copier for FSU that you and I spoke
                 about. The lease doc requires a signature and federal tax id number for the
                 entity. Should I use the old one (TZ) or the new one (TZ2)? New
                 4. Scion lease - the care that we e-mailed about is abput $250 per month plus
                 insurance. I was considering leasing it in my personal name while I still have
                 credit and having TZ2 make the payment. Is that OK by you? Ok


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                                                          2
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                 Thanks.

                 -Matt


                 --
                 Matthew Hintze
                 MatthewHintze@gmail.com
                 (352) 219-1618 (mobile)




  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




Exhibit 7.page 124
                                                     3
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  Elizabeth R Bowen

  From:                               Matthew Hintze <matthewhintze@gmail.com>
  Sent:                               Monday, July 13, 2015 2:07 PM
  To:                                 Elizabeth R Bowen
  Subject:                            Fwd: public records request



  #20 - 9/8/2012


  ---------- Forwarded message ----------
  From: James,Christopher <christopher.james@warrington.ufl.edu>
  Date: Sat, Sep 8, 2012 at 5:50 PM
  Subject: Fwd: public records request
  To: Matthew Hintze <matthewhintze@gmail.com>




  Sent from my iPhone

  Begin forwarded message:

          From: "Kraft,John" <john.kraft@warrington.ufl.edu>
          Date: September 8, 2012 17:45:50 EDT
          To: "James,Christopher" <christopher.james@warrington.ufl.edu>
          Subject: RE: public records request

          Ok you should update your form so o can put it im the request
          Jk

          Connected by DROID on Verizon Wireless


          -----Original message-----
             From: "James,Christopher" <christopher.james@warrington.ufl.edu>
             To: "Kraft,John" <john.kraft@warrington.ufl.edu>
             Sent: Sat, Sep 8, 2012 18:24:02 GMT+00:00
             Subject: RE: public records request

             My guess is that it has something to do with my involvement in Tutoring Zone. About a year
             ago, Matt Heinz a former graduate student bought out his partner in tutoring zone. While there
             was a non-compete clause, his partner set up a competing firm, Study Edge. Matt borrowed
             heavily to finance the purchase of the business and was ultimately forced into default (I think
             he is filing for bankruptcy this month). In order to shelter the business from some creditors ,
             and to help Matt out , a partner and I set up an LLC in August and acquired the intellectual
             property of Tutoring zone. Matt still runs his business but is now an employee of the LLC. All of
             this is above board and I retained counsel to ensure that I was not violating any laws and was
             not involved in a voidable or fraudulent transfer under bankruptcy. My conjecture is that
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                                                                1
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          Matt’s former partner is trying to stir something up. Since this transaction occurred after my
          outside activities form was submitted for last year, I should probably update the form.

          I have no operational involvement in the business and don’t teach undergrads so I don’t see
          any conflict. Please let me know if you see a problem. If there is one, I can easily transfer my
          interest over to my business my partner (the swamp owner) who has no involvement with the
          university




          From: Kraft,John
          Sent: Friday, September 07, 2012 7:17 PM
          To: James,Christopher
          Cc: Ryngaert,Michael David
          Subject: Fwd: public records request




          Hi,

          Any idea about why?

          Jk

          Sent from my iPad


          Begin forwarded message:

                     From: "Sikes, Janine" <jysikes@UFL.EDU>
                     Date: September 7, 2012 4:52:37 PM EDT
                     To: "Farrell,Susan C" <sfarrell@UFL.EDU>, "Kraft,John"
                     <john.kraft@warrington.ufl.edu>
                     Cc: "Holt,Rebecca J" <bholt@UFL.EDU>, "Fuller,Ryan R"
                     <ryanf@ufl.edu>, "Czaplewski,Kimberly M" <kczap@UFL.EDU>
                     Subject: FW: public records request

                     Susan:



                     Would you provide the personnel file for Christopher James in the
                     Department of Finance per the public records request below?



                     Dean Kraft:



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                                                              2
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                     Would please provide me any personnel file, filings of disclosure of
                     conflict of interest and outside financial interest, and any complaints and
                     investigations about the disclosures for Christopher James in the
                     Department of Finance per the public records request below?



                     Please forward to me electronically if possible.



                     Thank you for your help, janine



                     Janine Sikes

                     Director of Public Affairs

                     University Relations

                     University of Florida

                     101 Tigert Hall

                     Office: 352-846-3903/06

                     Cell: 352-214-6807

                     jysikes@ufl.edu



                     From: Clark, Anthony [mailto:Anthony.Clark@gvillesun.com]
                     Sent: Friday, September 07, 2012 3:18 PM
                     To: Sikes, Janine
                     Subject: public records request




                     Hi Janine,

                     I am requesting the personnel file of Christopher James in the Department
                     of Finance including any filings of disclosure of conflict of interest and
                     outside financial interest, and any complaints and investigations about the
                     disclosures.




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                                                              3
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                     Anthony Clark

                     <




  --
  Matthew Hintze
  MatthewHintze@gmail.com
  (352) 219-1618 (mobile)




Exhibit 7.page 128
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  Elizabeth R Bowen

  From:                           Matthew Hintze <matt@tutoringzone.com>
  Sent:                           Monday, July 13, 2015 1:18 PM
  To:                             Elizabeth R Bowen
  Subject:                        Fwd: Gainesville Sun article



  #18 - 9/17/2012

  Begin forwarded message:


          From: Larina Hintze <larina@tutoringzone.com>
          Subject: Re: Gainesville Sun article
          Date: September 17, 2012 at 5:26:35 PM EDT
          To: Matthew Hintze <Matt@TutoringZone.com>
          Cc: Christopher James <christopher.james@warrington.ufl.edu>

          First order try to get as much information from them:

          What accusations - what investors.

          My first thought are quotes like this:
          Which will only inflame things - but can they get any worse? I recorded all meeting minutes and
          my gmail has everything available when we have to defend ourselves -

          Spence as a tz board member voted to default on the lease and as recorded in the meeting
          minutes he and the board were adamant about defaulting on all loans. (don't use this but ogilby's
          direct quote was 'fuck the banks I know how to delay them' - I know the attorney who did the
          short sale for his house and think he filed bk as well - just FYI)

          The board was also meeting with our former partner and applying pressure to sell back tz since
          in their opinion both tutoring companies were loosing money by being in competition with one
          another. Further some of our board members elected to sell their promissory notes to our former
          business partners father, Steve fieldman. This means they have a vested interest in us failing and
          our competitors succeeding.

          Since we paid for tz vs selling tz our cash reserves were smaller and our goal was to downsize
          and adjust to the smaller market so that we could focus on students like rolling out delivery of
          our packets to students.

          Our goal is and always has been focus on students. We are just focused on what we are doing
          and doing it well.


           Like many companies in our current economic situation we had to reinvent ourselves and we
          have. Our platform - delivery systems - content and product are better than they have ever been.

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                                                           1
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          We think the real story here is how students will be served moving forward and not the complex
          and complicated legal issues that need to be worked out.

          also Scott walker - out attorney - is an ally. He heard the 3 stooges (whit-ogilby-spence) say
          they were going to launch a criminal suit against our competition as well as spence using his
          position to meet with Avery and Avery to try and take the case. So maybe we should let him
          speak to some of this....

          That way we keep our hands clean....

          I hate the tight deadline - maybe we also give them Kelly and Brandon's number?

          We Gould really think this through as this is our chance for a huge article and it should be well
          thought out - we should also run it by Childers - does commenting on tz one while employed by
          tz2 hurt us anyway by making it publicly appear as thought we are the same.

          Maybe we need language that we had to reinvent tz and so we have a new company .....

          Chris Matt is teaching tonight but if you want to chat I'm free.

          Those are my thoughts -

          Spence is a big pussy!

          Sent from my iPhone

          On Sep 17, 2012, at 3:44 PM, Matthew Hintze <Matt@TutoringZone.com> wrote:


                 MATTHEW HINTZE
                 (352) 219-1618(Mobile)
                 WWW.TUTORINGZONE.COM


                 <1310056081.png>




                 THANK YOU FOR CHOOSING TUTORINGZONE. WE'RE PROUD TO SERVE YOU.
                 IF YOU LOVE OUR SERVICES, PLEASE TELL YOUR FRIENDS.




                 Begin forwarded message:


                         From: "Clark, Anthony" <Anthony.Clark@gvillesun.com>


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                                                           2
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                       Date: September 17, 2012 3:41:47 PM EDT

                       To: "Matt@TutoringZone.com" <Matt@TutoringZone.com>

                       Subject: Gainesville Sun article



                       Matt,
                       I am working on an article that may be due as soon as Tuesday about
                       the lawsuits from investors and the eviction against TutorzingZone. I
                       wanted to give you a chance to tell your side and also answer
                       accusations from investors and former partners.


                       Anthony Clark
                       Business editor
                       The Gainesville Sun
                       2700 SW 13th St.
                       Gainesville, FL 32608
                       352-338-3171
                       anthony.clark@gvillesun.com




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  Elizabeth R Bowen

  From:                           Matthew Hintze <matt@tutoringzone.com>
  Sent:                           Monday, July 13, 2015 1:25 PM
  To:                             Elizabeth R Bowen
  Subject:                        Fwd: Weekly Update
  Attachments:                    P&L 8_16 through 9_30_12.xlsx; ATT00001.htm; image.png; ATT00002.htm; The 7 Habits
                                  of Highly Effective Mediocre Entrepreneurs TechCrunch.html; ATT00003.htm; The 7
                                  Habits of Highly Effective Mediocre Entrepreneurs TechCrunch_files.zip; ATT00004.htm;
                                  1310056081.png; ATT00005.htm



  #19 - 9/28/2012



  Begin forwarded message:


          From: Matthew Hintze <Matt@TutoringZone.com>
          Subject: Weekly Update
          Date: September 28, 2012 at 10:38:46 PM EDT
          To: Matthew Hintze <Matt@TutoringZone.com>
          Mime-Version: 1.0 (Apple Message framework v1084)
          Content-Type: multipart/alternative; boundary=Apple-Mail-71--935542777
          X-Universally-Unique-Identifier: 4b56cd35-559b-4b0f-abd5-6cd3717ac4e
          To: Matthew Hintze <Matt@TutoringZone.com>
          Bcc: The Wife Hintze, Paul Hintze, Alek Hartzog, Christopher James, Nelson Logan, Katie
          Murphy, Rob Bailey, Lauren Figler, Jon Aleman, John Kavekos, Ashley Ellis, Michael
          Underwood, Bruce hintze, Tim Broom, Brittany Bruce, hanagabrielle7@gmail.com, Kyle
          Tucker, Anna Hartzog, Jaclyn Grill, Siobhan Waldron, Timothy O'Toole, Toni Megna, Veronica
          Veitia, Emon Abtahi, Alexander Crook, Selph Chad, Erin Heim, Hans Tanzler, Jens Engelmann,
          Jerry Mathis, Jordan Miller, Kyle Hannabass, Lan TZ, statics@tutoringzone.com, Meric Augat,
          mike@tutoringzone.com, Garrick Harding
          In-Reply-To: <C81AFA1B-40BF-4FC2-A315-327B4DAB7EBA@TutoringZone.com>
          Message-Id: <E7ABE597-13FC-417A-8103-A70031BFF729@TutoringZone.com>
          X-Smtp-Server: smtpout.secureserver.net:matt@tutoringzone.com
          References: <C8078DD9-A222-476C-9D21-A75E11BED7AD@tutoringzone.com>
          <873EF55A-BE9E-474B-B6A8-D09265919311@TutoringZone.com> <696838F5-
          9FED-49DD-8A3F-07FB1EDDA9EC@TutoringZone.com> <8CA250DF-03DE-41D6-
          8F77-4699B65E9D29@TutoringZone.com> <C81AFA1B-40BF-4FC2-A315-
          327B4DAB7EBA@TutoringZone.com>

          Hey everyone!

          I hope you are all enjoying a lovely Friday evening and have plans to enjoy some time this
          weekend enjoying the beautiful weather with friends and family, perhaps enjoying a nice football
          game tomorrow! On to the update!
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                                                           1
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          Numbers

          Attached is the P&L and attendance numbers for Fall to Date. Our year-over-year revenues are
          now more than 10% higher, and expenses continue to be significantly lower that last year as
          well. All in all a pretty solid recipe for much greater profitability.

          When looking at 2012, a couple of notes:

          - Revenue for 2012 is through 9/27 (2011 is through 9/30), so you can bump up the 2012 revenue
          a touch to truly compare apples-to-apples.

          - Revenue for 2012 does not fully include FSU sales since we have yet to invoice Bill's
          Bookstore, so again, to compare apples-to-apples you can add a couple thousand dollars in
          revenues to the 2012 total.

                             8/16/11 – 9/20/11       8/16/12 – 9/20/12
           Revenues             $162,209.18             $182,414.18
           Expenses             $205,756.32             $141,788.32
           Net Income                                    $40,625.86
                                -$43,547.14




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Elizabeth R Bowen

From:                           Sheila Spence <sheila@johnspence.com>
Sent:                           Monday, May 14, 2012 8:01 AM
To:                             Stinson John
Cc:                             Spence John
Subject:                        Spence: TZ Update
Attachments:                    PastedGraphic-2.tiff



Hi John -
I was going to drop off the retainer check last Thursday but just as I was looking for a place to park, the other
investors and Matt Hintze started trying to plan this meeting. I will drop off the check on Tuesday and give you
an update on tonight's meeting. I can't imagine anything will come about that will dramatically change the
situation - but we will see.

I hope your wife can represent Rick Staab. He's in this too and we are of like-mind on the situation.

Best regards -

Sheila Spence
John Spence LLC
PO Box 357606
Gainesville, FL 32635
Cell - 352.339.0142
Fax - 352.505.5831
Skype - sheila.spence9
Email - Sheila@JohnSpence.com
Web - www.JohnSpence.com

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Begin forwarded message:



       From: Matt Hintze <matthewhintze@gmail.com>
       Date: May 13, 2012 8:30:53 PM EDT
       To: Matt Hintze <matthewhintze@gmail.com>
       Cc: Kevin Ogilby <kgogilby@gmail.com>, John Spence
       <john@johnspence.com>, Sheila Spence <sheila@johnspence.com>, David
       Whitney <whit5470@gmail.com>, Christopher James
       <christopher.james@cba.ufl.edu>, Randy Scott <randyscott14@gmail.com>,
       sallyscott <sallycscott@gmail.com>, Rick Staab <rstaab@intermed1.com>,
       "Greer,Creed C,III" <cgreer@ufl.edu>, "Bphintze@bellsouth.net"
       <Bphintze@bellsouth.net>, Larina Hintze <larinahintze@gmail.com>
       Subject: Re: TZ Update

                                                        1
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Hi all,

It looks like 7:30 pm Monday evening at TutoringZone works for everyone that I have spoken
to. Thank you and see you then.

-Matt

Sent from my iPhone




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                                                              UNITED STATES BANKRUPTCY COURT
                                                               NORTHERN DISTRICT OF FLORIDA
                                                                   GAINESVILLE DIVISION

                                                          Adversary Proceeding #13-01007-KKS


                                  JOHN SPENCE, SHEILA SPENCE,
                                  INTERMED BIOMEDICAL SERVICES, INC.,
                                  a Florida corporation, DAVID WHITNEY,
                                  and FLH HOLDINGS OF FLORIDA, LLC,
                                  a Florida limited liability company,

                                                 Plaintiffs/Counterclaim-Defendants,

                                  vs.

                                  MATTHEW BRUCE HINTZE and
                                  LARINA K. HINTZE,

                                                 Defendants/Counterclaim-Plaintiffs/
                                                 Third-Party Plaintiffs,

                                  vs.

                                  ETHAN FIELDMAN and STEVEN FIELDMAN,

                                                 Third-Party Defendants.

                                  ____________________________________/


                                                         PROCEEDINGS:           HEARING

                                                         BEFORE:                HONORABLE KAREN K. SPECIE

                                                         DATE:                  January 7, 2015

                                                         TIME:                  1:00 p.m. - 3:20 p.m.

                                                         PLACE:                 U.S. Federal Courthouse
                                                                                401 Southeast First Avenue
                                                                                Gainesville, Florida

                                                         REPORTED BY:           Jennifer R. Witwer, RPR, CRR
                                                                                Notary Public




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                                                                                                            Page 2
                           1       APPEARANCES

                           2                Wilcox Law Firm
                                            BY: ROBERT DRAKE WILCOX
                           3                814 A1A North, Suite 202
                                            Ponte Vedra Beach, Florida 32082
                           4                Attorney for Plaintiffs/Counterclaim-Defendants

                           5                Childers Law, LLC
                                            BY: SELDON J. CHILDERS, ESQUIRE
                           6                2135 Northwest 40th Terrace, Suite B
                                            Gainesville, Florida 32605
                           7                Attorney for the Defendants/Counterclaim-Plaintiffs/
                                            Third-Party Plaintiffs
                           8
                                            Winderweedle, Haines, Ward & Woodman, P.A.
                           9                BY: RYAN E. DAVIS, ESQUIRE
                                            329 Park Avenue North, Second Floor
                         10                 Winter Park, Florida 32789
                                            Attorney for Christopher James and Tutoring Zone 2
                         11                 Appearing via Court Call

                         12

                         13

                         14

                         15

                         16                                               E-X-H-I-B-I-T-S

                         17        Plaintiffs' for Identification:                                  Page

                         18            Exhibit Number 1 - intellectual property
                                                          Transfer agreement.........31
                         19            Exhibit Number 2 - privilege log..............15
                                       Exhibit Number 3 - amended privilege log......15
                         20            Exhibit Number 4 - 12/4/14 hearing transcript.30
                                       Exhibit Number 5 - rebuttal documents.........31
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                           1                                   P-R-O-C-E-E-D-I-N-G-S

                           2                        THE COURT:    We are here in the case of Spence,

                           3               et al, versus Hintze, Case Number 13-01007.

                           4                        Before the Court is a continued hearing on the

                           5               motion for protective order filed by the defendants at

                           6               Docket Number 266, a hearing on the motion to compel

                           7               also filed by the defendants at Docket Number 271, a

                           8               status hearing regarding the motion for protective order

                           9               at Docket Number 249, and the motion by the plaintiffs

                         10                for authority or authorization to take more than ten

                         11                depositions at Docket Number 309.

                         12                         We'll take appearances, please.

                         13                         MR. CHILDERS:       Good afternoon, Your Honor.         Jeff

                         14                Childers for the debtors/defendants.

                         15                         THE COURT:    Mr. Childers.

                         16                         MR. WILCOX:    Good afternoon, Your Honor.          Robert

                         17                Wilcox on behalf of the various plaintiffs.

                         18                         THE COURT:    Mr. Wilcox.      Thank you.

                         19                         MR. WILCOX:    Thank you.

                         20                         THE COURT:    All right.      Gentlemen, we have first

                         21                the motion for protective order and the continued

                         22                hearing on that at Docket Number 266.

                         23                         Mr. Childers.

                         24                         MR. CHILDERS:       Thank you, Your Honor.

                         25                         I'm happy to report that we made a lot of progress




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                           1               on these issues since our last hearing, so I'll give

                           2               you first, by way of status, a summary of those

                           3               accomplishments.

                           4                        Late last week or very early this week we provided

                           5               an amended privilege log to the plaintiffs which

                           6               withdrew our assertion of the two contested privileges.

                           7               The Court will probably remember that was the joint or

                           8               common interest privilege and the commercial sensitivity

                           9               or confidential information.

                         10                         THE COURT:    Let me stop you for just a moment,

                         11                Mr. Childers.

                         12                         Can you hear back there, Mr. Wilcox, or do we need

                         13                to turn the mic up a little bit?

                         14                         MR. WILCOX:    If you could turn it up just a tiny

                         15                bit.       Thank you very much.

                         16                         MR. CHILDERS:       And I'll try to be a little closer

                         17                to the mic as well.

                         18                         MR. DAVIS:    Your Honor, I'm sorry, this is Ryan

                         19                Davis appearing by phone.            I have a bad connection, but

                         20                I wanted to enter an appearance as well on behalf of --

                         21                         THE COURT:    I'm sorry, Mr. Davis, I did have a

                         22                Court Call docket for you and I neglected to call your

                         23                name.       So it's Ryan E. Davis for interested party

                         24                Christopher James; is that correct?

                         25                         MR. DAVIS:    Correct, and on behalf of Tutoring




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                           1               Zone 2, Your Honor.          Thank you.

                           2                        THE COURT:    All right.      And, Mr. Davis, if you are

                           3               on a speakerphone, which it doesn't sound like you are,

                           4               but if you're on a speakerphone, please pick up, and if

                           5               you're not, sometimes it helps if you turn up the volume

                           6               on your hand set.

                           7                        MR. DAVIS:    Okay.     Thank you, Your Honor.

                           8                        THE COURT:    All right.      Thank you.

                           9                        Excuse me, Mr. Childers.         Please processed.       You

                         10                were saying that the common interest doctrine has been

                         11                withdrawn as far as the privilege log is concerned?

                         12                         MR. CHILDERS:       That's correct.     We're not conceding

                         13                that there wasn't a common interest, but for the purpose

                         14                of the items that were on the privilege log, we've

                         15                decided to just produce them, and I believe they have

                         16                already been produced.

                         17                         The second group was the group of e-mails, and this

                         18                is the largest portion of the privilege log that we had

                         19                identified as commercially confidential.               And after

                         20                analyzing the issue, we decided that because they are

                         21                Tutoring Zone 2's commercially sensitive information,

                         22                that there might be a question as to whether I even have

                         23                standing to assert that privilege.

                         24                         So we contacted Mr. Davis, who is not noticed in

                         25                this case because Mr. James is not a party here, and we




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                           1               identified the problem to him and we put him in contact

                           2               with Mr. Wilcox.        So we are not going to be asserting

                           3               commercial sensitivity.           That's between Mr. Davis and

                           4               Mr. Wilcox.

                           5                        THE COURT:    Thank you.

                           6                        MR. CHILDERS:       I believe that the amended privilege

                           7               log that we provided still shows those items, but we

                           8               subsequently gave a letter to Mr. Wilcox indicating that

                           9               we would not be asserting that privilege.

                         10                         So that leaves just about half a dozen items that

                         11                were either plain work product or attorney/client

                         12                privilege identified.

                         13                         I conferred with Mr. Wilcox on Monday, and at that

                         14                time and since that time I'm not aware of any objections

                         15                or concerns that the plaintiffs have with the new set of

                         16                privileged items, so pursuant to that, we notified the

                         17                Court that we thought the matter was moot and copied

                         18                Mr. Wilcox, who did not object, and the Court yesterday

                         19                noticed this as a nonevidentiary hearing.               And hopefully

                         20                all those issues are now resolved or moot.

                         21                         THE COURT:    Shall we take these motions one at a

                         22                time?       That was the motion for protective order.             Why

                         23                don't I give Mr. Wilcox a chance to chime in at this

                         24                point and see if there are any disagreements, and we can

                         25                move on.




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                           1                        MR. CHILDERS:         Sounds good.

                           2                        THE COURT:      Thank you.

                           3                        Mr. Wilcox.

                           4                        MR. WILCOX:      Thank you, Your Honor.

                           5                        What I was told by counsel, what I was told by

                           6               counsel was that the joint defense privilege was being

                           7               withdrawn as to these documents.                 The problem with that

                           8               is that the defendants did not comply with the Court's

                           9               direction.          And we'd ask the Court to make a finding

                         10                that there is no common interest privilege among these

                         11                parties, and I'll explain why in a moment.

                         12                         It's up to Mr. Childers to decide what he wants to

                         13                proceed with today, but we have been preparing for this

                         14                as an evidentiary hearing.              I have exhibits that I've

                         15                prepared for the Court.             I'm not aware of a notice that

                         16                changed this from a nonevidentiary to an evidentiary

                         17                hearing.           And I didn't object to any communication

                         18                Mr. Childers had with the Court.

                         19                         It's not really my place to object to -- I don't

                         20                think he specifically requested this as a nonevidentiary

                         21                hearing, but I would like to go through these issues as

                         22                I perceive them.

                         23                         THE COURT:      Let me help clarify that point,

                         24                Mr. Wilcox, because I'm afraid that the error in the

                         25                noticing as an evidentiary hearing was the Court's and




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                           1               it was not yours and it was not Mr. Childers'.                  And the

                           2               amended notice of hearing noticing it as a

                           3               nonevidentiary hearing was at my request, having

                           4               reviewed the entire transcript at Docket Number 288, at

                           5               the conclusion of which I announced that today's hearing

                           6               would be continued as a nonevidentiary hearing and that

                           7               if we needed to present evidence, that we would schedule

                           8               a further hearing.

                           9                        I sincerely apologize on behalf of the Court if

                         10                that caused either one of you additional work, which it

                         11                undoubtedly did if you've come prepared with exhibits.

                         12                         I also note for the record that today's hearing was

                         13                supposed to have been preceded by the privilege log, and

                         14                I guess I used an inartful term in my announcement, but

                         15                at the transcript I announced that the privilege log was

                         16                to be prepared as opposed to filed, and then we were

                         17                going to go through the claims of privilege I believe

                         18                one at a time and make argument as to those.

                         19                         And I also was expecting -- Mr. Childers had

                         20                indicated that he wanted to file a memorandum of law or

                         21                further brief the issue of whether or what privilege

                         22                applied to commercially sensitive information.

                         23                         Now, it appears that that issue is moot because

                         24                Mr. Childers, on behalf of the defendants, has waived

                         25                that argument.        Is that correct, Mr. Childers?




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                           1                        MR. CHILDERS:       As to our motion for protective

                           2               order, we have withdrawn the portion of protective order

                           3               that relates to commercially sensitive information and

                           4               that relates to joint or common interest defense.

                           5                        THE COURT:    All right.      So as to this motion at

                           6               Docket Number 266, you have essentially withdrawn the

                           7               portion of that motion that argues that certain

                           8               documents should not have to be produced because of

                           9               either the joint defense or common interest doctrine or

                         10                the commercially sensitive information doctrine that you

                         11                had set forth; is that correct?

                         12                         MR. CHILDERS:       That is correct, Your Honor.

                         13                         THE COURT:    All right.      I'm sorry to interrupt you,

                         14                Mr. Wilcox, but I thought it was fair to all parties to

                         15                make the record abundantly clear.

                         16                         MR. WILCOX:    Well, Your Honor, I have prepared a

                         17                book with exhibits that does contain the privilege log,

                         18                so maybe we can go through those.

                         19                         THE COURT:    Hopefully we can, yes, sir.

                         20                         MR. WILCOX:    And that book is right on that table.

                         21                         THE COURT:    All right.      Mr. Childers, have you

                         22                seen the items in this book that Mr. Wilcox is referring

                         23                to?

                         24                         MR. CHILDERS:       Mr. Wilcox handed me a copy just

                         25                before the hearing.          I haven't had a chance to review it




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                           1               yet.

                           2                        MR. WILCOX:      It's his privilege log.        It's what he

                           3               gave me.           He gave me a privilege log on the 21st and

                           4               then he gave me a corrected privilege log on Monday.

                           5               That's not in --

                           6                        THE COURT:      That's all that's in the exhibits that

                           7               you're handing me?

                           8                        MR. WILCOX:      Well, I can read -- there are -- those

                           9               are Exhibits 2 and 3.

                         10                         Exhibit 1, because we had prepared for this as an

                         11                evidentiary hearing based upon the Court's comments

                         12                basically at -- as I read the transcript, it says:                    It

                         13                may be that we will set this the afternoon before that,

                         14                January the 7th, because we've already scheduled a

                         15                two-hour evidentiary hearing for the afternoon of the

                         16                8th.

                         17                         There is no evidentiary hearing set in this

                         18                proceeding.

                         19                         THE COURT:      No, it was in a different case,

                         20                Mr. Wilcox.

                         21                         MR. WILCOX:      In a different proceeding in that.

                         22                         THE COURT:      A different -- in other words, we had

                         23                until yesterday a two-hour evidentiary final hearing in

                         24                a Chapter 13 scheduled for tomorrow afternoon, so I

                         25                couldn't schedule this matter for that date.




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                           1                        MR. WILCOX:    And I contacted your chambers this

                           2               morning and they said that this was a two-hour hearing.

                           3                        THE COURT:    Yes, sir, it is.

                           4                        MR. WILCOX:    All right.     Well, Your Honor, I think

                           5               it would be useful to go through Exhibits 2 and 3, which

                           6               are the original privilege log and then the corrected

                           7               privilege log.

                           8                        It seems to me, though, that the Court's direction

                           9               from the transcript on December 4th was very clear.                    The

                         10                Court directed the defense to produce a privilege log

                         11                within 15 days.        They did that.         We received that on the

                         12                19th.       The Court also directed that within 20 days of

                         13                the hearing the defendants were to produce affidavits

                         14                that would support the claims of privilege.

                         15                         The Court, at the December 4th hearing, in my view

                         16                expressed some skepticism about the privileges that were

                         17                being asserted and asked for specifics as to the dates

                         18                and the factual basis, whether it's common interest or

                         19                sensitive business information, and that direction by

                         20                the Court applied to all the privileges, not just the

                         21                common interest privilege.           And I can point to the

                         22                transcript to that specific part.

                         23                         They were to provide affidavits regarding any

                         24                assertion of privilege in advance of this hearing today.

                         25                They didn't file any affidavits in support of that.




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                           1               Now, this morning Mr. Childers -- I received it in an

                           2               e-mail and I assume it was filed, a declaration by

                           3               Mr. Childers regarding -- I don't know whether that was

                           4               filed or not, Your Honor.            I believe it was.

                           5                        THE COURT:    That's all right.        Please proceed.

                           6               I'll look while you're talking.

                           7                        MR. CHILDERS:       It was not filed, Your Honor.

                           8                        THE COURT:    Was not filed?

                           9                        MR. CHILDERS:       No.

                         10                         MR. WILCOX:    Okay.      Apparently it was not filed.

                         11                So they've never produced any affidavits, and the

                         12                Court's directed them to produce something to allow the

                         13                Court to evaluate the privileges.

                         14                         The Court also strongly suggested, if not directed

                         15                Mr. Childers to file a brief in support of the asserted

                         16                privileges.        That was not forthcoming.         We were not in a

                         17                position to file a brief because we had not seen the

                         18                affidavits that we would have needed to make that brief

                         19                at all meaningful.

                         20                         The Court also directed in the notice of hearing

                         21                that the parties were to provide a joint statement of

                         22                undisputed facts by last Friday.               We heard nothing about

                         23                that.       In Document Number 304, which we unfortunately

                         24                mistitled, we provided our view of what the undisputed

                         25                facts were, which was zero.            Now, I went in yesterday




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                           1               and filed an amended one to change the title.

                           2                        But the Court was specific as to what it was

                           3               requiring, and the defendants came forward with nothing.

                           4               This was their chance to assert joint defense privilege.

                           5               You can't come in and file a motion for protective order

                           6               and lead everybody down the primrose path and say I'm

                           7               asserting joint defense privilege and then two days

                           8               before the hearing come in and say, well, I'm pulling it

                           9               as to these documents but I reserve the right to assert

                         10                it in another context.

                         11                         The Court should make a finding that there is no

                         12                joint defense privilege in this case.               They completely

                         13                failed to comply and provide any evidentiary basis for

                         14                that assertion of privilege.            And the Court specifically

                         15                made reference to the Pensacola Firefighters case, the

                         16                extensive affidavits, the affidavits of five attorneys

                         17                in that instance.        And the Court directed specifically

                         18                the parties to file affidavits to support the claim of

                         19                privilege.

                         20                         So Monday I had a call with Mr. Childers, generally

                         21                very congenial call, and he said he wasn't going to be

                         22                proceeding with the joint defense privilege.                I made no

                         23                representations about what our position would be.

                         24                         MR. CHILDERS:       Your Honor, I would object to the

                         25                extent that the Court has previously ruled about counsel




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                           1               relaying the content of telephone calls that we have

                           2               with each other.

                           3                        MR. WILCOX:    That's fine.

                           4                        THE COURT:    Sustained.

                           5                        MR. WILCOX:    That's fine.      And I apologize.

                           6                        But at any rate, I was directed to Mr. Davis.              And

                           7               there was a representation made that Mr. Davis might, on

                           8               behalf of Tutoring Zone 2, which did nothing to object

                           9               to the production of any of these documents, would be

                         10                contacting me to discuss its objections to the

                         11                production by the defendants of certain allegedly

                         12                sensitive information.          Again, no evidentiary basis for

                         13                anything.

                         14                         We were not able to resolve that issue, Your Honor.

                         15                And it seems to me -- I don't know whether Mr. Davis

                         16                intends to argue that those documents should not be

                         17                disclosed, but they haven't provided any research or

                         18                evidentiary basis that there is such a thing as

                         19                sensitive business information privilege.

                         20                         THE COURT:    Well, Mr. Davis is not going to have an

                         21                opportunity to argue anything today because he isn't

                         22                representing a party to this adversary proceeding.

                         23                         MR. WILCOX:    If I may turn to what I had marked as

                         24                Exhibit 3, which is the revised privilege log.

                         25                         THE COURT:    Mr. Childers, I would like to see that.




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                           1               Do you have any objection?

                           2                        MR. CHILDERS:       No, Your Honor.     It appears to be

                           3               our amended privilege log, as Mr. Wilcox represented.

                           4                        THE COURT:    All right.      The courtroom deputy will

                           5               hand me and we will consider part of the record for

                           6               today exhibits marked 2 and 3 being submitted on behalf

                           7               of the plaintiffs.

                           8                        (Plaintiffs' Exhibits Number 2 and 3 were marked

                           9               and received in evidence.)

                         10                         THE COURT:    Please proceed, Mr. Wilcox.

                         11                         MR. WILCOX:    Thank you, Your Honor.

                         12                         And I guess I would request the Court's guidance on

                         13                whether the original privilege log is still an issue,

                         14                because they provided a revised one and I'm not sure

                         15                whether it's even worth discussing the first one.

                         16                         THE COURT:    It seems to me that if the revised

                         17                one -- if Mr. Childers agrees that the revised one was

                         18                meant to take the place of the original one, then we'll

                         19                just look at Exhibit Number 3, which is apparently the

                         20                revised one.        Is that correct?       Mr. Childers, is that

                         21                right?

                         22                         MR. CHILDERS:       That's correct, Your Honor.

                         23                         THE COURT:    All right.

                         24                         MR. WILCOX:    The problem, Your Honor, is that

                         25                additional documents were added in the revised one that




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                           1               were not in the original one, which I find troubling.

                           2                        THE COURT:    You're certainly welcome to argue

                           3               that to me, Mr. Wilcox.          I've accepted both of these

                           4               documents.

                           5                        You know, again, I agree with Mr. Wilcox to the

                           6               extent that today was supposed to be for an opportunity

                           7               for us to go through the privilege log one item at a

                           8               time to determine, A, whether any privilege applied, and

                           9               that was going to be a matter of legal argument based on

                         10                affidavits and the privilege log, and then, B, if a

                         11                privilege of any kind exists -- and I use the term

                         12                privilege loosely.

                         13                         I want to back up again and clarify that in my

                         14                view, under the applicable case law, the joint defense

                         15                doctrine or the common interest doctrine is not a

                         16                privilege.         It is a doctrine or doctrines that are

                         17                founded upon the attorney/client privilege.               And the

                         18                affidavits that the Court reviewed in the Firemen's Fund

                         19                case were affidavits that apparently proved to the

                         20                Court's satisfaction that the communications at issue

                         21                there were communications by counsel for the parties or

                         22                originated with counsel and were not communications

                         23                between the parties themselves.               But having said that,

                         24                again, I'm using the privilege loosely here.

                         25                         I will allow you, Mr. Wilcox, to argue anything you




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                                                                                                            Page 17
                           1               wish with respect to these logs.

                           2                        Mr. Childers?

                           3                        MR. CHILDERS:       Yes, Your Honor.     I think just to

                           4               fast forward us a little bit, I believe that the issue

                           5               that we're arguing about here is not so much the common

                           6               interest privilege or the joint defense privilege, but I

                           7               believe that Mr. Wilcox expected that we would be

                           8               proving our basis for the attorney/client and work

                           9               product privileges that we asserted, just the basic

                         10                black-and-white ones.           And that was not my understanding

                         11                of the Court's ruling from the previous hearing.

                         12                         So I think that's the direction Mr. Wilcox is

                         13                going in, and it would be helpful if the Court would

                         14                clarify if that was what we were supposed to do.                  And if

                         15                it was, then I'm going to have to apologize --

                         16                         THE COURT:    Mr. Childers, I read the transcript

                         17                very clearly.        The issue before the Court at the last

                         18                hearing was in the motion for protective order the

                         19                defendants were arguing two premises; number one, that

                         20                the communications between the Hintzes and Mr. James and

                         21                the Hintzes and -- I can't remember the name of the

                         22                woman who works for Mr. James.

                         23                         MR. CHILDERS:       Ms. Frenchman.

                         24                         THE COURT:    -- Ms. Frenchman were somehow

                         25                privileged under the joint defense doctrine.                And stop




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                                                                                                           Page 18
                           1               me if I'm putting words in anyone's mouth.              I reviewed

                           2               the file very carefully in preparation for today's

                           3               hearing.

                           4                        The responses to that essentially amounted to,

                           5               number one, how can there have been a joint defense

                           6               agreement before this litigation was filed in 2014, and,

                           7               number two, is there a privilege -- or I should say,

                           8               number two, was there a joint defense agreement at all,

                           9               and if so, when did it arise, and, number three, my

                         10                question to the parties was, was the communication that

                         11                the defendants seek to have protected attorney/client

                         12                privileged to begin with or covered under some other

                         13                privilege under the Federal Rules of Evidence, because

                         14                without -- my understanding of case law is that without

                         15                it being founded on such a privilege, there is no joint

                         16                defense doctrine that would protect communications

                         17                between parties, especially, as the plaintiff pointed

                         18                out, where the parties consist of -- the parties that

                         19                are trying to assert the doctrine of common interest or

                         20                joint defense constitute the debtors and a creditor of

                         21                the debtors to whom the debtors transferred the assets

                         22                that are the foundation of this entire case.

                         23                         And those were the issues that I expected to see

                         24                some sort of affidavits of proof and/or briefing on, and

                         25                there's nothing.




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                                                                                                            Page 19
                           1                        MR. CHILDERS:       Well, Your Honor, as I said, we

                           2               released those documents to Mr. Wilcox already.                  They're

                           3               in his custody now.          So it didn't seem like a good use

                           4               of my client's money, the Court's time, Mr. Wilcox's

                           5               time, so forth for us to brief it, present affidavits,

                           6               et cetera, on a privilege we weren't going to be

                           7               asserting.

                           8                        THE COURT:    Okay.     So that's why I wanted to

                           9               clarify this, because if the defendants are no longer

                         10                asserting that any of these communications are covered

                         11                by an alleged joint defense doctrine or common interest

                         12                doctrine, then we should be done with that with respect

                         13                to this adversary proceeding.             They're done.     They have

                         14                no more joint defense or common interest.

                         15                         But if you're trying to say, as Mr. Wilcox seems

                         16                to think, that that is waived for purposes of this

                         17                discovery but not for purposes of the adversary

                         18                proceeding, then we need facts and we need briefing.

                         19                         Mr. Wilcox, am I taking any words out of your mouth

                         20                improperly?

                         21                         MR. WILCOX:    No, Your Honor.

                         22                         MR. CHILDERS:       I'm being careful, Your Honor,

                         23                because there's other litigation pending in this

                         24                bankruptcy case.        I don't want to step on any privileges

                         25                that anybody might want to assert.




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                           1                        So I'm not waiving the privilege on behalf of my

                           2               clients, but we're not -- we've released the documents

                           3               that were on the privilege log that were subject to my

                           4               motion for protective order.           I'm not sure if there's

                           5               anything else in the motion for protective order that I

                           6               even need.

                           7                        It may be that I just should withdraw the motion

                           8               for protective order and stop arguing about this because

                           9               he's got the documents that he's looking for.

                         10                         THE COURT:    Mr. Wilcox.

                         11                         MR. WILCOX:    If that's the case, we should be

                         12                awarded our fees for having to come down here twice on

                         13                that motion and spend all this time going through it.

                         14                         THE COURT:    File a motion for it.

                         15                         MR. WILCOX:    Okay.    As my understanding at this

                         16                point, that there is no assertion of privilege -- I

                         17                don't see how that comment squares with the privilege

                         18                log that I received on Monday that includes an

                         19                allegation that a communication on 7/13/2012 involving

                         20                Jeff Childers, Larina Hintze and Matt Hintze and Chris

                         21                James asserts sensitive business information and

                         22                attorney/client privilege.           That's the fourth one down

                         23                on the first page.

                         24                         I need some -- I'm just asking for clarification.

                         25                         THE COURT:    I hear what you're saying.        I think




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                                                                                                            Page 21
                           1               we're taking these things, at least I was, one at a

                           2               time.       And the one we just finished discussing was the

                           3               joint defense doctrine.           But you're right.

                           4                        Mr. Childers, if you're withdrawing the motion for

                           5               protective order, then the privilege log goes away,

                           6               correct?

                           7                        MR. CHILDERS:       That's right, at least to any of the

                           8               items that were referred to in the motion.               And if the

                           9               motion's withdrawn, there's nothing to hear today.                   And

                         10                Mr. Wilcox is free to file a motion to compel as to any

                         11                other items that we have provided to him on the

                         12                privilege log.

                         13                         And I'll just point out that we've been asking for

                         14                a privilege log from them since the beginning of

                         15                discovery and have not seen anything.

                         16                         THE COURT:    Well, we'll get to your motion against

                         17                them in just a few minutes.            Let's deal with this one

                         18                first and finish this one.

                         19                         So is Docket Number 266 withdrawn at this point?

                         20                         MR. CHILDERS:       Yes, I'll withdraw that Docket 266.

                         21                         THE COURT:    All right.      Docket 266, which is the

                         22                defendant's motion for protective order on which this

                         23                hearing was to be based, has been withdrawn.

                         24                         Mr. Wilcox, you are requesting fees and costs for

                         25                having to deal with this motion through today.                   You may




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                                                                                                            Page 22
                           1               file a motion for fees and costs and we will schedule it

                           2               for hearing.

                           3                        MR. WILCOX:    Thank you, Your Honor.         I would ask,

                           4               though, that the Court make a determination, because we

                           5               have it before the Court, that there is no joint common

                           6               interest privilege among Chris James and the Hintzes.

                           7               That was the whole point of this.

                           8                        The Court gave specific direction as to

                           9               how -- we're going to have to deal with that issue.                    It

                         10                seems to me what Mr. Childers is doing is punting that

                         11                issue down the road.          It's going to come up in

                         12                depositions or wherever.           This was the time, this was

                         13                the opportunity to make that argument.

                         14                         And so it seems to me, by withdrawing that motion,

                         15                he is waiving that argument.            I'm not saying he's

                         16                waiving a privilege.          He's waiving the argument that

                         17                there is a common interest privilege among those

                         18                parties, and we ask the Court to rule to that effect.

                         19                         MR. CHILDERS:       Your Honor, Mr. Wilcox may raise

                         20                this argument in the future if I do reassert the common

                         21                interest privilege and he can at that time complain that

                         22                it was previously litigated if that's what he feels is

                         23                appropriate at that time, because I think what he's

                         24                asking is a ruling in the future on something that may

                         25                or may not occur with facts and circumstances that




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                                                                                                              Page 23
                           1               aren't before the Court.

                           2                        MR. WILCOX:       I guess what I'm really asking for,

                           3               Your Honor, I'm asking that you not allow him to

                           4               withdraw the motion and then reassert the same grounds

                           5               next week, next month, at trial, ever in this

                           6               proceeding.

                           7                        And for the record, I do not know whether we have

                           8               all these documents.            There are a lot of documents that

                           9               we've received.           But since I received this privilege log

                         10                on Monday, I would be surprised if the documents had

                         11                been produced prior to Monday to our offices, but that's

                         12                something we will check.

                         13                         THE COURT:       All right.     I'm going to take a brief

                         14                recess.            We'll reconvene in approximately ten minutes.

                         15                         (A brief recess was held.)

                         16                         THE COURT:       Be seated, please.

                         17                         There's no question that the primary reason that we

                         18                scheduled this hearing today was to consider the issues

                         19                raised in the motion for protective order and the

                         20                objection to that motion, and notwithstanding the fact

                         21                that at Page 37 of the transcript I clearly said there

                         22                was not going to be an evidentiary hearing, it certainly

                         23                was noticed as one.

                         24                         So I think the appropriate thing to do is that,

                         25                even though Mr. Childers has moved to withdraw that




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                                                                                                           Page 24
                           1               motion -- I candidly am stymied by whether at this

                           2               juncture it's appropriate not to allow or whether a

                           3               Court cannot allow a person to withdraw a motion, but I

                           4               certainly understand Mr. Wilcox's frustration with

                           5               having prepared for an evidentiary hearing today and now

                           6               having the motion withdrawn.

                           7                        I'm going to mention a few points and then I'll

                           8               tell the parties what we're going to do today.                  First of

                           9               all, I'm going to allow Mr. Wilcox to at least put on

                         10                what he would like to put on today so that I can

                         11                consider that even if it just goes into the record for

                         12                future reference on these issues, Mr. Wilcox, if that's

                         13                what you would like to do.

                         14                         But I would like to point out that we are here,

                         15                according to the transcript beginning at Page 23,

                         16                strictly on the motion for protective order.               And at

                         17                Page 23 of the transcript -- give me just a moment -- I

                         18                said with respect to the claims -- well, first of all,

                         19                talking about the joint defense agreement, et cetera, I

                         20                said:       We need a specific itemized log of any

                         21                communications and/or documents that have been requested

                         22                to which the defendants are objecting and we need

                         23                evidence that any such communications were, in fact,

                         24                privileged communications under the attorney/client

                         25                privilege to begin with.          And then we would need further




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                                                                                                              Page 25
                           1               evidence to determine if any kind of joint defense

                           2               agreement existed and, if it did, when it occurred,

                           3               whether there is any common interest doctrine that could

                           4               possibly come into play here.

                           5                        I go on then to start talking about the claims of

                           6               the commercially sensitive information.

                           7                        At Page 25 of the transcript Mr. Childers says that

                           8               he would be happy to specifically brief the issue of

                           9               commercially sensitive information and reports that he

                         10                believes there's a lot of case law in that area.                    And

                         11                then at Page 27 I said:             Go ahead and brief those

                         12                issues.

                         13                         At Page 37 is where I said we were not going to

                         14                schedule an evidentiary hearing.                 And I'm quoting at

                         15                Line 5:            I'm not going to schedule an evidentiary

                         16                hearing at this time, but I'm going to continue the

                         17                hearing on this motion to the Court's docket on January

                         18                the 8th.           It may be that we will set this the afternoon

                         19                before that, January the 7th, because we've already

                         20                scheduled a two-hour evidentiary hearing for the

                         21                afternoon of the 8th.

                         22                         So we'll either be back on the afternoon of January

                         23                the 7th at approximately 1:30 or sometime on January the

                         24                8th.       I'm going to set aside two hours for this hearing

                         25                for additional argument, and I want us to be prepared




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                           1               and counsel to be prepared to address the claims on the

                           2               log one at a time or have dealt with them already by the

                           3               time the hearing begins.

                           4                        If we cannot resolve the issues on the affidavits

                           5               and the privilege log, then we will look at the calendar

                           6               and set as soon as I can a full-blown evidentiary

                           7               hearing on whether there is any attorney/client

                           8               privilege and, if so, what it may apply to and to whom.

                           9                        Because the motion has been withdrawn, I think it

                         10                would be premature for me to try to prohibit or grant

                         11                what in my view amounts to an ore tenus motion to bar

                         12                these defendants from ever raising these issues again.

                         13                         I think that a motion -- I've already said that I

                         14                will certainly entertain a motion for attorney's fees

                         15                and costs for the plaintiffs having dealt with this

                         16                issue through today, and it may be that other remedies

                         17                are available under that umbrella.             I'm not going to

                         18                prejudge any of that.

                         19                         But I think that, as one of my learned law clerks

                         20                pointed out, for me to go ahead and rule on this issue

                         21                for the entire case when the issues came up before me

                         22                strictly on a motion for protective order that addressed

                         23                communications that have been requested by the plaintiff

                         24                and that that motion has now been withdrawn I think

                         25                would be inappropriate for me to go forward today and




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                                                                                                             Page 27
                           1               issue a blanket ruling that the defendants can or cannot

                           2               in future try to assert these defenses.

                           3                        Having said that, in the event that the defendants

                           4               attempt to assert these positions on their own behalf,

                           5               it doesn't change what would be required in order to

                           6               support any such assertion.

                           7                        I can't rule on whether the nonparty, Mr. James,

                           8               can assert that he supposedly had a joint defense

                           9               agreement of some kind and that some communications that

                         10                he may have made might have been covered by that

                         11                agreement or privileged because that issue has not been

                         12                brought before me on any of the pleadings.

                         13                         I can, however, rule definitively in this case,

                         14                based on Page 40 of this transcript, that if any joint

                         15                defense agreement ever existed, it started no sooner

                         16                than May 1, 2012, because at Page 40 I said, starting at

                         17                Line 18:           Mr. Childers, do you -- can you agree, based

                         18                on what I just read from the motion, that the assertion

                         19                of joint defense doctrine, attorney/client privilege,

                         20                common interest doctrine relates to communications on

                         21                and after May 1, 2012?

                         22                         Answer by Mr. Childers:         I may live to regret this,

                         23                but I think we're willing to put the flag on May 1st of

                         24                2012.

                         25                         So for purposes of this case, including Mr. James,




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                           1               there was no joint defense agreement between the

                           2               defendants and Mr. James or anybody else, if one existed

                           3               at all, prior to May 1, 2012.

                           4                        Mr. Wilcox, do you have any questions on the

                           5               Court's ruling?

                           6                        MR. WILCOX:    Yes, I do, Your Honor.         I think one of

                           7               the first things the Court said was that you would allow

                           8               me to proceed.

                           9                        THE COURT:    I absolutely will.        Make your record,

                         10                Mr. Wilcox.

                         11                         MR. WILCOX:    An evidentiary record?

                         12                         THE COURT:    If you would like, yes, sir.

                         13                         MR. WILCOX:    Thank you.

                         14                         Your Honor, I'd like to at this time move

                         15                exhibits -- Jeff, have I given you Number 5?                1 through

                         16                5 into evidence.

                         17                         THE COURT:    Mr. Childers, any objection?

                         18                         MR. CHILDERS:       May I have a moment, Your Honor?

                         19                         THE COURT:    Yes, you may.

                         20                         Have you filed a list of those exhibits already,

                         21                Mr. Wilcox?

                         22                         MR. WILCOX:    Yes, Your Honor.        I filed an amended

                         23                witness list on Docket 315.

                         24                         THE COURT:    Thank you.

                         25                         MR. WILCOX:    And that's what's in the book.




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                                                                                                             Page 29
                           1                        (Pause in the proceedings.)

                           2                        MR. CHILDERS:       Your Honor, we take exception to

                           3               Exhibit Number 2, which is the privilege log that I

                           4               think we agreed is not operative, and --

                           5                        THE COURT:    I think you agreed that it was

                           6               superseded in your view by Number 3.

                           7                        MR. CHILDERS:       That's correct.

                           8                        THE COURT:    All right.      Thank you.

                           9                        MR. CHILDERS:       But, I mean, if it's necessary for

                         10                the case or relevant somehow.

                         11                         And then the transcript is in the docket, so I

                         12                would prefer to have the better evidence of the docket

                         13                taking judicial notice rather than this exhibit, which I

                         14                don't have time to review standing here today.

                         15                         THE COURT:    All right.      Thank you.

                         16                         I'm going to overrule the objection to the

                         17                admissibility of Document Number 2, which is defendant's

                         18                privilege log dated December 21, 2014, on the basis

                         19                that, if nothing else, it's admissible under the Federal

                         20                Rules of Evidence as an admission against interest.

                         21                         And so Documents Number 1 through -- now, 5 is

                         22                categorized rebuttal documents.                Is there anything under

                         23                5 at this point, Mr. Wilcox, or are you just

                         24                offering --

                         25                         MR. WILCOX:    Yes, I am.      I'm proceeding under




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                           1               Number 5 as well.        I've given the Court a copy of those

                           2               documents, as well as Mr. Childers.              Those are documents

                           3               that were produced to us in discovery, I would represent

                           4               to the Court.

                           5                        THE COURT:    All right.      The transcript of the

                           6               hearing is being admitted for the purpose of the Court

                           7               being able to have a paper transcript as opposed to

                           8               having to read it online, but the Court -- if there's

                           9               any discrepancy between Document Number 4 and the

                         10                official transcript that's already filed with the Court

                         11                at Docket Number 288, then the Docket 288 will govern.

                         12                         With that, Number 4 is also admitted into evidence.

                         13                         (Plaintiffs' Exhibit Number 4 was marked and

                         14                received in evidence.)

                         15                         THE COURT:    And then we're waiting for Mr. Childers

                         16                I think to look at Document Number 5; is that correct?

                         17                         MR. CHILDERS:       I just received it just now.

                         18                         THE COURT:    All right.      You may have just a few

                         19                moments.

                         20                         (Pause in the proceedings.)

                         21                         MR. CHILDERS:       Your Honor, these documents appear

                         22                to be the additional supplemental production that I

                         23                indicated earlier we had given Mr. Wilcox as a result of

                         24                withdrawing the privilege that I believe he said he

                         25                hadn't received yet, so to that extent I have no




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                                                                                                           Page 31
                           1               objection to his use of them.

                           2                        THE COURT:    Very well.

                           3                        MR. WILCOX:    Your Honor, I object to that

                           4               representation that these documents were produced to us

                           5               as a result of the withdrawal of the privilege.

                           6                        THE COURT:    Which didn't happen until this

                           7               afternoon.         I get it, Mr. Wilcox.

                           8                        MR. WILCOX:    Yeah, I just don't see how that

                           9               argument can be made with a straight face.              We asked

                         10                for -- we asked for -- excuse me.             I'll calm down.

                         11                         We asked for communications.         We got e-mails.       We

                         12                asked for attachments.          We had to come in here and fight

                         13                over whether we were going to get the attachments.

                         14                         THE COURT:    Mr. Childers, you'll get your chance.

                         15                Just a moment.

                         16                         MR. WILCOX:    We talked about the attachments which

                         17                we originally requested in native format.              We got those

                         18                documents sometime in the last week or so, last two

                         19                weeks perhaps.        It's not clear to me how that relates to

                         20                the privilege issues.          And so as -- so that's my

                         21                position on that.

                         22                         THE COURT:    All right.     With that, Exhibits 1

                         23                through 5 as listed on Docket Number 315 are received in

                         24                evidence.

                         25                         (Plaintiffs' Exhibits Number 2, 3 and 4 having been




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                                                                                                            Page 32
                           1               previously received by the Court, Plaintiffs' Exhibits

                           2               Number 1 and 5 were marked and received in evidence.)

                           3                        THE COURT:    Mr. Childers.

                           4                        MR. CHILDERS:       Yes.   I would just point out for

                           5               the record that the issue of e-mail attachments was

                           6               not -- we were not moved to compel them.               The first that

                           7               we heard that there was an issue with those attachments

                           8               was here in open court.             And we voluntarily produced

                           9               them, not under a Court order, but in order to

                         10                facilitate discovery.

                         11                         We have asked the plaintiffs for attachments in

                         12                native format documents for over six months and haven't

                         13                received any.

                         14                         THE COURT:    We're going to get to that motion in a

                         15                few moments.

                         16                         Mr. Wilcox.

                         17                         MR. WILCOX:    Thank you, Your Honor.         I'm prepared

                         18                to go through the exhibits and discuss their importance.

                         19                         Exhibit Number 1 is the intellectual property

                         20                transfer agreement between -- purportedly dated

                         21                June 4th, 2012, between Tutoring Zone, LLC, and Tutoring

                         22                Zone 2, LLC.        And this is one of the two basic

                         23                documents.         I think the e-mails will show that they

                         24                wanted both an intellectual property lease and an

                         25                intellectual property transfer agreement because of




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                                                                                                            Page 33
                           1               concerns that in a subsequent bankruptcy of Mr. and Mrs.

                           2               Hintze, the Court would not approve at least one of

                           3               those agreements.

                           4                        But as we go to the second page of that, there is a

                           5               definition of consideration, Paragraph 1-A on the first

                           6               page.

                           7                        MR. CHILDERS:       Your Honor, I object.      If Mr. Wilcox

                           8               is going to testify about this information he should be

                           9               sworn first.

                         10                         THE COURT:    He's pointing out a provision in a

                         11                paragraph in a document that's been admitted into

                         12                evidence, Mr. Childers.

                         13                         MR. CHILDERS:       He's interpreting or characterizing

                         14                the significance or use of these documents by other

                         15                persons who are not in the court.              He's testifying as to

                         16                what their intentions were, which is a fact issue.                   It's

                         17                not -- there's nothing in here about somebody's

                         18                intention.         He's not reading from the document when he's

                         19                explaining to you what the intention of the parties who

                         20                drafted it was.        He's testifying.

                         21                         If he's testifying, please swear him under oath and

                         22                then I can make appropriate objections about hearsay or

                         23                whatever the correct objection would be.

                         24                         THE COURT:    Mr. Wilcox.

                         25                         MR. WILCOX:    I think I'm arguing.




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                                                                                                            Page 34
                           1                        THE COURT:    Well, I think that Mr. Childers'

                           2               objection is legitimate and is sustained to the extent

                           3               that there's no problem with you pointing out provisions

                           4               of the document, but any commentary as to what the

                           5               parties intended with the document must be left to

                           6               testimony.

                           7                        MR. WILCOX:    I will wait until we reach the e-mail

                           8               that expresses that concern, Your Honor.

                           9                        At any rate, on Page 2 I would point the Court's

                         10                attention to Section 3, the transfer, and then B:                   The

                         11                price for the sale and transfer described in Section 3-A

                         12                shall be 200,000 and other valuable consideration which

                         13                is agreed and accepted by the parties to be full and

                         14                adequate consideration for the sale.              The payment of the

                         15                consideration shall be offset and credited by any

                         16                amounts owed by seller to Christopher M. James.

                         17                         Now, we know that this was a cashless transaction.

                         18                So the issue will become whether Tutoring Zone --

                         19                         MR. CHILDERS:       Your Honor, same objection.

                         20                         THE COURT:    To?

                         21                         MR. CHILDERS:       So we know this is a cashless

                         22                transaction, first of all.

                         23                         THE COURT:    I thought that was a stipulated fact,

                         24                Mr. Childers.        I thought that was admitted in the

                         25                pleading.




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                                                                                                            Page 35
                           1                        MR. CHILDERS:       There were no joint undisputed

                           2               facts.

                           3                        THE COURT:    Well, not for today, but in the actual

                           4               pleadings, the complaint and the answer and affirmative

                           5               defenses, et cetera, I was unaware of any -- if there is

                           6               a dispute as to whether any cash changed hands, then say

                           7               so, but it was my understanding from reading the

                           8               pleadings that that was not a disputed fact in this

                           9               adversary.

                         10                         MR. CHILDERS:       I'm just wanting to be careful that

                         11                we're not establishing facts here based on evidence that

                         12                is a contract.        Also, Your Honor, I would object to the

                         13                relevance of this as to the common interest privilege,

                         14                which is what we're here for.             Mr. Wilcox seems to be

                         15                arguing the case in chief.

                         16                         THE COURT:    Mr. Wilcox, I will sustain

                         17                Mr. Childers' objection to the extent that anything

                         18                you've said purports to introduce into evidence or

                         19                attempts to introduce into evidence a fact that is

                         20                not -- that is disputed.           So please stick to the

                         21                paragraphs of the provision or the contract or go ahead

                         22                and call a witness, or point me to something else in the

                         23                record that will assist.

                         24                         MR. WILCOX:    If I may, Your Honor, I'd like to take

                         25                a quick look at the answer and affirmative defenses




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                                                                                                           Page 36
                           1               because I believe that fact is admitted.

                           2                        That will take a while, Your Honor.          I'll move on.

                           3               We'll leave that for another day.

                           4                        So with regard to Exhibit 2, you see -- I mean, I

                           5               don't know whether I can say anything about what's in

                           6               the document or comment about it at this point.

                           7                        THE COURT:    Well, if it's in evidence you can

                           8               certainly comment on it, but if it isn't, the motion for

                           9               protective order has been withdrawn, so I don't -- I

                         10                won't have anything to refer to.

                         11                         MR. WILCOX:    Right.    Okay.

                         12                         Well, I guess my point with regard to Exhibit 2 is

                         13                that as of December 19th the defendants continued to

                         14                assert sensitive business information as a basis for

                         15                objection, and with regard to a communication on

                         16                9/17/2012, parties of correspondence, Matt Hintze,

                         17                Larina Hintze, Chris James, no attorney, that it's work

                         18                product of TZ 2.

                         19                         Now, if I may, Your Honor, I'd like to identify the

                         20                differences between the two privilege logs.

                         21                         And I guess I'm confused, Your Honor, at this

                         22                point.        Are they withdrawing the privilege log or just

                         23                the motion associated with the privilege log?

                         24                         THE COURT:    My understanding, both are withdrawn.

                         25                Is that correct, Mr. Childers?




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                                                                                                            Page 37
                           1                        MR. CHILDERS:       The privilege log is not withdrawn

                           2               as to any of the privileges asserted that were not

                           3               subject to the motion for protective order.               The motion

                           4               for protective order made arguments about items that

                           5               were on the privilege log.            Those items are not

                           6               privileged, as I understand it, by operation of my

                           7               having withdrawn the motion.

                           8                        THE COURT:    Okay.     So let's take this one item at a

                           9               time.       I'm going to ask the parties to look at -- is it

                         10                Number 3 that replaces Number 2?

                         11                         MR. WILCOX:    Yes.     Yes, Your Honor.

                         12                         THE COURT:    Okay.     I'm looking at Exhibit Number 3

                         13                that's been admitted into evidence.              Based on what

                         14                Mr. Childers just said, it appears to me that the first,

                         15                second, and third entries on the first page are no

                         16                longer applicable.           Is that correct, Mr. Childers?

                         17                         MR. CHILDERS:       The defendants are not asserting any

                         18                privilege as to those items.

                         19                         THE COURT:    But what you told us at the beginning

                         20                of the hearing is that maybe TZ 2 is going to be, and

                         21                that's why Mr. Davis is here; is that right?

                         22                         MR. CHILDERS:       I believe that information is the

                         23                property of TZ 2.

                         24                         THE COURT:    All right.      But you've produced it,

                         25                correct?




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                                                                                                             Page 38
                           1                        MR. CHILDERS:        I have not yet produced it.         I don't

                           2               actually have --

                           3                        THE COURT:     So are you asserting privilege or not?

                           4               If you're waiving the privilege, you have to produce it.

                           5                        MR. CHILDERS:        I'm not asserting the privilege.            I

                           6               don't have those items.            Mr. Davis has them.       And

                           7               Mr. Davis I believe -- and by the way, Your Honor,

                           8               there's a fact you're not aware of, which is Mr. Davis

                           9               told me --

                         10                         THE COURT:     No, it'd better be of record,

                         11                Mr. Childers, because you just objected to Mr. Wilcox

                         12                talking about conversations between counsel that took

                         13                place outside the courtroom, and so I don't want to hear

                         14                anything between you and Mr. Davis.

                         15                         MR. CHILDERS:        My belief is that those are going to

                         16                be produced.

                         17                         THE COURT:     I am ordering those to be produced.               So

                         18                on Exhibit Number 3, the document date of communication

                         19                5/29/2012 described as e-mail concerning sensitive

                         20                business information including tutor payroll and equity

                         21                incentives, I am ordering those to be produced within

                         22                ten days.          Mr. Wilcox, you're going to have to prepare

                         23                this order.

                         24                         Mr. Childers, are you disagreeing with me?

                         25                         MR. CHILDERS:        Your Honor --




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                                                                                                            Page 39
                           1                        THE COURT:    If you didn't have them, why object to

                           2               them?

                           3                        MR. CHILDERS:       If the Court orders the production

                           4               of those documents, then I'm sure that they will be

                           5               produced.

                           6                        THE COURT:    The second entry -- Mr. Wilcox?

                           7                        MR. WILCOX:    Is it the defendants' position that

                           8               they do not have operational control over these

                           9               documents, custody or control?

                         10                         MR. CHILDERS:       Matt Hintze is an employee of

                         11                Tutoring Zone 2, and as such, he signed an employment

                         12                agreement, part of which requires him to keep

                         13                confidential information of Tutoring Zone 2

                         14                confidential.        These particular e-mails that we

                         15                identified were e-mails that Matt Hintze has in his

                         16                business capacity as an employee of Tutoring Zone 2.

                         17                And we got a list from him of the e-mails that he had so

                         18                that we could prepare to produce.              We identified ones

                         19                that appeared to be commercially sensitive.               We asked

                         20                him to verify that in his capacity as an employee, which

                         21                he did, and we put them on the privilege log.

                         22                         As I informed the Court earlier, I, in preparing

                         23                for the briefing and the hearing, concluded that it's

                         24                not my fight.        If there is a fight, it's Tutoring

                         25                Zone 2's fight.        If Matt Hintze gives me those e-mails,




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                           1               I will produce them to Mr. Wilcox.              If not, he will

                           2               produce them on behalf of Tutoring Zone 2 if the Court

                           3               so orders.

                           4                        If Mr. -- I would ask that the Court defer entry of

                           5               the order for two days so that if Mr. Davis wants to

                           6               make an appearance in the case and assert some motion on

                           7               behalf of Tutoring Zone 2, he has an opportunity to do

                           8               so.

                           9                        THE COURT:    I'm not going to defer anything for

                         10                Mr. James to do anything.            If he wants to enter an

                         11                appearance, he should have done so long before today.

                         12                         MR. CHILDERS:       In fairness to Mr. James, Your

                         13                Honor, he's not a party to the case and doesn't get

                         14                notice of what's happening here.

                         15                         THE COURT:    I understand, Mr. Childers.

                         16                         MR. WILCOX:    Your Honor --

                         17                         THE COURT:    Give me just a moment, please,

                         18                Mr. Wilcox.

                         19                         (Pause in the proceedings.)

                         20                         THE COURT:    The defendants are ordered to produce

                         21                the documents dated 5/29/2012, 6/5/2012 and 7/17/2012

                         22                within ten days, having waived any claim on their own

                         23                behalf that those documents contain sensitive business

                         24                information.

                         25                         With respect to the documents at 7/13/2012, the




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                                                                                                             Page 41
                           1               parties to correspondence, Jeff Childers, Larina Hintze,

                           2               Matt Hintze and Christopher James, nature of document,

                           3               e-mail direction to employees of TZ 2 as attorney for

                           4               TZ 2, sensitive business information has been withdrawn,

                           5               attorney/client privilege.

                           6                        Mr. Childers, please explain to me what standing

                           7               your clients have to assert attorney/client privilege to

                           8               this communication.

                           9                        MR. CHILDERS:       Your Honor, as set forth in previous

                         10                pleadings that I've signed, I've represented Chris

                         11                James, Tutoring Zone 2, CMJ Consulting, and Matt and

                         12                Larina Hintze at various periods during this time.

                         13                         At this period, and this is all within the dates

                         14                that I've previously disclosed, I represented Tutoring

                         15                Zone 2 -- this is prior to the filing of the bankruptcy

                         16                case -- and advised Mr. James, as the owner of Tutoring

                         17                Zone, and his employees as to a matter concerning

                         18                employees of the company.

                         19                         THE COURT:    His employees meaning Larina and Matt

                         20                Hintze?

                         21                         MR. CHILDERS:       The tutors.       There were I think -- I

                         22                don't know how to explain it to you too specifically

                         23                without disclosing the content of the communication, but

                         24                they were forming a company and hiring employees and had

                         25                legal issues about that or questions about legal issues




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                           1               related to that.        And as the Court I'm sure is aware,

                           2               there's a lot of discussion about noncompetition

                           3               agreements and confidentiality and so forth related to

                           4               tutors and I think it's --

                           5                        THE COURT:    So this communication was between you

                           6               as attorney for TZ 2 and the other parties; is that

                           7               correct?

                           8                        MR. CHILDERS:       That's correct.

                           9                        THE COURT:    Then what standing do these defendants

                         10                have to raise that privilege?             It doesn't appear there

                         11                was any privilege that existed between you and these

                         12                defendants under this communication.              If any privilege

                         13                existed, it was between you and TZ 2.

                         14                         MR. CHILDERS:       Chris James is the principal of

                         15                TZ 2, so an e-mail that went to TZ 2 would naturally go

                         16                to Mr. James.        Matt and Larina Hintze were organizing

                         17                the firm as employees of TZ 2, my client.

                         18                         THE COURT:    I just asked if they were employees and

                         19                you said no.

                         20                         MR. CHILDERS:       I'm sorry, I misunderstood.         I

                         21                thought you were asking me if the employees that were

                         22                referenced in the e-mail were Matthew and Larina Hintze.

                         23                         THE COURT:    That's exactly what I asked.          And I

                         24                think your answer was no.

                         25                         MR. CHILDERS:       The content was not about those




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                                                                                                            Page 43
                           1               particular employees but different employees, but Matt

                           2               and Larina Hintze --

                           3                        THE COURT:    Right.     What evidence do I have today

                           4               as noticed on the docket for today that would support

                           5               any claim of privilege as to this communication?

                           6                        MR. CHILDERS:       My motion for protective order which

                           7               is signed by me that sets forth those dates of

                           8               representation.

                           9                        THE COURT:    Thank you.

                         10                         Mr. Wilcox?

                         11                         MR. WILCOX:    Your Honor --

                         12                         THE COURT:    I'm sorry?

                         13                         MR. WILCOX:    I don't how you rely on a motion that

                         14                you've withdrawn.

                         15                         THE COURT:    You don't.

                         16                         MR. WILCOX:    And I will also -- I can prove, I will

                         17                proffer the testimony of Mr. Fieldman that TZ 2 did not

                         18                begin operations until the end of August and had no

                         19                employees as of June -- July 15th.

                         20                         THE COURT:    The defendants are ordered to produce

                         21                the documents listed as dated June 13, 2012, within ten

                         22                days.

                         23                         MR. CHILDERS:       Your Honor --

                         24                         THE COURT:    Mr. Childers, I have ruled.

                         25                         MR. CHILDERS:       Your Honor, I would ask you to




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                                                                                                               Page 44
                           1               reconsider.

                           2                        THE COURT:       I know you will.        You can file a

                           3               motion.            That is my ruling.

                           4                        The next document is dated 7/26/2012.              It's

                           5               described as privilege asserted, sensitive business

                           6               information of TZ 2.             That's been withdrawn by these

                           7               defendants.           They're ordered to produce that information

                           8               within ten days.

                           9                        The same is true with respect to every

                         10                communication on the second page of Exhibit Number 3

                         11                and every communication on the third page of Exhibit

                         12                Number 3 other than the very last one which we will ask

                         13                about at this time, which is that dated 9/17/2012 where

                         14                it asserts work product of TZ 2 and sensitive business

                         15                information.

                         16                         To the extent that it reflects a defense of

                         17                sensitive business information or an alleged privilege,

                         18                then that's been withdrawn by these defendants.                     I need

                         19                some evidence that it is work product of TZ 2 or that,

                         20                even if it is, that shouldn't be produced.

                         21                         Mr. Childers?

                         22                         MR. CHILDERS:          Your Honor, I relied on the Court's

                         23                notice yesterday that this would not be an evidentiary

                         24                hearing and I did not bring my witnesses or evidence.                        I

                         25                understood that Mr. Wilcox was going to be allowed to




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                                                                                                               Page 45
                           1               put in evidence to preserve it for some future time when

                           2               the Court would hear these issues.                 It now appears that

                           3               the Court is hearing them now, and I'm not prepared to

                           4               put on evidence right now.

                           5                        THE COURT:      Mr. Wilcox?

                           6                        MR. WILCOX:      Your Honor, there's no work product.

                           7               There's not even -- it's not even --

                           8                        THE COURT:      Well, what theory could we be traveling

                           9               under that a document is work product of a company?

                         10                This says work product of TZ 2.                  Number one, what

                         11                standing would Mr. and Ms. Hintze have to raise that?

                         12                Even without evidence.

                         13                         MR. CHILDERS:         Your Honor, suppose the plaintiffs

                         14                subpoenaed my paralegal and asked for all of the e-mails

                         15                of my law firm.          My law firm would raise an objection

                         16                to that.           Ms. Hunt would object that she doesn't have

                         17                authority to turn over confidential information relating

                         18                to all of my clients and my law firm's finances and our

                         19                internal management and everything else because she's an

                         20                employee of my firm.

                         21                         THE COURT:      All right.      Let's break this down.

                         22                First of all, a law firm is completely different than

                         23                TZ 2, so to that extent, that analogy isn't going to

                         24                fly.

                         25                         First of all, this says e-mail regarding marketing




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                                                                                                            Page 46
                           1               TZ 2, semicolon, public announcements.               How in the world

                           2               can public announcements amount to anyone's work

                           3               product?

                           4                        MR. CHILDERS:       Your Honor, TZ 2 was under attack at

                           5               the time.

                           6                        THE COURT:    This is evidence.

                           7                        MR. CHILDERS:       It wasn't an evidentiary hearing.            I

                           8               didn't bring the evidence with me.              But you've asked me

                           9               to give you an explanation.

                         10                         THE COURT:    Is there any dispute, Mr. Wilcox, that

                         11                TZ 2 was under attack at the time?

                         12                         MR. WILCOX:    Yes, Your Honor, there is.

                         13                         THE COURT:    There is a dispute.        All right.      I'm

                         14                going to reserve ruling on this item and I'm going to

                         15                have the parties brief whether or not this item should

                         16                be produced.        I'm going to give you ten days.

                         17                         MR. WILCOX:    That's the 9/17?

                         18                         THE COURT:    9/17/2012 at the bottom of the,

                         19                excluding the tabs, third page of Exhibit Number 3.

                         20                         MR. WILCOX:    Your Honor, should we also brief

                         21                whether these defendants have standing to --

                         22                         THE COURT:    Absolutely.      Brief any issue that

                         23                might pertain to whether the Court should compel the

                         24                production of this document in light of the waivers

                         25                by -- or the withdrawal of the motion at Docket




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                                                                                                            Page 47
                           1               Number 266.

                           2                        Mr. Childers.

                           3                        MR. CHILDERS:       Yes, Your Honor.     Is there a pending

                           4               motion to compel?

                           5                        THE COURT:    There is not, but I'm proceeding on it

                           6               anyway.

                           7                        MR. CHILDERS:       Sua sponte?

                           8                        THE COURT:    Yes, sir.      We came here to go over a

                           9               privilege log.        It was my understanding when you

                         10                withdrew the motion for protective order that we were

                         11                here on today, that that negated any issue we might

                         12                have to deal with with the privilege log.               It hasn't.

                         13                And so, therefore, the issue today is whether, even

                         14                though the motion for protective order has been

                         15                withdrawn, your clients are still refusing to produce

                         16                these items.        And that's what we came here to try to

                         17                decide today.        The transcript from the last hearing is

                         18                abundantly clear.

                         19                         So any legal issue pertaining to this particular

                         20                set of documents or this particular e-mail needs to be

                         21                briefed, and if there are facts that are germane,

                         22                affidavits containing material facts have to be

                         23                submitted on this issue within ten days.

                         24                         Are there any questions on that ruling?            Thank you.

                         25                         The first entry at the top of the last page of




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                                                                                                            Page 48
                           1               Exhibit Number 3 which is dated 9/28/2012, sensitive

                           2               business information, the motion has been withdrawn, so

                           3               that's to be produced within ten days.

                           4                        The next two items which are dated 9/8/2012 and

                           5               7/13/2012, next to both of which it says work product of

                           6               TZ 2, those are to be briefed along with the other one.

                           7               All legal issues are to be briefed, and any evidentiary

                           8               matters that need to be brought before the Court with

                           9               respect to those two items have to be filed within ten

                         10                days or the defendants will be ordered to produce those.

                         11                         With respect to the item dated 7/13/2012, next to

                         12                which says sensitive business information, that

                         13                particular objection or defense has been withdrawn and

                         14                so we are not dealing with that objection.

                         15                         Now, the last three items dated 6/27/2014, 8/2/2012

                         16                and 7/5/2012, with respect to work product, whose work

                         17                product are these items, Mr. Childers?

                         18                         MR. CHILDERS:       The work product of Tutoring Zone 2.

                         19                         THE COURT:    And what standing do the Hintzes have

                         20                to raise an objection to production of those items?

                         21                         MR. CHILDERS:       The Hintzes are agents of Tutoring

                         22                Zone 2 with managerial authority.

                         23                         THE COURT:    And with respect to attorney/client

                         24                privilege, whose privilege is being asserted here?

                         25                         MR. CHILDERS:       Tutoring Zone 2.




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                                                                                                            Page 49
                           1                        THE COURT:    And what standing do the Hintzes have

                           2               to assert privilege on behalf of TZ 2 here?

                           3                        MR. CHILDERS:       The Hintzes are agents of Tutoring

                           4               Zone 2 with authority to raise that objection.

                           5                        THE COURT:    Mr. Wilcox?

                           6                        MR. WILCOX:    I just don't see it, Your Honor, but

                           7               if we have to brief it, we have to brief it.

                           8                        THE COURT:    Those three items will also be briefed

                           9               and evidence presented within ten days, after which the

                         10                Court will either rule on the papers or schedule a

                         11                further hearing.

                         12                         And once again, so the record is abundantly clear,

                         13                those are the last three items on the last page

                         14                of -- I'm sorry, on the last -- fourth page of Exhibit

                         15                Number 3, and they are dated 6/27/2014, 8/2/2012 and

                         16                7/5/2012.

                         17                         Are there any questions on those items or anything

                         18                that we've discussed so far on this exhibit?

                         19                Mr. Childers?

                         20                         MR. CHILDERS:       No, Your Honor.     I think I

                         21                understand.

                         22                         THE COURT:    Mr. Wilcox?

                         23                         MR. WILCOX:    No, Your Honor.

                         24                         THE COURT:    Now, there is another attachment to

                         25                Exhibit Number 3.        Is that simply a cover letter for the




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                                                                                                             Page 50
                           1               amended privilege log?           Is there any reason to have to

                           2               look at that today?

                           3                        MR. WILCOX:    Only to the extent that there were

                           4               representations made earlier in the hearing that the

                           5               documents that we're talking about have actually been

                           6               produced prior to this hearing.                It says at the last

                           7               sentence -- the second paragraph reads:                First, we have

                           8               withdrawn the claim of privilege under the common

                           9               interest doctrine without prejudice to asserting that

                         10                basis later for different documents, if needed.                   We will

                         11                produce the documents that were previously identified as

                         12                privileged in that category.

                         13                         I don't see how that's consistent with the

                         14                representations made to the Court today.

                         15                         THE COURT:    All right.      Aside from that, is there

                         16                any other evidentiary effect of this letter?

                         17                         MR. WILCOX:    No, Your Honor.

                         18                         THE COURT:    Anything on that letter, Mr. Childers?

                         19                         MR. CHILDERS:       No, Your Honor.

                         20                         THE COURT:    Thank you.

                         21                         You may proceed, Mr. Wilcox.

                         22                         MR. WILCOX:    Thank you, Your Honor.          And obviously

                         23                the transcript speaks for itself.               We've already gone

                         24                through that.

                         25                         I'd like to turn now to Exhibit 5 and talk about




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                           1               these.        These are documents that were produced.           And you

                           2               can see the first document, these are a series of e-mail

                           3               strings produced by the defendants in this case.                 And

                           4               the first document is May 2nd.            And I'm not going to

                           5               comment on it, but it refers to -- contains the phrase

                           6               in the first line, interesting times.

                           7                        I would then -- I'd ask that if the Court can

                           8               review these at some point, they make interesting

                           9               reading.

                         10                         Can I comment, these were -- when these e-mails,

                         11                how these e-mails relate to the larger case?

                         12                         THE COURT:    Well, we're here today on -- were here

                         13                today on the motion for protective order.              If I were to

                         14                take evidence today, it would be strictly dealing with

                         15                that motion for protective order.

                         16                         Because of the unfortunate chain of events where

                         17                this was noticed as evidentiary when it shouldn't have,

                         18                I'm allowing you to present your evidence, but it should

                         19                be limited to the motion for protective order and the

                         20                issues that were raised in that.

                         21                         MR. WILCOX:    Thank you, Your Honor.        And I guess we

                         22                think that this would lay the foundation for a fraud

                         23                exception to any common interest doctrine that was

                         24                alleged.

                         25                         I turn now to the 12th, I believe it's the 12th




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                                                                                                              Page 52
                           1               page in, it's an e-mail, Monday, May 7th, 2012, at

                           2               3:57 p.m., Larina Hintze to Chris James.                 And I'll give

                           3               the Court a minute to get there.                 These could not be

                           4               Bates stamped, Your Honor, because of the format.

                           5                        THE COURT:       May 7th, 2012, at 3:57 p.m.?

                           6                        MR. WILCOX:       That's correct.

                           7                        THE COURT:       I'm there.     Thank you.

                           8                        MR. WILCOX:       Chris, thinks (sic) seem to have

                           9               peaked in escalation or are settling back down, very

                         10                interested in Jeff's input.

                         11                         Monday, May 7th, and the earlier string, James,

                         12                Christopher -- James, comma, Christopher wrote:                    Sorry,

                         13                I was traveling over the weekend and did not have cell

                         14                service.           I am speaking with Jeff today to get a sense

                         15                of the legal issues in restructuring.                 I will call you

                         16                later and fill you in.

                         17                         The next e-mail is two pages further, Friday, May

                         18                11th, Christopher James to Matt Hintze, and I guess it's

                         19                actually the second e-mail:              Hello, we have spoken with

                         20                many of you over the past few days, would like to

                         21                arrange a meeting of creditors to discuss our proposal

                         22                for moving forward.

                         23                         The next one is Wednesday, May 16th.             And if we

                         24                start sort of at the end of that, it's a three-page

                         25                string.            It's a Matthew Hintze to Christopher James:




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                                                                                                           Page 53
                           1               Welcome back.        I would like to hand out the attached

                           2               document at our meeting today.            I have not entered the

                           3               equity percentages for existing creditors -- and this is

                           4               an e-mail, May 14th at 17:16, 5:16 in the afternoon:                    I

                           5               have not entered the equity percentages for existing

                           6               creditors, new working capital, et cetera.              I think they

                           7               will be looking for suggestions but I did not want to do

                           8               much on this front before speaking to you.

                           9                        Then the e-mail at the end of that string,

                         10                Wednesday, May 16th at 9:08 a.m.:             Let's meet first

                         11                thing Thursday a.m.          Please bring with you the past

                         12                business plan, financials for this year, an outline of

                         13                the structure that you are going to go with in the

                         14                restructuring.        I am going to meet with Jeff following

                         15                our -- and it's spelled A-R-E -- I am going to meet with

                         16                Jeff following our meeting to get some idea of my

                         17                exposure under the plan as well as having him work on

                         18                the documentation for the transaction.

                         19                         THE COURT:    All right.     Let me stop you there

                         20                because you've lost me.          What was the date on that

                         21                again?

                         22                         MR. WILCOX:    That's Wednesday, May 16th at

                         23                9:08 a.m.

                         24                         THE COURT:    And it's -- okay.

                         25                         MR. WILCOX:    It's a Gmail e-mail that says, re,




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                                                                                                           Page 54
                           1               handout for meeting tonight.           And I can count the pages.

                           2                        THE COURT:    All right.     I have it.     Thank you.

                           3                        MR. WILCOX:    I can go through it again.

                           4                        THE COURT:    No, I see it.      Thank you.

                           5                        MR. WILCOX:    And the remainder, it says:         My

                           6               understanding is that some of the notes have

                           7               restrictions on asset sales.           If so, bring those with

                           8               you as well as any other docs you think are helpful to

                           9               understand the position I will have going forward.

                         10                         The next e-mail is Wednesday, May 23rd at

                         11                6:09 p.m., Christopher James to Matthew Hintze with a

                         12                one-word e-mail, Comments.           And that is in response to

                         13                an earlier e-mail, May 23rd, 2012, at 10:20 -- I'm

                         14                sorry, at 15 hours, 10 minutes, 20 seconds Eastern

                         15                Daylight Time, FYI, covering an e-mail Wednesday, May

                         16                23rd at 12:08 p.m., Jeffrey Childers to Cynthia

                         17                Frenchman, Larina at TutoringZone.com, subject, LLC

                         18                operating agreement IP lease:            Cynthia, et al, attached

                         19                please find my first draft of the LLC operating

                         20                agreement for Tutoring Zone 2, LLC, and the intellectual

                         21                property lease.        Note that I have Chris and Cynthia

                         22                leasing the IP directly and then assigning the lease to

                         23                TZ 2 as consideration for the initial membership units,

                         24                i.e. capital contribution.

                         25                         Skipping a paragraph:       Once you approve the




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                                                                                                           Page 55
                           1               operating agreement, then I will set up the LLC with the

                           2               State of Florida and get and (sic) F-E-I-N.

                           3                        The next document two pages following that is the

                           4               attachment, what's title Intellectual Property Lease.

                           5                        The next e-mail is Monday, May 28th, 5:48 p.m.,

                           6               Larina Hintze to Chris James.            Looks like that's a draft

                           7               of an e-mail.

                           8                        The next is Wednesday, June 6th at 7:30 p.m., an

                           9               e-mail from Larina Hintze to Norman Bledsoe, Jeffrey

                         10                Childers, Scott Walker, Christopher James, Matthew

                         11                Hintze, BPHintze@Bellsouth, and that's in response to

                         12                Norman Bledsoe's memo, which is the e-mail below:                  No

                         13                cause of action for TI exists where one doesn't act,

                         14                which is legal in itself.

                         15                         Reading from the e-mail at the top, beginning of

                         16                the third paragraph:         Then our strategy could be to make

                         17                it seem like this is the worst thing in the world for us

                         18                and to make every attempt to negotiate a way to avoid

                         19                this so they keep their eye on that ball and keep them

                         20                focused on that strategy.           That may be the best way to

                         21                move us forward.

                         22                         Friday, June 29th, only significance here is that

                         23                it's an e-mail that was delivered from Matthew Hintze to

                         24                Jeffrey Childers and Christopher James covering an

                         25                e-mail, an earlier e-mail.




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                                                                                                              Page 56
                           1                        Then we reach what I think is the last e-mail here.

                           2               Starting at the end of that, it's a four-page string, an

                           3               e-mail from Matt Hintze to John Spence and some other

                           4               people:            John, in our last creditor meeting we discussed

                           5               TZ needing to go out of business as it could not service

                           6               its debts, and the creditors understood based on not

                           7               being able to service its debts that Larina and I would

                           8               personally be forced into bankruptcy.                 You are right,

                           9               John, about our moral obligation, and as such, we

                         10                reaffirmed our moral obligation to pay everyone back,

                         11                and creditors therefore stated they would not contest

                         12                the bankruptcy but did expect us to repay them, which we

                         13                again affirmed we would.

                         14                         Moving up in the chain, it's an e-mail from John

                         15                Spence.            I won't go through that.      It's demanding

                         16                information:           Matt, I've grown tired of your constant

                         17                excuses.           You have a fiduciary responsibility to the

                         18                entire investor creditor group to keep us informed of

                         19                all pertinent and substantive financial and strategic

                         20                developments.

                         21                         Then above that, Larina Hintze, Sunday, July 11th,

                         22                2012, to Matthew Hintze, Christopher James, Jeffrey

                         23                Childers and BP Hintze:             Matt and Chris conferenced and

                         24                Matt is meeting with Kevin at noon to get a feel for

                         25                where this is coming from, isolated or spurred on by




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                           1               group, as well as having a follow-up call with Jeff.                    My

                           2               thoughts are -- and then she talks about what her

                           3               thoughts are and the possible strategy, which is on the

                           4               next page:         Strategy; is it possible to have Scott

                           5               Walker, an attorney, call John and say, listen, as

                           6               acting CEO you have exposure and liability in that you

                           7               are privy to all information before, during, and after

                           8               TZ, and as such, we must weigh our need for

                           9               communication against our exposure and liability as

                         10                Fieldman could pursue a suit against Matt and Larina but

                         11                also individually against you as the CEO and/or possibly

                         12                the advisory board.

                         13                         Then I go to the top e-mail or the next to top

                         14                e-mail, Sunday, July 1st at 9:09 p.m., Christopher James

                         15                to Larina:         I would not send anything to the investors

                         16                until we speak to Jeff.          My view is that we tell

                         17                investors that TZ is closing and that you and Matt as

                         18                well as a number of tutors have been hired as employees

                         19                of CMJ that will begin in the fall offering tutoring

                         20                services under the name TZ 2.            Tell them that you and

                         21                Matt will try very hard to repay investors if and when

                         22                funds become available.          Next, Matt discusses all this

                         23                with the Alligator and we move forward.              This is the new

                         24                and improved well-capitalized and economical tutoring

                         25                service.




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                                                                                                            Page 58
                           1                        Now, I will comment that the transfer agreement was

                           2               dated June the 4th.          This e-mail is July 1st.        Response

                           3               by Larina:         Yes, sir, boss, with a smiley face.

                           4                        May I comment briefly on the evidence?

                           5                        THE COURT:    Mr. Wilcox, I'm not going to coach

                           6               you ahead of time as to what you can and cannot say.

                           7               That's up to you.        You're presenting your case.            If

                           8               Mr. Childers feels he should object, then he is free to

                           9               do so.

                         10                         MR. WILCOX:    Your Honor, I think what these e-mails

                         11                show and that the e-mails will show is that my clients

                         12                were being told one thing when there was a transaction

                         13                in place that did something completely different, that

                         14                the bankruptcy of these individuals was contemplated,

                         15                that this transfer was contemplated, that this transfer

                         16                was coordinated by counsel.            I'm not saying it's

                         17                initiated by counsel, I'm saying it was coordinated by

                         18                counsel, who I think has a conflict of interest problem

                         19                here.

                         20                         Let's also remember that Mr. James loaned money in

                         21                2010.       He came before this Court and argued --

                         22                         MR. CHILDERS:       Your Honor, I'd object again as to

                         23                relevance to the pending issue before the Court.

                         24                         THE COURT:    What's the relevance to the issue of

                         25                what documents should be discovered today?




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                                                                                                             Page 59
                           1                        MR. WILCOX:     The relevance is it was part of the

                           2               continuing fraud, this issue of joint representation of

                           3               creditor and debtor at the same time, action by the

                           4               creditor to attempt to perfect a security interest using

                           5               debtor's counsel as his counsel.

                           6                        THE COURT:     I think that that can be taken up by

                           7               the Court upon filing appropriate pleadings.

                           8                        MR. WILCOX:     That's fine, Your Honor.

                           9                        THE COURT:     Mr. Childers.

                         10                         MR. CHILDERS:        Thank you, Your Honor.

                         11                         THE COURT:     First of all, let me ask the court

                         12                staff, does anyone need us to take a brief recess?

                         13                Madam court reporter?            All right.

                         14                         MR. CHILDERS:        I'll just make a brief argument in

                         15                rebuttal.          I'm not going to address the bigger issues in

                         16                the case.          Obviously my clients completely disagree with

                         17                the characterization as Mr. Wilcox enunciated it, and

                         18                we'll look forward to our day in court.

                         19                         However, I think that what just happened here is

                         20                that we now have evidence before the Court of the

                         21                representation that has been alleged of Tutoring Zone 2,

                         22                Chris James, CMJ Consulting and the Hintzes, as evident

                         23                in the documents that Mr. Wilcox just introduced into

                         24                evidence, the employment of the Hintzes by TZ 2 in the

                         25                formation period and after.




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                           1                        Also evident in the e-mails that Mr. Wilcox just

                           2               read to the Court is the conflict from the Fieldmans

                           3               that the Hintzes and Mr. James were concerned about from

                           4               the very beginning.          He read relevant portions and there

                           5               are longer portions in the parts that he didn't read

                           6               where it's clear that they are responding to hostile

                           7               actions by the Fieldmans and making legal plans relating

                           8               to those.

                           9                        THE COURT:    Mr. Wilcox?

                         10                         MR. WILCOX:     I object to that characterization.              If

                         11                he can point to it in the document, point to it.

                         12                         MR. CHILDERS:       Your Honor --

                         13                         MR. WILCOX:     But he can't argue it if you don't

                         14                point to it.

                         15                            THE COURT:   Well, my question here is how is

                         16                that point relevant to the discovery that we're here on

                         17                today?

                         18                         MR. CHILDERS:       Well, we're here on a

                         19                quasi-evidentiary hearing to establish whether or not

                         20                there was a common or joint interest, and so --

                         21                         THE COURT:    No, no.     Well, we were.

                         22                         MR. CHILDERS:       We were.   And that's what the

                         23                evidence Mr. Wilcox was presenting is in support of.

                         24                And he made an argument at the end of his evidence, and

                         25                I'm making a rebuttal to that argument.               And I assume,




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                           1               Your Honor, that this would be relevant if in the future

                           2               we reassert the common interest privilege, and then we

                           3               would back into the proceedings today.

                           4                        So we see in the e-mails that were just introduced

                           5               into evidence the concern and activity by my clients at

                           6               that time.         In particular I would draw the Court's

                           7               attention to the e-mail dated Wednesday, June 6th, and

                           8               July the 1st of 2012 where the clients not only were

                           9               discussing between themselves but had a memo prepared

                         10                for them by the law firm of Folds and Walker.               There's

                         11                an e-mail copied from Norm Bledsoe and also carbon

                         12                copied to Scott Walker, who were assisting them at that

                         13                time with the problems that they were having with the

                         14                Fieldmans.

                         15                         So I believe that the evidence firmly supports the

                         16                existence of a joint interest or common defense

                         17                privilege.

                         18                         MR. WILCOX:    If you look at -- if I may, Your

                         19                Honor.

                         20                         THE COURT:    Yes, sir.

                         21                         MR. WILCOX:    If you look at the Bledsoe memo, it

                         22                says that the purchase of that note and the enforcement

                         23                of that note by FLH is not illegal.             There's nothing

                         24                wrong with it.        And what we lack for common interest

                         25                privilege -- first of all, we really lack any sense of




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                           1               representation.

                           2                        There's no evidence of anybody representing

                           3               anybody.           All there is is an attorney that's at the

                           4               center of a number of transactions with apparently

                           5               multiple clients and no identification of any common

                           6               interest between the transferor and the transferee and

                           7               no identification of common interest between the debtor

                           8               and the creditor.          That's the key point to this.            And

                           9               I'll sit down.

                         10                         THE COURT:      Mr. Childers.

                         11                         MR. CHILDERS:         Thank you, Your Honor.

                         12                         Just to clarify, on Wednesday, June the 6th, 2012,

                         13                and I'm reading from that --

                         14                         THE COURT:      Give me a moment to get to that one,

                         15                please, Mr. Childers.

                         16                         Is that the one that at the top of the page it says

                         17                Gmail and it's re FW:TZ?

                         18                         MR. CHILDERS:         Correct.

                         19                         THE COURT:      Thank you.

                         20                         MR. CHILDERS:         And this is an e-mail, as you can

                         21                see, from Larina Hintze to Norm Bledsoe, who is an

                         22                attorney with the law firm of Folds and Walker, copying

                         23                me, Scott Walker, Chris James, Matt Hintze, and I'm

                         24                guessing that that's Bruce Hintze's e-mail.

                         25                         And Larina has addressed it to Norm, her attorney




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                                                                                                            Page 63
                           1               at Folds and Walker, and states:               If you think that

                           2               Fieldman's strategy is to -- and then she quotes:                    My

                           3               guess is that McCarty desires to sue to enforce the note

                           4               and then subsequently levy on Matt's ownership interest

                           5               in TZ.

                           6                        So what they're talking about here is the purchase

                           7               of one of the investors' notes by Mr. Fieldman and what

                           8               he intended to do with it.

                           9                        MR. WILCOX:    Your Honor, there's no evidence that

                         10                Mr. Fieldman ever purchased any note.

                         11                         MR. CHILDERS:       Continuing on, this is the portion

                         12                that Mr. Wilcox read, I would assert, out of context to

                         13                make it sound like he was referring to the investor

                         14                plaintiffs, but then:           Our strategy could be to make it

                         15                seem like this is the worst thing in the world for us,

                         16                and so forth, which was previously read.               They're

                         17                referring to the Fieldmans' purchase of the note.

                         18                         THE COURT:    And where is that shown here,

                         19                Mr. Childers, in response to Mr. Wilcox's comment?

                         20                         MR. CHILDERS:       Well, take a look at the e-mail that

                         21                Larina is responding to that Norm sent to her:                   A

                         22                counterclaim for tortious interference against Steven

                         23                Fieldman could be tough to win.

                         24                         THE COURT:    I'm sorry, where are you reading?

                         25                         MR. CHILDERS:       About halfway down the page on the




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                                                                                                            Page 64
                           1               first page.        So it says on Wednesday, June the 6th,

                           2               right about here, Norm Bledsoe --

                           3                        THE COURT:    Oh, I see, next to it.         Okay.

                           4                        MR. CHILDERS:       A counterclaim for tortious

                           5               interference against Steven Fieldman could be tough to

                           6               win.       So there you have a cause of action that they're

                           7               concerned about, to wit; one, no cause of action for TI,

                           8               meaning tortious interference exists where one doesn't

                           9               act, which is legal in itself, malice or bad motive is

                         10                of no import in this instance.             Accordingly, Steve's

                         11                malicious act of acquiring and enforcing Randy Scott's

                         12                note is not factual.          McCarty will argue that Steve is

                         13                not interfering with any relationship, he's merely

                         14                purchased the note and is enforcing it.

                         15                         Three; a claim against Steve falls outside the

                         16                typical fact pattern.           Four; Steve may not be tied

                         17                closely enough to Study Edge to maintain an action for

                         18                tortious interference.           We would have to bring in the

                         19                Fieldmans into the litigation under a conspiracy theory

                         20                to really get somewhere.

                         21                         It is my belief that Mac McCarty probably

                         22                structured the purchase of the Randy Scott note with a

                         23                view to avoiding a counterclaim for tortious

                         24                interference.        Mac is too smart to let Ethan purchase

                         25                the note on his own.          Mac told me via phone that, quote,




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                           1               a trustee, end quote, owns, quote, a note, end quote.

                           2                        Based on what I know now, I would not advise a TI

                           3               counterclaim.        My opinion may change if I learn new

                           4               facts.        My guess is that McCarty desires to sue to

                           5               enforce the note and then subsequently levy on Matt's

                           6               ownership interest in TZ.

                           7                        So my argument is that this is the evidence the

                           8               Court has been looking for for what the common interest

                           9               would be between these parties.               These are all the same

                         10                parties that are parties to this e-mail.               They're

                         11                sharing work between different law firms that are

                         12                working on the same issue, which is, as we've said from

                         13                day one in this case, the aggressive action of Steven

                         14                Fieldman in trying to destroy the company Tutoring Zone

                         15                to the detriment of Mr. Wilcox's other clients, the

                         16                investors.

                         17                         Fortunately, it's now record evidence that such a

                         18                relationship of a common interest existed.               Because

                         19                Bruce Hintze is included in this, this particular one

                         20                would not be privileged under a joint or common interest

                         21                privilege, so this is -- this one's fine, fair game.

                         22                Okay.

                         23                         But to the extent that there might be testimony or

                         24                future documents, I would like to reserve the ability to

                         25                come back to the evidence that's been presented to the




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                           1               Court today and make the argument that that relationship

                           2               and exception to the privilege, as the Court has pointed

                           3               out more than once, and I apologize for continuing to

                           4               call it a privilege, does exist.

                           5                        THE COURT:    All right.     Thank you.     And your rights

                           6               are preserved to the extent that they're not ruled on at

                           7               some later date.

                           8                        Mr. Wilcox.

                           9                        MR. WILCOX:    Very briefly, Your Honor.

                         10                         This just strains credulity.         We have a memo from

                         11                the lawyer saying that there is no cause of action at

                         12                this time.         He does reserve, as all lawyers do, if I

                         13                learn additional facts.          But to suggest that the

                         14                purchase of the note by Steve Fieldman and his intent to

                         15                destroy Tutoring Zone when Tutoring Zone, Tutoring

                         16                Zone's assets had already been sold in an insider deal

                         17                in a cashless transaction to a creditor of the debtors

                         18                is just incredible.

                         19                         And this is after the Hintzes were telling

                         20                everybody that Tutoring Zone was going out of business

                         21                when, in fact, there was a transfer going on that would

                         22                allow them to benefit from the sale of the corporate

                         23                assets and continue to maintain their income.

                         24                         Thank you.

                         25                         THE COURT:    Thank you.




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                           1                        Is there anything further to be brought before the

                           2               Court today with respect to the document production that

                           3               was covered under the umbrella of motion for protective

                           4               order, Docket Number 266?

                           5                        No, Mr. Childers?

                           6                        MR. CHILDERS:       Not from the defendants, Your Honor.

                           7                        THE COURT:    And I understand, Mr. Wilcox, nothing

                           8               further today?

                           9                        MR. WILCOX:    That's correct.

                         10                         THE COURT:    And there are no questions about what

                         11                the parties have been ordered to brief and submit

                         12                evidence on; is that correct?

                         13                         MR. CHILDERS:       Your Honor, I understand you went

                         14                through item by item and gave us direction on each item

                         15                as to briefing, and I think we've got a good record of

                         16                that here.

                         17                         THE COURT:    And I want to have Mr. Wilcox prepare

                         18                an order that so orders.           I had asked at the end of the

                         19                last hearing for someone to submit an interim order.                     We

                         20                didn't get one, and I think that's part of the reason

                         21                that we've had an interesting afternoon.

                         22                         Mr. Wilcox, questions?

                         23                         MR. WILCOX:    No, I think I understand it.             I may

                         24                have to defer to other people's notes, but I will go

                         25                ahead and prepare that order.




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                           1                        THE COURT:    If there are any questions about the

                           2               terms of the order, then let my chambers know and I'll

                           3               do my best to schedule an emergency telephonic hearing

                           4               between the two of you to deal with the terms of the

                           5               order.        I think it's been pretty clear.        The order

                           6               should be plan vanilla, I would think, but to the extent

                           7               that there may be issues, I am willing to undertake to

                           8               hear them as quickly as possible.

                           9                        And I'm not extending the ten days from the date of

                         10                the order.         It is ten days from today regardless of when

                         11                the order is signed.         If you can't resolve your disputes

                         12                over the order, I'll take your two competing orders and

                         13                prepare one of my own.

                         14                         But it is ten days from today to brief the issues

                         15                and submit affidavit-type evidence in support of or

                         16                against the debtor's remaining claims that those limited

                         17                number of documents should not have to be produced.

                         18                         MR. WILCOX:    May I ask for somewhat supplementary

                         19                but related relief that to the extent the defendants

                         20                assert a common interest privilege in the future, that

                         21                along with the assertion of that common interest

                         22                privilege they provide affidavits demonstrating the

                         23                basis of the privilege, a privilege log, and an

                         24                affidavit expressing what common interest it is that is

                         25                being described?




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                           1                        My concern, Your Honor, is that we're going to be

                           2               back here on the same situation where -- I think the

                           3               parties both want the Court to set this matter for

                           4               trial.        We've finally agreed on some deposition dates in

                           5               January and February.           We have a motion coming up on

                           6               that in a few minutes.           But I think both sides feel the

                           7               need -- you know, we're trying to schedule depositions

                           8               when -- both sides, both sides are trying to schedule

                           9               depositions at a time when they think they do not have

                         10                all the documents, and that's a difficult thing to do.

                         11                         It seems to me that that procedure, as a case

                         12                management procedure, would expedite and would also

                         13                perhaps force people to be very careful in their

                         14                assertion of these -- privilege is not the right word,

                         15                but exception to production.            Thank you.

                         16                         THE COURT:    Mr. Childers.

                         17                         MR. CHILDERS:       I was only going to say, Your Honor,

                         18                that we have no current knowledge of an occasion to

                         19                assert that particular privilege, but if we do, I would

                         20                assume that the Court would give us some guidelines at

                         21                that time.         And again, because we don't know what the

                         22                future will bring, I think it's premature to start

                         23                making directives about that.

                         24                         THE COURT:    Just a moment.          Let me look at

                         25                something.




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                           1                        (Pause in the proceedings.)

                           2                        THE COURT:       How much time, first of all, going to

                           3               the other motions, do you think that we're going to need

                           4               for a hearing on the motion to compel, we're out of time

                           5               for today, at 271?              That was your motion, Mr. Childers.

                           6                        MR. CHILDERS:          Yes, Your Honor.      I'll need at least

                           7               an hour.

                           8                        THE COURT:       Do you disagree, Mr. Wilcox?

                           9                        MR. WILCOX:       Your Honor, it's his motion, so --

                         10                         THE COURT:       All right.      An hour on that one.

                         11                         What about the motion for authority to take more

                         12                than ten depositions?

                         13                         MR. WILCOX:       That one, Your Honor, I think we can

                         14                deal with pretty quickly.               I think that's a 15-minute

                         15                motion.            And I would like to get that done because we're

                         16                trying to schedule depositions.                   In fact, we've been

                         17                ordered to exchange deposition schedules.                   I can't do

                         18                that until I know how many depositions we can take.

                         19                         THE COURT:       Mr. Childers, 15 minutes for that one

                         20                do you think or not?

                         21                         MR. CHILDERS:          Your Honor, it could be 30 minutes,

                         22                but I would suggest that we could perhaps handle that

                         23                with a telephone hearing.

                         24                         THE COURT:       I have a question for you, Mr. Wilcox,

                         25                on that motion.           Have you completed your ten depositions




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                                                                                                             Page 71
                           1               already or not?

                           2                        MR. WILCOX:      No, Your Honor, we have not.            I mean,

                           3               we're having a very difficult time getting them

                           4               scheduled.          We're trying to be courteous to third

                           5               parties.           It's just difficult.     We do have --

                           6                        THE COURT:      The reason I ask, to be fair to both of

                           7               you, is that in preparation for today's hearing we

                           8               researched this motion specifically, even though it was

                           9               just filed two days ago.            And the case law that I'm

                         10                aware of thus far, particularly out of the Southern

                         11                District of Florida -- let me see if I can locate the

                         12                case citations for both of you -- seems to indicate that

                         13                the motion is premature until after the first ten

                         14                depositions have been fully completed.

                         15                         Now, I recognize that that might present scheduling

                         16                problems in this case.            That's another matter for

                         17                another day, because I don't want to short-circuit

                         18                anybody's right to discovery because of scheduling

                         19                deadlines, but at the same time I wouldn't want it to go

                         20                on ad infinitum.

                         21                         The primary case that we looked at is that of

                         22                Mazur, M-A-Z-U-R, versus Lampert.               It's at 2007 West Law

                         23                676096 at Page 2.          That is a District Court opinion from

                         24                the Southern District of Florida in 2007.                We also

                         25                looked at a 2013 case, 2013 West Law 6383973, and that




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                           1               is Gordilis, G-O-R-D-I-L-I-S, versus Ocean Drive

                           2               Limousines, Inc.        And in both of those cases the courts

                           3               ruled that on these types of motions it was premature to

                           4               entertain the motion until the first ten deposition had

                           5               been completed.

                           6                        I'm going to continue the hearing on that motion.

                           7               We'll handle it by telephone.             We'll try to schedule it

                           8               in the next week or so.           I don't have a schedule right

                           9               now.

                         10                         With respect to the motion to compel filed by the

                         11                defendants at 271, Mr. Childers, are you suggesting that

                         12                we cannot deal with that one by telephone?               Are you

                         13                requesting an in-person hearing?

                         14                         MR. CHILDERS:       Well, Your Honor, I sure would like

                         15                to have it heard sooner rather than later.

                         16                         THE COURT:    Mr. Wilcox and Mr. Childers, are either

                         17                of you available tomorrow afternoon for a one-hour

                         18                hearing beginning at one?

                         19                         MR. CHILDERS:       I am, Your Honor.

                         20                         MR. WILCOX:    I am not, Your Honor.

                         21                         THE COURT:    You are not?

                         22                         MR. WILCOX:    And I --

                         23                         THE COURT:    I understand.       It was not scheduled.

                         24                But we're out of time for today.

                         25                         Mr. Childers, do you have any objection to arguing




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                           1               that one by videoconference?

                           2                        MR. CHILDERS:       No, I don't, Your Honor.

                           3                        THE COURT:     Mr. Wilcox?

                           4                        MR. WILCOX:     No, Your Honor.

                           5                        THE COURT:     Very well.     Then we're going to

                           6               continue the hearing on the motion to compel at Docket

                           7               Number 271 and the motion for authority to take more

                           8               than ten depositions at Docket Number 309.               We will

                           9               schedule those most likely back to back but separately

                         10                as soon as we can to be held by videoconference.

                         11                         Because they were both docketed for today, we will

                         12                do our best to contact both of you to give you two or

                         13                three alternative dates before we actually schedule

                         14                those for hearing so that we can try to avoid any

                         15                conflicts because we'll be doing this on relatively

                         16                short notice.

                         17                         Looking at my schedule -- give me just one moment.

                         18                Do you both have your calendars with you today or not?

                         19                         MR. WILCOX:     I don't.     They took my phone.

                         20                         THE COURT:     That's fine.     I understand.

                         21                         MR. WILCOX:     I think I'm available next week all

                         22                week.

                         23                         THE COURT:     All right.     Give me just one moment,

                         24                please.

                         25                         (A brief discussion was held off the record.)




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                           1                        THE COURT:    All right.       It appears that the most

                           2               likely date that my calendar would be available would be

                           3               sometime Wednesday, January 14th, which is next

                           4               Wednesday.         Just a moment.

                           5                        It's possible that the alternative date would be

                           6               January the 16th, which is Friday.              Both of those dates

                           7               depend on whether we can get this courtroom to be able

                           8               to use the video equipment.             But we will have someone

                           9               contact you.

                         10                         But if both of you would, at a minimum, contact

                         11                chambers, my JA is Lisa Murrill, let her know whether

                         12                you're available on those two dates.              Mr. Childers, you

                         13                may already know.        And then we'll go from there.

                         14                         MR. CHILDERS:       I'll just e-mail my availability to

                         15                your JA.

                         16                         MR. WILCOX:    Logistically how does that work?             Do I

                         17                need to go to the court in Jacksonville?

                         18                         THE COURT:    If you want to appear by Court Call,

                         19                Mr. Wilcox, you can do that.

                         20                         MR. WILCOX:    But that wouldn't be by video.

                         21                         THE COURT:    Correct.      You could be

                         22                by -- Mr. Childers I think wants to stand and look at

                         23                me while he argues.          Is that right, Mr. Childers?

                         24                         MR. CHILDERS:       Correct.

                         25                         THE COURT:    The only way to do that right now with




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                           1               my schedule is by videoconference.              So Mr. Childers

                           2               would be here in the courtroom in Gainesville.                   You

                           3               would be welcome to appear here in the courtroom in

                           4               Gainesville as well or appear via telephone and we'll be

                           5               able to hear you, and I will be in Tallahassee.

                           6                        MR. WILCOX:    And I guess I'd like -- I'm not asking

                           7               the Court for technical advice.               I'm going to see if I

                           8               can do that through the video hookup at the Jacksonville

                           9               court.

                         10                         THE COURT:    Absolutely.     Go ahead and ask the

                         11                Jacksonville clerk's office to have their IT people

                         12                contact our IT people.          And it may be that we can do

                         13                that.       I think that's a great idea.

                         14                         MR. WILCOX:    Thank you.

                         15                         THE COURT:    Very well.     So those motions are

                         16                continued.         Thank you very much.       This hearing is

                         17                concluded.

                         18                         (The hearing concluded at 3:20 p.m.)

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                                                                                                           Page 76
                           1                                       COURT CERTIFICATE

                           2

                           3      STATE OF FLORIDA )
                                                               :    SS.
                           4      COUNTY OF ALACHUA)

                           5

                           6                           I, JENNIFER R. WITWER, RPR, CRR, Court Reporter,

                           7      certify that I was authorized to and did stenographically

                           8      report the foregoing proceedings and that the transcript is a

                           9      true record.

                         10                            Dated this 12th day of January, 2015.

                         11

                         12
                                                                                JENNIFER R. WITWER, RPR, CRR
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                EXHIBIT 14
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION
In re:                                     Case No. 12-10462 (KKS)

MATTHEW BRUCE HINTZE, and                             Adv. No. 13-01007 (KKS)
LARINA K. HINTZE,
                                                      Chapter 7
       Debtors.


 JOHN SPENCE, et al.
    Plaintiffs/Counterclaim-Defendants,
 v.

 MATTHEW BRUCE HINTZE, and
 LARINA K. HINTZE,
    Defendants/Counterclaim-Plaintiffs

  v.

  THERESA M. BENDER,
  Counterclaim-Plaintiffs/Third-Party Plaintiff,
 v.

 ETHAN FIELDMAN, and
 STEVEN FIELDMAN,
    Third-Party Defendants.


            PLAINTIFF JOHN SPENCE’S FIRST REQUEST FOR ADMISSIONS
                       TO DEFENDANT MATTHEW B. HINTZE

         Pursuant to Rule 1.370, of the Fla. R. Civ. P., Plaintiff John Spence requests that
Defendant Matthew Hintze admit or deny the truth of the matters of facts set forth in the
Requests below, by separate answers in writing, within thirty (30) days hereof. Failure to answer
the Request for Admissions within the time allowed will results in the Request for Admissions
being deemed admitted. Each answer shall specifically deny the matter or set forth in detail the
reasons why You cannot truthfully admit or deny the matter. A denial must fairly meet the
substance of the Request for Admissions, and when good faith requires that You qualify an
answer or deny only a part of the matter, You are required to specify and admit so much of it as
is true and qualify or deny the remainder. Lack of information or knowledge may not be given
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as a reason for failure to admit or deny unless You have made reasonable inquiry and the
information known or readily obtainable by You is insufficient to enable You to admit or deny.
       If You fail to admit any of the following requests, Plaintiffs’ may take depositions or
other discovery tools will be taken, or other witnesses called or evidence used, to prove the truth
of the said facts, and application may be made to the Court for an Order requiring You to pay
Plaintiffs’ fees and expenses incurred in proving the facts as to which admissions are sought
herein, as provided by the Florida Rules of Civil Procedure.
                                          DEFINITIONS

       1.       “You” and “Your” shall mean Defendants Matthew B. Hintze and Larina K.
Hintze, employees, agents, representatives, attorneys and all persons acting or purporting to act
on behalf of Matthew Hintze and/or Larina Hintze, and including TutoringZone.
       2.       “TutoringZone” shall mean the business entity TutoringZone, LC.
       3.       “TZ2” shall mean the business entity TutoringZone II, LLC.
       4.       “IP Lease” shall mean the Intellectual Property Lease between TutoringZone and
Christopher James and Cynthia Frenchman dated May 22, 2012.
       5.       “IP Transfer” shall mean the “Intellectual Property Transfer Agreement” dated
June 4, 2012.
       6.       “David Whitney” shall mean David Whitney.
       7.       “John and Sheila Spence” shall mean John Spence and Sheila Spence, a married
couple, individually or collectively.
       8.       “Intermed Biomedical Services” shall mean the business entity Intermed
Biomedical Services, Inc.
       9.       “Rick Staab” shall mean Rick Staab, the principal of Intermed Biomedical
Services.
       10.      “Randy Scott” shall mean Randy Scott.
       11.      “Plaintiffs” refer to John Spence, Sheila Spence, David Whitney, Intermed
Biological Services, and/or Randy Scott either individually or collectively.
       12.      “Investor Creditors” refers to John and Sheila Spence Spence, David Whitney,
Rick Staab, Intermed Biomedical Services, Inc., Carolyn S. Martin, Creed Greer, Mr. & Mrs.
Kevin Ogilby, Frank A. Orlando Revocable Trust and/or Randy Scott either individually or
collectively.
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       13.     “Christopher James” shall mean Christopher M. James.
       14.     “CMJ” shall mean CMJ Consulting, Inc.
       15.     “Cynthia Frenchman” shall mean Cynthia Frenchman, individually or in her
capacity as an assistant and/or partner to Christopher James and/or CMJ Consulting, Inc.
       16.     “Jeffrey Childers, Esq.” shall mean Seldon J. Childers, Esq.


                    REQUESTS TO ADMIT TO MATTHEW HINTZE
       1.      Admit that You were a partner, officer, manager and owner of TutoringZone and
that You dominated and controlled the operations of TutoringZone until October 31, 2012.
       RESPONSE:


       2.      Admit that You were an officer, manager and owner of TutoringZone and that
You exerted complete control of the operations of TutoringZone from May 15, 2011 to October
31, 2012.
       RESPONSE:


       3.      Admit that You owned 100% of TutoringZone between June 15, 2011 and
October 31, 2012.
       RESPONSE:


       4.      Admit that You transferred ownership of personal property, including claims,
owned by TutoringZone after October 31, 2012.
       RESPONSE:


       5.       Admit that in or before April 2012, You entered into discussions with
Christopher James to purchase the assets of TutoringZone.
       RESPONSE:


       6.       Admit that in or about April 2012, You engaged in negotiations with Christopher
James for a personal debt buy-out in exchange for an equity stake in TutoringZone.
       RESPONSE:

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         7.       Admit that on or about April 2012, You engaged in negotiations with
Christopher James for personal debt buy-out in exchange for an equity stake in TZ2.
         RESPONSE:


         8.       Admit that in the meeting memo of May 14, 2012, provided to Plaintiffs and
some or all of the Investor Creditors, You portrayed Your personal debts and liabilities as the
debts and liabilities of TutoringZone, and the debts of TutoringZone as Your personal debts and
liabilities.
         RESPONSE:


         9.       Admit that in the meeting memo of May 14, 2012, provided to some Plaintiffs,
and some or all of the Investor Creditors, You represented that in Option 1, if You were to sell
the assets of TutoringZone to a new company, there would be consideration for existing
Noteholders.
         RESPONSE:


         10.      Admit that in April 2012, You requested that the Plaintiffs and other Investor
Creditors subordinate their claims to the claims of a “new investor” in order to raise capital.
         RESPONSE:


         11.      Admit that You did not disclose to Plaintiffs that Christopher James was the
“new investor” mentioned in numerous emails in April and May 2012 until after the assets of
TutoringZone were sold to TZ2.
         RESPONSE:


         12.      Admit that You met with Jeffrey Childers on May 10, 2012, and sought counsel
regarding Your personal indebtedness and potential bankruptcy.
         RESPONSE:


         13.      Admit that You met with Jeffrey Childers on May 10, 2012, and sought counsel
regarding TutoringZone’s indebtedness and restructuring.

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       RESPONSE:


       14.      Admit that You requested a meeting and met with some or all of the Plaintiffs on
Monday, May 14, 2012, and circulated a document indicating the options under consideration
and Your recommendation regarding repayment of the amounts due to Plaintiffs and/or Investor
Creditors.
       RESPONSE:


       15.      Admit that when You held the meeting with some of the Investor Creditors on
Monday, May 14, 2012, You had already meet with Seldon Childers, Esq. and taken steps to
lease the Intellectual Property of TutoringZone and sell the assets of TutoringZone to a new
entity to be formed by Christopher James.
       RESPONSE:


       16.      Admit that when You requested a meeting with some of the Investor Creditors
on Monday, May 14, 2012, You concealed the fact that You intended to lease the Intellectual
Property of TutoringZone to Christopher James and sell the assets of TutoringZone to a new
entity to be formed.
       RESPONSE:
       17.      Admit that You, Your family or an entity within Your control have repaid Creed
Greer all or part of the money owed or given Creed Greer collateral in repayment of the
Promissory Note to Creed Greer (dated May 12, 2011) in the amount of $100,000.00.
       RESPONSE:


       18.      Admit that You, and/or Larina Hintze and or another family member caused
Susan Hatley to Mortgage assets to repay Creed Greer in whole or in part.
       RESPONSE:


       19.      Admit that You represented to one or more of the Plaintiffs on multiple
occasions, including on December 19, 2011, that Larina Hintze’s rental properties were the



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source of collateral for the debts of TutoringZone, and that the Plaintiffs’ notes were considered
the debts of TutoringZone.
       RESPONSE:


       20.      Admit that from May, 2012 to on or about September, 2012, You worked for
both TutoringZone and TZ2.
       RESPONSE:


       21.      Admit that Your, and other TutoringZone employee email addresses, did not
change as a result of the sale of TutoringZone to TZ2.
       RESPONSE:


       22.      Admit that TutoringZone and TZ2 always shared their principal places of
business.
       RESPONSE:




       23.      Admit that the capital amounts loaned pursuant to the promissory notes payable
to David Whitney (dated May 12, 2011) in the amount $125,000.00, Intermed Biomedical
Services (dated May 27, 2011) in the amount of $150,000.00, John and Sheila Spence (dated
May 27, 2011) in the amount of $75,000.00, Randy Scott (dated May 27, 2011) in the amount of
$25,000.00, Creed Greer (dated May 12, 2011) in the amount of $100,000.00, Creed Greer
(dated May 25, 2011) in the amount of $50,000.00, Mr. and Mrs. Kevin Ogilby (dated May 20,
2011) in the amount of $50,000.00, Carolyn S. Martin (dated May 20, 2011) in the amount of
$20,000.00, Frank A. Orlando revocable Trust (dated May 20, 2011) in the amount of
$25,000.00, Christopher James (dated May 12, 2011) in the amount of $100,000.00 were utilized
by You to purchase 100% interest in TutoringZone.
       RESPONSE:




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       24.      Admit that the capital amounts loaned pursuant to the promissory notes recited in
Request for Admission No. 23 were utilized by You for personal expenses and or obligations,
and/or to purchase assets by You.
       RESPONSE:




       25.      Admit that promissory notes payable to Intermed Biomedical Services (dated
May 27, 2011) in the amount of $150,000.00, John and Sheila Spence (dated May 27, 2011) in
the amount of $75,000.00, Randy Scott (dated May 27, 2011) in the amount of $25,000.00,
Carolyn S. Martin (dated May 5/20/11) in the amount of $20,000.00, Mr. & Mrs. Ogilby (dated
May 20, 2011) in the amount of $50,000.00, the Frank A. Orlando Revocable Trust (dated May
20, 2011) in the amount of $25,000.00 required the application of proceeds from the sale of
TutoringZone, LC, (if proceeds exceeded $10,000), to be applied to the note holders’ debts and
accumulated interest.
       RESPONSE:




       26.      Admit that the promissory notes to Christopher James, dated November 10, 2010
and May 12, 2011 did not require the application of proceeds from the sale of TutoringZone, LC,
(if proceeds exceeded $10,000), to be applied to the Holder’s debt and accumulated interest.
       RESPONSE:




       27.      Admit that on May 22, 2012, You executed the IP Lease between TutoringZone
and Christopher James and Cynthia Frenchman, which provided for the use of the intellectual
property of TutoringZone by and that TutoringZone received $75,000.00 in three payments in
June July and August, 2012.
       RESPONSE:




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        28.      Admit that the proceeds from the IP Lease were utilized by TutoringZone to
operate until TZ2 was created to purchase the assets of TutoringZone.
        RESPONSE:




        29.      Admit that the payments for the IP Lease and the sale of the TutoringZone were
concealed from the Plaintiffs to prevent the Plaintiffs from objecting to the sale or attempting to
assert their legal rights.
        RESPONSE:




        30.      Admit that You represented that, as of May 17, 2012, that all private creditors
had signed onto Your plan to sell the assets of TutoringZone to a new entity, but that you did not
disclose to any private creditor, other than insider family members, Christopher James, and
Creed Greer that no other creditors were to receive either payment or an equity stake in TZ2.
        RESPONSE:




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                                       VERIFICATION
STATE OF FLORIDA
COUNTY OF _________________




BEFORE ME, the undersigned authority, this day personally appeared MATTHEW HINTZE,
who being duly sworn, deposed and says that he has read the foregoing requests for Admissions
and that the Responses provided are true and correct to the best of his knowledge, information
and belief.




__________________________________
MATTHEW HINTZE

Sworn and subscribed before me this ____ day of _____________, 2015. Such person did take
an oath and: (Notary must check applicable box).


    Is/are personally known to me.
    Produced a current Florida driver’s license as identification.
    Produced ______________________ as identification.
                                                            (Notary seal must be affixed)

       ______________________________
       Signature of Notary


       ______________________________
       Name of Notary (printed)




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Dated July 27, 2015

                                          WILCOX LAW FIRM


                                          /s/ Elizabeth Bowen_________
                                          Robert D. Wilcox
                                          Florida Bar No.: 755168
                                          Elizabeth R.P. Bowen
                                          Florida Bar No.: 97297
                                          Andrew M. Bonderud
                                          Florida Bar No. 102178
                                          814 North Highway A1A, Suite 202
                                          Ponte Vedra Beach, FL 32082
                                          Telephone: (904) 405-1248
                                          Facsimile: (904) 513-9201
                                          rw@wlflaw.com
                                          eb@wlflaw.com
                                          ab@wlflaw.com

                                          ATTORNEYS FOR PLAINTIFFS



                          CERTIFICATE OF SERVICE

        I hereby certify that on July 27, 2015, I caused the foregoing Requests for
Admissions to be served by electronic mail to Matthew B. Hintze and Larina K. Hintze,
pro se for Defendants, at matthewhintze@gmail.com and larinahintze@gmail.com and by
U.S. Mail, postage pre-paid to 708 N.E. Blvd., Gainesville, FL 32601.


                                          /s/ Elizabeth Bowen________
                                          Elizabeth R.P. Bowen, Attorney




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION
In re:                                     Case No. 12-10462 (KKS)

MATTHEW BRUCE HINTZE, and                             Adv. No. 13-01007 (KKS)
LARINA K. HINTZE,
                                                      Chapter 7
       Debtors.


 JOHN SPENCE, et al.
    Plaintiffs/Counterclaim-Defendants,
 v.

 MATTHEW BRUCE HINTZE, and
 LARINA K. HINTZE,
    Defendants/Counterclaim-Plaintiffs

  v.

  THERESA M. BENDER,
  Counterclaim-Plaintiffs/Third-Party Plaintiff,
 v.

 ETHAN FIELDMAN, and
 STEVEN FIELDMAN,
    Third-Party Defendants.


          PLAINTIFF DAVID WHITNEY’S FIRST REQUEST FOR ADMISSIONS
                     TO DEFENDANT MATTHEW B. HINTZE

         Pursuant to Rule 1.370, of the Fla. R. Civ. P., Plaintiff John Spence requests that
Defendant Matthew Hintze admit or deny the truth of the matters of facts set forth in the
Requests below, by separate answers in writing, within thirty (30) days hereof. Failure to answer
the Request for Admissions within the time allowed will results in the Request for Admissions
being deemed admitted. Each answer shall specifically deny the matter or set forth in detail the
reasons why You cannot truthfully admit or deny the matter. A denial must fairly meet the
substance of the Request for Admissions, and when good faith requires that You qualify an
answer or deny only a part of the matter, You are required to specify and admit so much of it as
is true and qualify or deny the remainder. Lack of information or knowledge may not be given
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as a reason for failure to admit or deny unless You have made reasonable inquiry and the
information known or readily obtainable by You is insufficient to enable You to admit or deny.
       If You fail to admit any of the foregoing, depositions or other discovery tools will be
taken, or other witnesses called or evidence used, to prove the truth of the said facts, and
application will be made to the Court for an Order requiring You to pay Plaintiffs’ fees and
expenses incurred in proving the facts as to which admissions are sought herein, as provided by
the Florida Rules of Civil Procedure.
                                          DEFINITIONS

       1.       “You” and “Your” shall mean Defendants Matthew B. Hintze and Larina K.
Hintze, employees, agents, representatives, attorneys and all persons acting or purporting to act
on behalf of Matthew Hintze and/or Larina Hintze, and including TutoringZone.
       2.       “TutoringZone” shall mean the business entity TutoringZone, LC.
       3.       “TZ2” shall mean the business entity TutoringZone II, LLC.
       4.       “IP Lease” shall mean the Intellectual Property Lease between TutoringZone and
Christopher James and Cynthia Frenchman dated May 22, 2012.
       5.       “IP Transfer” shall mean the “Intellectual Property Transfer Agreement” dated
June 4, 2012.
       6.       “David Whitney” shall mean David Whitney.
       7.       “John and Sheila Spence” shall mean John Spence and Sheila Spence, a married
couple, individually or collectively.
       8.       “Intermed Biomedical Services” shall mean the business entity Intermed
Biomedical Services, Inc.
       9.       “Rick Staab” shall mean Rick Staab, the principal of Intermed Biomedical
Services.
       10.      “Randy Scott” shall mean Randy Scott.
       11.      “Plaintiffs” refer to John Spence, Sheila Spence, David Whitney, Intermed
Biological Services, and/or Randy Scott either individually or collectively.
       12.      “Investor Creditors” refers to John and Sheila Spence Spence, David Whitney,
Rick Staab, Intermed Biomedical Services, Inc., Carolyn S. Martin, Creed Greer, Mr. & Mrs.
Kevin Ogilby, Frank A. Orlando Revocable Trust and/or Randy Scott either individually or
collectively.
                                                  2
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       13.     “Christopher James” shall mean Christopher M. James.
       14.     “CMJ” shall mean CMJ Consulting, Inc.
       15.     “Cynthia Frenchman” shall mean Cynthia Frenchman, individually or in her
capacity as an assistant and/or partner to Christopher James and/or CMJ Consulting, Inc.
       16.     “Jeffrey Childers, Esq.” shall mean Seldon J. Childers, Esq.
                        REQUESTS TO ADMIT TO MATT HINTZE
       1.       Admit that part of the consideration for the sale of the TutoringZone was Your
personal debt forgiveness by Christopher James.
       RESPONSE:




       2.       Admit that $100,000 of the consideration for the sale of the TutoringZone was
the debt-forgiveness associated with the intellectual property lease payment by James and
Frenchman of $75,000.00 and the May, 2015 payroll advance to TutoringZone of $25,000.00.
       RESPONSE:




       3.       Admit that the EIN number for TZ2 was not obtained until August 22, 2012,
exactly 90 days after the IP Lease was signed in order to time the sale of the assets of
TutoringZone to TZ2 to a date after the payment of the IP Lease payments were complete so that
those funds would not be available to the Plaintiffs and or other Investor Creditors.
       RESPONSE:




       4.       Admit that You entered into the IP Lease with Christopher James and Cynthia
Frenchman and a subsequent agreement to sell the assets of TutoringZone to TZ2, and that You
concealed the existence of the IP Lease and IP Transfer, and the fact that TutoringZone had
financing, from Plaintiffs until after the sale of TutoringZone to TZ2 was completed.
       RESPONSE:




                                                 3
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       5.       Admit that You entered into the IP Sale agreement to sell the assets of
TutoringZone to TZ2, and that You concealed the existence of the IP Sale from Plaintiffs until
after the sale of TutoringZone to TZ2 was consummated.
       RESPONSE:




       6.       Admit that You entered into the IP Sale agreement to sell the assets of
TutoringZone to TZ2 on June 4, 2012, and that TZ2 had not been formed as was not
incorporated at the time.
       RESPONSE:




       7.       Admit that from June 4, 2012 to on or about August 25, 2012, You stated that
You worked for both TutoringZone and TZ2, however You were paid by the TutoringZone
payroll until on or about August 25, 2012.
       RESPONSE:




       8.       Admit that You concealed the source of TutoringZone’s financing for June 2012
to August 2012 from Plaintiffs.
       RESPONSE:




       9.       Admit that You intentionally misled Plaintiffs from May 2012 to August 2012
regarding the operations of TutoringZone and Your intent to repay the amounts, or some portion
thereof, due and owning pursuant to the Plaintiffs’ promissory notes.
       RESPONSE:




       10.      Admit that You entered into the IP Lease and IP Sale agreements to transfer and
sell the assets of TutoringZone and that, even after the documentation was signed, You were

                                                4
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advised by counsel to wait 90 days before disclosing the sale of TutoringZone to TZ2 to
Plaintiffs.
        RESPONSE:




        11.      Admit that You did not disclose to Plaintiffs the IP Lease or IP Sale of
TutoringZone to Plaintiffs because You knew that they would proceed with collection efforts,
and You sought to delay those efforts until after the sale was final.
        RESPONSE:




        12.      Admit that, after receiving inquiries and communications from the Plaintiffs
during the period of May, 2012 to September, 2012, regarding the financial condition of
TutoringZone, You sought advice from Christopher James and regarding what to tell the
Plaintiffs to delay their taking legal action to protect their rights.
        RESPONSE:




        13.      Admit that, after receiving inquiries and communications from the Plaintiffs
Creditors during the period of June, 2012 to September, 2012, regarding Your intent to repay
their promissory notes, Your failure to disclose the IP Transfer and sale of TutoringZone
hindered the Plaintiffs ability to collect from the sale of TutoringZone.
        RESPONSE:




        14.      Admit that on July 5, 2012, the day after IP Sale, You received an email from
Christopher James that suggested that You infer to John Spence that You might have a future
equity stake in TZ2 by which You might be able to repay him from, which inference was
suggested in an effort to delay John Spence from filing suit.
        RESPONSE:



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       15.      Admit that in August 2012, You continued to represent to Plaintiffs that You
were pursuing the strategy discussed the meeting and memo of May 14, 2012, which specifically
included consideration for noteholders in an equity buy-out, but intentionally omitted the fact
that You had already sold TutoringZone and that there would be no consideration for
noteholders.
       RESPONSE:




       16.      Admit that as of May, 2012, You valued TutoringZone at $3,000,000.00 in the
negotiation of Your equity participation of TZ2.
       RESPONSE:




       17.      Admit that as of November 1, 2012, You valued TutoringZone at $100.00.
       RESPONSE:




       18.      Admit that as of November 1, 2012, You did not own an equity interest in TZ2.
       RESPONSE:




       19.      Admit that as of October 31, 2012, You and Christopher James had an
understanding that You would receive an equity interest in TZ2 in the future.
       RESPONSE:




       20.      Admit that after the sale of TutoringZone to TZ2, TZ2 continued to pay selected
creditors of TutoringZone.
       RESPONSE:



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       21.       Admit that TZ2 was a continuation of TutoringZone, and that the only material
change was the elimination of Your ownership interest and the elimination of TutoringZone,
which was the collateral for certain Plaintiffs’ promissory notes.
       RESPONSE:




       22.       Admit that there is no difference between TutoringZone and TZ2 from the
perspective of its clients, and that the transition was seamless, involved transitioning the same
tutors, and revising the TutoringZone employment agreements.
       RESPONSE:




       23.       Admit that the TZ2 website refers to both Your personal professional history and
the history of TZ2 as including the history of TutoringZone, and that the two companies are
indistinguishable on Your social media presence.
       RESPONSE:




       24.       Admit that one or more of the Plaintiffs inquired about the source of the capital
for continuing the operations of TutoringZone during the Summer of 2012, and that You did not
disclose the intellectual property lease or the existence of TZ2 until long after the Lease Proceeds
had been paid.
       RESPONSE:




       25.       Admit that the assets of TutoringZone were utilized to purchase TZ2 and that the
sale of TutoringZone to TZ2 was structured to be a sale with no cash proceeds.
       RESPONSE:




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       26.       Admit that You represented to investors that TutoringZone and You were “one
and the same.”
       RESPONSE:




       27.       Admit that in the six months prior to filing bankruptcy on November 1, 2012,
You were negotiating an equity stake of 58% in TZ2.
       RESPONSE:




       28.       Admit that You were advised not to receive an equity stake in TZ2 as it would be
an asset in Your bankruptcy, and that You and Christopher James and/or TZ2 have a “side deal”
that provides for You to receive an equity stake in TZ2 in the future.
       RESPONSE:




       29.       Admit that from the date TZ2 was formed to the present, You have exercised
control over the operations of TZ2.
       RESPONSE:




       30.       Admit that between April, 2012 and November, 2012, You continued to control
TutoringZone and were responsible for all TutoringZone and TZ2 operations.
       RESPONSE:




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                                       VERIFICATION
STATE OF FLORIDA
COUNTY OF ______________________




BEFORE ME, the undersigned authority, this day personally appeared MATTHEW HINTZE,
who being duly sworn, deposed and says that he has read the foregoing requests for Admissions
and that the Responses provided are true and correct to the best of his knowledge, information
and belief.




__________________________________
MATTHEW HINTZE

Sworn and subscribed before me this ____ day of _____________, 2015. Such person did take
an oath and: (Notary must check applicable box).


    Is/are personally known to me.
    Produced a current Florida driver’s license as identification.
    Produced ______________________ as identification.


                                                            (Notary seal must be affixed)

       ______________________________
       Signature of Notary


       ______________________________
       Name of Notary (printed)




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Dated July 27, 2015

                                          WILCOX LAW FIRM


                                          /s/ Elizabeth Bowen_________
                                          Robert D. Wilcox
                                          Florida Bar No.: 755168
                                          Elizabeth R.P. Bowen
                                          Florida Bar No.: 97297
                                          Andrew M. Bonderud
                                          Florida Bar No. 102178
                                          814 North Highway A1A, Suite 202
                                          Ponte Vedra Beach, FL 32082
                                          Telephone: (904) 405-1248
                                          Facsimile: (904) 513-9201
                                          rw@wlflaw.com
                                          eb@wlflaw.com
                                          ab@wlflaw.com

                                          ATTORNEYS FOR PLAINTIFFS



                          CERTIFICATE OF SERVICE

        I hereby certify that on July 27, 2015, I caused the foregoing Requests for
Admissions to be served by electronic mail to Matthew B. Hintze and Larina K. Hintze,
pro se for Defendants, at matthewhintze@gmail.com and larinahintze@gmail.com and by
U.S. Mail, postage pre-paid to 708 N.E. Blvd., Gainesville, FL 32601.


                                          /s/ Elizabeth Bowen________
                                          Elizabeth R.P. Bowen, Attorney




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                EXHIBIT 16
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Elizabeth R Bowen

From:                              Jennifer Hunt <jen.hunt@smartbizlaw.com>
Sent:                              Wednesday, December 17, 2014 11:18 AM
To:                                Robert D Wilcox
Cc:                                Jeffery Childers
Subject:                           Spence v. Hintze - Discovery Follow Up
Attachments:                       1.25.11.docx; 3.29.11.pdf; P&L 2009.xls; P&L 2010.xls; P&L UGA 2009.xls; P&L UGA
                                   2010.xls



Mr. Wilcox:

After reviewing the hearing transcript from last week, Jeff asked me to try to clear up some of the concerns you
voiced regarding discovery.

First, you indicated that you were concerned about an email that looks from first glance like Matt sent to
himself, but actually blind copied other friends and family regarding the status of the litigation with Ethan
and bidding process. Please review the email produced under bate label SpenceRequ002936 (saved under
request file "#9-10 Emails January 2011 through June 2011" on the CD we initially sent you responsive to John
Spence's Request for Production). All responsive emails that were blind copied have been produced.

In regards to the Friends and Family "email" that you sent us after John Spence's deposition- we have finally
solved the mystery! An email was sent to Glen Parker (a friend of Ethan) on March 29, 2011, with various
attachments, including a word document and various excel files containing financial information. The
attachment had a word doc that looks similar to the "Friends and Family email" you provided us (although
yours seems to be altered with Matt's business card stapled to it). Mr. Parker was the only person who received
this email along with the Friends and Family word doc. I attach the email and all the attachments to this email
for quick reference.

Additionally, please allow this email to confirm that all communications and email attachments between Hintze
and Chris James have been produced that were dated January 2011 through April 2012, and saved specifically
under two files on the Spence CD for you to identify. The only emails that were not produced were those that
Defendants assert privilege, dated from May 1, 2012 to present.

We are working on saving all email attachments in their original format to a CD and expect to send it to you in
the next day or two along with the privilege log requested for correspondence dated after May 1, 2012.

Meanwhile, please let us know if you have any other concerns regarding production.

Jennifer Hunt


Contact Information |

                            Jennifer Hunt, F.R.P.
                            jen.hunt@smartbizlaw.com
 direct 352.375.3722        Childers*Law, LLC
 toll free 866.996.6104     2135 NW 40th Terrace,
 main 352.335.0400          Suite B
                            Gainesville, FL 32605
 fax 407.209.3870

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                                                              UNITED STATES BANKRUPTCY COURT
                                                               NORTHERN DISTRICT OF FLORIDA
                                                                   GAINESVILLE DIVISION

                                                          Adversary Proceeding #13-01007-KKS


                                  JOHN SPENCE, SHEILA SPENCE,
                                  INTERMED BIOMEDICAL SERVICES, INC.,
                                  a Florida corporation, DAVID WHITNEY,
                                  and FLH HOLDINGS OF FLORIDA, LLC,
                                  a Florida limited liability company,

                                                 Plaintiffs/Counterclaim-Defendants,

                                  vs.

                                  MATTHEW BRUCE HINTZE and
                                  LARINA K. HINTZE,

                                                 Defendants/Counterclaim-Plaintiffs/
                                                 Third-Party Plaintiffs,

                                  vs.

                                  ETHAN FIELDMAN and STEVEN FIELDMAN,

                                                 Third-Party Defendants.

                                  ____________________________________/


                                                         PROCEEDINGS:           HEARING

                                                         BEFORE:                HONORABLE KAREN K. SPECIE

                                                         DATE:                  January 7, 2015

                                                         TIME:                  1:00 p.m. - 3:20 p.m.

                                                         PLACE:                 U.S. Federal Courthouse
                                                                                401 Southeast First Avenue
                                                                                Gainesville, Florida

                                                         REPORTED BY:           Jennifer R. Witwer, RPR, CRR
                                                                                Notary Public




Electronically signed by Jennifer Witwer (301-375-152-2952)                                           b931572d-6d95-4603-9472-d764121acf8
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                                                                                                            Page 2
                           1       APPEARANCES

                           2                Wilcox Law Firm
                                            BY: ROBERT DRAKE WILCOX
                           3                814 A1A North, Suite 202
                                            Ponte Vedra Beach, Florida 32082
                           4                Attorney for Plaintiffs/Counterclaim-Defendants

                           5                Childers Law, LLC
                                            BY: SELDON J. CHILDERS, ESQUIRE
                           6                2135 Northwest 40th Terrace, Suite B
                                            Gainesville, Florida 32605
                           7                Attorney for the Defendants/Counterclaim-Plaintiffs/
                                            Third-Party Plaintiffs
                           8
                                            Winderweedle, Haines, Ward & Woodman, P.A.
                           9                BY: RYAN E. DAVIS, ESQUIRE
                                            329 Park Avenue North, Second Floor
                         10                 Winter Park, Florida 32789
                                            Attorney for Christopher James and Tutoring Zone 2
                         11                 Appearing via Court Call

                         12

                         13

                         14

                         15

                         16                                               E-X-H-I-B-I-T-S

                         17        Plaintiffs' for Identification:                                  Page

                         18            Exhibit Number 1 - intellectual property
                                                          Transfer agreement.........31
                         19            Exhibit Number 2 - privilege log..............15
                                       Exhibit Number 3 - amended privilege log......15
                         20            Exhibit Number 4 - 12/4/14 hearing transcript.30
                                       Exhibit Number 5 - rebuttal documents.........31
                         21

                         22

                         23

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                         25




Electronically signed by Jennifer Witwer (301-375-152-2952)                                          b931572d-6d95-4603-9472-d764121acf8
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                                                                                                             Page 3
                           1                                   P-R-O-C-E-E-D-I-N-G-S

                           2                        THE COURT:    We are here in the case of Spence,

                           3               et al, versus Hintze, Case Number 13-01007.

                           4                        Before the Court is a continued hearing on the

                           5               motion for protective order filed by the defendants at

                           6               Docket Number 266, a hearing on the motion to compel

                           7               also filed by the defendants at Docket Number 271, a

                           8               status hearing regarding the motion for protective order

                           9               at Docket Number 249, and the motion by the plaintiffs

                         10                for authority or authorization to take more than ten

                         11                depositions at Docket Number 309.

                         12                         We'll take appearances, please.

                         13                         MR. CHILDERS:       Good afternoon, Your Honor.         Jeff

                         14                Childers for the debtors/defendants.

                         15                         THE COURT:    Mr. Childers.

                         16                         MR. WILCOX:    Good afternoon, Your Honor.          Robert

                         17                Wilcox on behalf of the various plaintiffs.

                         18                         THE COURT:    Mr. Wilcox.      Thank you.

                         19                         MR. WILCOX:    Thank you.

                         20                         THE COURT:    All right.      Gentlemen, we have first

                         21                the motion for protective order and the continued

                         22                hearing on that at Docket Number 266.

                         23                         Mr. Childers.

                         24                         MR. CHILDERS:       Thank you, Your Honor.

                         25                         I'm happy to report that we made a lot of progress




Electronically signed by Jennifer Witwer (301-375-152-2952)                                           b931572d-6d95-4603-9472-d764121acf8
                                 Case 13-01007-KKS            Doc 452    Filed 10/02/15   Page 351 of 423

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                           1               on these issues since our last hearing, so I'll give

                           2               you first, by way of status, a summary of those

                           3               accomplishments.

                           4                        Late last week or very early this week we provided

                           5               an amended privilege log to the plaintiffs which

                           6               withdrew our assertion of the two contested privileges.

                           7               The Court will probably remember that was the joint or

                           8               common interest privilege and the commercial sensitivity

                           9               or confidential information.

                         10                         THE COURT:    Let me stop you for just a moment,

                         11                Mr. Childers.

                         12                         Can you hear back there, Mr. Wilcox, or do we need

                         13                to turn the mic up a little bit?

                         14                         MR. WILCOX:    If you could turn it up just a tiny

                         15                bit.       Thank you very much.

                         16                         MR. CHILDERS:       And I'll try to be a little closer

                         17                to the mic as well.

                         18                         MR. DAVIS:    Your Honor, I'm sorry, this is Ryan

                         19                Davis appearing by phone.            I have a bad connection, but

                         20                I wanted to enter an appearance as well on behalf of --

                         21                         THE COURT:    I'm sorry, Mr. Davis, I did have a

                         22                Court Call docket for you and I neglected to call your

                         23                name.       So it's Ryan E. Davis for interested party

                         24                Christopher James; is that correct?

                         25                         MR. DAVIS:    Correct, and on behalf of Tutoring




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                           1               Zone 2, Your Honor.          Thank you.

                           2                        THE COURT:    All right.      And, Mr. Davis, if you are

                           3               on a speakerphone, which it doesn't sound like you are,

                           4               but if you're on a speakerphone, please pick up, and if

                           5               you're not, sometimes it helps if you turn up the volume

                           6               on your hand set.

                           7                        MR. DAVIS:    Okay.     Thank you, Your Honor.

                           8                        THE COURT:    All right.      Thank you.

                           9                        Excuse me, Mr. Childers.         Please processed.       You

                         10                were saying that the common interest doctrine has been

                         11                withdrawn as far as the privilege log is concerned?

                         12                         MR. CHILDERS:       That's correct.     We're not conceding

                         13                that there wasn't a common interest, but for the purpose

                         14                of the items that were on the privilege log, we've

                         15                decided to just produce them, and I believe they have

                         16                already been produced.

                         17                         The second group was the group of e-mails, and this

                         18                is the largest portion of the privilege log that we had

                         19                identified as commercially confidential.               And after

                         20                analyzing the issue, we decided that because they are

                         21                Tutoring Zone 2's commercially sensitive information,

                         22                that there might be a question as to whether I even have

                         23                standing to assert that privilege.

                         24                         So we contacted Mr. Davis, who is not noticed in

                         25                this case because Mr. James is not a party here, and we




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                           1               identified the problem to him and we put him in contact

                           2               with Mr. Wilcox.        So we are not going to be asserting

                           3               commercial sensitivity.           That's between Mr. Davis and

                           4               Mr. Wilcox.

                           5                        THE COURT:    Thank you.

                           6                        MR. CHILDERS:       I believe that the amended privilege

                           7               log that we provided still shows those items, but we

                           8               subsequently gave a letter to Mr. Wilcox indicating that

                           9               we would not be asserting that privilege.

                         10                         So that leaves just about half a dozen items that

                         11                were either plain work product or attorney/client

                         12                privilege identified.

                         13                         I conferred with Mr. Wilcox on Monday, and at that

                         14                time and since that time I'm not aware of any objections

                         15                or concerns that the plaintiffs have with the new set of

                         16                privileged items, so pursuant to that, we notified the

                         17                Court that we thought the matter was moot and copied

                         18                Mr. Wilcox, who did not object, and the Court yesterday

                         19                noticed this as a nonevidentiary hearing.               And hopefully

                         20                all those issues are now resolved or moot.

                         21                         THE COURT:    Shall we take these motions one at a

                         22                time?       That was the motion for protective order.             Why

                         23                don't I give Mr. Wilcox a chance to chime in at this

                         24                point and see if there are any disagreements, and we can

                         25                move on.




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                           1                        MR. CHILDERS:         Sounds good.

                           2                        THE COURT:      Thank you.

                           3                        Mr. Wilcox.

                           4                        MR. WILCOX:      Thank you, Your Honor.

                           5                        What I was told by counsel, what I was told by

                           6               counsel was that the joint defense privilege was being

                           7               withdrawn as to these documents.                 The problem with that

                           8               is that the defendants did not comply with the Court's

                           9               direction.          And we'd ask the Court to make a finding

                         10                that there is no common interest privilege among these

                         11                parties, and I'll explain why in a moment.

                         12                         It's up to Mr. Childers to decide what he wants to

                         13                proceed with today, but we have been preparing for this

                         14                as an evidentiary hearing.              I have exhibits that I've

                         15                prepared for the Court.             I'm not aware of a notice that

                         16                changed this from a nonevidentiary to an evidentiary

                         17                hearing.           And I didn't object to any communication

                         18                Mr. Childers had with the Court.

                         19                         It's not really my place to object to -- I don't

                         20                think he specifically requested this as a nonevidentiary

                         21                hearing, but I would like to go through these issues as

                         22                I perceive them.

                         23                         THE COURT:      Let me help clarify that point,

                         24                Mr. Wilcox, because I'm afraid that the error in the

                         25                noticing as an evidentiary hearing was the Court's and




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                           1               it was not yours and it was not Mr. Childers'.                  And the

                           2               amended notice of hearing noticing it as a

                           3               nonevidentiary hearing was at my request, having

                           4               reviewed the entire transcript at Docket Number 288, at

                           5               the conclusion of which I announced that today's hearing

                           6               would be continued as a nonevidentiary hearing and that

                           7               if we needed to present evidence, that we would schedule

                           8               a further hearing.

                           9                        I sincerely apologize on behalf of the Court if

                         10                that caused either one of you additional work, which it

                         11                undoubtedly did if you've come prepared with exhibits.

                         12                         I also note for the record that today's hearing was

                         13                supposed to have been preceded by the privilege log, and

                         14                I guess I used an inartful term in my announcement, but

                         15                at the transcript I announced that the privilege log was

                         16                to be prepared as opposed to filed, and then we were

                         17                going to go through the claims of privilege I believe

                         18                one at a time and make argument as to those.

                         19                         And I also was expecting -- Mr. Childers had

                         20                indicated that he wanted to file a memorandum of law or

                         21                further brief the issue of whether or what privilege

                         22                applied to commercially sensitive information.

                         23                         Now, it appears that that issue is moot because

                         24                Mr. Childers, on behalf of the defendants, has waived

                         25                that argument.        Is that correct, Mr. Childers?




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                           1                        MR. CHILDERS:       As to our motion for protective

                           2               order, we have withdrawn the portion of protective order

                           3               that relates to commercially sensitive information and

                           4               that relates to joint or common interest defense.

                           5                        THE COURT:    All right.      So as to this motion at

                           6               Docket Number 266, you have essentially withdrawn the

                           7               portion of that motion that argues that certain

                           8               documents should not have to be produced because of

                           9               either the joint defense or common interest doctrine or

                         10                the commercially sensitive information doctrine that you

                         11                had set forth; is that correct?

                         12                         MR. CHILDERS:       That is correct, Your Honor.

                         13                         THE COURT:    All right.      I'm sorry to interrupt you,

                         14                Mr. Wilcox, but I thought it was fair to all parties to

                         15                make the record abundantly clear.

                         16                         MR. WILCOX:    Well, Your Honor, I have prepared a

                         17                book with exhibits that does contain the privilege log,

                         18                so maybe we can go through those.

                         19                         THE COURT:    Hopefully we can, yes, sir.

                         20                         MR. WILCOX:    And that book is right on that table.

                         21                         THE COURT:    All right.      Mr. Childers, have you

                         22                seen the items in this book that Mr. Wilcox is referring

                         23                to?

                         24                         MR. CHILDERS:       Mr. Wilcox handed me a copy just

                         25                before the hearing.          I haven't had a chance to review it




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                           1               yet.

                           2                        MR. WILCOX:      It's his privilege log.        It's what he

                           3               gave me.           He gave me a privilege log on the 21st and

                           4               then he gave me a corrected privilege log on Monday.

                           5               That's not in --

                           6                        THE COURT:      That's all that's in the exhibits that

                           7               you're handing me?

                           8                        MR. WILCOX:      Well, I can read -- there are -- those

                           9               are Exhibits 2 and 3.

                         10                         Exhibit 1, because we had prepared for this as an

                         11                evidentiary hearing based upon the Court's comments

                         12                basically at -- as I read the transcript, it says:                    It

                         13                may be that we will set this the afternoon before that,

                         14                January the 7th, because we've already scheduled a

                         15                two-hour evidentiary hearing for the afternoon of the

                         16                8th.

                         17                         There is no evidentiary hearing set in this

                         18                proceeding.

                         19                         THE COURT:      No, it was in a different case,

                         20                Mr. Wilcox.

                         21                         MR. WILCOX:      In a different proceeding in that.

                         22                         THE COURT:      A different -- in other words, we had

                         23                until yesterday a two-hour evidentiary final hearing in

                         24                a Chapter 13 scheduled for tomorrow afternoon, so I

                         25                couldn't schedule this matter for that date.




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                           1                        MR. WILCOX:    And I contacted your chambers this

                           2               morning and they said that this was a two-hour hearing.

                           3                        THE COURT:    Yes, sir, it is.

                           4                        MR. WILCOX:    All right.     Well, Your Honor, I think

                           5               it would be useful to go through Exhibits 2 and 3, which

                           6               are the original privilege log and then the corrected

                           7               privilege log.

                           8                        It seems to me, though, that the Court's direction

                           9               from the transcript on December 4th was very clear.                    The

                         10                Court directed the defense to produce a privilege log

                         11                within 15 days.        They did that.         We received that on the

                         12                19th.       The Court also directed that within 20 days of

                         13                the hearing the defendants were to produce affidavits

                         14                that would support the claims of privilege.

                         15                         The Court, at the December 4th hearing, in my view

                         16                expressed some skepticism about the privileges that were

                         17                being asserted and asked for specifics as to the dates

                         18                and the factual basis, whether it's common interest or

                         19                sensitive business information, and that direction by

                         20                the Court applied to all the privileges, not just the

                         21                common interest privilege.           And I can point to the

                         22                transcript to that specific part.

                         23                         They were to provide affidavits regarding any

                         24                assertion of privilege in advance of this hearing today.

                         25                They didn't file any affidavits in support of that.




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                           1               Now, this morning Mr. Childers -- I received it in an

                           2               e-mail and I assume it was filed, a declaration by

                           3               Mr. Childers regarding -- I don't know whether that was

                           4               filed or not, Your Honor.            I believe it was.

                           5                        THE COURT:    That's all right.        Please proceed.

                           6               I'll look while you're talking.

                           7                        MR. CHILDERS:       It was not filed, Your Honor.

                           8                        THE COURT:    Was not filed?

                           9                        MR. CHILDERS:       No.

                         10                         MR. WILCOX:    Okay.      Apparently it was not filed.

                         11                So they've never produced any affidavits, and the

                         12                Court's directed them to produce something to allow the

                         13                Court to evaluate the privileges.

                         14                         The Court also strongly suggested, if not directed

                         15                Mr. Childers to file a brief in support of the asserted

                         16                privileges.        That was not forthcoming.         We were not in a

                         17                position to file a brief because we had not seen the

                         18                affidavits that we would have needed to make that brief

                         19                at all meaningful.

                         20                         The Court also directed in the notice of hearing

                         21                that the parties were to provide a joint statement of

                         22                undisputed facts by last Friday.               We heard nothing about

                         23                that.       In Document Number 304, which we unfortunately

                         24                mistitled, we provided our view of what the undisputed

                         25                facts were, which was zero.            Now, I went in yesterday




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                           1               and filed an amended one to change the title.

                           2                        But the Court was specific as to what it was

                           3               requiring, and the defendants came forward with nothing.

                           4               This was their chance to assert joint defense privilege.

                           5               You can't come in and file a motion for protective order

                           6               and lead everybody down the primrose path and say I'm

                           7               asserting joint defense privilege and then two days

                           8               before the hearing come in and say, well, I'm pulling it

                           9               as to these documents but I reserve the right to assert

                         10                it in another context.

                         11                         The Court should make a finding that there is no

                         12                joint defense privilege in this case.               They completely

                         13                failed to comply and provide any evidentiary basis for

                         14                that assertion of privilege.            And the Court specifically

                         15                made reference to the Pensacola Firefighters case, the

                         16                extensive affidavits, the affidavits of five attorneys

                         17                in that instance.        And the Court directed specifically

                         18                the parties to file affidavits to support the claim of

                         19                privilege.

                         20                         So Monday I had a call with Mr. Childers, generally

                         21                very congenial call, and he said he wasn't going to be

                         22                proceeding with the joint defense privilege.                I made no

                         23                representations about what our position would be.

                         24                         MR. CHILDERS:       Your Honor, I would object to the

                         25                extent that the Court has previously ruled about counsel




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                           1               relaying the content of telephone calls that we have

                           2               with each other.

                           3                        MR. WILCOX:    That's fine.

                           4                        THE COURT:    Sustained.

                           5                        MR. WILCOX:    That's fine.      And I apologize.

                           6                        But at any rate, I was directed to Mr. Davis.              And

                           7               there was a representation made that Mr. Davis might, on

                           8               behalf of Tutoring Zone 2, which did nothing to object

                           9               to the production of any of these documents, would be

                         10                contacting me to discuss its objections to the

                         11                production by the defendants of certain allegedly

                         12                sensitive information.          Again, no evidentiary basis for

                         13                anything.

                         14                         We were not able to resolve that issue, Your Honor.

                         15                And it seems to me -- I don't know whether Mr. Davis

                         16                intends to argue that those documents should not be

                         17                disclosed, but they haven't provided any research or

                         18                evidentiary basis that there is such a thing as

                         19                sensitive business information privilege.

                         20                         THE COURT:    Well, Mr. Davis is not going to have an

                         21                opportunity to argue anything today because he isn't

                         22                representing a party to this adversary proceeding.

                         23                         MR. WILCOX:    If I may turn to what I had marked as

                         24                Exhibit 3, which is the revised privilege log.

                         25                         THE COURT:    Mr. Childers, I would like to see that.




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                                                                                                            Page 15
                           1               Do you have any objection?

                           2                        MR. CHILDERS:       No, Your Honor.     It appears to be

                           3               our amended privilege log, as Mr. Wilcox represented.

                           4                        THE COURT:    All right.      The courtroom deputy will

                           5               hand me and we will consider part of the record for

                           6               today exhibits marked 2 and 3 being submitted on behalf

                           7               of the plaintiffs.

                           8                        (Plaintiffs' Exhibits Number 2 and 3 were marked

                           9               and received in evidence.)

                         10                         THE COURT:    Please proceed, Mr. Wilcox.

                         11                         MR. WILCOX:    Thank you, Your Honor.

                         12                         And I guess I would request the Court's guidance on

                         13                whether the original privilege log is still an issue,

                         14                because they provided a revised one and I'm not sure

                         15                whether it's even worth discussing the first one.

                         16                         THE COURT:    It seems to me that if the revised

                         17                one -- if Mr. Childers agrees that the revised one was

                         18                meant to take the place of the original one, then we'll

                         19                just look at Exhibit Number 3, which is apparently the

                         20                revised one.        Is that correct?       Mr. Childers, is that

                         21                right?

                         22                         MR. CHILDERS:       That's correct, Your Honor.

                         23                         THE COURT:    All right.

                         24                         MR. WILCOX:    The problem, Your Honor, is that

                         25                additional documents were added in the revised one that




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                           1               were not in the original one, which I find troubling.

                           2                        THE COURT:    You're certainly welcome to argue

                           3               that to me, Mr. Wilcox.          I've accepted both of these

                           4               documents.

                           5                        You know, again, I agree with Mr. Wilcox to the

                           6               extent that today was supposed to be for an opportunity

                           7               for us to go through the privilege log one item at a

                           8               time to determine, A, whether any privilege applied, and

                           9               that was going to be a matter of legal argument based on

                         10                affidavits and the privilege log, and then, B, if a

                         11                privilege of any kind exists -- and I use the term

                         12                privilege loosely.

                         13                         I want to back up again and clarify that in my

                         14                view, under the applicable case law, the joint defense

                         15                doctrine or the common interest doctrine is not a

                         16                privilege.         It is a doctrine or doctrines that are

                         17                founded upon the attorney/client privilege.               And the

                         18                affidavits that the Court reviewed in the Firemen's Fund

                         19                case were affidavits that apparently proved to the

                         20                Court's satisfaction that the communications at issue

                         21                there were communications by counsel for the parties or

                         22                originated with counsel and were not communications

                         23                between the parties themselves.               But having said that,

                         24                again, I'm using the privilege loosely here.

                         25                         I will allow you, Mr. Wilcox, to argue anything you




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                           1               wish with respect to these logs.

                           2                        Mr. Childers?

                           3                        MR. CHILDERS:       Yes, Your Honor.     I think just to

                           4               fast forward us a little bit, I believe that the issue

                           5               that we're arguing about here is not so much the common

                           6               interest privilege or the joint defense privilege, but I

                           7               believe that Mr. Wilcox expected that we would be

                           8               proving our basis for the attorney/client and work

                           9               product privileges that we asserted, just the basic

                         10                black-and-white ones.           And that was not my understanding

                         11                of the Court's ruling from the previous hearing.

                         12                         So I think that's the direction Mr. Wilcox is

                         13                going in, and it would be helpful if the Court would

                         14                clarify if that was what we were supposed to do.                  And if

                         15                it was, then I'm going to have to apologize --

                         16                         THE COURT:    Mr. Childers, I read the transcript

                         17                very clearly.        The issue before the Court at the last

                         18                hearing was in the motion for protective order the

                         19                defendants were arguing two premises; number one, that

                         20                the communications between the Hintzes and Mr. James and

                         21                the Hintzes and -- I can't remember the name of the

                         22                woman who works for Mr. James.

                         23                         MR. CHILDERS:       Ms. Frenchman.

                         24                         THE COURT:    -- Ms. Frenchman were somehow

                         25                privileged under the joint defense doctrine.                And stop




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                           1               me if I'm putting words in anyone's mouth.              I reviewed

                           2               the file very carefully in preparation for today's

                           3               hearing.

                           4                        The responses to that essentially amounted to,

                           5               number one, how can there have been a joint defense

                           6               agreement before this litigation was filed in 2014, and,

                           7               number two, is there a privilege -- or I should say,

                           8               number two, was there a joint defense agreement at all,

                           9               and if so, when did it arise, and, number three, my

                         10                question to the parties was, was the communication that

                         11                the defendants seek to have protected attorney/client

                         12                privileged to begin with or covered under some other

                         13                privilege under the Federal Rules of Evidence, because

                         14                without -- my understanding of case law is that without

                         15                it being founded on such a privilege, there is no joint

                         16                defense doctrine that would protect communications

                         17                between parties, especially, as the plaintiff pointed

                         18                out, where the parties consist of -- the parties that

                         19                are trying to assert the doctrine of common interest or

                         20                joint defense constitute the debtors and a creditor of

                         21                the debtors to whom the debtors transferred the assets

                         22                that are the foundation of this entire case.

                         23                         And those were the issues that I expected to see

                         24                some sort of affidavits of proof and/or briefing on, and

                         25                there's nothing.




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                           1                        MR. CHILDERS:       Well, Your Honor, as I said, we

                           2               released those documents to Mr. Wilcox already.                  They're

                           3               in his custody now.          So it didn't seem like a good use

                           4               of my client's money, the Court's time, Mr. Wilcox's

                           5               time, so forth for us to brief it, present affidavits,

                           6               et cetera, on a privilege we weren't going to be

                           7               asserting.

                           8                        THE COURT:    Okay.     So that's why I wanted to

                           9               clarify this, because if the defendants are no longer

                         10                asserting that any of these communications are covered

                         11                by an alleged joint defense doctrine or common interest

                         12                doctrine, then we should be done with that with respect

                         13                to this adversary proceeding.             They're done.     They have

                         14                no more joint defense or common interest.

                         15                         But if you're trying to say, as Mr. Wilcox seems

                         16                to think, that that is waived for purposes of this

                         17                discovery but not for purposes of the adversary

                         18                proceeding, then we need facts and we need briefing.

                         19                         Mr. Wilcox, am I taking any words out of your mouth

                         20                improperly?

                         21                         MR. WILCOX:    No, Your Honor.

                         22                         MR. CHILDERS:       I'm being careful, Your Honor,

                         23                because there's other litigation pending in this

                         24                bankruptcy case.        I don't want to step on any privileges

                         25                that anybody might want to assert.




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                           1                        So I'm not waiving the privilege on behalf of my

                           2               clients, but we're not -- we've released the documents

                           3               that were on the privilege log that were subject to my

                           4               motion for protective order.           I'm not sure if there's

                           5               anything else in the motion for protective order that I

                           6               even need.

                           7                        It may be that I just should withdraw the motion

                           8               for protective order and stop arguing about this because

                           9               he's got the documents that he's looking for.

                         10                         THE COURT:    Mr. Wilcox.

                         11                         MR. WILCOX:    If that's the case, we should be

                         12                awarded our fees for having to come down here twice on

                         13                that motion and spend all this time going through it.

                         14                         THE COURT:    File a motion for it.

                         15                         MR. WILCOX:    Okay.    As my understanding at this

                         16                point, that there is no assertion of privilege -- I

                         17                don't see how that comment squares with the privilege

                         18                log that I received on Monday that includes an

                         19                allegation that a communication on 7/13/2012 involving

                         20                Jeff Childers, Larina Hintze and Matt Hintze and Chris

                         21                James asserts sensitive business information and

                         22                attorney/client privilege.           That's the fourth one down

                         23                on the first page.

                         24                         I need some -- I'm just asking for clarification.

                         25                         THE COURT:    I hear what you're saying.        I think




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                                                                                                            Page 21
                           1               we're taking these things, at least I was, one at a

                           2               time.       And the one we just finished discussing was the

                           3               joint defense doctrine.           But you're right.

                           4                        Mr. Childers, if you're withdrawing the motion for

                           5               protective order, then the privilege log goes away,

                           6               correct?

                           7                        MR. CHILDERS:       That's right, at least to any of the

                           8               items that were referred to in the motion.               And if the

                           9               motion's withdrawn, there's nothing to hear today.                   And

                         10                Mr. Wilcox is free to file a motion to compel as to any

                         11                other items that we have provided to him on the

                         12                privilege log.

                         13                         And I'll just point out that we've been asking for

                         14                a privilege log from them since the beginning of

                         15                discovery and have not seen anything.

                         16                         THE COURT:    Well, we'll get to your motion against

                         17                them in just a few minutes.            Let's deal with this one

                         18                first and finish this one.

                         19                         So is Docket Number 266 withdrawn at this point?

                         20                         MR. CHILDERS:       Yes, I'll withdraw that Docket 266.

                         21                         THE COURT:    All right.      Docket 266, which is the

                         22                defendant's motion for protective order on which this

                         23                hearing was to be based, has been withdrawn.

                         24                         Mr. Wilcox, you are requesting fees and costs for

                         25                having to deal with this motion through today.                   You may




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                                                                                                            Page 22
                           1               file a motion for fees and costs and we will schedule it

                           2               for hearing.

                           3                        MR. WILCOX:    Thank you, Your Honor.         I would ask,

                           4               though, that the Court make a determination, because we

                           5               have it before the Court, that there is no joint common

                           6               interest privilege among Chris James and the Hintzes.

                           7               That was the whole point of this.

                           8                        The Court gave specific direction as to

                           9               how -- we're going to have to deal with that issue.                    It

                         10                seems to me what Mr. Childers is doing is punting that

                         11                issue down the road.          It's going to come up in

                         12                depositions or wherever.           This was the time, this was

                         13                the opportunity to make that argument.

                         14                         And so it seems to me, by withdrawing that motion,

                         15                he is waiving that argument.            I'm not saying he's

                         16                waiving a privilege.          He's waiving the argument that

                         17                there is a common interest privilege among those

                         18                parties, and we ask the Court to rule to that effect.

                         19                         MR. CHILDERS:       Your Honor, Mr. Wilcox may raise

                         20                this argument in the future if I do reassert the common

                         21                interest privilege and he can at that time complain that

                         22                it was previously litigated if that's what he feels is

                         23                appropriate at that time, because I think what he's

                         24                asking is a ruling in the future on something that may

                         25                or may not occur with facts and circumstances that




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                                                                                                              Page 23
                           1               aren't before the Court.

                           2                        MR. WILCOX:       I guess what I'm really asking for,

                           3               Your Honor, I'm asking that you not allow him to

                           4               withdraw the motion and then reassert the same grounds

                           5               next week, next month, at trial, ever in this

                           6               proceeding.

                           7                        And for the record, I do not know whether we have

                           8               all these documents.            There are a lot of documents that

                           9               we've received.           But since I received this privilege log

                         10                on Monday, I would be surprised if the documents had

                         11                been produced prior to Monday to our offices, but that's

                         12                something we will check.

                         13                         THE COURT:       All right.     I'm going to take a brief

                         14                recess.            We'll reconvene in approximately ten minutes.

                         15                         (A brief recess was held.)

                         16                         THE COURT:       Be seated, please.

                         17                         There's no question that the primary reason that we

                         18                scheduled this hearing today was to consider the issues

                         19                raised in the motion for protective order and the

                         20                objection to that motion, and notwithstanding the fact

                         21                that at Page 37 of the transcript I clearly said there

                         22                was not going to be an evidentiary hearing, it certainly

                         23                was noticed as one.

                         24                         So I think the appropriate thing to do is that,

                         25                even though Mr. Childers has moved to withdraw that




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                                                                                                           Page 24
                           1               motion -- I candidly am stymied by whether at this

                           2               juncture it's appropriate not to allow or whether a

                           3               Court cannot allow a person to withdraw a motion, but I

                           4               certainly understand Mr. Wilcox's frustration with

                           5               having prepared for an evidentiary hearing today and now

                           6               having the motion withdrawn.

                           7                        I'm going to mention a few points and then I'll

                           8               tell the parties what we're going to do today.                  First of

                           9               all, I'm going to allow Mr. Wilcox to at least put on

                         10                what he would like to put on today so that I can

                         11                consider that even if it just goes into the record for

                         12                future reference on these issues, Mr. Wilcox, if that's

                         13                what you would like to do.

                         14                         But I would like to point out that we are here,

                         15                according to the transcript beginning at Page 23,

                         16                strictly on the motion for protective order.               And at

                         17                Page 23 of the transcript -- give me just a moment -- I

                         18                said with respect to the claims -- well, first of all,

                         19                talking about the joint defense agreement, et cetera, I

                         20                said:       We need a specific itemized log of any

                         21                communications and/or documents that have been requested

                         22                to which the defendants are objecting and we need

                         23                evidence that any such communications were, in fact,

                         24                privileged communications under the attorney/client

                         25                privilege to begin with.          And then we would need further




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                                                                                                              Page 25
                           1               evidence to determine if any kind of joint defense

                           2               agreement existed and, if it did, when it occurred,

                           3               whether there is any common interest doctrine that could

                           4               possibly come into play here.

                           5                        I go on then to start talking about the claims of

                           6               the commercially sensitive information.

                           7                        At Page 25 of the transcript Mr. Childers says that

                           8               he would be happy to specifically brief the issue of

                           9               commercially sensitive information and reports that he

                         10                believes there's a lot of case law in that area.                    And

                         11                then at Page 27 I said:             Go ahead and brief those

                         12                issues.

                         13                         At Page 37 is where I said we were not going to

                         14                schedule an evidentiary hearing.                 And I'm quoting at

                         15                Line 5:            I'm not going to schedule an evidentiary

                         16                hearing at this time, but I'm going to continue the

                         17                hearing on this motion to the Court's docket on January

                         18                the 8th.           It may be that we will set this the afternoon

                         19                before that, January the 7th, because we've already

                         20                scheduled a two-hour evidentiary hearing for the

                         21                afternoon of the 8th.

                         22                         So we'll either be back on the afternoon of January

                         23                the 7th at approximately 1:30 or sometime on January the

                         24                8th.       I'm going to set aside two hours for this hearing

                         25                for additional argument, and I want us to be prepared




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                           1               and counsel to be prepared to address the claims on the

                           2               log one at a time or have dealt with them already by the

                           3               time the hearing begins.

                           4                        If we cannot resolve the issues on the affidavits

                           5               and the privilege log, then we will look at the calendar

                           6               and set as soon as I can a full-blown evidentiary

                           7               hearing on whether there is any attorney/client

                           8               privilege and, if so, what it may apply to and to whom.

                           9                        Because the motion has been withdrawn, I think it

                         10                would be premature for me to try to prohibit or grant

                         11                what in my view amounts to an ore tenus motion to bar

                         12                these defendants from ever raising these issues again.

                         13                         I think that a motion -- I've already said that I

                         14                will certainly entertain a motion for attorney's fees

                         15                and costs for the plaintiffs having dealt with this

                         16                issue through today, and it may be that other remedies

                         17                are available under that umbrella.             I'm not going to

                         18                prejudge any of that.

                         19                         But I think that, as one of my learned law clerks

                         20                pointed out, for me to go ahead and rule on this issue

                         21                for the entire case when the issues came up before me

                         22                strictly on a motion for protective order that addressed

                         23                communications that have been requested by the plaintiff

                         24                and that that motion has now been withdrawn I think

                         25                would be inappropriate for me to go forward today and




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                                                                                                             Page 27
                           1               issue a blanket ruling that the defendants can or cannot

                           2               in future try to assert these defenses.

                           3                        Having said that, in the event that the defendants

                           4               attempt to assert these positions on their own behalf,

                           5               it doesn't change what would be required in order to

                           6               support any such assertion.

                           7                        I can't rule on whether the nonparty, Mr. James,

                           8               can assert that he supposedly had a joint defense

                           9               agreement of some kind and that some communications that

                         10                he may have made might have been covered by that

                         11                agreement or privileged because that issue has not been

                         12                brought before me on any of the pleadings.

                         13                         I can, however, rule definitively in this case,

                         14                based on Page 40 of this transcript, that if any joint

                         15                defense agreement ever existed, it started no sooner

                         16                than May 1, 2012, because at Page 40 I said, starting at

                         17                Line 18:           Mr. Childers, do you -- can you agree, based

                         18                on what I just read from the motion, that the assertion

                         19                of joint defense doctrine, attorney/client privilege,

                         20                common interest doctrine relates to communications on

                         21                and after May 1, 2012?

                         22                         Answer by Mr. Childers:         I may live to regret this,

                         23                but I think we're willing to put the flag on May 1st of

                         24                2012.

                         25                         So for purposes of this case, including Mr. James,




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                           1               there was no joint defense agreement between the

                           2               defendants and Mr. James or anybody else, if one existed

                           3               at all, prior to May 1, 2012.

                           4                        Mr. Wilcox, do you have any questions on the

                           5               Court's ruling?

                           6                        MR. WILCOX:    Yes, I do, Your Honor.         I think one of

                           7               the first things the Court said was that you would allow

                           8               me to proceed.

                           9                        THE COURT:    I absolutely will.        Make your record,

                         10                Mr. Wilcox.

                         11                         MR. WILCOX:    An evidentiary record?

                         12                         THE COURT:    If you would like, yes, sir.

                         13                         MR. WILCOX:    Thank you.

                         14                         Your Honor, I'd like to at this time move

                         15                exhibits -- Jeff, have I given you Number 5?                1 through

                         16                5 into evidence.

                         17                         THE COURT:    Mr. Childers, any objection?

                         18                         MR. CHILDERS:       May I have a moment, Your Honor?

                         19                         THE COURT:    Yes, you may.

                         20                         Have you filed a list of those exhibits already,

                         21                Mr. Wilcox?

                         22                         MR. WILCOX:    Yes, Your Honor.        I filed an amended

                         23                witness list on Docket 315.

                         24                         THE COURT:    Thank you.

                         25                         MR. WILCOX:    And that's what's in the book.




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                                                                                                             Page 29
                           1                        (Pause in the proceedings.)

                           2                        MR. CHILDERS:       Your Honor, we take exception to

                           3               Exhibit Number 2, which is the privilege log that I

                           4               think we agreed is not operative, and --

                           5                        THE COURT:    I think you agreed that it was

                           6               superseded in your view by Number 3.

                           7                        MR. CHILDERS:       That's correct.

                           8                        THE COURT:    All right.      Thank you.

                           9                        MR. CHILDERS:       But, I mean, if it's necessary for

                         10                the case or relevant somehow.

                         11                         And then the transcript is in the docket, so I

                         12                would prefer to have the better evidence of the docket

                         13                taking judicial notice rather than this exhibit, which I

                         14                don't have time to review standing here today.

                         15                         THE COURT:    All right.      Thank you.

                         16                         I'm going to overrule the objection to the

                         17                admissibility of Document Number 2, which is defendant's

                         18                privilege log dated December 21, 2014, on the basis

                         19                that, if nothing else, it's admissible under the Federal

                         20                Rules of Evidence as an admission against interest.

                         21                         And so Documents Number 1 through -- now, 5 is

                         22                categorized rebuttal documents.                Is there anything under

                         23                5 at this point, Mr. Wilcox, or are you just

                         24                offering --

                         25                         MR. WILCOX:    Yes, I am.      I'm proceeding under




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                           1               Number 5 as well.        I've given the Court a copy of those

                           2               documents, as well as Mr. Childers.              Those are documents

                           3               that were produced to us in discovery, I would represent

                           4               to the Court.

                           5                        THE COURT:    All right.      The transcript of the

                           6               hearing is being admitted for the purpose of the Court

                           7               being able to have a paper transcript as opposed to

                           8               having to read it online, but the Court -- if there's

                           9               any discrepancy between Document Number 4 and the

                         10                official transcript that's already filed with the Court

                         11                at Docket Number 288, then the Docket 288 will govern.

                         12                         With that, Number 4 is also admitted into evidence.

                         13                         (Plaintiffs' Exhibit Number 4 was marked and

                         14                received in evidence.)

                         15                         THE COURT:    And then we're waiting for Mr. Childers

                         16                I think to look at Document Number 5; is that correct?

                         17                         MR. CHILDERS:       I just received it just now.

                         18                         THE COURT:    All right.      You may have just a few

                         19                moments.

                         20                         (Pause in the proceedings.)

                         21                         MR. CHILDERS:       Your Honor, these documents appear

                         22                to be the additional supplemental production that I

                         23                indicated earlier we had given Mr. Wilcox as a result of

                         24                withdrawing the privilege that I believe he said he

                         25                hadn't received yet, so to that extent I have no




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                                                                                                           Page 31
                           1               objection to his use of them.

                           2                        THE COURT:    Very well.

                           3                        MR. WILCOX:    Your Honor, I object to that

                           4               representation that these documents were produced to us

                           5               as a result of the withdrawal of the privilege.

                           6                        THE COURT:    Which didn't happen until this

                           7               afternoon.         I get it, Mr. Wilcox.

                           8                        MR. WILCOX:    Yeah, I just don't see how that

                           9               argument can be made with a straight face.              We asked

                         10                for -- we asked for -- excuse me.             I'll calm down.

                         11                         We asked for communications.         We got e-mails.       We

                         12                asked for attachments.          We had to come in here and fight

                         13                over whether we were going to get the attachments.

                         14                         THE COURT:    Mr. Childers, you'll get your chance.

                         15                Just a moment.

                         16                         MR. WILCOX:    We talked about the attachments which

                         17                we originally requested in native format.              We got those

                         18                documents sometime in the last week or so, last two

                         19                weeks perhaps.        It's not clear to me how that relates to

                         20                the privilege issues.          And so as -- so that's my

                         21                position on that.

                         22                         THE COURT:    All right.     With that, Exhibits 1

                         23                through 5 as listed on Docket Number 315 are received in

                         24                evidence.

                         25                         (Plaintiffs' Exhibits Number 2, 3 and 4 having been




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                                                                                                            Page 32
                           1               previously received by the Court, Plaintiffs' Exhibits

                           2               Number 1 and 5 were marked and received in evidence.)

                           3                        THE COURT:    Mr. Childers.

                           4                        MR. CHILDERS:       Yes.   I would just point out for

                           5               the record that the issue of e-mail attachments was

                           6               not -- we were not moved to compel them.               The first that

                           7               we heard that there was an issue with those attachments

                           8               was here in open court.             And we voluntarily produced

                           9               them, not under a Court order, but in order to

                         10                facilitate discovery.

                         11                         We have asked the plaintiffs for attachments in

                         12                native format documents for over six months and haven't

                         13                received any.

                         14                         THE COURT:    We're going to get to that motion in a

                         15                few moments.

                         16                         Mr. Wilcox.

                         17                         MR. WILCOX:    Thank you, Your Honor.         I'm prepared

                         18                to go through the exhibits and discuss their importance.

                         19                         Exhibit Number 1 is the intellectual property

                         20                transfer agreement between -- purportedly dated

                         21                June 4th, 2012, between Tutoring Zone, LLC, and Tutoring

                         22                Zone 2, LLC.        And this is one of the two basic

                         23                documents.         I think the e-mails will show that they

                         24                wanted both an intellectual property lease and an

                         25                intellectual property transfer agreement because of




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                                                                                                            Page 33
                           1               concerns that in a subsequent bankruptcy of Mr. and Mrs.

                           2               Hintze, the Court would not approve at least one of

                           3               those agreements.

                           4                        But as we go to the second page of that, there is a

                           5               definition of consideration, Paragraph 1-A on the first

                           6               page.

                           7                        MR. CHILDERS:       Your Honor, I object.      If Mr. Wilcox

                           8               is going to testify about this information he should be

                           9               sworn first.

                         10                         THE COURT:    He's pointing out a provision in a

                         11                paragraph in a document that's been admitted into

                         12                evidence, Mr. Childers.

                         13                         MR. CHILDERS:       He's interpreting or characterizing

                         14                the significance or use of these documents by other

                         15                persons who are not in the court.              He's testifying as to

                         16                what their intentions were, which is a fact issue.                   It's

                         17                not -- there's nothing in here about somebody's

                         18                intention.         He's not reading from the document when he's

                         19                explaining to you what the intention of the parties who

                         20                drafted it was.        He's testifying.

                         21                         If he's testifying, please swear him under oath and

                         22                then I can make appropriate objections about hearsay or

                         23                whatever the correct objection would be.

                         24                         THE COURT:    Mr. Wilcox.

                         25                         MR. WILCOX:    I think I'm arguing.




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                                                                                                            Page 34
                           1                        THE COURT:    Well, I think that Mr. Childers'

                           2               objection is legitimate and is sustained to the extent

                           3               that there's no problem with you pointing out provisions

                           4               of the document, but any commentary as to what the

                           5               parties intended with the document must be left to

                           6               testimony.

                           7                        MR. WILCOX:    I will wait until we reach the e-mail

                           8               that expresses that concern, Your Honor.

                           9                        At any rate, on Page 2 I would point the Court's

                         10                attention to Section 3, the transfer, and then B:                   The

                         11                price for the sale and transfer described in Section 3-A

                         12                shall be 200,000 and other valuable consideration which

                         13                is agreed and accepted by the parties to be full and

                         14                adequate consideration for the sale.              The payment of the

                         15                consideration shall be offset and credited by any

                         16                amounts owed by seller to Christopher M. James.

                         17                         Now, we know that this was a cashless transaction.

                         18                So the issue will become whether Tutoring Zone --

                         19                         MR. CHILDERS:       Your Honor, same objection.

                         20                         THE COURT:    To?

                         21                         MR. CHILDERS:       So we know this is a cashless

                         22                transaction, first of all.

                         23                         THE COURT:    I thought that was a stipulated fact,

                         24                Mr. Childers.        I thought that was admitted in the

                         25                pleading.




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                                                                                                            Page 35
                           1                        MR. CHILDERS:       There were no joint undisputed

                           2               facts.

                           3                        THE COURT:    Well, not for today, but in the actual

                           4               pleadings, the complaint and the answer and affirmative

                           5               defenses, et cetera, I was unaware of any -- if there is

                           6               a dispute as to whether any cash changed hands, then say

                           7               so, but it was my understanding from reading the

                           8               pleadings that that was not a disputed fact in this

                           9               adversary.

                         10                         MR. CHILDERS:       I'm just wanting to be careful that

                         11                we're not establishing facts here based on evidence that

                         12                is a contract.        Also, Your Honor, I would object to the

                         13                relevance of this as to the common interest privilege,

                         14                which is what we're here for.             Mr. Wilcox seems to be

                         15                arguing the case in chief.

                         16                         THE COURT:    Mr. Wilcox, I will sustain

                         17                Mr. Childers' objection to the extent that anything

                         18                you've said purports to introduce into evidence or

                         19                attempts to introduce into evidence a fact that is

                         20                not -- that is disputed.           So please stick to the

                         21                paragraphs of the provision or the contract or go ahead

                         22                and call a witness, or point me to something else in the

                         23                record that will assist.

                         24                         MR. WILCOX:    If I may, Your Honor, I'd like to take

                         25                a quick look at the answer and affirmative defenses




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                           1               because I believe that fact is admitted.

                           2                        That will take a while, Your Honor.          I'll move on.

                           3               We'll leave that for another day.

                           4                        So with regard to Exhibit 2, you see -- I mean, I

                           5               don't know whether I can say anything about what's in

                           6               the document or comment about it at this point.

                           7                        THE COURT:    Well, if it's in evidence you can

                           8               certainly comment on it, but if it isn't, the motion for

                           9               protective order has been withdrawn, so I don't -- I

                         10                won't have anything to refer to.

                         11                         MR. WILCOX:    Right.    Okay.

                         12                         Well, I guess my point with regard to Exhibit 2 is

                         13                that as of December 19th the defendants continued to

                         14                assert sensitive business information as a basis for

                         15                objection, and with regard to a communication on

                         16                9/17/2012, parties of correspondence, Matt Hintze,

                         17                Larina Hintze, Chris James, no attorney, that it's work

                         18                product of TZ 2.

                         19                         Now, if I may, Your Honor, I'd like to identify the

                         20                differences between the two privilege logs.

                         21                         And I guess I'm confused, Your Honor, at this

                         22                point.        Are they withdrawing the privilege log or just

                         23                the motion associated with the privilege log?

                         24                         THE COURT:    My understanding, both are withdrawn.

                         25                Is that correct, Mr. Childers?




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                                                                                                            Page 37
                           1                        MR. CHILDERS:       The privilege log is not withdrawn

                           2               as to any of the privileges asserted that were not

                           3               subject to the motion for protective order.               The motion

                           4               for protective order made arguments about items that

                           5               were on the privilege log.            Those items are not

                           6               privileged, as I understand it, by operation of my

                           7               having withdrawn the motion.

                           8                        THE COURT:    Okay.     So let's take this one item at a

                           9               time.       I'm going to ask the parties to look at -- is it

                         10                Number 3 that replaces Number 2?

                         11                         MR. WILCOX:    Yes.     Yes, Your Honor.

                         12                         THE COURT:    Okay.     I'm looking at Exhibit Number 3

                         13                that's been admitted into evidence.              Based on what

                         14                Mr. Childers just said, it appears to me that the first,

                         15                second, and third entries on the first page are no

                         16                longer applicable.           Is that correct, Mr. Childers?

                         17                         MR. CHILDERS:       The defendants are not asserting any

                         18                privilege as to those items.

                         19                         THE COURT:    But what you told us at the beginning

                         20                of the hearing is that maybe TZ 2 is going to be, and

                         21                that's why Mr. Davis is here; is that right?

                         22                         MR. CHILDERS:       I believe that information is the

                         23                property of TZ 2.

                         24                         THE COURT:    All right.      But you've produced it,

                         25                correct?




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                           1                        MR. CHILDERS:        I have not yet produced it.         I don't

                           2               actually have --

                           3                        THE COURT:     So are you asserting privilege or not?

                           4               If you're waiving the privilege, you have to produce it.

                           5                        MR. CHILDERS:        I'm not asserting the privilege.            I

                           6               don't have those items.            Mr. Davis has them.       And

                           7               Mr. Davis I believe -- and by the way, Your Honor,

                           8               there's a fact you're not aware of, which is Mr. Davis

                           9               told me --

                         10                         THE COURT:     No, it'd better be of record,

                         11                Mr. Childers, because you just objected to Mr. Wilcox

                         12                talking about conversations between counsel that took

                         13                place outside the courtroom, and so I don't want to hear

                         14                anything between you and Mr. Davis.

                         15                         MR. CHILDERS:        My belief is that those are going to

                         16                be produced.

                         17                         THE COURT:     I am ordering those to be produced.               So

                         18                on Exhibit Number 3, the document date of communication

                         19                5/29/2012 described as e-mail concerning sensitive

                         20                business information including tutor payroll and equity

                         21                incentives, I am ordering those to be produced within

                         22                ten days.          Mr. Wilcox, you're going to have to prepare

                         23                this order.

                         24                         Mr. Childers, are you disagreeing with me?

                         25                         MR. CHILDERS:        Your Honor --




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                           1                        THE COURT:    If you didn't have them, why object to

                           2               them?

                           3                        MR. CHILDERS:       If the Court orders the production

                           4               of those documents, then I'm sure that they will be

                           5               produced.

                           6                        THE COURT:    The second entry -- Mr. Wilcox?

                           7                        MR. WILCOX:    Is it the defendants' position that

                           8               they do not have operational control over these

                           9               documents, custody or control?

                         10                         MR. CHILDERS:       Matt Hintze is an employee of

                         11                Tutoring Zone 2, and as such, he signed an employment

                         12                agreement, part of which requires him to keep

                         13                confidential information of Tutoring Zone 2

                         14                confidential.        These particular e-mails that we

                         15                identified were e-mails that Matt Hintze has in his

                         16                business capacity as an employee of Tutoring Zone 2.

                         17                And we got a list from him of the e-mails that he had so

                         18                that we could prepare to produce.              We identified ones

                         19                that appeared to be commercially sensitive.               We asked

                         20                him to verify that in his capacity as an employee, which

                         21                he did, and we put them on the privilege log.

                         22                         As I informed the Court earlier, I, in preparing

                         23                for the briefing and the hearing, concluded that it's

                         24                not my fight.        If there is a fight, it's Tutoring

                         25                Zone 2's fight.        If Matt Hintze gives me those e-mails,




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                           1               I will produce them to Mr. Wilcox.              If not, he will

                           2               produce them on behalf of Tutoring Zone 2 if the Court

                           3               so orders.

                           4                        If Mr. -- I would ask that the Court defer entry of

                           5               the order for two days so that if Mr. Davis wants to

                           6               make an appearance in the case and assert some motion on

                           7               behalf of Tutoring Zone 2, he has an opportunity to do

                           8               so.

                           9                        THE COURT:    I'm not going to defer anything for

                         10                Mr. James to do anything.            If he wants to enter an

                         11                appearance, he should have done so long before today.

                         12                         MR. CHILDERS:       In fairness to Mr. James, Your

                         13                Honor, he's not a party to the case and doesn't get

                         14                notice of what's happening here.

                         15                         THE COURT:    I understand, Mr. Childers.

                         16                         MR. WILCOX:    Your Honor --

                         17                         THE COURT:    Give me just a moment, please,

                         18                Mr. Wilcox.

                         19                         (Pause in the proceedings.)

                         20                         THE COURT:    The defendants are ordered to produce

                         21                the documents dated 5/29/2012, 6/5/2012 and 7/17/2012

                         22                within ten days, having waived any claim on their own

                         23                behalf that those documents contain sensitive business

                         24                information.

                         25                         With respect to the documents at 7/13/2012, the




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                                                                                                             Page 41
                           1               parties to correspondence, Jeff Childers, Larina Hintze,

                           2               Matt Hintze and Christopher James, nature of document,

                           3               e-mail direction to employees of TZ 2 as attorney for

                           4               TZ 2, sensitive business information has been withdrawn,

                           5               attorney/client privilege.

                           6                        Mr. Childers, please explain to me what standing

                           7               your clients have to assert attorney/client privilege to

                           8               this communication.

                           9                        MR. CHILDERS:       Your Honor, as set forth in previous

                         10                pleadings that I've signed, I've represented Chris

                         11                James, Tutoring Zone 2, CMJ Consulting, and Matt and

                         12                Larina Hintze at various periods during this time.

                         13                         At this period, and this is all within the dates

                         14                that I've previously disclosed, I represented Tutoring

                         15                Zone 2 -- this is prior to the filing of the bankruptcy

                         16                case -- and advised Mr. James, as the owner of Tutoring

                         17                Zone, and his employees as to a matter concerning

                         18                employees of the company.

                         19                         THE COURT:    His employees meaning Larina and Matt

                         20                Hintze?

                         21                         MR. CHILDERS:       The tutors.       There were I think -- I

                         22                don't know how to explain it to you too specifically

                         23                without disclosing the content of the communication, but

                         24                they were forming a company and hiring employees and had

                         25                legal issues about that or questions about legal issues




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                           1               related to that.        And as the Court I'm sure is aware,

                           2               there's a lot of discussion about noncompetition

                           3               agreements and confidentiality and so forth related to

                           4               tutors and I think it's --

                           5                        THE COURT:    So this communication was between you

                           6               as attorney for TZ 2 and the other parties; is that

                           7               correct?

                           8                        MR. CHILDERS:       That's correct.

                           9                        THE COURT:    Then what standing do these defendants

                         10                have to raise that privilege?             It doesn't appear there

                         11                was any privilege that existed between you and these

                         12                defendants under this communication.              If any privilege

                         13                existed, it was between you and TZ 2.

                         14                         MR. CHILDERS:       Chris James is the principal of

                         15                TZ 2, so an e-mail that went to TZ 2 would naturally go

                         16                to Mr. James.        Matt and Larina Hintze were organizing

                         17                the firm as employees of TZ 2, my client.

                         18                         THE COURT:    I just asked if they were employees and

                         19                you said no.

                         20                         MR. CHILDERS:       I'm sorry, I misunderstood.         I

                         21                thought you were asking me if the employees that were

                         22                referenced in the e-mail were Matthew and Larina Hintze.

                         23                         THE COURT:    That's exactly what I asked.          And I

                         24                think your answer was no.

                         25                         MR. CHILDERS:       The content was not about those




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                           1               particular employees but different employees, but Matt

                           2               and Larina Hintze --

                           3                        THE COURT:    Right.     What evidence do I have today

                           4               as noticed on the docket for today that would support

                           5               any claim of privilege as to this communication?

                           6                        MR. CHILDERS:       My motion for protective order which

                           7               is signed by me that sets forth those dates of

                           8               representation.

                           9                        THE COURT:    Thank you.

                         10                         Mr. Wilcox?

                         11                         MR. WILCOX:    Your Honor --

                         12                         THE COURT:    I'm sorry?

                         13                         MR. WILCOX:    I don't how you rely on a motion that

                         14                you've withdrawn.

                         15                         THE COURT:    You don't.

                         16                         MR. WILCOX:    And I will also -- I can prove, I will

                         17                proffer the testimony of Mr. Fieldman that TZ 2 did not

                         18                begin operations until the end of August and had no

                         19                employees as of June -- July 15th.

                         20                         THE COURT:    The defendants are ordered to produce

                         21                the documents listed as dated June 13, 2012, within ten

                         22                days.

                         23                         MR. CHILDERS:       Your Honor --

                         24                         THE COURT:    Mr. Childers, I have ruled.

                         25                         MR. CHILDERS:       Your Honor, I would ask you to




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                                                                                                               Page 44
                           1               reconsider.

                           2                        THE COURT:       I know you will.        You can file a

                           3               motion.            That is my ruling.

                           4                        The next document is dated 7/26/2012.              It's

                           5               described as privilege asserted, sensitive business

                           6               information of TZ 2.             That's been withdrawn by these

                           7               defendants.           They're ordered to produce that information

                           8               within ten days.

                           9                        The same is true with respect to every

                         10                communication on the second page of Exhibit Number 3

                         11                and every communication on the third page of Exhibit

                         12                Number 3 other than the very last one which we will ask

                         13                about at this time, which is that dated 9/17/2012 where

                         14                it asserts work product of TZ 2 and sensitive business

                         15                information.

                         16                         To the extent that it reflects a defense of

                         17                sensitive business information or an alleged privilege,

                         18                then that's been withdrawn by these defendants.                     I need

                         19                some evidence that it is work product of TZ 2 or that,

                         20                even if it is, that shouldn't be produced.

                         21                         Mr. Childers?

                         22                         MR. CHILDERS:          Your Honor, I relied on the Court's

                         23                notice yesterday that this would not be an evidentiary

                         24                hearing and I did not bring my witnesses or evidence.                        I

                         25                understood that Mr. Wilcox was going to be allowed to




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                                                                                                               Page 45
                           1               put in evidence to preserve it for some future time when

                           2               the Court would hear these issues.                 It now appears that

                           3               the Court is hearing them now, and I'm not prepared to

                           4               put on evidence right now.

                           5                        THE COURT:      Mr. Wilcox?

                           6                        MR. WILCOX:      Your Honor, there's no work product.

                           7               There's not even -- it's not even --

                           8                        THE COURT:      Well, what theory could we be traveling

                           9               under that a document is work product of a company?

                         10                This says work product of TZ 2.                  Number one, what

                         11                standing would Mr. and Ms. Hintze have to raise that?

                         12                Even without evidence.

                         13                         MR. CHILDERS:         Your Honor, suppose the plaintiffs

                         14                subpoenaed my paralegal and asked for all of the e-mails

                         15                of my law firm.          My law firm would raise an objection

                         16                to that.           Ms. Hunt would object that she doesn't have

                         17                authority to turn over confidential information relating

                         18                to all of my clients and my law firm's finances and our

                         19                internal management and everything else because she's an

                         20                employee of my firm.

                         21                         THE COURT:      All right.      Let's break this down.

                         22                First of all, a law firm is completely different than

                         23                TZ 2, so to that extent, that analogy isn't going to

                         24                fly.

                         25                         First of all, this says e-mail regarding marketing




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                           1               TZ 2, semicolon, public announcements.               How in the world

                           2               can public announcements amount to anyone's work

                           3               product?

                           4                        MR. CHILDERS:       Your Honor, TZ 2 was under attack at

                           5               the time.

                           6                        THE COURT:    This is evidence.

                           7                        MR. CHILDERS:       It wasn't an evidentiary hearing.            I

                           8               didn't bring the evidence with me.              But you've asked me

                           9               to give you an explanation.

                         10                         THE COURT:    Is there any dispute, Mr. Wilcox, that

                         11                TZ 2 was under attack at the time?

                         12                         MR. WILCOX:    Yes, Your Honor, there is.

                         13                         THE COURT:    There is a dispute.        All right.      I'm

                         14                going to reserve ruling on this item and I'm going to

                         15                have the parties brief whether or not this item should

                         16                be produced.        I'm going to give you ten days.

                         17                         MR. WILCOX:    That's the 9/17?

                         18                         THE COURT:    9/17/2012 at the bottom of the,

                         19                excluding the tabs, third page of Exhibit Number 3.

                         20                         MR. WILCOX:    Your Honor, should we also brief

                         21                whether these defendants have standing to --

                         22                         THE COURT:    Absolutely.      Brief any issue that

                         23                might pertain to whether the Court should compel the

                         24                production of this document in light of the waivers

                         25                by -- or the withdrawal of the motion at Docket




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                                                                                                            Page 47
                           1               Number 266.

                           2                        Mr. Childers.

                           3                        MR. CHILDERS:       Yes, Your Honor.     Is there a pending

                           4               motion to compel?

                           5                        THE COURT:    There is not, but I'm proceeding on it

                           6               anyway.

                           7                        MR. CHILDERS:       Sua sponte?

                           8                        THE COURT:    Yes, sir.      We came here to go over a

                           9               privilege log.        It was my understanding when you

                         10                withdrew the motion for protective order that we were

                         11                here on today, that that negated any issue we might

                         12                have to deal with with the privilege log.               It hasn't.

                         13                And so, therefore, the issue today is whether, even

                         14                though the motion for protective order has been

                         15                withdrawn, your clients are still refusing to produce

                         16                these items.        And that's what we came here to try to

                         17                decide today.        The transcript from the last hearing is

                         18                abundantly clear.

                         19                         So any legal issue pertaining to this particular

                         20                set of documents or this particular e-mail needs to be

                         21                briefed, and if there are facts that are germane,

                         22                affidavits containing material facts have to be

                         23                submitted on this issue within ten days.

                         24                         Are there any questions on that ruling?            Thank you.

                         25                         The first entry at the top of the last page of




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                                                                                                            Page 48
                           1               Exhibit Number 3 which is dated 9/28/2012, sensitive

                           2               business information, the motion has been withdrawn, so

                           3               that's to be produced within ten days.

                           4                        The next two items which are dated 9/8/2012 and

                           5               7/13/2012, next to both of which it says work product of

                           6               TZ 2, those are to be briefed along with the other one.

                           7               All legal issues are to be briefed, and any evidentiary

                           8               matters that need to be brought before the Court with

                           9               respect to those two items have to be filed within ten

                         10                days or the defendants will be ordered to produce those.

                         11                         With respect to the item dated 7/13/2012, next to

                         12                which says sensitive business information, that

                         13                particular objection or defense has been withdrawn and

                         14                so we are not dealing with that objection.

                         15                         Now, the last three items dated 6/27/2014, 8/2/2012

                         16                and 7/5/2012, with respect to work product, whose work

                         17                product are these items, Mr. Childers?

                         18                         MR. CHILDERS:       The work product of Tutoring Zone 2.

                         19                         THE COURT:    And what standing do the Hintzes have

                         20                to raise an objection to production of those items?

                         21                         MR. CHILDERS:       The Hintzes are agents of Tutoring

                         22                Zone 2 with managerial authority.

                         23                         THE COURT:    And with respect to attorney/client

                         24                privilege, whose privilege is being asserted here?

                         25                         MR. CHILDERS:       Tutoring Zone 2.




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                                                                                                            Page 49
                           1                        THE COURT:    And what standing do the Hintzes have

                           2               to assert privilege on behalf of TZ 2 here?

                           3                        MR. CHILDERS:       The Hintzes are agents of Tutoring

                           4               Zone 2 with authority to raise that objection.

                           5                        THE COURT:    Mr. Wilcox?

                           6                        MR. WILCOX:    I just don't see it, Your Honor, but

                           7               if we have to brief it, we have to brief it.

                           8                        THE COURT:    Those three items will also be briefed

                           9               and evidence presented within ten days, after which the

                         10                Court will either rule on the papers or schedule a

                         11                further hearing.

                         12                         And once again, so the record is abundantly clear,

                         13                those are the last three items on the last page

                         14                of -- I'm sorry, on the last -- fourth page of Exhibit

                         15                Number 3, and they are dated 6/27/2014, 8/2/2012 and

                         16                7/5/2012.

                         17                         Are there any questions on those items or anything

                         18                that we've discussed so far on this exhibit?

                         19                Mr. Childers?

                         20                         MR. CHILDERS:       No, Your Honor.     I think I

                         21                understand.

                         22                         THE COURT:    Mr. Wilcox?

                         23                         MR. WILCOX:    No, Your Honor.

                         24                         THE COURT:    Now, there is another attachment to

                         25                Exhibit Number 3.        Is that simply a cover letter for the




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                                                                                                             Page 50
                           1               amended privilege log?           Is there any reason to have to

                           2               look at that today?

                           3                        MR. WILCOX:    Only to the extent that there were

                           4               representations made earlier in the hearing that the

                           5               documents that we're talking about have actually been

                           6               produced prior to this hearing.                It says at the last

                           7               sentence -- the second paragraph reads:                First, we have

                           8               withdrawn the claim of privilege under the common

                           9               interest doctrine without prejudice to asserting that

                         10                basis later for different documents, if needed.                   We will

                         11                produce the documents that were previously identified as

                         12                privileged in that category.

                         13                         I don't see how that's consistent with the

                         14                representations made to the Court today.

                         15                         THE COURT:    All right.      Aside from that, is there

                         16                any other evidentiary effect of this letter?

                         17                         MR. WILCOX:    No, Your Honor.

                         18                         THE COURT:    Anything on that letter, Mr. Childers?

                         19                         MR. CHILDERS:       No, Your Honor.

                         20                         THE COURT:    Thank you.

                         21                         You may proceed, Mr. Wilcox.

                         22                         MR. WILCOX:    Thank you, Your Honor.          And obviously

                         23                the transcript speaks for itself.               We've already gone

                         24                through that.

                         25                         I'd like to turn now to Exhibit 5 and talk about




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                           1               these.        These are documents that were produced.           And you

                           2               can see the first document, these are a series of e-mail

                           3               strings produced by the defendants in this case.                 And

                           4               the first document is May 2nd.            And I'm not going to

                           5               comment on it, but it refers to -- contains the phrase

                           6               in the first line, interesting times.

                           7                        I would then -- I'd ask that if the Court can

                           8               review these at some point, they make interesting

                           9               reading.

                         10                         Can I comment, these were -- when these e-mails,

                         11                how these e-mails relate to the larger case?

                         12                         THE COURT:    Well, we're here today on -- were here

                         13                today on the motion for protective order.              If I were to

                         14                take evidence today, it would be strictly dealing with

                         15                that motion for protective order.

                         16                         Because of the unfortunate chain of events where

                         17                this was noticed as evidentiary when it shouldn't have,

                         18                I'm allowing you to present your evidence, but it should

                         19                be limited to the motion for protective order and the

                         20                issues that were raised in that.

                         21                         MR. WILCOX:    Thank you, Your Honor.        And I guess we

                         22                think that this would lay the foundation for a fraud

                         23                exception to any common interest doctrine that was

                         24                alleged.

                         25                         I turn now to the 12th, I believe it's the 12th




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                                                                                                              Page 52
                           1               page in, it's an e-mail, Monday, May 7th, 2012, at

                           2               3:57 p.m., Larina Hintze to Chris James.                 And I'll give

                           3               the Court a minute to get there.                 These could not be

                           4               Bates stamped, Your Honor, because of the format.

                           5                        THE COURT:       May 7th, 2012, at 3:57 p.m.?

                           6                        MR. WILCOX:       That's correct.

                           7                        THE COURT:       I'm there.     Thank you.

                           8                        MR. WILCOX:       Chris, thinks (sic) seem to have

                           9               peaked in escalation or are settling back down, very

                         10                interested in Jeff's input.

                         11                         Monday, May 7th, and the earlier string, James,

                         12                Christopher -- James, comma, Christopher wrote:                    Sorry,

                         13                I was traveling over the weekend and did not have cell

                         14                service.           I am speaking with Jeff today to get a sense

                         15                of the legal issues in restructuring.                 I will call you

                         16                later and fill you in.

                         17                         The next e-mail is two pages further, Friday, May

                         18                11th, Christopher James to Matt Hintze, and I guess it's

                         19                actually the second e-mail:              Hello, we have spoken with

                         20                many of you over the past few days, would like to

                         21                arrange a meeting of creditors to discuss our proposal

                         22                for moving forward.

                         23                         The next one is Wednesday, May 16th.             And if we

                         24                start sort of at the end of that, it's a three-page

                         25                string.            It's a Matthew Hintze to Christopher James:




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                                                                                                           Page 53
                           1               Welcome back.        I would like to hand out the attached

                           2               document at our meeting today.            I have not entered the

                           3               equity percentages for existing creditors -- and this is

                           4               an e-mail, May 14th at 17:16, 5:16 in the afternoon:                    I

                           5               have not entered the equity percentages for existing

                           6               creditors, new working capital, et cetera.              I think they

                           7               will be looking for suggestions but I did not want to do

                           8               much on this front before speaking to you.

                           9                        Then the e-mail at the end of that string,

                         10                Wednesday, May 16th at 9:08 a.m.:             Let's meet first

                         11                thing Thursday a.m.          Please bring with you the past

                         12                business plan, financials for this year, an outline of

                         13                the structure that you are going to go with in the

                         14                restructuring.        I am going to meet with Jeff following

                         15                our -- and it's spelled A-R-E -- I am going to meet with

                         16                Jeff following our meeting to get some idea of my

                         17                exposure under the plan as well as having him work on

                         18                the documentation for the transaction.

                         19                         THE COURT:    All right.     Let me stop you there

                         20                because you've lost me.          What was the date on that

                         21                again?

                         22                         MR. WILCOX:    That's Wednesday, May 16th at

                         23                9:08 a.m.

                         24                         THE COURT:    And it's -- okay.

                         25                         MR. WILCOX:    It's a Gmail e-mail that says, re,




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                           1               handout for meeting tonight.           And I can count the pages.

                           2                        THE COURT:    All right.     I have it.     Thank you.

                           3                        MR. WILCOX:    I can go through it again.

                           4                        THE COURT:    No, I see it.      Thank you.

                           5                        MR. WILCOX:    And the remainder, it says:         My

                           6               understanding is that some of the notes have

                           7               restrictions on asset sales.           If so, bring those with

                           8               you as well as any other docs you think are helpful to

                           9               understand the position I will have going forward.

                         10                         The next e-mail is Wednesday, May 23rd at

                         11                6:09 p.m., Christopher James to Matthew Hintze with a

                         12                one-word e-mail, Comments.           And that is in response to

                         13                an earlier e-mail, May 23rd, 2012, at 10:20 -- I'm

                         14                sorry, at 15 hours, 10 minutes, 20 seconds Eastern

                         15                Daylight Time, FYI, covering an e-mail Wednesday, May

                         16                23rd at 12:08 p.m., Jeffrey Childers to Cynthia

                         17                Frenchman, Larina at TutoringZone.com, subject, LLC

                         18                operating agreement IP lease:            Cynthia, et al, attached

                         19                please find my first draft of the LLC operating

                         20                agreement for Tutoring Zone 2, LLC, and the intellectual

                         21                property lease.        Note that I have Chris and Cynthia

                         22                leasing the IP directly and then assigning the lease to

                         23                TZ 2 as consideration for the initial membership units,

                         24                i.e. capital contribution.

                         25                         Skipping a paragraph:       Once you approve the




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                           1               operating agreement, then I will set up the LLC with the

                           2               State of Florida and get and (sic) F-E-I-N.

                           3                        The next document two pages following that is the

                           4               attachment, what's title Intellectual Property Lease.

                           5                        The next e-mail is Monday, May 28th, 5:48 p.m.,

                           6               Larina Hintze to Chris James.            Looks like that's a draft

                           7               of an e-mail.

                           8                        The next is Wednesday, June 6th at 7:30 p.m., an

                           9               e-mail from Larina Hintze to Norman Bledsoe, Jeffrey

                         10                Childers, Scott Walker, Christopher James, Matthew

                         11                Hintze, BPHintze@Bellsouth, and that's in response to

                         12                Norman Bledsoe's memo, which is the e-mail below:                  No

                         13                cause of action for TI exists where one doesn't act,

                         14                which is legal in itself.

                         15                         Reading from the e-mail at the top, beginning of

                         16                the third paragraph:         Then our strategy could be to make

                         17                it seem like this is the worst thing in the world for us

                         18                and to make every attempt to negotiate a way to avoid

                         19                this so they keep their eye on that ball and keep them

                         20                focused on that strategy.           That may be the best way to

                         21                move us forward.

                         22                         Friday, June 29th, only significance here is that

                         23                it's an e-mail that was delivered from Matthew Hintze to

                         24                Jeffrey Childers and Christopher James covering an

                         25                e-mail, an earlier e-mail.




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                                                                                                              Page 56
                           1                        Then we reach what I think is the last e-mail here.

                           2               Starting at the end of that, it's a four-page string, an

                           3               e-mail from Matt Hintze to John Spence and some other

                           4               people:            John, in our last creditor meeting we discussed

                           5               TZ needing to go out of business as it could not service

                           6               its debts, and the creditors understood based on not

                           7               being able to service its debts that Larina and I would

                           8               personally be forced into bankruptcy.                 You are right,

                           9               John, about our moral obligation, and as such, we

                         10                reaffirmed our moral obligation to pay everyone back,

                         11                and creditors therefore stated they would not contest

                         12                the bankruptcy but did expect us to repay them, which we

                         13                again affirmed we would.

                         14                         Moving up in the chain, it's an e-mail from John

                         15                Spence.            I won't go through that.      It's demanding

                         16                information:           Matt, I've grown tired of your constant

                         17                excuses.           You have a fiduciary responsibility to the

                         18                entire investor creditor group to keep us informed of

                         19                all pertinent and substantive financial and strategic

                         20                developments.

                         21                         Then above that, Larina Hintze, Sunday, July 11th,

                         22                2012, to Matthew Hintze, Christopher James, Jeffrey

                         23                Childers and BP Hintze:             Matt and Chris conferenced and

                         24                Matt is meeting with Kevin at noon to get a feel for

                         25                where this is coming from, isolated or spurred on by




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                           1               group, as well as having a follow-up call with Jeff.                    My

                           2               thoughts are -- and then she talks about what her

                           3               thoughts are and the possible strategy, which is on the

                           4               next page:         Strategy; is it possible to have Scott

                           5               Walker, an attorney, call John and say, listen, as

                           6               acting CEO you have exposure and liability in that you

                           7               are privy to all information before, during, and after

                           8               TZ, and as such, we must weigh our need for

                           9               communication against our exposure and liability as

                         10                Fieldman could pursue a suit against Matt and Larina but

                         11                also individually against you as the CEO and/or possibly

                         12                the advisory board.

                         13                         Then I go to the top e-mail or the next to top

                         14                e-mail, Sunday, July 1st at 9:09 p.m., Christopher James

                         15                to Larina:         I would not send anything to the investors

                         16                until we speak to Jeff.          My view is that we tell

                         17                investors that TZ is closing and that you and Matt as

                         18                well as a number of tutors have been hired as employees

                         19                of CMJ that will begin in the fall offering tutoring

                         20                services under the name TZ 2.            Tell them that you and

                         21                Matt will try very hard to repay investors if and when

                         22                funds become available.          Next, Matt discusses all this

                         23                with the Alligator and we move forward.              This is the new

                         24                and improved well-capitalized and economical tutoring

                         25                service.




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                                                                                                            Page 58
                           1                        Now, I will comment that the transfer agreement was

                           2               dated June the 4th.          This e-mail is July 1st.        Response

                           3               by Larina:         Yes, sir, boss, with a smiley face.

                           4                        May I comment briefly on the evidence?

                           5                        THE COURT:    Mr. Wilcox, I'm not going to coach

                           6               you ahead of time as to what you can and cannot say.

                           7               That's up to you.        You're presenting your case.            If

                           8               Mr. Childers feels he should object, then he is free to

                           9               do so.

                         10                         MR. WILCOX:    Your Honor, I think what these e-mails

                         11                show and that the e-mails will show is that my clients

                         12                were being told one thing when there was a transaction

                         13                in place that did something completely different, that

                         14                the bankruptcy of these individuals was contemplated,

                         15                that this transfer was contemplated, that this transfer

                         16                was coordinated by counsel.            I'm not saying it's

                         17                initiated by counsel, I'm saying it was coordinated by

                         18                counsel, who I think has a conflict of interest problem

                         19                here.

                         20                         Let's also remember that Mr. James loaned money in

                         21                2010.       He came before this Court and argued --

                         22                         MR. CHILDERS:       Your Honor, I'd object again as to

                         23                relevance to the pending issue before the Court.

                         24                         THE COURT:    What's the relevance to the issue of

                         25                what documents should be discovered today?




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                                                                                                             Page 59
                           1                        MR. WILCOX:     The relevance is it was part of the

                           2               continuing fraud, this issue of joint representation of

                           3               creditor and debtor at the same time, action by the

                           4               creditor to attempt to perfect a security interest using

                           5               debtor's counsel as his counsel.

                           6                        THE COURT:     I think that that can be taken up by

                           7               the Court upon filing appropriate pleadings.

                           8                        MR. WILCOX:     That's fine, Your Honor.

                           9                        THE COURT:     Mr. Childers.

                         10                         MR. CHILDERS:        Thank you, Your Honor.

                         11                         THE COURT:     First of all, let me ask the court

                         12                staff, does anyone need us to take a brief recess?

                         13                Madam court reporter?            All right.

                         14                         MR. CHILDERS:        I'll just make a brief argument in

                         15                rebuttal.          I'm not going to address the bigger issues in

                         16                the case.          Obviously my clients completely disagree with

                         17                the characterization as Mr. Wilcox enunciated it, and

                         18                we'll look forward to our day in court.

                         19                         However, I think that what just happened here is

                         20                that we now have evidence before the Court of the

                         21                representation that has been alleged of Tutoring Zone 2,

                         22                Chris James, CMJ Consulting and the Hintzes, as evident

                         23                in the documents that Mr. Wilcox just introduced into

                         24                evidence, the employment of the Hintzes by TZ 2 in the

                         25                formation period and after.




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                           1                        Also evident in the e-mails that Mr. Wilcox just

                           2               read to the Court is the conflict from the Fieldmans

                           3               that the Hintzes and Mr. James were concerned about from

                           4               the very beginning.          He read relevant portions and there

                           5               are longer portions in the parts that he didn't read

                           6               where it's clear that they are responding to hostile

                           7               actions by the Fieldmans and making legal plans relating

                           8               to those.

                           9                        THE COURT:    Mr. Wilcox?

                         10                         MR. WILCOX:     I object to that characterization.              If

                         11                he can point to it in the document, point to it.

                         12                         MR. CHILDERS:       Your Honor --

                         13                         MR. WILCOX:     But he can't argue it if you don't

                         14                point to it.

                         15                            THE COURT:   Well, my question here is how is

                         16                that point relevant to the discovery that we're here on

                         17                today?

                         18                         MR. CHILDERS:       Well, we're here on a

                         19                quasi-evidentiary hearing to establish whether or not

                         20                there was a common or joint interest, and so --

                         21                         THE COURT:    No, no.     Well, we were.

                         22                         MR. CHILDERS:       We were.   And that's what the

                         23                evidence Mr. Wilcox was presenting is in support of.

                         24                And he made an argument at the end of his evidence, and

                         25                I'm making a rebuttal to that argument.               And I assume,




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                           1               Your Honor, that this would be relevant if in the future

                           2               we reassert the common interest privilege, and then we

                           3               would back into the proceedings today.

                           4                        So we see in the e-mails that were just introduced

                           5               into evidence the concern and activity by my clients at

                           6               that time.         In particular I would draw the Court's

                           7               attention to the e-mail dated Wednesday, June 6th, and

                           8               July the 1st of 2012 where the clients not only were

                           9               discussing between themselves but had a memo prepared

                         10                for them by the law firm of Folds and Walker.               There's

                         11                an e-mail copied from Norm Bledsoe and also carbon

                         12                copied to Scott Walker, who were assisting them at that

                         13                time with the problems that they were having with the

                         14                Fieldmans.

                         15                         So I believe that the evidence firmly supports the

                         16                existence of a joint interest or common defense

                         17                privilege.

                         18                         MR. WILCOX:    If you look at -- if I may, Your

                         19                Honor.

                         20                         THE COURT:    Yes, sir.

                         21                         MR. WILCOX:    If you look at the Bledsoe memo, it

                         22                says that the purchase of that note and the enforcement

                         23                of that note by FLH is not illegal.             There's nothing

                         24                wrong with it.        And what we lack for common interest

                         25                privilege -- first of all, we really lack any sense of




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                           1               representation.

                           2                        There's no evidence of anybody representing

                           3               anybody.           All there is is an attorney that's at the

                           4               center of a number of transactions with apparently

                           5               multiple clients and no identification of any common

                           6               interest between the transferor and the transferee and

                           7               no identification of common interest between the debtor

                           8               and the creditor.          That's the key point to this.            And

                           9               I'll sit down.

                         10                         THE COURT:      Mr. Childers.

                         11                         MR. CHILDERS:         Thank you, Your Honor.

                         12                         Just to clarify, on Wednesday, June the 6th, 2012,

                         13                and I'm reading from that --

                         14                         THE COURT:      Give me a moment to get to that one,

                         15                please, Mr. Childers.

                         16                         Is that the one that at the top of the page it says

                         17                Gmail and it's re FW:TZ?

                         18                         MR. CHILDERS:         Correct.

                         19                         THE COURT:      Thank you.

                         20                         MR. CHILDERS:         And this is an e-mail, as you can

                         21                see, from Larina Hintze to Norm Bledsoe, who is an

                         22                attorney with the law firm of Folds and Walker, copying

                         23                me, Scott Walker, Chris James, Matt Hintze, and I'm

                         24                guessing that that's Bruce Hintze's e-mail.

                         25                         And Larina has addressed it to Norm, her attorney




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                           1               at Folds and Walker, and states:               If you think that

                           2               Fieldman's strategy is to -- and then she quotes:                    My

                           3               guess is that McCarty desires to sue to enforce the note

                           4               and then subsequently levy on Matt's ownership interest

                           5               in TZ.

                           6                        So what they're talking about here is the purchase

                           7               of one of the investors' notes by Mr. Fieldman and what

                           8               he intended to do with it.

                           9                        MR. WILCOX:    Your Honor, there's no evidence that

                         10                Mr. Fieldman ever purchased any note.

                         11                         MR. CHILDERS:       Continuing on, this is the portion

                         12                that Mr. Wilcox read, I would assert, out of context to

                         13                make it sound like he was referring to the investor

                         14                plaintiffs, but then:           Our strategy could be to make it

                         15                seem like this is the worst thing in the world for us,

                         16                and so forth, which was previously read.               They're

                         17                referring to the Fieldmans' purchase of the note.

                         18                         THE COURT:    And where is that shown here,

                         19                Mr. Childers, in response to Mr. Wilcox's comment?

                         20                         MR. CHILDERS:       Well, take a look at the e-mail that

                         21                Larina is responding to that Norm sent to her:                   A

                         22                counterclaim for tortious interference against Steven

                         23                Fieldman could be tough to win.

                         24                         THE COURT:    I'm sorry, where are you reading?

                         25                         MR. CHILDERS:       About halfway down the page on the




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                           1               first page.        So it says on Wednesday, June the 6th,

                           2               right about here, Norm Bledsoe --

                           3                        THE COURT:    Oh, I see, next to it.         Okay.

                           4                        MR. CHILDERS:       A counterclaim for tortious

                           5               interference against Steven Fieldman could be tough to

                           6               win.       So there you have a cause of action that they're

                           7               concerned about, to wit; one, no cause of action for TI,

                           8               meaning tortious interference exists where one doesn't

                           9               act, which is legal in itself, malice or bad motive is

                         10                of no import in this instance.             Accordingly, Steve's

                         11                malicious act of acquiring and enforcing Randy Scott's

                         12                note is not factual.          McCarty will argue that Steve is

                         13                not interfering with any relationship, he's merely

                         14                purchased the note and is enforcing it.

                         15                         Three; a claim against Steve falls outside the

                         16                typical fact pattern.           Four; Steve may not be tied

                         17                closely enough to Study Edge to maintain an action for

                         18                tortious interference.           We would have to bring in the

                         19                Fieldmans into the litigation under a conspiracy theory

                         20                to really get somewhere.

                         21                         It is my belief that Mac McCarty probably

                         22                structured the purchase of the Randy Scott note with a

                         23                view to avoiding a counterclaim for tortious

                         24                interference.        Mac is too smart to let Ethan purchase

                         25                the note on his own.          Mac told me via phone that, quote,




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                           1               a trustee, end quote, owns, quote, a note, end quote.

                           2                        Based on what I know now, I would not advise a TI

                           3               counterclaim.        My opinion may change if I learn new

                           4               facts.        My guess is that McCarty desires to sue to

                           5               enforce the note and then subsequently levy on Matt's

                           6               ownership interest in TZ.

                           7                        So my argument is that this is the evidence the

                           8               Court has been looking for for what the common interest

                           9               would be between these parties.               These are all the same

                         10                parties that are parties to this e-mail.               They're

                         11                sharing work between different law firms that are

                         12                working on the same issue, which is, as we've said from

                         13                day one in this case, the aggressive action of Steven

                         14                Fieldman in trying to destroy the company Tutoring Zone

                         15                to the detriment of Mr. Wilcox's other clients, the

                         16                investors.

                         17                         Fortunately, it's now record evidence that such a

                         18                relationship of a common interest existed.               Because

                         19                Bruce Hintze is included in this, this particular one

                         20                would not be privileged under a joint or common interest

                         21                privilege, so this is -- this one's fine, fair game.

                         22                Okay.

                         23                         But to the extent that there might be testimony or

                         24                future documents, I would like to reserve the ability to

                         25                come back to the evidence that's been presented to the




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                           1               Court today and make the argument that that relationship

                           2               and exception to the privilege, as the Court has pointed

                           3               out more than once, and I apologize for continuing to

                           4               call it a privilege, does exist.

                           5                        THE COURT:    All right.     Thank you.     And your rights

                           6               are preserved to the extent that they're not ruled on at

                           7               some later date.

                           8                        Mr. Wilcox.

                           9                        MR. WILCOX:    Very briefly, Your Honor.

                         10                         This just strains credulity.         We have a memo from

                         11                the lawyer saying that there is no cause of action at

                         12                this time.         He does reserve, as all lawyers do, if I

                         13                learn additional facts.          But to suggest that the

                         14                purchase of the note by Steve Fieldman and his intent to

                         15                destroy Tutoring Zone when Tutoring Zone, Tutoring

                         16                Zone's assets had already been sold in an insider deal

                         17                in a cashless transaction to a creditor of the debtors

                         18                is just incredible.

                         19                         And this is after the Hintzes were telling

                         20                everybody that Tutoring Zone was going out of business

                         21                when, in fact, there was a transfer going on that would

                         22                allow them to benefit from the sale of the corporate

                         23                assets and continue to maintain their income.

                         24                         Thank you.

                         25                         THE COURT:    Thank you.




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                           1                        Is there anything further to be brought before the

                           2               Court today with respect to the document production that

                           3               was covered under the umbrella of motion for protective

                           4               order, Docket Number 266?

                           5                        No, Mr. Childers?

                           6                        MR. CHILDERS:       Not from the defendants, Your Honor.

                           7                        THE COURT:    And I understand, Mr. Wilcox, nothing

                           8               further today?

                           9                        MR. WILCOX:    That's correct.

                         10                         THE COURT:    And there are no questions about what

                         11                the parties have been ordered to brief and submit

                         12                evidence on; is that correct?

                         13                         MR. CHILDERS:       Your Honor, I understand you went

                         14                through item by item and gave us direction on each item

                         15                as to briefing, and I think we've got a good record of

                         16                that here.

                         17                         THE COURT:    And I want to have Mr. Wilcox prepare

                         18                an order that so orders.           I had asked at the end of the

                         19                last hearing for someone to submit an interim order.                     We

                         20                didn't get one, and I think that's part of the reason

                         21                that we've had an interesting afternoon.

                         22                         Mr. Wilcox, questions?

                         23                         MR. WILCOX:    No, I think I understand it.             I may

                         24                have to defer to other people's notes, but I will go

                         25                ahead and prepare that order.




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                           1                        THE COURT:    If there are any questions about the

                           2               terms of the order, then let my chambers know and I'll

                           3               do my best to schedule an emergency telephonic hearing

                           4               between the two of you to deal with the terms of the

                           5               order.        I think it's been pretty clear.        The order

                           6               should be plan vanilla, I would think, but to the extent

                           7               that there may be issues, I am willing to undertake to

                           8               hear them as quickly as possible.

                           9                        And I'm not extending the ten days from the date of

                         10                the order.         It is ten days from today regardless of when

                         11                the order is signed.         If you can't resolve your disputes

                         12                over the order, I'll take your two competing orders and

                         13                prepare one of my own.

                         14                         But it is ten days from today to brief the issues

                         15                and submit affidavit-type evidence in support of or

                         16                against the debtor's remaining claims that those limited

                         17                number of documents should not have to be produced.

                         18                         MR. WILCOX:    May I ask for somewhat supplementary

                         19                but related relief that to the extent the defendants

                         20                assert a common interest privilege in the future, that

                         21                along with the assertion of that common interest

                         22                privilege they provide affidavits demonstrating the

                         23                basis of the privilege, a privilege log, and an

                         24                affidavit expressing what common interest it is that is

                         25                being described?




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                           1                        My concern, Your Honor, is that we're going to be

                           2               back here on the same situation where -- I think the

                           3               parties both want the Court to set this matter for

                           4               trial.        We've finally agreed on some deposition dates in

                           5               January and February.           We have a motion coming up on

                           6               that in a few minutes.           But I think both sides feel the

                           7               need -- you know, we're trying to schedule depositions

                           8               when -- both sides, both sides are trying to schedule

                           9               depositions at a time when they think they do not have

                         10                all the documents, and that's a difficult thing to do.

                         11                         It seems to me that that procedure, as a case

                         12                management procedure, would expedite and would also

                         13                perhaps force people to be very careful in their

                         14                assertion of these -- privilege is not the right word,

                         15                but exception to production.            Thank you.

                         16                         THE COURT:    Mr. Childers.

                         17                         MR. CHILDERS:       I was only going to say, Your Honor,

                         18                that we have no current knowledge of an occasion to

                         19                assert that particular privilege, but if we do, I would

                         20                assume that the Court would give us some guidelines at

                         21                that time.         And again, because we don't know what the

                         22                future will bring, I think it's premature to start

                         23                making directives about that.

                         24                         THE COURT:    Just a moment.          Let me look at

                         25                something.




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                           1                        (Pause in the proceedings.)

                           2                        THE COURT:       How much time, first of all, going to

                           3               the other motions, do you think that we're going to need

                           4               for a hearing on the motion to compel, we're out of time

                           5               for today, at 271?              That was your motion, Mr. Childers.

                           6                        MR. CHILDERS:          Yes, Your Honor.      I'll need at least

                           7               an hour.

                           8                        THE COURT:       Do you disagree, Mr. Wilcox?

                           9                        MR. WILCOX:       Your Honor, it's his motion, so --

                         10                         THE COURT:       All right.      An hour on that one.

                         11                         What about the motion for authority to take more

                         12                than ten depositions?

                         13                         MR. WILCOX:       That one, Your Honor, I think we can

                         14                deal with pretty quickly.               I think that's a 15-minute

                         15                motion.            And I would like to get that done because we're

                         16                trying to schedule depositions.                   In fact, we've been

                         17                ordered to exchange deposition schedules.                   I can't do

                         18                that until I know how many depositions we can take.

                         19                         THE COURT:       Mr. Childers, 15 minutes for that one

                         20                do you think or not?

                         21                         MR. CHILDERS:          Your Honor, it could be 30 minutes,

                         22                but I would suggest that we could perhaps handle that

                         23                with a telephone hearing.

                         24                         THE COURT:       I have a question for you, Mr. Wilcox,

                         25                on that motion.           Have you completed your ten depositions




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                           1               already or not?

                           2                        MR. WILCOX:      No, Your Honor, we have not.            I mean,

                           3               we're having a very difficult time getting them

                           4               scheduled.          We're trying to be courteous to third

                           5               parties.           It's just difficult.     We do have --

                           6                        THE COURT:      The reason I ask, to be fair to both of

                           7               you, is that in preparation for today's hearing we

                           8               researched this motion specifically, even though it was

                           9               just filed two days ago.            And the case law that I'm

                         10                aware of thus far, particularly out of the Southern

                         11                District of Florida -- let me see if I can locate the

                         12                case citations for both of you -- seems to indicate that

                         13                the motion is premature until after the first ten

                         14                depositions have been fully completed.

                         15                         Now, I recognize that that might present scheduling

                         16                problems in this case.            That's another matter for

                         17                another day, because I don't want to short-circuit

                         18                anybody's right to discovery because of scheduling

                         19                deadlines, but at the same time I wouldn't want it to go

                         20                on ad infinitum.

                         21                         The primary case that we looked at is that of

                         22                Mazur, M-A-Z-U-R, versus Lampert.               It's at 2007 West Law

                         23                676096 at Page 2.          That is a District Court opinion from

                         24                the Southern District of Florida in 2007.                We also

                         25                looked at a 2013 case, 2013 West Law 6383973, and that




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                           1               is Gordilis, G-O-R-D-I-L-I-S, versus Ocean Drive

                           2               Limousines, Inc.        And in both of those cases the courts

                           3               ruled that on these types of motions it was premature to

                           4               entertain the motion until the first ten deposition had

                           5               been completed.

                           6                        I'm going to continue the hearing on that motion.

                           7               We'll handle it by telephone.             We'll try to schedule it

                           8               in the next week or so.           I don't have a schedule right

                           9               now.

                         10                         With respect to the motion to compel filed by the

                         11                defendants at 271, Mr. Childers, are you suggesting that

                         12                we cannot deal with that one by telephone?               Are you

                         13                requesting an in-person hearing?

                         14                         MR. CHILDERS:       Well, Your Honor, I sure would like

                         15                to have it heard sooner rather than later.

                         16                         THE COURT:    Mr. Wilcox and Mr. Childers, are either

                         17                of you available tomorrow afternoon for a one-hour

                         18                hearing beginning at one?

                         19                         MR. CHILDERS:       I am, Your Honor.

                         20                         MR. WILCOX:    I am not, Your Honor.

                         21                         THE COURT:    You are not?

                         22                         MR. WILCOX:    And I --

                         23                         THE COURT:    I understand.       It was not scheduled.

                         24                But we're out of time for today.

                         25                         Mr. Childers, do you have any objection to arguing




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                           1               that one by videoconference?

                           2                        MR. CHILDERS:       No, I don't, Your Honor.

                           3                        THE COURT:     Mr. Wilcox?

                           4                        MR. WILCOX:     No, Your Honor.

                           5                        THE COURT:     Very well.     Then we're going to

                           6               continue the hearing on the motion to compel at Docket

                           7               Number 271 and the motion for authority to take more

                           8               than ten depositions at Docket Number 309.               We will

                           9               schedule those most likely back to back but separately

                         10                as soon as we can to be held by videoconference.

                         11                         Because they were both docketed for today, we will

                         12                do our best to contact both of you to give you two or

                         13                three alternative dates before we actually schedule

                         14                those for hearing so that we can try to avoid any

                         15                conflicts because we'll be doing this on relatively

                         16                short notice.

                         17                         Looking at my schedule -- give me just one moment.

                         18                Do you both have your calendars with you today or not?

                         19                         MR. WILCOX:     I don't.     They took my phone.

                         20                         THE COURT:     That's fine.     I understand.

                         21                         MR. WILCOX:     I think I'm available next week all

                         22                week.

                         23                         THE COURT:     All right.     Give me just one moment,

                         24                please.

                         25                         (A brief discussion was held off the record.)




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                           1                        THE COURT:    All right.       It appears that the most

                           2               likely date that my calendar would be available would be

                           3               sometime Wednesday, January 14th, which is next

                           4               Wednesday.         Just a moment.

                           5                        It's possible that the alternative date would be

                           6               January the 16th, which is Friday.              Both of those dates

                           7               depend on whether we can get this courtroom to be able

                           8               to use the video equipment.             But we will have someone

                           9               contact you.

                         10                         But if both of you would, at a minimum, contact

                         11                chambers, my JA is Lisa Murrill, let her know whether

                         12                you're available on those two dates.              Mr. Childers, you

                         13                may already know.        And then we'll go from there.

                         14                         MR. CHILDERS:       I'll just e-mail my availability to

                         15                your JA.

                         16                         MR. WILCOX:    Logistically how does that work?             Do I

                         17                need to go to the court in Jacksonville?

                         18                         THE COURT:    If you want to appear by Court Call,

                         19                Mr. Wilcox, you can do that.

                         20                         MR. WILCOX:    But that wouldn't be by video.

                         21                         THE COURT:    Correct.      You could be

                         22                by -- Mr. Childers I think wants to stand and look at

                         23                me while he argues.          Is that right, Mr. Childers?

                         24                         MR. CHILDERS:       Correct.

                         25                         THE COURT:    The only way to do that right now with




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                           1               my schedule is by videoconference.              So Mr. Childers

                           2               would be here in the courtroom in Gainesville.                   You

                           3               would be welcome to appear here in the courtroom in

                           4               Gainesville as well or appear via telephone and we'll be

                           5               able to hear you, and I will be in Tallahassee.

                           6                        MR. WILCOX:    And I guess I'd like -- I'm not asking

                           7               the Court for technical advice.               I'm going to see if I

                           8               can do that through the video hookup at the Jacksonville

                           9               court.

                         10                         THE COURT:    Absolutely.     Go ahead and ask the

                         11                Jacksonville clerk's office to have their IT people

                         12                contact our IT people.          And it may be that we can do

                         13                that.       I think that's a great idea.

                         14                         MR. WILCOX:    Thank you.

                         15                         THE COURT:    Very well.     So those motions are

                         16                continued.         Thank you very much.       This hearing is

                         17                concluded.

                         18                         (The hearing concluded at 3:20 p.m.)

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                           1                                       COURT CERTIFICATE

                           2

                           3      STATE OF FLORIDA )
                                                               :    SS.
                           4      COUNTY OF ALACHUA)

                           5

                           6                           I, JENNIFER R. WITWER, RPR, CRR, Court Reporter,

                           7      certify that I was authorized to and did stenographically

                           8      report the foregoing proceedings and that the transcript is a

                           9      true record.

                         10                            Dated this 12th day of January, 2015.

                         11

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                                                                                JENNIFER R. WITWER, RPR, CRR
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